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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                             RICHMOND DIVISION

      LULA WILLIAMS, et al.,

            Plaintiffs,

      v.                                        CIVIL ACTION NO. 3:17-CV-461

      BIG PICTURE LOANS, LLC, et al.,

            Defendants.

      ___________________________________

      RENEE GALLOWAY, et al.,

            Plaintiffs,

      v.                                        CIVIL ACTION NO. 3:18-CV-406

      BIG PICTURE LOANS, LLC, et al.,

            Defendants.

      ___________________________________

      RENEE GALLOWAY, et al.,

            Plaintiffs,

      v.                                        CIVIL ACTION NO. 3:19-CV-314

      JUSTIN MARTORELLO, et al.,

            Defendants.




                          MOTION FOR CONSOLIDATION




                                            1

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       Defendants Matt Martorello, Justin Martorello, Rebecca Martorello, Gallant Capital LLC,

and Liont LLC (collectively, “Defendants”)1 pursuant to FED. R. CIV. P. 42, respectfully move

for consolidation of the matters styled Williams v. Big Picture Loans, LLC, Civil Action No.

3:17-cv-00461 (“Williams”), Galloway v. Big Picture Loans, LLC, Civil Action No. 3:18-cv-

00406 (“Galloway I”), and Galloway v. Martorello, Civil Action No. 3:18-cv-00314 (“Galloway

II”), each of which is pending before the Court. The reasons in support of this motion are set

forth in the accompanying Memorandum In Support Of Motion For Consolidation.

       Dated: February 7, 2020                Respectfully submitted,


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       1
         On January 28, 2020, Eventide Credit Acquisitions, LLC, filed a Notice of Suggestion
of Bankruptcy and Automatic Stay of Proceedings in Galloway v. Justin Martorello, Civil
Action No. 3:18-cv-00314, ECF 307. Accordingly, pursuant to 11 U.S.C. § 362(a), all matters
against Eventide have been automatically stayed.

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                                             and LIONT LLC




                             CERTIFICATE OF SERVICE

        The undersigned counsel certified that on the 7th of February, 2020, the foregoing
was filed using the Court’s CM/ECF system, thereby serving a copy on all counsel of record
electronically.

                                                By: /s/ M. F. Connell Mullins, Jr.
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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                             RICHMOND DIVISION

       LULA WILLIAMS, et al.,

              Plaintiffs,

       v.                                       CIVIL ACTION NO. 3:17-CV-461

       BIG PICTURE LOANS, LLC, et al.,

              Defendants.

       ___________________________________

       RENEE GALLOWAY, et al.,

              Plaintiffs,

       v.                                       CIVIL ACTION NO. 3:18-CV-406

       BIG PICTURE LOANS, LLC, et al.,

              Defendants.

       ___________________________________

       RENEE GALLOWAY, et al.,

              Plaintiffs,

       v.                                       CIVIL ACTION NO. 3:19-CV-314

       JUSTIN MARTORELLO, et al.,

              Defendants.




        MEMORANDUM IN SUPPORT OF MOTION FOR CONSOLIDATION




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                                        I. INTRODUCTION

       Defendants Matt Martorello, Justin Martorello, Rebecca Martorello, Gallant Capital LLC,

and Liont LLC (collectively, “Defendants”)1 move the Court under FED. R. CIV. P. 42, in the

interest of judicial economy and to avoid unnecessary cost and delay, to consolidate the matters

styled Williams v. Big Picture Loans, LLC, Civil Action No. 3:17-cv-00461 (“Williams”),

Galloway v. Big Picture Loans, LLC, Civil Action No. 3:18-cv-00406 (“Galloway I”), and

Galloway v. Martorello, Civil Action No. 3:18-cv-00314 (“Galloway II”), each of which is

pending before the Court. The undeniable substantial overlap of the parties, causes of action, and

questions of fact and law across all three cases—which have been repeatedly acknowledged by

Plaintiffs’ counsel—warrants that they be consolidated, such that the remaining parties and the

Court may conserve time and resources in bringing these matters to their swift and efficient

conclusion on the merits.

       Although Plaintiffs tout that they are ready to move forward with these cases, in reality,

Plaintiffs have no interest in getting to the merits of these cases in a swift and efficient manner. If

they did, they would agree to consolidate Williams and the various subsequent copycat actions so

that all of the claims advanced by all purported class members against all of the defendants are

adjudicated once and for all in one single action. Rather than doing so, Plaintiffs—who not long

ago sought to consolidated these actions in an MDL proceeding2—want to maintain separate



       1
        On January 28, 2020, Eventide Credit Acquisitions, LLC, filed a Notice of Suggestion of
Bankruptcy and Automatic Stay of Proceedings in Galloway v. Justin Martorello, Civil Action
No. 3:18-cv-00314, ECF 307. Accordingly, pursuant to 11 U.S.C. § 362(a), all matters against
Eventide have been automatically stayed.
       2
          See In re Big Picture Loans Litigation, MDL No. 2906. The Williams and Galloway
Plaintiffs voluntarily withdrew their MDL petition on September 19, 2019, one week before the
September 25, 2019 hearing date. See id., MDL No. 2906, ECF Nos. 54, 63.

                                                      2

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actions as long as possible so that they can re-litigate adverse rulings over and over, as evidenced

by their attempt to re-litigate the Fourth Circuit’s sovereign immunity ruling in Galloway I based

on purported “new evidence,” and prolong these matters as long as possible.

       Plaintiffs’ contention that these matters should not be consolidated because Williams is

more procedurally advanced than the other two cases by virtue of the completion of class

certification briefing should be flatly rejected. Plaintiffs advanced the exact opposite argument in

support of the MDL petition, citing the fact that the Virginia actions were essentially on hold in

light of the ongoing sovereign immunity related proceedings:          “In other words, sovereign

immunity is still at issue in all cases and the Williams and Galloway I cases are not as

‘procedurally advanced’ as Defendants represent.” See Ex. 1, MDL No. 2906, ECF No. 29, at

8 (emphasis added). Nothing has changed in these matters since Plaintiffs’ MDL petition other

than the Tribal Defendants and certain other defendants attempting to settle their claims. Indeed,

the Court recognized at the January 29, 2020 status conference that the merits case in Williams has

in essence been stayed for months during the Fourth Circuit proceedings, as has the merits case in

Galloway I due to Plaintiffs’ attempt to re-litigate the Fourth Circuit’s sovereign immunity ruling.

See 1/20/2020 Hr’g Tr. at 26-27. And given the parties’ agreement to cross-use of documents and

discovery across cases, merits discovery in Galloway II is at the same point as merits discovery in

Williams and Galloway I. Although there is some merits discovery to complete in all cases, as

discussed below, Plaintiffs admit that discovery is largely the same and will involve the same

witnesses.

       Finally, the fact that class certification has been briefed in Williams (with the exception of

the supplemental briefing recently permitted by the Court) does not counsel against consolidation.

With the exception of the upcoming supplemental briefing, Williams and Galloway I are in the



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same procedural posture today with respect to class certification briefing as they were at the time

Plaintiffs sought to consolidate them in the MDL proceeding, contending that consolidation was

“necessary to prevent inconsistent rulings and duplicative discovery in cases involving

substantially identical legal claims, overlapping classes, and common issues of law and fact.” See

Ex. 1, MDL No. 2906, ECF No. 29, at 1 (citing Williams and Galloway I). Nothing has changed

with respect to class certification briefing to warrant Plaintiffs’ change in position on this issue.

Moreover, the proposed Virginia classes in Williams are subsumed within the proposed classes in

Galloway I and Galloway II and no additional discovery is needed for Plaintiffs to proceed right

now with class certification briefing as to their other proposed classes in Galloway I and Galloway

II.3 Accordingly, to conserve time and resources in bringing all of these matters to their swift and

efficient conclusion, the matters should be consolidated, a briefing schedule should be set to

address the additional (identical) proposed classes in Galloway I & II, and a single expedited case

schedule should be set to move forward on the merits of Plaintiffs’ claims.

                                         II. BACKGROUND

       A.      The Pending Litigations are Substantially Similar.

       Williams: Williams was filed in June 2017, naming as defendants Matt Martorello, several

leaders of the Lac Vieux Desert Band of Lake Superior Chippewa Indians (the “Tribe”), and two

tribal entities. Williams, ECF No. 1. The tribal leaders were dismissed early in the action.




       3
           As set forth in their pending motions to dismiss, Defendants contend that the non-
Virginia plaintiffs are not properly before the Court and should be dismissed. See Galloway I,
ECF No. 46 at 7 & n.4; Galloway I, ECF No. 74 at 3; Galloway II, ECF No. 94 at 2, 30; ECF No.
99 at 2, 29; ECF No. 104 at 2, 29. Accordingly, it is Defendants’ position that no class certification
briefing is required with respect to the proposed non-Virginia classes because they should be
dismissed.

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Williams, ECF No. 122. Per the terms of the class action settlement in Galloway III, it is

anticipated that Matt Martorello will be the only remaining defendant in Williams.4

        The Williams plaintiffs allege federal RICO claims, violation of Virginia usury law and

unjust enrichment, and seek a declaratory judgment that the choice of law and forum selection

clauses in Plaintiffs’ loan agreements are void and unenforceable. Williams, ECF No. 1. Plaintiffs

originally identified three putative classes, each with a sub class, consisting of residents of Virginia

or individuals located in Virginia who took loans from Big Picture Loans and met certain other

criteria. In their class certification briefing, Plaintiffs re-defined the putative classes to include:

        Big Picture RICO Class: All Virginia consumers who entered into a loan agreement
        with Big Picture where a payment was made on or after June 22, 2013, but before the
        date of the Court’s class certification order.

        Red Rock RICO Class: All Virginia consumers who entered into a loan agreement
        with Red Rock where a payment was made on or after June 22, 2013, but before the
        date of the Court’s class certification order.




        4
          On December 20, 2019, a Preliminary Approval Order, ECF No. 65, was entered in
Galloway v. Williams, Civil Action No. 3:19-cv-00470-REP (“Galloway III”), granting
preliminary approval of a class action settlement between Plaintiffs and various Settling
Defendants. In order to effectuate the class action settlement, the Plaintiffs and Settling
Defendants from Williams, Galloway I, and Galloway II, were added to Galloway III, thereby
consolidating the actions between those parties into a single action. See Am. Class Action Compl.,
Galloway III, ECF No. 23; see also Memo. Supp. Mot. Am., Galloway III, ECF No. 17, ¶ 4 (“The
settlement requires Plaintiffs to seek leave to amend their complaint to add persons who are parties
to the settlement. The settlement specifically provides that the amended complaint in this action
will represent a consolidation of the allegations against all the settling defendants. . . . See
Settlement Agreement § 5.1.”). Section 5.1 of the Class Action Settlement Agreement and Release
further provides that after the Plaintiffs and Settling Defendants are consolidated in Galloway III,
“Williams, Galloway I, Galloway II, Duggan, and Smith shall be voluntarily dismissed as to the
Settling Defendants only.” See Galloway III, ECF No. 18-1, § 5.1. Although not dismissed as of
the date of this filing, it is anticipated that the following Settling Defendants will be dismissed
from Williams, Galloway I, and Galloway II: all tribal entities and affiliates, including: Big Picture
Loans, LLC; Ascension Technologies, Inc.; DTA Trinity Wealth Transfer Trust; DMA Trinity
Wealth Transfer Trust; Amlaur Resources; Columbia Pipe & Supply, Co.; Brian McFadden; James
Dowd; Simon Liang; Brian Jedwab; Timothy Arenberg; and Terrance Arenberg.

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       RICO Injunctive Relief Big Picture Class: All Virginia consumers with remaining
       balances on their loan agreements with Big Picture.

       RICO Injunctive Relief Red Rock Class: All Virginia consumers with remaining
       balances on their loan agreements with Red Rock.

       Big Picture Usury Class: All Virginia consumers who paid any principal, interest, or
       fees on their loan with Big Picture on or after June 22, 2015, but before the date of the
       Court’s class certification order.

       Red Rock Usury Class: All Virginia consumers who paid any principal, interest, or
       fees on their loan with Red Rock on or after June 22, 2015, but before the date of the
       Court’s order certifying the class.

       Big Picture Unjust Enrichment Class: All Virginia consumers who paid any
       amount on their loan with Big Picture on or after June 22, 2014, but before the date
       of the Court’s class certification order.

       Red Rock Unjust Enrichment Class: All Virginia consumers who paid any
       amount on their loan with Red Rock on or after June 22, 2014, but before the date
       of the Court’s class certification order.

Williams, ECF No. 236 at 16–17.

       Galloway I: Galloway I was originally filed in June 2018, naming Matt Martorello and

the same two tribal entities as defendants. Galloway I, ECF No. 1. Per the terms of the class

action settlement in Galloway III, it is anticipated that Matt Martorello will be the only remaining

defendant in Galloway I. See supra, n.4. Galloway I, as amended, alleges the same federal RICO

claims, violation of Virginia usury law, and unjust enrichment, but also expands to include claims

under California, Illinois, Indiana, Ohio, Washington, Texas, Florida, New Jersey, North Carolina,

and Maryland state law.5 Galloway, ECF No. 30, ¶¶ 227–346. Plaintiffs identified twelve putative

classes. Eleven classes were more or less defined as “All individuals located in X State who

entered into a loan agreement with Big Picture or Red Rock and paid any amounts on the loan,”




       5
        As indicated supra, n.3, Defendants contend in their pending motions to dismiss that the
non-Virginia plaintiffs are not properly before the Court and should be dismissed.

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with an additional vague and undefinable catch-all class adding “states with similar laws.”

Galloway I, ECF No. 30, ¶¶ 195–206. The “Virginia Class” is broadly defined so as to include all

putative classes from Williams, specifically “[a]ll individuals located in Virginia who entered into

a loan agreement with Big Picture or Red Rock and paid any amounts on the loan.” Id. ¶ 195

(emphasis in original).

       Galloway II: Galloway II was filed in April 2019, naming a new set of defendants,

including Matt Martorello’s wife and brother, as well as former employees of businesses related

to Matt Martorello, investors in those businesses, and the businesses themselves. Galloway II,

ECF No. 1. Plaintiffs initially named nineteen defendants, but per the terms of the class action

settlement in Galloway III, it is anticipated that only nine will remain, all with alleged ties to Matt

Martorello according to Plaintiffs’ allegations: Justin Martorello, Rebecca Martorello, Jeremy

Davis, Eventide Credit Acquisitions, Liont LLC, Gallant, Bluetech Irrevocable Trust, Breakwater

Holdings, LLC, and Kairos Holdings, LLC. See supra, n.4. Galloway II alleges the same federal

RICO claims, violation of Virginia usury law, and unjust enrichment as Williams and Galloway I.

It also includes the same California, Illinois, Indiana, Ohio, Washington, Texas, Florida, New

Jersey, North Carolina, and Maryland state law claims as Galloway I. Plaintiffs added to their

original complaints (which were brought by substantially the same plaintiffs’ counsel) new state

law claims under Georgia and Michigan law, as well as civil conspiracy and aiding and abetting

claims.6 ECF No. 1, ¶¶ 501–17, 522–27. Plaintiffs identified fourteen putative classes. Each class

was once again more or less defined as “All individuals located in X State who entered into a loan

agreement with Big Picture or Red Rock and paid any amounts on the loan.” Galloway II, ECF No.



       6
          Again, as indicated supra, n.3, Defendants contend in their pending motions to dismiss
that the non-Virginia plaintiffs are not properly before the Court and should be dismissed.

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1, ¶¶ 331–344. The “Virginia Class” is again broadly defined so as to include all putative classes

from Williams, specifically “All individuals located in Virginia who entered into a loan agreement

with Big Picture or Red Rock and paid any amounts on the loan.” ECF No. 1, ¶ 331 (emphasis in

original).7 The classes for each of the states identified in Galloway I are identical in Galloway II,

as is the proposed vague and undefinable catch-all class. ECF No. 1, ¶¶ 331–44. The named

plaintiffs in Galloway I are named in Galloway II as well.

       B.      The Nucleus of Facts Across the Cases is the Same.

       It is undeniable that across all three actions, Plaintiffs base their claims on the same alleged

wrongdoing by the same set of individuals and entities. Indeed, Plaintiffs admitted such in their

Motion for Transfer and Consolidation filed before the MDL Panel, expressly arguing in support

of transfer and consolidation that the cases “assert nearly identical factual allegations relating to

the rent-a-tribe enterprise masterminded by Martorello. The complaints also assert the same legal

claims—violations of RICO and state usury laws-against the same defendants.” Ex. 2, MDL No.

2906, ECF No. 1-1 at 6; see also Ex. 1, MDL No. 2906, ECF No. 29 at 3 (“The central factual

allegation in this litigation is that Matt Martorello orchestrated an illegal tribal lending enterprise

in order to charge consumers up to 400% interest for online, short-term loans.”). Plaintiffs also

argued to the MDL panel that the claims in Galloway III present numerous common issues

warranting consolidation:

               [T]he Virginia Plaintiffs have learned that Martorello’s illegal
               enterprise is complicated and extensive, including not only entities


7
   Although worded differently, the Galloway I and Galloway II “Virginia Classes” are
substantively the same as the Williams classes combined. If, as Plaintiffs argue, Williams proceeds
to trial first, the Galloway “Virginia Classes” would fall out of those two actions, and only non-
Virginia residents would remain. As noted in Defendants’ pending motions to dismiss, under
Bristol-Myers Squibb, the non-Virginia Plaintiffs’ claims are not properly before the Court and
should be dismissed. Bristol-Myers Squibb v.Superior Court of California, 582 U.S. ---, 137 S.Ct.
1773, 1781 (2017); see also supra, n.3.
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               associated with Native American tribes that purportedly provided
               the enterprise with “immunity” from state and federal usury laws,
               but also third-party investors, trusts, Martorello’s family members,
               and lawyers. Some of these individuals played integral roles in the
               operation and management of the enterprise; others knowingly
               provided the capital used to make the high-interest loans and, in
               return, generated large profits from their investment in the scheme;
               still others were created by Martorello to disguise his business
               interests and protect the illegal money received from consumers.
               The key common factual and legal issues to be decided at trial are
               (1) whether all of these players constitute an “enterprise” under
               RICO, 18 U.S.C. §§ 1962(c); (2) whether the players conducted the
               affairs or participated in the enterprises affairs; (3) whether the
               enterprise engaged in unfair or deceptive acts or practices; and (4)
               whether the enterprise violated RICO by charging interest rates
               more than twice the legal limit under state law.

Ex. 1, MDL No. 2906, ECF No. 29 at 4.

       Plaintiffs further argued in their MDL consolidation petition that “[i]mportantly, the

Defendants’ payday lending scheme did not vary from state to state. The rates charged in all states

were over the state usury limits, and Defendants’ defense in all cases is that state law does not

apply to them because they are entitled to tribal immunity,” thereby supporting consolidation,

according to Plaintiffs. See id. Plaintiffs further argued that “[r]esolution of the common issues

in a single forum would further the convenience of all parties and witnesses, as well as the courts”

and that “because all eight cases [including Williams and Galloway I] assert virtually identical

allegations and raise common factual questions, the plaintiffs in each case will require depositions

of the same persons and entities and discovery of the same documents.” Id.

       Plaintiffs further admitted to the MDL panel that consolidation “was particularly

appropriate for these eight actions [including Williams and Galloway I] to prevent inconsistent

rulings on class certification and other class-related issues” and that ‘[a]ll of the cases assert RICO

violations in addition to state usury law claims, so each court will have to address the propriety of

certification of the same issues and claims.” Id. at 11. According to Plaintiffs, the risk for


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 inconsistent rulings “is especially important in class cases where a decision on class certification

 necessarily effects [sic] the rights of parties to cases with overlapping classes.” Ex. 1, MDL No.

 2906, ECF No. 29 at 6.

         Finally, Plaintiffs argued to the MDL panel that consolidation of Williams, Galloway I, and

 Galloway II was necessary to minimize duplicative discovery:

                In all cases, the plaintiffs must prove the existence of the enterprise
                and thus will need discovery from all the major players in the
                enterprise whether they are named in the enterprise or not. For
                example, just as Plaintiffs in Williams and Galloway I have deposed,
                among others, Matt Martorello, corporate witnesses from Ascension
                and Big Picture, James Dowd, and Justin Martorello, in order to
                obtain information about the illegal enterprise, Plaintiffs in
                Galloway II will need discovery from the same individuals in order
                to prove the existence of the unlawful enterprise. Consolidation is
                necessary to minimize such duplicative discovery.

 Id. at 4-5.

         It is undeniable that Matt Martorello is at the core of the allegations in every complaint.

 See Williams, ECF No. 1, ¶¶ 26–67; Galloway I, ECF No. 30, ¶¶ 1–12; Galloway II, ECF No. 1,

 ¶¶ 1–18. In Plaintiffs’ own words, all of the cases “involve the same legal claims . . . , overlapping

 classes, and common issues of law and fact.” Ex. 2, MDL No. 2906, ECF No. 1-1 at 5; 1/20/2020

 Hr’g Tr. at 29 (Plaintiffs’ Counsel stating that “[t]he question of illegality will be the same in

 Galloway II and Williams”); see also Galloway I, ECF No. 223, 8 (Plaintiffs arguing for joinder

 of additional defendants because “[i]n this case, the questions of fact and law are entirely

 common”).

                                            III.ARGUMENT

         The Court should consolidate Williams, Galloway I, and Galloway II, set a briefing

 schedule to address the additional (identical) proposed classes in Galloway I & II, and set a single

 expedited case schedule to move forward on the merits of Plaintiffs’ claims. Doing so will


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 significantly lessen the burdens of bringing these cases to trial on all of the remaining parties, as

 well as on the witnesses (who would be the same in each case), and on the Court. Consolidation

 would also be consistent with Rule 42’s other considerations—in addition to lessened litigation

 cost and time for all involved, it is beyond dispute that each of those cases alleges exactly the same

 core questions of law and fact, risks no confusion or prejudice to Plaintiffs, and will allow the

 Court to decide the key issues, which are (with some very limited exceptions) the same in each

 case, one time, thereby avoiding the possibility of conflicting decisions on those issues. As

 outlined below, the minor substantive and procedural differences among these cases are not an

 impediment to consolidation, which is manifestly appropriate in these circumstances.

        Rule 42 grants federal courts the power to consolidate actions that contain common

 questions of law or fact. FED. R. CIV. P. 42(a). The Court has broad discretion to determine

 whether consolidation is appropriate. Kelen v. World Financial Network Nat. Bank, 302 F.R.D.

 56, 63 (S.D.N.Y. 2014). The party moving for consolidation must demonstrate that there are

 common legal and factual issues among the cases sought to be consolidated. Delre v. Perry, 288

 F.R.D. 241, 246 (E.D.N.Y. 2012). In explaining this standard, the Fourth Circuit has instructed

 that proper application of Rule 42(a) requires the district court to determine whether the specific

 risks of prejudice and possible confusion from consolidation were overborne by the risk of

 inconsistent adjudications . . ., the burden on parties, witnesses, and available judicial resources

 posed by multiple lawsuits, the length of time required to conclude multiple suits as against a single

 one, and the relative expense to all concerned of the single-trial, multiple-trial

 alternatives. Campbell v. Bos. Sci. Corp., 882 F.3d 70, 74 (4th Cir. 2018) (modification in original)

 (internal quotation marks omitted) (granting consolidation where Plaintiffs all suffered from




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 similar product malfunction, used same evidence and relied on same expert witnesses, and

 defendants relied on same defenses).

        Minor differences between the actions should not stop a court from utilizing Rule 42(a).

 “In fact, [d]ifferences in causes of action, defendants, or the class period do not render

 consolidation inappropriate if the cases present sufficiently common questions of fact and law, and

 the differences do not outweigh the interests of judicial economy served by consolidation.” Rauch

 v. Vale S.A., 378 F. Supp. 3d 198, 205 (E.D.N.Y. 2019) (modification in original) (internal

 quotation marks omitted) (granting consolidation where two cases involved common questions of

 law and fact and alleged violations of the same securities laws, notwithstanding first case having

 longer class period, since allegations had the same factual basis, and despite presence of additional

 defendant in first case).

        Applying these well-established standards, consolidation is warranted here.

        A. Core Questions of Law and Fact Overlap in All of the Subject Cases.

        Across all three actions, Plaintiffs’ allegations rest on overlapping core questions of law

 and fact. Plaintiffs universally allege—albeit baselessly—that: Defendants “rented” the Tribe in

 order to offer internet loans that circumvented various state usury laws; the scheme was in violation

 of federal RICO law and various state usury and consumer protection laws; and Plaintiffs were

 harmed while Defendants profited from the lending operation. See Ex. 2, MDL No. 2906, ECF

 No. 1-1 at 6. In each case, the key individuals and entities, time periods, and basic lending structure

 are exactly the same, and Plaintiffs allege that Matt Martorello was the mastermind behind the

 lending scheme.

        As detailed above, Plaintiffs themselves know this. In recently seeking consolidation of

 the various litigations before an MDL panel—a request they abruptly withdrew—Plaintiffs argued

 that the cases “assert nearly identical factual allegations,” and “the same legal claims.” Ex. 2,
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 MDL No. 2906, ECF No. 1-1 at 6; accord Ex. 1, MDL No. 2906, ECF No. 29 at 3 (noting that

 each case made one “central factual allegation” related to Matt Martorello’s involvement with

 LVD’s lending business). In seeking consolidation, Plaintiffs pointed to various common factual

 and legal issues across the cases, including legal questions regarding interpretation of the RICO

 statute and tribal sovereignty and the various individuals’ and entities’ roles in the business. Ex.

 1, MDL No. 2906, ECF No. 29 at 3-4. Having argued just how similar they view these various

 litigations, both factually and legally, Plaintiffs cannot now turn an about face and claim any sort

 of factual or legal disparity that cuts against consolidation. See, e.g., Ex. 2, MDL No. 2906, ECF

 No. 1-1 at 5; 1/20/2020 Hr’g Tr. At 29 (Plaintiffs’ Counsel stating that “[t]he question of illegality

 will be the same in Galloway II and Williams”); Galloway I, ECF No. 223, 8 (Plaintiffs arguing

 for joinder of additional defendants because “[i]n this case, the questions of fact and law are

 entirely common”); see also Bendzak v. Midland Nat. Life Ins. Co., 240 F.R.D. 449, 451 (S.D.

 Iowa 2007) (noting that consolidated cases both outlined the same nine questions of law or fact

 that were common among the class members and were “identical” “except for very minor

 differences in the facts of each case, such as the number of deferred annuities that were sold . . .”);

 Brady v. Top Ships Inc., 324 F. Supp. 3d 335, 344 (E.D.N.Y. 2018) (finding consolidation

 appropriate “in light of the highly similar allegations and claims in the two putative class actions

 against defendants”).

        Accordingly, and as Plaintiffs themselves have argued in the past, consolidation is

 therefore appropriate here, where cases involve common and overlapping questions of law and

 fact. FED. R. CIV. P. 42.

        B. Consolidation Presents No Risk of Confusion or Prejudice to Plaintiffs.

        Courts routinely consolidate cases with similar questions of law or fact, even where minor

 differences exist among the claims or parties. See Rauch, 378 F. Supp. 3d 198 (consolidating cases
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 with slightly different class periods and different defendants); Bendzak, 240 F.R.D. at 45

 (consolidating cases with different defendants). And while it is true that consolidation may not be

 appropriate where “it would deny a party a fair trial,” Campbell, 882 F.3d at 74, there is no risk

 that Plaintiffs would be denied such a fair trial in the event that these nearly identical cases are

 consolidated.

        There is no risk of confusion or prejudice to Plaintiffs. Galloway II names thirteen putative

 classes (the majority of which Defendants contend are not properly before the Court and should

 be dismissed) bringing thirty causes of action against nine defendants.8 Further, Plaintiffs have

 previously argued in favor of consolidation of eight related cases, including the three at issue here.

 See Ex. 2, MDL No. 2906, ECF No. 1-1. Plaintiffs cannot claim that consolidation would

 prejudice them or cause confusion now.

        Consolidation would only add one more individual defendant, Matt Martorello, to those

 remaining in Galloway II. As the Court knows, and as Plaintiffs have themselves contended, Matt

 Martorello is a key figure in all or almost all of the operative facts giving rise to each of the causes

 of action across all three lawsuits.9 Plaintiffs specifically allege that the corporate defendants in

 Galloway II are mere alter egos or shell entities of Martorello. See Galloway II, ECF No. 1 at ¶¶

 17, 167, 238-246 (“The Role of Matt Martorello’s Shell Companies and Trusts in The Enterprise”).

        Importantly, Matt Martorello will be entitled to a trial alone in both Williams and

 Galloway I as the sole remaining defendant. Martorello is therefore the only Party who could



        8
            See, supra, n.5.
        9
           At a hearing before the Court on January 29, 2020, Plaintiffs’ counsel referred to Matt
 Martorello as “the primary defendant,” called his “exposure” “the core question,” and
 acknowledged that the question of whether or not the lending operation “was illegal” was a central
 issue to all of the pending litigations. 1/20/2020 Hr’g Tr. at 31, 35, 37.

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 potentially suffer prejudice by consolidation. Yet he understands the significant cost and time

 savings that consolidation would occasion—particularly as litigation costs continue to mount, not

 just to him but to all Parties.

         The claims at issue in Galloway II include each of the causes of action in Williams and

 Galloway I—with the exception of one. The only additional claim found in Williams and not the

 Galloway matters is one for declaratory judgment on choice of law and forum selection clauses in

 the Plaintiffs loan agreements. Although Galloway I and II do not plead claims for declaratory

 judgment on these issues, adjudication of conflicts of law and whether the forum selection clauses

 in Plaintiffs’ loan agreements are valid and enforceable is necessary and unavoidable in all three

 actions. Courts will grant consolidation when, as here, an additional claim “does not alter the

 Court’s conclusion that the [consolidated] cases involve common questions of law or fact” when

 the new claim “is premised on the same allegations that plaintiffs suffered damages as a result of

 defendants’ scheme . . .” Brady, 324 F. Supp. 3d at 345. Not only is the declaratory judgement

 cause of action “premised on the same allegations” as the other claims, the issues must be

 adjudicated in every case.

         These cases are different iterations of essentially the same lawsuit—and although

 nominally brought on behalf of different lead Plaintiffs, by the same set of plaintiffs’ lawyers,

 seeking to represent various classes of consumers alleging the same thing against essentially the

 same people. For example, the Galloway I Plaintiffs are also Plaintiffs in Galloway II. The

 Galloway I putative classes are named and defined identically in Galloway II. The Williams

 putative classes are the most narrowly defined, but fall into the definitions of the Galloway I and

 Galloway II classes; even though individual Williams Plaintiffs are not named in the Galloway

 actions, their interests are at stake in both. Indeed, if the cases are not consolidated, and a Virginia-



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 only class is certified in Williams, presumably all that would remain of Galloway I and II would

 be non-Virginia plaintiffs, and those actions would therefore require dismissal. See supra, n.3.

 And the lawyers seeking to represent those people are, as the Court is aware, the same, and

 coordinating their litigation efforts together across all three cases (as well as in litigation pending

 elsewhere in the country). There is no risk of prejudice to any Plaintiff in these circumstances for

 all of their claims, all of which are pending before this Court, to be litigated and decided together

 at once.

        Because Galloway II’s allegations encompass the same facts, classes, and claims as

 Williams and Galloway I, Plaintiffs do not risk prejudice by consolidating the actions. Nor does

 adding a single claim to the thirty causes of action or a single defendant to the eight defendants

 present a risk of confusion.

        C.      Multiple Trials Present a Risk of Inconsistent Adjudication of the Same
                Questions of Fact and Law.

        Adjudicating the same questions of fact and law in three separate trials runs the risk of

 inconsistent outcomes. When multiple class actions share factual and legal overlap, it is “essential

 to avoid any risk of inconsistent rulings on class action issues, such as composition of classes and

 sub-classes.” Byerson v. Equifax Info. Servs., LLC, 467 F. Supp. 2d 627, 636 (E.D. Va. 2006).

 Rather, it is “preferable that one court assess the factors that point to factual and legal overlap and

 sort out the class action issues that will arise in each of the related actions.” Id. (granting

 consolidation where class complaints were “quite similar, involving the same provision of federal

 law and the same basic conduct by the same three defendants,” and where “similarities [were]

 more significant than [were] the differences). Here, the risk of inconsistent outcomes in three

 different class actions weighs heavily in favor of consolidation. Indeed, Plaintiffs would be hard

 pressed to colorably argue otherwise, given their earlier assertion that “[c]onsolidation will


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 mitigate the possibility of inconsistent rulings, including rulings on the propriety of class

 certification.” Ex. 2, MDL No. 2906, ECF No. 1-1 at 5.

        D.      Multiple Trials Create Additional Burdens on the Parties, Witnesses,
                and Judicial Resources.

        Consolidation is appropriate to “economize both judicial resources and the resources of the

 parties.” Endress v. Gentiva Health Servs., Inc., 278 F.R.D. 78, 82 (E.D.N.Y. 2011). The burdens

 and costs to all involved would be significantly reduced by consolidating these cases. This factor

 weighs heavily in favor of consolidation.

        Plaintiffs’ counsel have recognized the efficiencies in sharing resources across these cases.

 Plaintiffs’ original lead counsel in Williams, Kelly & Crandall, PLC (now Kelly Guzzo, PLC), and

 Plaintiff’s original lead counsel in Galloway I, Consumer Litigation Associates, P.C., have joined

 forces, and are working together with co-counsel Berger Montague and Terrell Marshall Law

 Group PLLC in these matters and coordinating with the law firm of Caddell & Chapman (lead

 counsel in related litigation in Oregon and Massachusetts) on their litigation strategy more broadly.

 Indeed, because the cases are essentially the same, the Parties have agreed to cross-use of the same

 documents in all cases to avoid duplicative discovery efforts. It would be counterintuitive and

 false for Plaintiffs to claim that consolidating these cases would prejudice them, when in fact it

 would only save their counsel time and money in litigating these cases. Indeed, Plaintiffs admitted

 to the MDL panel that “[r]esolution of the common issues in a single forum would further the

 convenience of all parties and witnesses, as well as the courts.” Ex. 2, MDL No. 2906, ECF No.

 1-1 at 7. In part, they correctly represented that this was so because all of the related cases pending

 across the country “assert virtually identical allegations and raise common factual questions,” and

 therefore each case would require the same depositions of the same persons and entities and

 discovery of the same documents. Ex. 1, MDL No. 2906, ECF No. 29 at 3-4. Plaintiffs cannot


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 point to anything that has occurred in Williams, Galloway I, or Galloway II that would render their

 statement made to the MDL panel untrue today with respect to consolidation of these actions.

        Weighing the relevant considerations of economy of consolidation, including the length of

 time individual trials would take compared to a single trial, the relative cost of a single trial

 compared to multiple trials, and the burden on witnesses, the courts, and the parties, Campbell,

 882 F.3d at 74, consolidation is appropriate given the circumstances involved in these litigations.

                        1. The Putative Class Members Suffer from Financing Multiple
                           Actions.

        The putative classes in Williams and Galloway I will themselves suffer undue costs if the

 cases proceed unconsolidated. If successful, the putative class members in each individual action

 will share the attorneys’ fees for that action. The Williams classes are most narrowly defined, and

 those class members also fall into the definitions of classes in Galloway I and II. Thus, if

 successful, the Williams class members will have paid to litigate their rights three times, with three

 sets of attorneys’ fees and costs, with all causes of action stemming from the same questions of

 fact and law. Similarly, the Galloway I class members would fall into the Galloway II classes as

 well, and pay attorneys’ fees and costs in both cases to litigate their rights.

        Additionally, the named plaintiffs in Galloway I are also plaintiffs in Galloway II, and must

 bear the burden of the time and energy, in addition to monetary expenses, of litigating both actions.

                        2. The Burden on Defendants is Unnecessarily Greater in Multiple
                           Actions.

        If the Court does not consolidate the cases, the Defendants will unnecessarily bear the

 burden of participating in multiple actions that all stem from the same nucleus of facts. Matt

 Martorello will be forced to defend himself against the same claims in Williams and Galloway I,

 with Galloway I merely casting a wider net. The cost and time commitment to each trial is

 immense and such effect would be nothing more than punitive with respect to Matt Martorello and

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 the other remaining defendants. Matt Martorello also will then have to participate as a witness in

 Galloway II and facilitate those trials for his entities Liont and Gallant Capital.

        Similarly, while the Galloway II defendants are not named in the other actions, they will

 be forced to participate as witnesses to the same set of facts giving rise to all three cases.

        The burden can be lessened by consolidating all three cases.

                        3. Multiple Actions Drain Judicial Resources.

        Each of these cases has spurred a feverish motions practice, for a combined total of over

 1,300 docket entries. Given how immensely costly litigating these cases has been to Defendants,

 they likewise expect that they have been equally, if not more taxing to the Court’s resources, and

 require a great deal of the Court’s attention, often to address similar motions across all cases. For

 example, the Court will face largely duplicative motions for summary judgment on choice of law

 in each of the three cases. Consolidation should, at a minimum, result in a significant lessening of

 repetitive motions practice and streamline these litigations toward an eventual trial.

        Adding a single defendant and a single cause of action to the remaining defendants10 and

 actions in Galloway II would only marginally, if at all, increase the length of any trial. And in

 these circumstances, separate trials would make no sense. Each of the three trials would look

 essentially the same, require the presentation of the same evidence and witnesses, and be tried by

 the same lawyers and before same judge. Absent consolidation, not only would the Court and

 parties have to prepare for and go through the process of trying three separate cases, but doing so




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         In the event that the settlement is not approved, Plaintiffs’ claims against the Settling
 Defendants, each now named as a defendant in Galloway III, will presumably proceed in Galloway
 III.

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 would also require the undue participation of multiple juries, expending juror time and repeating

 voir dire in triplicate.

         In Campbell, the Fourth Circuit affirmed consolidation in similar circumstances where

                 [b]oth plaintiffs and defendants benefit from lessened litigation
                 costs and the reduced need for expert testimony. Witnesses benefit
                 from reduced demands on their time by limiting the need for them
                 to provide repetitive testimony. The community as a whole benefits
                 from reduced demands on its resources, including reduced demand
                 for jurors.        The judicial system benefits from the
                 freedom consolidation affords judges to conscientiously resolve
                 other pending cases.

         Campbell, 882 F.3d at 76.      Consolidation would afford all involved here the same

 efficiencies and preservation of resources, and is thus appropriate.

         E.      Any Minor Differences, if any, in the Procedural Postures of the Cases
                 are Not an Impediment to Consolidation.

         While Plaintiffs have recently complained that the three litigations are in different

 procedural postures such that consolidation is inappropriate, e.g., 1/29/20 Hr’g Tr. at 25, this is

 simply not true. The Parties’ agreement to cross-use of the documents and discovery across the

 three cases means that merits discovery in each case is at essentially the same stage in each case.

 As Plaintiffs acknowledged in their motion in Galloway I seeking cross-use of discovery, Eventide

 and Justin Martorello already produced documents in Williams, and Matt Martorello produced

 “financial information regarding several of the Galloway II defendants, including Kairos Holdings,

 LLC, Breakwater Holdings, LLC, Gallant Capital, LLC, Liont, LLC, and Bluetech Irrevocable

 Trust.” See Galloway I, ECF No. 311, at 4. Matt Martorello has produced over 14,200 individual

 documents (totaling over 87,900 images) and over 900 native files; Justin Martorello has produced

 over 3,600 individual documents (totaling over 8,100 images); and Liont has produced over 8,200

 individual documents (totaling over 39,800 images) and over 900 native files. The limited



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 remaining anticipated discovery that will be required is the same in each case, and will involve

 that discovery being taken from the same persons and entities.

        Moreover, even if there were some minor difference in the progression of discovery in the

 various cases, any such difference would not, in itself, be an impediment to consolidation. Bendzak

 v. Midland Nat. Life Ins. Co., 240 F.R.D. 449, 451 (S.D. Iowa 2007) (“Nor do the slight differences

 among the class periods proposed, measures of damages sought, or stages of discovery preclude

 consolidation.”) (emphasis added). Again, the Parties have already agreed to cross-use of the

 hundreds of thousands of pages of documents produced in Williams, advancing discovery in

 Galloway I and Galloway II to precisely the same place the parties are in Williams, which is

 therefore is not significantly, if at all, more advanced than the other cases.

        Importantly, merits discovery is not complete in any of the three matters. There are key

 witnesses yet to be deposed in all matters, including witnesses Plaintiffs subpoenaed: Jennifer

 Weddle, John Williams, Jennifer Galloway, Karrie Wichtman, Joettte Pete, and Robert Rosette.

 For example, the Parties discussed at the January 29, 2020 hearing that Plaintiffs’ document

 subpoena and supplemental deposition subpoena of Jennifer Weddle were still outstanding.

 1/20/2020 Hr’g Tr. at 73–79. Although there are some differences in the discovery that remains

 across the cases, none of that discovery is especially voluminous or complex, and it does not inhibit

 consolidation. In fact, Plaintiffs have previously argued that despite “Defendants’ efforts to

 exaggerate the complexity of this case, it boils down to a few common questions, provable through

 common evidence, with respect to each one of the Plaintiffs and Defendants.” Galloway I, ECF

 No. 223, 10.




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        F.      Determination of Lead Plaintiff(s) is Not an Impediment to
                Consolidation.

        That Williams proposes different lead plaintiffs than Galloway I and Galloway II is not an

 obstacle to consolidation. Courts may grant consolidation of class actions despite competing

 motions for lead plaintiff. Reitan v. China Mobile Games & Entm't Grp., Ltd., 68 F. Supp. 3d 390

 (S.D.N.Y. 2014) (granting consolidation despite competing motions for appointment of lead

 plaintiff); Atanasio v. Tenaris S.A., 331 F.R.D. 21, 25 (E.D.N.Y. 2019) (same). Any such concern

 is muted here by the fact that the Plaintiffs’ lawyers in all three cases are either the same, or

 working together in tandem to prosecute their claims. This is not a situation where there are

 competing putative class representatives in actions pending in different districts, but one in which

 Plaintiffs’ counsel have simply filed serial lawsuits alleging the same things that are all pending

 before this Court. Given this, the Court should afford little weight to any hypothetical future

 conflict among the proposed class representatives in Williams and the Galloway cases.

        G.      Plaintiffs’ Objections to Consolidation are Unfounded.

        Plaintiffs have objected to consolidation of the cases, arguing that Defendants are bound

 by their opposition to joining in the Galloway I action what later became the Galloway II

 defendants in March 2019. Plaintiffs fail to take into account the development in all three cases

 since that time. Plaintiffs agree that sufficient overlap of fact and law makes these cases

 appropriate for consolidation. See Ex. 2, MDL No. 2906, ECF No. 1-1 at. Their only remaining

 argument that the cases are in different procedural postures falls flat.

        Since March 2019, Plaintiffs have reached a proposed settlement agreement with the tribal

 defendants, which (if accepted) would dismiss many of the defendants in all three cases, and would

 leave only Matt Martorello in Williams and Galloway I and eight defendants in Galloway II. It

 will eliminate two of the claims in Galloway II as well. As a result, Galloway I and II are less


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 complex than they were a year ago when Plaintiffs moved to add seventeen new defendants and

 sixteen additional causes of action.

        First, Plaintiffs acknowledged in their motion to transfer and consolidate eight separate

 class action lawsuits pending around the country that Williams and Galloway I were “far more

 advanced than the cases filed in other courts around the country,” including that class certification

 was fully briefed in Williams. Id. at 2, 4.

        At the time of Plaintiffs’ motion to amend their complaint to join additional parties,

 discovery was plowing ahead in both Williams and Galloway I. Defendants were opposed to

 adding so many new parties because discovery was progressing rapidly. Shortly after Plaintiff’s

 motion to amend their complaint was denied, discovery came to a screeching halt in both cases.

 The Fourth Circuit’s decision on the Tribe’s sovereign immunity led to a stay in Williams on July 3,

 2019. 1/20/2020 Hr’g Tr. at 26. Plaintiffs subsequently re-raised the issue of sovereign immunity

 in Galloway I, virtually suspending discovery in that case.

        Further, in the interim, the Parties have agreed to cross-use of documents already produced

 in Williams, rendering many of Plaintiffs’ document requests moot in both Galloway I and II, and

 significantly advancing discovery in both. The fact that the Parties still have depositions to take

 is not incompatible with consolidation. See supra, Section E.

                                           IV. CONCLUSION

        The many common questions of fact and law woven across all three actions make them

 appropriate for consolidation pursuant to FED. R. CIV. P. 42(a). All involved—from the Parties to

 witnesses and the Court—will enjoy greater efficiencies from consolidation. Plaintiffs and the

 putative class members suffer no risk of prejudice of confusion by joining two relatively less

 complex actions, Williams and Galloway I, with the most complex action, Galloway II.



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 Consolidation would add to the most complex case only one defendant and one cause of action,

 with all of the Williams and Galloway I putative class members already represented in Galloway II.

        Defendants ask the Court to exercise its broad discretion to consolidate Williams, Galloway

 I, and Galloway II.




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       Dated: February 7, 2020            Respectfully submitted,


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                              CERTIFICATE OF SERVICE

         The undersigned counsel certified that on the 7th of February, 2020, the foregoing
 was filed using the Court’s CM/ECF system, thereby serving a copy on all counsel of record
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                 BEFORE THE UNITED STATES JUDICIAL PANEL ON
                         MULTI-DISTRICT LITIGATION


                                            MDL No. 2906
 In re

 BIG PICTURE LOANS LITIGATION



 CONSOLIDATED REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR TRANSFER
      OF ACTIONS TO THE EASTERN DISTRICT OF VIRGINIA AND FOR
             CONSOLIDATION PURSUANT TO 28 U.S.C. § 1407




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                                         INTRODUCTION

        This litigation presents a textbook example of why multi-district litigation is necessary to

 prevent inconsistent rulings and duplicative discovery in cases involving substantially identical

 legal claims, overlapping classes, and common issues of law and fact. Discovery in the Virginia

 cases — Williams v. Big Picture Loans, LLC, No. 3:17-cv-461 (E.D. Va.) (Williams) and

 Galloway v. Big Picture Loans, LLC, No. 3:18-cv-00406-REP (E.D. Va.) (Galloway I) — is far

 more advanced than any of the other cases. The Williams and Galloway I Plaintiffs have taken 25

 depositions, served dozens of subpoenas, and obtained approximately 290,132 pages of

 documents from Defendants, experts, and third parties, much of which was only produced after

 contested discovery motions. Much of the information that the Williams and Galloway I

 Plaintiffs have obtained is highly relevant to threshold jurisdictional issues that are being briefed

 across the country, yet no global agreement to share such information exists and thus plaintiffs in

 the other cases do not have access to much of it. Instead, to support their positions on

 jurisdiction, plaintiffs in the non-Virginia cases have been forced to rely on the subset of

 information that Defendants have agreed to produce and any information they can scour from the

 dockets. To ensure a level playing field, the matters should be transferred and consolidated.

        Moreover, discovery continues in Williams and Galloway I and threshold subject matter

 jurisdiction issues remain pending and in dispute. Important depositions, including the deposition

 of the attorney who advised the tribe on the illegal lending scheme, are scheduled to take place in

 the next month. And Judge Robert Payne, who is presiding over Williams and Galloway I,

 recently ordered an evidentiary hearing on subject matter jurisdiction to be held on October 28,

 2019. Galloway v. Big Picture Loans, LLC, No. 3:18-cv-00406-REP, ECF No. 270 (E.D. Va.



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 July 23, 2019). Judge Payne ordered this hearing because Plaintiffs brought to the Court’s

 attention serious material misrepresentations made by Defendants in support of their motions to

 dismiss for lack of subject matter jurisdiction. See Galloway I at ECF No. 249. The parties in

 Galloway I will then submit new briefs in support of their respective positions on sovereign

 immunity based on findings made at the evidentiary hearing. As for Williams, the Court has

 asked the parties to submit briefs setting forth their positions on how the Fourth Circuit’s recent

 ruling on sovereign immunity affects the claims in that case.

        The new evidence that continues to be unearthed in the Williams and Galloway I matters

 impacts all the related cases. Courts considering jurisdictional issues in the cases across the

 country almost certainly will face motions to supplement the records or for reconsideration based

 on what happens at the evidentiary hearing in Virginia. Plaintiffs in the other cases also may

 insist on holding their own evidentiary hearings to ensure they have an opportunity to participate

 in the process. Consolidation will prevent such time-consuming, duplicative, and expensive

 motion work and discovery.

        Defendants maintain that consolidation is not necessary because the parties can simply

 share information by stipulation. But as the Cumming Plaintiffs point out in support of

 consolidation, Defendants have resisted sharing with the non-Virginia plaintiffs all the

 information available in Williams and Galloway I, particularly third-party discovery. See ECF

 No. 49 at 4. And although plaintiffs in all of the related cases could file motions to compel a

 fulsome exchange of information, they should not have to beg for shared discovery and courts

 should not be required to dig through other courts’ dockets to figure out what discovery has been

 done and what needs to be shared. The fact remains that no global sharing agreement exists in

 this litigation. And given that discovery continues in Virginia, courts across the country will need



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 to continuously address issues of which documents should be shared and whether briefing should

 be supplemented. All of this causes inefficiency, delay, and expense to the parties and various

 courts involved.

        The fact that the Tribal Defendants have raised jurisdictional issues does not preclude

 transfer. See In re Ivy, 901 F.2d 7, 9 (2d Cir. 1990). Where, as here, sovereign immunity issues

 remain pending, it is far more efficient for the transferee judge to decide sovereign immunity

 issues for all cases based on the same factual record. For all these reasons, Plaintiffs request for

 transfer to be granted.

                                            ARGUMENT

 I.     Transfer is necessary to prevent inconsistent rulings and duplicative discovery.

        Defendants do not dispute that the objective of transfer “is to eliminate duplication in

 discovery, avoid conflicting rulings and schedules, reduce litigation cost, and save the time and

 effort of the parties, the attorneys, the witnesses, and the courts.” Manual for Complex Litig. §

 20.131 (4th ed. May 2019 update). Nor do they really dispute that the nine cases Plaintiffs seek

 to consolidate involve “one or more common questions of fact.” 28 U.S.C.A. § 1407. Defendants

 instead maintain that any factual overlap is limited and thus voluntary coordination among

 plaintiffs’ counsel will be sufficient to ensure consistent rulings and efficient discovery. For the

 following reasons, Defendants are wrong.

        A. Numerous common issues permeate all the cases.

        The central factual allegation in this litigation is that Matt Martorello orchestrated an

 illegal tribal lending enterprise in order to charge consumers up to 400% interest for online,

 short-term loans. For over two years, the Williams and Galloway I Plaintiffs (“Virginia

 Plaintiffs”) have aggressively sought the information necessary to prove their claims. In the



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 process, the Virginia Plaintiffs have learned that Martorello’s illegal enterprise is complicated

 and extensive, including not only entities associated with Native American tribes that

 purportedly provided the enterprise with “immunity” from state and federal usury laws, but also

 third-party investors, trusts, Martorello’s family members, and lawyers. Some of these

 individuals played integral roles in the operation and management of the enterprise; others

 knowingly provided the capital used to make the high-interest loans and, in return, generated

 large profits from their investment in the scheme; still others were created by Martorello to

 disguise his business interests and protect the illegal money received from consumers. The key

 common factual and legal issues to be decided at trial are (1) whether all of these players

 constitute an “enterprise” under RICO, 18 U.S.C. §§ 1962(c); (2) whether the players conducted

 the affairs or participated in the enterprises affairs; (3) whether the enterprise engaged in unfair

 or deceptive acts or practices; and (4) whether the enterprise violated RICO by charging interest

 rates more than twice the legal limit under state law.1

           Because the focus at trial will be on the scope and contours of Martorello’s unlawful

 enterprise, it does not matter for consolidation purposes that some of the cases name certain

 members of the enterprise while others do not. See ECF No. 42 at 19 (wrongly asserting that the

 “lack of overlap between the defendants in Galloway I and Galloway II weighs against

 consolidation”). In all cases, the plaintiffs must prove the existence of the enterprise and thus

 will need discovery from all the major players in the enterprise whether they are named in the

 enterprise or not. For example, just as Plaintiffs in Williams and Galloway I have deposed,

 among others, Matt Martorello, corporate witnesses from Ascension and Big Picture, James

 Dowd, and Justin Martorello, in order to obtain information about the illegal enterprise, Plaintiffs



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     All of the actions for which transfer is sought allege either federal or state-based RICO claims.
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 in Galloway II will need discovery from the same individuals in order to prove the existence of

 the unlawful enterprise. Consolidation is necessary to minimize such duplicative discovery. See

 In re Airport Car Rental Antitrust Litig., 448 F. Supp. 273, 275 (J.P.M.L. 1978) (consolidation

 for defendants named in only one action — such as some of the defendants named in Galloway

 II — is appropriate where discovery related to those co-defendants is tied to common discovery).

        The Galloway II Defendants assert that the common factual issues in this case are not

 “complex enough” to warrant transfer, but this is misleading. Even if the substantive factual

 issues are not particularly complex, Defendants’ “Sherman-esque” discovery tactics have created

 serious procedural complexities. See ECF No. 1 (noting Judge Payne observed that Defendants’

 discovery obstruction had “reached enormous proportions” unlike any he had seen on the bench

 and that Judge Payne had fielded approximately thirty contested discovery motions). Most

 recently, Judge Payne ordered an evidentiary hearing in Galloway I in order to address alleged

 material misrepresentations that Defendants made to the Court in support of their motions to

 dismiss for lack of subject matter jurisdiction. See Galloway v. Big Picture Loans, LLC, No.

 3:13-cv-406, ECF No. 270 (E.D. Va. July 23, 2019). The Cumming Plaintiffs confirm that

 similar obstruction has occurred in that lawsuit. See ECF No. 49 at 4-5 (observing that

 Defendants “have exploited … differing discovery rulings to their advantage, tactically

 designating nearly all discovery material as confidential and refusing to agree to reproductions,

 insisting on costly and protracted discovery disputes that are a waste of resources for all involved

 (including Defendants) and thus can only be explained as an attempt to prejudice the plaintiffs

 ability to successfully obtain the discovery they need” and citing court orders describing

 Defendants’ obstructionist discovery conduct). Without consolidation, the parties around the

 country will be forced to continually return to the courts to provide updates regarding the



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 constantly-changing status of discovery in the Williams and Galloway I matters and to request an

 order requiring Defendants to share that information.

        The Martorello Defendants’ argument that “individual questions of fact predominate over

 any common questions of fact in the cases Plaintiffs seek to consolidate” (ECF No. 44 at 8) also

 should be rejected. The gist of Martorello’s argument appears to be that the various players in the

 unlawful lending enterprise varied over the course of time. Thus, a consumer who was sold a

 usurious loan at one time period may be differently situated than a consumer that was sold a loan

 at a different period in time. Plaintiffs disagree that this is true: Defendants violated usury laws

 during both periods. Even if differences exist, such differences do not impact the discovery that

 Plaintiffs need to prove all claims. The crux of Plaintiffs’ position is that Martorello and his

 cronies restructured the enterprise to avoid liability for violating lending laws. For example, Red

 Rock Tribal Lending was “sold” to the LVD and Big Picture and Ascension formed in order to

 protect Martorello from the consequences of making usurious loans and collecting unlawful debt.

 To prove this, they need information from both periods and such discovery is relevant regardless

 of whether the consumer was sold a loan before or after the sale.

        B. Informal coordination will not suffice to prevent inconsistent rulings and
           duplicative discovery.

        Defendants do not dispute that because the cases involve substantially the same factual

 allegations, types of claims, and defendants, there is a significant risk of inconsistent pretrial

 rulings. This factor is especially important in class cases where a decision on class certification

 necessarily effects the rights of parties to cases with overlapping classes. See ECF No. 1-1 (citing

 cases). There also is no real dispute that duplicative discovery can and ought to be avoided and

 Defendants concede that some coordination of discovery has been contemplated. See ECF No.

 42 at 15 (noting Judge Payne “expressly stated that he would consider whether the Filing


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 Plaintiffs could use discovery from Galloway I in Galloway II”); ECF No. 44 at 17 (noting

 discovery can be shared across cases through stipulation); ECF No. 45 at 12 (asserting “informal

 cooperation between the parties is possible and occurring” in the litigation).

        But informal coordination cannot mitigate the serious risk of inconsistent pretrial rulings.

 And while it is true in many cases that informal coordination provides an effective alternative to

 consolidation, such coordination would be extraordinarily difficult here. See ECF No. 1-1 at 8-9.

 Jurisdictional discovery is closed in most of the cases around the country. Thus, the plaintiffs in

 the non-Virginia cases will not have the benefit of evidence regarding sovereign immunity that is

 developed during the evidentiary hearing to occur in Galloway I on October 28, 2019. See, e.g.,

 Duggan v. Big Picture Loans, LLC, No. 1:18-cv-12277-JGD, ECF No. 67 (D. Mass. July 10,

 2019); Smith v. Big Picture Loans, LLC, No. 3:18-cv-01651, ECF No. 80 (D. Or. June 11, 2019)

 (granting parties’ stipulation to complete discovery by July 3, 2019). Consolidation is necessary

 to ensure that courts around the country do not enter a ruling on sovereign immunity without

 evidence from this crucial hearing.

        The Martorello Defendants’ assertion that Martorello “has already agreed to turn over

 discovery from Williams in both California actions, as well as the Oregon, Massachusetts, and

 Georgia actions” (ECF No. 44 at 17) is, at best, misleading and, at worst, just plain false. As the

 Cumming Plaintiffs point out, although Martorello agreed “to a reproduction of documents he

 had produced in Williams, he would not agree to a reproduction of documents produced by third

 parties, insisting that he was precluded from doing so due to a protective order and suggesting

 that the Cummings plaintiffs should have to serve the same subpoena to third parties that the

 Williams plaintiffs had already served.” See ECF No. 49 at 5 (emphasis in original). The fact that

 Martorello was less than forthright to the Panel in his submission here underscores why the



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  Martorello Defendants cannot be trusted to informally share information.

         C. The procedural posture of the Virginia actions supports consolidation.

         Plaintiffs acknowledge that in some cases the fact that one case is more procedurally

  advanced than another case can make consolidation undesirable. But that is not the situation

  here. This litigation is unique in that the judge presiding over the arguably more procedurally-

  advanced cases has ordered an evidentiary hearing to determine whether the Defendants made

  misrepresentations that materially affected the record on a central jurisdictional issue decided

  early on in the case. Judge Payne ordered this hearing after the Virginia Plaintiffs unearthed

  evidence that appears to undermine many of the positions that Defendants took in their sovereign

  immunity briefing. After the hearing, Judge Payne will give all parties in the Galloway I matter a

  chance to re-brief the sovereign immunity issues. See Galloway v. Big Picture Loans, LLC, No.

  3:18-cv-00406-REP, ECF No. 270 (E.D. Va. July 23, 2019). Judge Payne also has ordered all

  parties to brief the impact that the Fourth Circuit’s decision has on further proceedings in

  Williams and pending motions in all of the related cases. See Williams v. Big Picture Loans,

  LLC, No. 3:17-cv-00461-REP, ECF No. 599 (E.D. Va. July 22, 2019). In other words, sovereign

  immunity is still at issue in all cases and the Williams and Galloway I cases are not as

  “procedurally advanced” as Defendants represent.

         That said, the status of discovery in Williams and Galloway I is more advanced than any

  of the other actions. Plaintiffs have taken 25 depositions, performed expert work, and have

  obtained 290,132 pages of documents from Defendants, experts, and third parties. The majority

  of these documents — 246,147 pages — were produced after the parties initially briefed

  sovereign immunity. Many were produced only after contested discovery battles. Consolidation

  and transfer will allow all related cases to share this discovery, will avoid re-litigation of the



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  same discovery issues multiple times, and will ensure that key threshold issues like sovereign

  immunity and class certification are based on the same factual record in all cases.

          Consolidation also will allow the parties to take advantage of Judge Payne’s “expertise

  with this complex litigation.” See In re Four Seasons Sec. Laws Litig., 361 F. Supp. 636, 638

  (J.P.M.L. 1973). Judge Payne has fielded dozens of motions in Williams and Galloway I and has

  entered dozens of orders. He is familiar with the facts of this litigation and with Defendants’

  positions on discovery and other matters. Thus, transferring the cases to Judge Payne “will

  promote the efficient utilization of judicial resources.” See id.

          The Tribal Defendants maintain that all the cases have made “substantial litigation

  progress” which “undercuts the convenience and efficiency of an MDL.” ECF No. 45 at 16. This

  is simply not true. As described above, jurisdictional discovery continues in the Galloway I case

  and new evidence highly relevant to jurisdictional issues continues to be unearthed. Without

  consolidation and transfer, the plaintiffs in all the cases around the country will need to request

  to re-open discovery and jurisdictional briefing to take advantage of the new information thus

  undermining any “litigation progress” that may have been made. It is far more efficient to

  transfer all cases to the Eastern District of Virginia so that all parties can participate in the very

  important evidentiary hearing that is scheduled to occur in October. These unique circumstances

  make this case different from other actions.

          D. There are a sufficient number of cases to warrant consolidation.

          The Tribal Defendants object that the actions are not sufficiently numerous to warrant

  consolidation, asserting that the moving party bears a “heightened burden” to show that

  “common questions of fact are so complex and the accompanying common discovery so time

  consuming as to overcome the inconvenience to the party whose action is being transferred and



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  its witnesses.” See ECF No. 45 at 13-15 (quoting In re Scotch Whiskey, 299 F. Supp. 543, 544

  (J.P.M.L. 1969)). Plaintiffs meet that test here. Defendants have not asserted that they would be

  inconvenienced by transfer, nor could they: all of them have already been sued in the Eastern

  District of Virginia. And no plaintiff has asserted that he or she would be inconvenienced by the

  transfer. In contrast, Plaintiffs have established that discovery in the Virginia actions has been,

  and continues to be, complicated, time-consuming, and extremely important. Transfer is

  warranted to ensure that all plaintiffs have access to the same information.

  II.    Sovereign immunity issues do not preclude transfer.

         The Tribal Defendants maintain the Panel lacks jurisdiction to transfer the actions

  because there is no subject matter jurisdiction over them. ECF No. 45 at 10 (asserting lack of

  subject matter jurisdiction “precludes transfer under § 1407”). That is wrong. “Section 1407 does

  not empower the MDL Panel to decide questions going to the jurisdiction or the merits of a case

  ….” In re Ivy, 901 F.2d 7, 9 (2d Cir. 1990) (denying petition for writ of mandamus to vacate

  order transferring action for MDL consolidation). The only issue before the Panel is “the merits

  of [a] transfer viewed against the purposes of the multidistrict statutory scheme, whether or not

  there is a pending jurisdictional objection.” Id. Accordingly, in other cases the Panel has declined

  to postpone transfer pending resolution of jurisdictional issues in the transferor courts and has

  specifically noted that the transferee judge “certainly has the power to determine” the

  jurisdictional questions. See In re Air Crash Disaster at Florida Everglades, 368 F. Supp. 812,

  813 (J.P.M.L. 1973); see also Wolgamott v. Asbestos Defendants, No. C 09-5667 SBA (N.D.

  Cal. Feb. 16, 2010) (noting “[c]onsistency as well as economy is thus served” when the

  transferee court decides a jurisdictional objection).




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         The Tribal Defendants wrongly rely on BancOhio Corp. v. Fox, 516 F.2d 29 (6th Cir.

  1975). In that case, the Panel had stayed an order transferring a case to an established MDL

  pending resolution of a jurisdictional issue. At the time the transfer order was stayed, the district

  court in the underlying action already had ruled on the jurisdictional issue, finding the district

  court had subject matter jurisdiction, but the defendant had petitioned for a writ of mandamus

  seeking to reverse the district court’s decision. The Sixth Circuit ultimately granted the writ of

  mandamus, holding the federal court lacked jurisdiction. Although the Sixth Circuit observed in

  dicta that transfer “cannot be made unless the district court properly has jurisdiction over the

  subject matter of the case,” see id., it did not hold that a jurisdictional question must be resolved

  before the Panel can enter an order transferring a case to a MDL. That question —identical to the

  question presented here — was addressed by the Second Circuit in In re Ivy, which, as described

  above, held that a pending jurisdictional question does not preclude transfer because the

  transferee court can address jurisdiction. The Second Circuit distinguished Fox because in Fox

  the jurisdictional question already had been answered and a writ of mandamus sought. Similarly,

  the jurisdictional question has not been decided in any of the cases sought to be consolidated

  here and thus the Second Circuit’s reasoning applies.

         Here, it is fair and efficient for Judge Payne to decide the jurisdictional issues on a

  consolidated basis. Judge Payne is intimately familiar with the factual record that the Fourth

  Circuit considered before holding that the Tribal Defendants had sovereign immunity. He also is

  familiar with the extensive evidence that has been developed since the parties briefed the

  sovereign immunity issue two years ago. And he will become even more familiar with these new

  facts and the impact they will have on the case after he holds the evidentiary hearing in October.

  Thus, he is well-situated to make a fair and informed decision for all the cases in light of all the



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  facts. Judge Payne’s recent request for briefing on the impact of the Fourth Circuit’s decision on

  the various pending motions in the Virginia cases confirms that he stands ready and willing to

  make decisions regarding any effect the Fourth Circuit’s decision has not only on Plaintiffs’

  claims against the Tribal Defendants, but also on Plaintiffs’ ability to obtain discovery from the

  Tribal Defendants to support their claims against Martorello and other non-tribal defendants. To

  avoid conflicting rulings on these important issues and to ensure that discovery proceeds

  efficiently and fairly, transfer and consolidation in front of Judge Payne is appropriate.

  III.   Defendants’ accusations of “improper motives” are meritless and the fact that all
         Defendants oppose transfer is not dispositive.

         Defendants accuse Plaintiffs of forum shopping, but Defendants’ own contradictory

  assertions on that score show that such accusations are meritless. On the one hand, the Tribal

  Defendants accuse Plaintiffs of trying to “lock in” favorable rulings. See ECF No. 45 at 18. On

  the other hand, the Galloway II and Martorello Defendants accuse Plaintiffs of trying to

  circumvent Judge Payne’s unfavorable ruling on their motion for leave to amend in Galloway I.

  See ECF No. 42 at 17; ECF No. 44 at 18. Neither is true. If Plaintiffs truly were “forum

  shopping,” they would seek transfer to a district court outside of the Fourth Circuit in order to

  avoid any binding effect of the Fourth Circuit’s decision on sovereign immunity. Far from forum

  shopping, Plaintiffs seek transfer and consolidation to prevent conflicting rulings on key issues

  and to ensure that discovery progresses fairly and efficiently. Plaintiffs are particularly

  concerned that courts in the other jurisdictions — where jurisdictional discovery is now closed

  — will decide sovereign immunity and class certification without the benefit of the full record

  that continues to develop in the Virginia cases.

         It is also untrue that the Panel must deny transfer simply because Defendants are opposed

  to it. See In re Asbestos and Asbestos Insulation Material Prods. Liability Litig., 431 F. Supp.

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  906, 910 (J.P.M.L. 1977) (“Asbestos”) (observing virtually unanimous opposition to transfer

  though persuasive, is not determinative). In Asbestos, although the Panel noted that unanimous

  opposition to a request for consolidation is “persuasive,” the Panel’s analysis ultimately focused

  exclusively on the substance of the parties’ arguments regarding the Section 1407 factors, rather

  than on the fact of unanimity itself. The Panel reasoned similarly in In re Natural Gas Liquids

  Regulation Litig., 434 F. Supp. 665, 667-68 (J.P.M.L. 1977) (finding transfer inappropriate

  where disparate questions predominated over common questions, but noting Panel’s “power to

  order transfer in multidistrict litigation even if no party favors transfer”). In other words, the

  parties’ preferences are less important to the Panel’s transfer analysis than the other factors

  articulated in Section 1407. See In re Griseofluvin Antitrust Litig., 395 F. Supp. 1402, 1403-04

  (J.P.M.L. 1975) (ordering transfer despite the fact that all but one defendant opposed transfer

  because sec. 1407 factors weighed heavily in favor of transfer); In re Capital Underwriters, Inc.

  Securities Litig., 464 F. Supp. 955, 959 (J.P.M.L. 1979) (ordering consolidation and transfer

  despite opposition of all but one defendant who took no position because other factors

  overwhelmingly supported consolidation); In re Westinghouse Elec. Corp. Uranium Contracts

  Litig., 405 F. Supp. 316, 317-18 (J.P.M.L. 1975) (finding transfer and consolidation appropriate

  despite opposition from all but nonmoving party).

         Defendants’ opposition should be afforded little persuasive weight here. The Section

  1407 factors strongly favor transfer. And Defendants have their own interests in preventing other

  plaintiffs from participating in the continued discovery that is taking place in Virginia.

  Conflicting rulings that almost certainly will tie issues up in the courts of appeals also would

  benefit Defendants by slowing the proceedings down. Thus, it is not surprising that they oppose

  the efficiencies that come with consolidation and transfer of the various matters.



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                                           CONCLUSION

         For all these reasons, the Williams and Galloway I Plaintiffs respectfully request that the

  Panel grant their motion and order transfer of the actions listed in the Schedule of Actions, as

  well as any tag-along actions, to the Eastern District of Virginia for consolidated pretrial

  proceedings before Judge Payne.

         RESPECTFULLY SUBMITTED AND DATED this 29th day of July, 2019.

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                                         Fitzgerald, Andrea Scarborough, Burry Pough, Lisa
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                                         Avent, Lucinda Gray, Anthony Green, Linda
                                         Madison, Derek Geter, Keisha Hamm, Faith
                                         Thomas, Sharon Paavo, and Latanya Tarleton




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                          Exhibit 2




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                 BEFORE THE UNITED STATES JUDICIAL PANEL ON
                         MULTI-DISTRICT LITIGATION


                                               MDL No.
 In re

 BIG PICTURE LOANS LITIGATION

    MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION FOR TRANSFER OF
        ACTIONS TO THE EASTERN DISTRICT OF VIRGINIA AND FOR
             CONSOLIDATION PURSUANT TO 28 U.S.C. § 1407




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                                          INTRODUCTION

        Pursuant to 28 U.S.C. § 1407 and the Rules of Procedure of the Judicial Panel on

 Multidistrict Litigation, Plaintiffs in three class action cases in the Eastern District of Virginia

 respectfully move the Judicial Panel on Multidistrict Litigation for an order transferring the eight

 pending related cases listed in the Schedule of Actions, as well as any subsequently filed tag-

 along cases involving similar facts and claims, to the Eastern District of Virginia for coordinated

 or consolidated proceedings. The cases in the Eastern District of Virginia are far more advanced

 than the cases filed in other courts around the country. Transfer will preserve the parties’ and the

 courts’ resources and will ensure consistent outcomes across cases.

        This litigation involves Defendants’ scheme to make online usurious short term loans

 (commonly called “payday loans”). These loans carry triple-digit interest rates, often exceeding

 400%, and are illegal. Payday loans target vulnerable borrowers and, left unregulated, can

 economically devastate borrowers and their communities. Consumers often renew the loans or

 take out new loans when they are unable to pay their original loans off, creating a cycle of

 mounting debt. Some payday lenders have devised a method to avoid state usury laws—the

 “rent-a-tribe” scheme. In a rent-a-tribe scheme, the payday lender—which does most of its

 lending over the internet—affiliates with a Native American tribe to attempt to insulate itself

 from federal and state law by piggy-backing on the tribe’s sovereign legal status and its general

 immunity from suit under federal and state laws. Lenders argue that because their businesses are

 located on a Native American reservation or affiliated with a Native American tribe, they are

 bound by the laws of that reservation or tribe only and not by federal or state law.

        The rent-a-tribe enterprise at issue in this litigation was created and operated by

 defendant Matt Martorello, a Chicago entrepreneur with no lineage to the Lac Vieux Desert



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 Bank of Lake Superior Chippewa Indians (“LVD”). Over the past seven years, the enterprise

 made high-interest loans to consumers through Red Rock Tribal Lending, LLC, and Big Picture

 Loans, LLC, two companies claiming to be owned and operated by the LVD. In reality, these

 two entities were formed to ostensibly provide sovereign immunity to Martorello from the

 consequences of making usurious loans and collecting unlawful debt. Plaintiffs contend that

 Martorello reaped the vast majority of the profits from the loans and maintained control of the

 day to day lending operations.

        On June 22, 2017, Plaintiffs Lula Williams, Gloria Turnage, George Hengle, Dowin

 Coffy, and Felix Gillison, Jr. (the Williams Plaintiffs) filed a class action complaint in the

 Eastern District of Virginia on behalf of all persons who received a loan with an interest rate

 greater than 12% from Red Rock or Big Picture Loans when residing or located in Virginia. The

 Williams Plaintiffs allege that the defendants—Martorello, Big Picture, and Ascension

 Technologies, LLC—violate Virginia’s usury laws and the Racketeer Influenced and Corrupt

 Organizations Act (RICO) in making the extortionate loans to proposed class members.

        On June 12, 2018, Plaintiffs Renee Galloway, Dianne Turner, Earl Browne, Rose Marie

 Buchert, Regina Nolte, Teresa Titus and Kevin Minor (the Galloway Plaintiffs) filed a class

 action complaint in the Eastern District of Virginia on behalf of all persons living in Virginia,

 California, Illinois, Indiana, Ohio, Washington, and states with similar usury laws who received

 a loan with an interest rate greater than 12% from Red Rock or Big Picture Loans. The Galloway

 Plaintiffs allege that defendants Martorello, Big Picture Loans, and Ascension violate RICO and

 state usury laws by making the high-interest loans. The Williams and Galloway Plaintiffs also

 filed a new case in the Eastern District of Virginia naming as defendants several additional




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 persons and entities who were involved in and profited from the lending scheme, as well as

 plaintiffs from additional states.

        This litigation has been hard fought from the start. The Defendants are pursuing every

 procedural and legal challenge available, and third parties are disputing the scope of Plaintiffs’

 subpoenas in courts around the country, spawning additional litigation. There are over five

 hundred docket entries in the Williams matter alone, and the court has issued over one hundred

 rulings on virtually every issue imaginable, from sovereign immunity to motions to dismiss to

 privilege waivers to countless discovery disputes. More than 25 depositions have been taken,

 class certification is fully briefed. The Fourth Circuit recently heard argument on the corporate

 defendants’ appeal of the denial of their motion to dismiss on sovereign immunity grounds.1 The

 court has fielded approximately thirty contested discovery motions. During a recent hearing, the

 court called Defendants’ discovery tactics “Sherman-esque” and observed that discovery

 obstruction had “reached enormous proportions” unlike any he had seen since he has been on the

 bench. See Transcript at 6, 26, Galloway v. Big Picture Loans, LLC, No. 3:18-cv-406 (E.D. Va.

 May 22, 2019), ECF No. 242. The court has entered an additional forty orders in Galloway and

 recently entered an order allowing Plaintiffs to supplement the record on sovereign immunity

 and to describe in detail any misrepresentations Defendants have made to the court. See

 Galloway, ECF No. 246 at 6-8.

        Starting nearly a year after the Williams Plaintiffs filed their class action complaint, five

 additional cases with effectively identical copycat allegations were filed in five different



 1
  The corporate defendants are not necessary parties to this litigation because Plaintiffs argue that
 Matt Martorello and related entities and individuals conspired to evade state and federal law by
 unlawfully piggy-backing on purported tribal sovereign immunity. Thus, even if the Fourth
 Circuit holds the corporate defendants have tribal sovereign immunity, the litigation would still
 proceed against Martorello and related non-tribal individuals and entities.
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 districts: Northern District of California (Cumming), Northern District of Georgia (McKoy),

 District of Oregon (Smith), District of Massachusetts (Duggan), and Central District of

 California (Kobin). See Schedule of Actions. All of the cases assert state usury law and RICO

 violations against similar groups of defendants and were filed on behalf of proposed classes of

 state residents. The Cumming and Kobin cases were also filed on behalf of proposed nationwide

 classes. Not surprisingly, the defendants have pursued the same early tactics in these cases as in

 Williams and Galloway, filing motions to dismiss on various grounds including sovereign

 immunity. The plaintiffs in the copycat cases have responded by seeking the discovery the

 Williams Plaintiffs obtained before responding to the motions. To be clear: these plaintiffs have

 literally requested the discovery from Williams, including “pleadings and evidence” referred to

 in jurisdictional motion briefing and “unredacted versions” of evidence that the Eastern District

 of Virginia considered when ruling on motions. The plaintiffs in these copycat cases are

 represented by five different law firms: Tycko & Zaveeri LLP, McRae Bertschi & Cole LLC,

 Stoll Berne Lokting & Schlachter P.C., Bailey & Glasser LLP, and Caddell & Chapman.

        Because all eight cases involve the same legal claims and defendants, overlapping

 classes, and common issues of law and fact, consolidation will promote the convenience of the

 parties and witnesses and the just and efficient conduct of the litigation. See 28 U.S.C. § 1407.

 Consolidation will mitigate the possibility of inconsistent rulings, including rulings on the

 propriety of class certification, and will promote judicial economy by providing a single forum to

 which future tag-along actions can be transferred. The Eastern District of Virginia is the most

 appropriate forum for these cases to proceed. The Williams and Galloway Plaintiffs therefore

 respectfully move the Panel for transfer and consolidation of the eight cases to the Eastern

 District of Virginia. On June 5, 2019, Plaintiffs asked Defendants to provide their opinion



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 regarding transfer and consolidation. On June 7, 2019, Defendants informed Plaintiffs they were

 still consulting their clients and had not stated their position.

                                             ARGUMENT

 I.      The litigation satisfies the requirements for consolidation and transfer under
         28 U.S.C. § 1407(a).

         Transfer and consolidation is permitted if civil actions pending in different districts

 “involv[e] one or more common questions of fact” and the Panel determines that transfer will

 further “the convenience of parties and witnesses and will promote the just and efficient conduct

 of such actions.” 28 U.S.C. § 1407(a). “The objective of transfer is to eliminate duplication in

 discovery, avoid conflicting rulings and schedules, reduce litigation cost, and save the time and

 effort of the parties, the attorneys, the witnesses, and the courts.” Manual for Complex Litigation

 § 20.131 (4th ed. May 2019 update). Transfer and consolidation of the eight pending cases for

 pretrial proceedings will achieve these objectives.

         A.      The litigation involves common questions of fact.

         To assess whether transfer and consolidation is appropriate under section 1407, the Panel

 considers the pleadings to determine the extent to which the cases involve common questions of

 fact. The complaints in the eight pending cases assert nearly identical factual allegations relating

 to the rent-a-tribe enterprise masterminded by Martorello. The complaints also assert the same

 legal claims—violations of RICO and state usury laws—against the same defendants. Many of

 the key factual allegations in the Williams Plaintiffs’ complaint are repeated nearly verbatim in

 the copycat complaints filed in other jurisdictions. Compare Class Action Complaint ¶¶ 13-15,

 26-53, Williams v. Big Picture Loans, LLC, No. 3:17-cv-461-REP (E.D. Va. June 22, 2017), ECF

 No. 1 with Amended Class Action Complaint ¶¶ 16-42, Cumming v. Big Picture Loans, LLC,

 No. 5:18-cv-03476-EJD (N.D. Cal. June 26, 2018) ECF No. 6; Class Action Complaint ¶¶ 62-75,


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 McKoy v. Big Picture Loans, LLC, No. 1:18-cv-03217-MLB (N.D. Ga. July 3, 2018), ECF No.

 1; Class Action Allegation Complaint ¶¶ 33-46, Smith v. Big Picture Loans, LLC, No. 3:18-cv-

 01651-AC (D. Or. Sept. 11, 2018), ECF No. 1; Class Action Complaint ¶¶ 44-57, Duggan v. Big

 Picture Loans, LLC, No. 18-cv-12277-JGC (D. Mass. Oct. 31, 2018), ECF No. 1; Class Action

 Complaint ¶¶ 38-50, Kobin v. Big Picture Loans, LLC, No. 2:19-cv-02842-CJC-E (C.D. Cal.

 Apr. 12, 2019), ECF No. 1.

        Importantly, the Defendants’ payday lending scheme did not vary from state to state. The

 rates charged in all states were over the state usury limits, and Defendants’ defense in all cases is

 that state law does not apply to them because they are entitled to tribal immunity. The issues

 related to tribal immunity are factually intricate and legally complex.

        B.      The parties face duplicative discovery absent transfer and consolidation.

        Resolution of the common issues in a single forum would further the convenience of all

 parties and witnesses, as well as the courts. See 28 U.S.C. § 1407(a). Because all eight cases

 assert virtually identical allegations and raise common factual questions, the plaintiffs in each

 case will require depositions of the same persons and entities and discovery of the same

 documents. In fact, the plaintiffs in several of the cases have already sought discovery the

 Williams Plaintiffs obtained to respond to the defendants’ similar motions to dismiss on

 jurisdictional grounds. See, e.g., Plaintiffs’ Motion for Jurisdictional Discovery, McKoy v. Big

 Picture Loans, LLC, No. 1:18-cv-03217-MLB (N.D. Ga. July 3, 2018), ECF No. 51 (requesting

 production of “all pleadings and evidence that were filed as attachments or referred to in briefing

 on jurisdictional motions in the Williams case”); Plaintiff’s Motion for Jurisdictional Discovery

 and Briefing Schedule at 4, Smith v. Big Picture Loans, LLC, No. 3:18-cv-01651-AC (D. Or. Jan.

 11, 2019), ECF No. 62 (“Plaintiff served jurisdictional discovery on Defendants, seeking

 documents relevant to factors courts have considered relevant to sovereign immunity, including
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 unredacted versions of the evidence that the Eastern District of Virginia considered.”).

 Defendants have objected to these requests, leading to motion practice.

        It is inefficient for different judges across the country to try to decide which discovery

 completed in Williams should be made available to the plaintiffs in other cases. Doing so will

 require those judges to become familiar with the record in Williams, which is voluminous and

 constantly developing as the court continues to rule on discovery motions, including disputes

 over third party subpoenas transferred from other districts and ongoing privilege disputes. See,

 e.g., Memorandum Order, Williams v. Big Picture Loans, LLC, No. 3:17-cv-461-REP (E.D. Va.

 May 28, 2019), ECF No. 513 (ordering Rosette LLP, a law firm that represented Ascension and

 Big Picture Loans, to produce unredacted versions of documents or submit proposed redactions

 in camera for review); Memorandum Opinion, ECF No. 478 (granting in part plaintiffs’ motion

 to compel information withheld on the basis of attorney-client privilege). One court considering

 a motion to transfer a subpoena-related action characterized its efforts to “gain an understanding

 of the more nuanced facts as well as the progress of” the Williams action as a struggle, noting

 that at that time the docket “comprises 463 docket entries.” Order at 10, Weddle v. Williams, No.

 18-mc-00225-RBJ-KLM at 10 (D. Colo. Apr. 15, 2019), ECF No. 27.

        Given Defendants’ obstructionist approach to discovery, it is also not possible to rely on

 the parties in the various cases to coordinate and cooperate during discovery. For example,

 Plaintiffs understand that the parties in the Duggan and Smith cases have entered into an

 agreement where defendants’ “document production, deposition testimony, and responses to

 written discovery in Smith” may be used in Duggan. Duggan, ECF No. 61 at 2. But the

 discovery ordered in Smith is far more limited than the discovery Plaintiffs have now taken in

 Williams and that the Eastern District of Virginia has permitted Plaintiffs to use to support their



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                       Exhibits 18 through 28 Page 56 of 325



  position on sovereign immunity. For example, in Smith, the tribal defendants have only made

  two tribal witnesses—Chairman James William Jr. and Michelle Hazen—available for

  depositions and there is no indication in the Stipulation that the plaintiffs will be able to depose

  Martorello or any of the other key non-party witnesses that participated in this scheme. See id. at

  2-3. The Williams Plaintiffs, by contrast, have taken 25 depositions, including Martorello and

  numerous other participants in the scheme. These depositions have generated critical information

  supporting Plaintiffs’ position on sovereign immunity issues.

         It also appears that the written discovery in Smith and Duggan will be limited to

  discovery conducted in connection with defendants’ original sovereign immunity motion in

  Williams. But as the Williams court noted in its recent order permitting supplementation of the

  record, the new evidence the Williams Plaintiffs developed since sovereign immunity was

  originally briefed “raises substantive doubts about the accuracy of evidence presented in

  [Galloway] and the Williams Case by [Ascension and Big Picture] and Martorello about: (1) the

  genesis of the tribal lending arrangements; (2) the creation and structure of [Ascension and Big

  Picture], including the sale and merger transactions that were involved in the corporate

  restructuring; (3) the role of Rosette, LLP and its leader, Rob Rosette, in the sale and merger

  transactions involved in the corporate restructure; and (4) the value (or lack of value) of the key

  asset (Bellicose Capital, LLC) involved in the corporate restructuring.” Galloway, ECF No. 246

  at 3. The court concludes that the Galloway Plaintiffs should be permitted to file a new brief on

  sovereign immunity because “there is significant new and important evidence that will be critical

  to deciding whether Big Picture and Ascension enjoy sovereign immunity.” Id.

         Put plainly, Defendants appear to be continuing their obstructionist ways in Smith and

  Duggan, hoping to limit jurisdictional discovery in those actions to the limited record that



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  existed when sovereign immunity was first briefed in Williams. Transfer and consolidation will

  ensure that all the actions are supervised by a single judge familiar with the full factual record as

  well as Defendants’ attempts to restrict discovery. Because the District Court for the Eastern

  District of Virginia is familiar “from day-to-day contact with all aspects of the litigation,” it is

  “in the best position to design a pretrial program that will prevent duplicative discovery,

  eliminate the possibility of conflicting rulings and substantially conserve the time and efforts of

  the parties, the witnesses and the federal judiciary.” In re Resource Exploration Inc. Sec. Litig.,

  483 F. Supp. 817, 821 (J.P.M.L. 1980). Absent consolidation and transfer, courts may enter

  decisions on sovereign immunity and other important issues without the benefit of the full record

  that the Williams Plaintiffs have developed.

          Without consolidation, courts in all the related matters will have to constantly monitor the

  Williams and Galloway dockets and revisit their rulings each time the court in the Eastern

  District of Virginia decides a discovery issue in the Williams case. Consolidation will mitigate

  these problems by allowing a single judge to manage discovery and the parties to coordinate

  their efforts. This will reduce litigation costs and minimize inconvenience to the parties and

  witnesses, to the benefit of litigants, third parties, and the courts. See In re Enfamil Lipil Mktg.

  and Sales Practices Litig., 764 F. Supp. 2d 1356, 1357 (J.P.M.L. 2011) (“centralization

  under Section 1407 allows us to assign these six actions, each of which contain statewide or

  nationwide class allegations, to a single judge who can ensure that pretrial proceedings are

  conducted in a streamlined manner leading to the just and expeditious resolution of all actions to

  the overall benefit of all parties and the courts”).

          C.      Transfer and consolidation will prevent inconsistent pretrial rulings.

          Because the cases involve the same factual allegations, the same types of claims, and the



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  same defendants, there is a significant risk of inconsistent pretrial rulings. The Panel considers

  the possibility of inconsistent rulings on pretrial issues because of the possible res judicata or

  collateral estoppel effect on other cases. See In re Enron Corp. Sec., Derivative & ERISA Litig.,

  196 F. Supp. 2d 1375, 1376 (J.P.M.L. 2002) (granting a transfer in part to prevent inconsistent

  pretrial rulings, particularly with respect to questions of class certification). The defendants have

  already filed motions to dismiss in several of the cases filed after Williams that seek dismissal on

  the same grounds. The defendants are also likely to file similar summary judgment motions in

  the cases.

             Transfer and consolidation is particularly appropriate for these eight actions to prevent

  inconsistent rulings on class certification and other class-related issues. See In re LLRice 601

  Contamination Litig., 466 F. Supp. 2d 1351, 1352 (J.P.M.L. 2006) (“Centralization … is

  necessary in order to eliminate duplicative discovery, prevent inconsistent pretrial rulings

  (especially with respect to questions of class certification), and conserve the resources of the

  parties, their counsel and the judiciary.”). All of the cases assert RICO violations in addition to

  state usury law claims, so each court will have to address the propriety of certification of the

  same issues and claims. This Panel has “consistently held that transfer of actions under Section

  1407 is appropriate, if not necessary, where the possibility of inconsistent class determinations

  exists.” In re Sugar Indus. Antitrust Litig., 395 F. Supp. 1271, 1273 (J.P.M.L. 1975); accord In

  re Resource Exploration, 483 F. Supp. at 821 (“It is desirable to have a single judge oversee the

  class action issues in these actions to avoid duplicative efforts and inconsistent rulings in this

  area.”).

             By eliminating the risk of duplicative discovery, and the corresponding risk of repetitive

  and inconsistent pretrial rulings, consolidation will promote the just and efficient resolution of



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  these actions. It will permit discovery to be effectively and efficiently managed while conserving

  the resources of the parties, attorneys, and judicial system.

         D.      There is a sufficient number of actions to support transfer and consolidation.

         Finally, the eight pending cases and any tag-along cases that are filed are sufficiently

  numerous and complex to warrant consolidation. The Panel has routinely ordered centralization

  of five or fewer cases. See, e.g., In re Gold King Mind Release in San Juan County, Colorado, on

  August 5, 2015, 291 F. Supp. 1373, 1374 (J.P.M.L. 2018) (ordering centralization of four cases

  rather than informal coordination and cooperation because of “the apparent complexity of the

  factual issues, as well as the potential for significant tag-along activity”); In re Dealer Mgmt.

  Sys. Antitrust Litig., 291 F. Supp. 3d 1367, 1368-69 (J.P.M.L. 2018) (centralizing five actions);

  In re Epipen Mktg., Sales Practices & Antitrust Litig., 268 F. Supp. 3d 1356, 1359-60 (J.P.M.L.

  2017) (centralizing five actions and commending plaintiffs’ willingness to work cooperatively

  but finding that coordination “appears problematic” because of “the likely complexity of the

  factual questions” and a “lack of agreement among counsel”).

  II.    The Eastern District of Virginia is the appropriate transferee forum.

         Plaintiffs respectfully suggest that the Eastern District of Virginia is the superior forum

  for the consolidated action. In choosing an appropriate forum, the Panel considers where the

  largest number of cases is pending; where discovery has occurred; where cases have progressed

  furthest; the site of the occurrence of the common facts; where the cost and inconvenience will

  be minimized; and the experience, skill, and caseloads of available judges. Manual for Complex

  Litigation § 20.132. These criteria point to the Eastern District of Virginia as the most

  appropriate forum for the transfer and consolidation.




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         The first three considerations strongly support transfer to the Eastern District of Virginia.

  There are three cases pending in the District and, so far, eight subpoena-related actions have

  been transferred pursuant to Federal Rule Civil Procedure 45(f). The Williams matter, which has

  been on file since June 2017, currently has 538 docket entries and the Galloway matter has 248

  docket entries. The Williams court ruled on the defendants’ motions to dismiss nearly a year ago.

  The corporate defendants appealed the district court’s denial of their motion to dismiss on

  sovereign immunity grounds and the Fourth Circuit heard oral argument on May 7, 2019. In the

  meantime, Plaintiffs and defendant Martorello engaged in voluminous discovery that has been

  hotly contested, requiring the district court to resolve approximately thirty contested discovery

  motions. See Williams, ECF Nos. 16, 45, 49, 111, 116, 310, 312, 320, 321, 324, 326, 327, 328,

  329, 349, 358, 361, 415, 416, 435, 440, 441, 460, 461, 462, 478, 479, 502, 511, 513. Recently,

  the district court issued a lengthy opinion on the Plaintiffs’ motion to compel information

  Martorello withheld on the basis of attorney-client privilege, finding among other things that “the

  plaintiffs have made a prima facie case that Martorello violated RICO.” Memorandum Opinion

  at 37, Williams v. Big Picture Loans, LLC, No. 3:17-cv-461-REP (E.D. Va. May 3, 2019), ECF

  No. 478. Twenty depositions of fact witnesses have been taken, including all the named

  plaintiffs. Martorello and the Williams Plaintiffs have exchanged expert reports and conducted

  expert depositions, including the deposition of Plaintiffs’ expert and five of Martorello’s seven

  experts. The Williams Plaintiffs filed a motion for class certification of their claims against

  Martorello in September 2018 and the motion is now fully briefed. The Williams Plaintiffs have

  also served subpoenas on approximately 55 third parties, including the subpoenas that resulted in

  disputes transferred to the Eastern District of Virginia pursuant to Rule 45(f). The Galloway

  Plaintiffs also have served subpoenas, including 37 on state attorneys general.



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         None of the other cases has proceeded beyond the pleading stage. The docket in

  Cumming totals 106 entries and the court has entered 23 orders, the majority of which are

  administrative in nature. The Cumming court is scheduled to hear argument on the defendants’

  motions to dismiss on July 18, 2019 and the parties are still discussing the scope of jurisdictional

  discovery. See Cumming, ECF No. 104 (joint letter brief regarding discovery). McKoy, Smith,

  and Duggan have 60, 78, and 62 docket entries respectively. The defendants have moved to

  dismiss, and the parties are in the early stages of conducting jurisdictional discovery. The

  defendants have not yet appeared in Kobin.

         Galloway, which is also pending in the Eastern District of Virginia and currently has 248

  docket entries, is further along. Judge Payne heard oral argument on the defendants’ motions to

  dismiss on May 22, 2019 and entered an order permitting the Galloway Plaintiffs to file a new

  brief on sovereign immunity issues that incorporates all the discovery that the Williams Plaintiffs

  developed over the last year. As noted above, however, similar coordination does not appear to

  be possible with the other cases where defendants have resisted the plaintiffs’ attempts to obtain

  discovery acquired in Williams or have been able to limit discovery to the incomplete factual

  record before the court on the Williams sovereign immunity decision. See, e.g., Cumming, ECF

  No. 97 (refusing to produce information produced in the Williams matter on various grounds).

         There is no single “site of the occurrence of the common facts.” Martorello’s enterprise

  made loans online to consumers throughout the country. The call center that handled consumer

  complaints is located in the Philippines and the entities and individuals comprising the enterprise

  are dispersed throughout the United States, Puerto Rico, and the Virgin Islands. The Eastern

  District of Virginia is convenient because it is served by two international airports and dozens of

  reputable hotels. See In re Groupon Mktg. & Sales Practices Litig., 787 F. Supp. 2d 1362, 1364



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  (J.P.M.L. 2011) (selecting court where the first-filed action was pending for transfer of

  nationwide litigation in part “because it … is located in an accessible metropolitan area”); In re

  Pamidronate Products Liability Litig., 657 F. Supp. 2d 1368, 1369 (J.P.M.L. 2009) (same). And

  the docket in the Eastern District of Virginia is among the least burdened by multidistrict

  litigation with only three cases pending. See MDL Statistics Report—Distribution of Pending

  MDL Dockets by District (May 15, 2019), available at

  https://www.jpml.uscourts.gov/sites/jpml/files/Pending_MDL_Dockets_By_District-May-15-

  2019.pdf.

         The relevant considerations support transfer to the Eastern District of Virginia for

  consolidation. The first-filed Williams case is pending before the Honorable Robert E. Payne, an

  experienced judge who is familiar with the factual and legal issues in this litigation and is not

  currently presiding over another multidistrict litigation docket. See In re Enfamil, 764 F. Supp.

  2d at 1357 (transferring cases to the judge who was familiar with the merits of the litigation and

  had ruled on numerous substantive matters).

                                           CONCLUSION

         The Williams and Galloway Plaintiffs respectfully request that the Panel grant their

  motion and order transfer of the actions listed in the Schedule of Actions, as well as any tag-

  along actions, to the Eastern District of Virginia for consolidated pretrial proceedings.

         RESPECTFULLY SUBMITTED AND DATED this 7th day of June, 2019.

                                                BERGER MONTAGUE PC


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                                         Titus, Kevin Minor, Dominique de la Bay, Lori
                                         Fitzgerald, Andrea Scarborough, Burry Pough, Lisa
                                         Martinez, Sonji Grandy, Anastasia Sherman, Jerry
                                         Avent, Lucinda Gray, Anthony Green, Linda
                                         Madison, Derek Geter, Keisha Hamm, Faith
                                         Thomas, Sharon Paavo, and Latanya Tarleton




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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Richmond Division


LULA WILLIAMS, et al.,

                      Plaintiffs,

v.                                                  CIVIL ACTION NO. 3:17-cv-461 (REP)

BIG PICTURE LOANS, LLC, et al.,

                  Defendants.
___________________________________

RENEE GALLOWAY, et al.,

                      Plaintiffs,

v.                                                  CIVIL ACTION NO. 3:18-cv-406 (REP)

BIG PICTURE LOANS, LLC, et al.,

                  Defendants.
___________________________________
RENEE GALLOWAY, et al.,

                      Plaintiffs,

v.                                                  CIVIL ACTION NO. 3:19-cv-314 (REP)

JUSTIN MARTORELLO, et al.,

                              Defendants.


                          PLAINTIFFS’ OPPOSITION TO
                    DEFENDANTS’ MOTION FOR CONSOLIDATION

       Plaintiffs oppose Defendants’ Motion for Consolidation (Williams, Dkt. 661) as a tactic to

delay the more procedurally advanced Williams case. Consistent with the prior Order of this Court,

the Court should deny Defendants’ Motion.



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                                     I.      INTRODUCTION

       Defendants seek to delay Williams v. Big Picture Loans, LLC, Civil Action No. 3:17-cv-

00461 (“Williams”), by consolidating it into Galloway v. Big Picture Loans, LLC, Civil Action

No. 3:18-cv-00406 (“Galloway I”), and Galloway v. Martorello, Civil Action No. 3:18-cv-00314

(“Galloway II”).1 This is just the latest example of Defendants’ repeated efforts to impede this

Court’s consideration of the merits of this litigation. If Defendants were sincerely interested in

consolidated litigation as anything more than a tactic for avoidance and delay, they would have

agreed to consolidation a year ago when there were two opportunities to combine the litigation.

Instead, Defendants opposed the combination of the Galloway II claims into the Galloway I action,

and by Order dated May 10, 2019, this Court agreed that they should not be consolidated by

amendment of the Galloway I complaint:

       [T]he addition of new parties and claims at this time to this already complex case
       will not be in the interest of justice insofar as the existing parties are concerned,
       will cause prejudice to the existing defendants, and will cause significant delay in
       the already delayed progress of this case.
(Order dated May 10, 2019, Galloway v. Big Picture Loans, LLC, No., 3:18-cv-406 (E.D. Va.)

(“Galloway I”), Dkt. 228.) Defendants also opposed consolidation of the cases into an MDL

proceeding, claiming that consolidation would be “unhelpful,” “counterproductive,” and would

“not promote the just or efficient conduct of this action.” (In re Big Picture Loans Litig., MDL No.

2906, Dkt. 44 at 17, 20.)       Defendants belatedly reverse their arguments and now seek

consolidation.   However, Defendants’ motivations conflict with the legitimate purpose of

consolidation; instead of seeking efficiency, Defendants are only interested in slowing the


1
 Defendants also may be attempting to consolidate the cases as a part of their recent efforts to
ensnare the litigation in bankruptcy court in the Northern District of Texas. Eventide Credit
Acquisitions, LLC (“Eventide”) is a defendant in Galloway II, but not the other two cases. If
Williams and Galloway I were consolidated into Galloway II, Defendants would potentially
attempt to stay and transfer the combined litigation to Texas.
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progression of Williams, which is much further advanced than the other cases. The factors for

denying consolidation of Williams into the Galloway cases are now much more compelling than

they were for denying consolidation of Galloway I and II one year ago. The Williams case is ready

for class certification and trial; Galloway I and Galloway II, on the other hand, are in their

procedural infancy.          Consistent with its ruling on May 10, 2019, the Court should deny

consolidation of the Williams, Galloway I, and Galloway II cases.

                       II.      BACKGROUND AND PROCEDURAL HISTORY

       A. Comparison of the Williams, Galloway I, and Galloway II Litigation

       The Williams, Galloway I, and Galloway II lawsuits arise from the same core predatory

and usurious lending enterprise. However, the claims and causes of action in the Galloway cases

are more complex, targeting a broader spectrum of consumer protection statutes and asserting

claims on behalf of classes and subclasses that are broader than those in Williams. Additionally,

Galloway II alleges causes of action against nine defendants, unlike Williams and Galloway I,

which only have claims remaining against Matt Martorello, the architect and primary beneficiary

of the unlawful lending enterprise. Accordingly, the lending statutes and consumer protection

laws in Williams are less numerous and complex than those in the Galloway cases. The chart

below serves to illustrate the relative complexities of Galloway II in contrast to the simpler claims

against Matt Martorello in the Williams case.



    Case/Style            Date            Plaintiffs        Non-Settling            Causes
                          Filed                             Defendants            of Action
 Williams, et al. v.     6/22/17     Lula Williams,        Matt Martorello   Declaratory Judgment
 Big       Picture                   Gloria Turnage,
 Loans, LLC et                       George Hengle,                          Violations of
 al., No. 3:17-cv-                   Dowin Coffy,                            Virginia lending laws
 461 (E.D. Va.)                      Felix Gillison, Jr.                     and consumer
                                                                             protection statutes
 (“Williams”)


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                                                                          Violations of RICO,
                                                                          18 U.S.C. §§ 1962(c)
                                                                          & (d)

                                                                          Unjust Enrichment

    Renee Galloway,     6/11/18   Renee Galloway      Matt Martorello     Violations of
    et al. v. Big                 Dianne Turner                           Virginia, California,
    Picture Loans,                Earl Browne                             Florida, Illinois,
    LLC, et al., No.              Rose Marie                              Indiana, Maryland,
    3:18-cv-406                   Buchert                                 New Jersey, North
    (E.D. Va.)                    Regina Nolte                            Carolina, Ohio,
                                  Kevin Minor                             Texas, Washington
    (“Galloway I”)                Teresa Titus                            lending laws and
                                  Lisa Martinez                           consumer protection
                                  Anthony Green                           statutes
                                  Sonji Grandy
                                  Anastasia Sherman                       Violations of RICO,
                                  Burry Pough                             18 U.S.C. §§1962(c)
                                  Linda Madison                           & (d)
                                  Dominique de la
                                  Bay                                     Unjust Enrichment
                                  Lucinda Gray
                                  Andrea
                                  Scarborough
                                  Jerry Avent
    Renee Galloway,     4/24/19   Renee Galloway      Justin Martorello   Violations of
    et al. v. Matt                Dianne Turner                           Virginia, California,
    Martorello, et                Earl Browne         Eventide Credit     Florida, Georgia,
    al., No. 3:19-cv-             Rose Marie          Acquisitions,       Illinois, Indiana,
    314 (E.D. Va.)                Buchert             LLC                 Maryland, Michigan,
                                  Regina Nolte                            New Jersey, North
    (“Galloway II”)               Kevin Minor         Rebecca             Carolina, Ohio,
                                  Teresa Titus        Martorello          Texas, Washington
                                  Lisa Martinez                           lending laws and
                                  Anthony Green       Jeremy Davis        consumer protection
                                  Sonji Grandy                            statutes
                                  Anastasia Sherman   Kairos Holdings,
                                  Burry Pough         LLC                 Violations of RICO,
                                  Linda Madison                           18 U.S.C. §§ 1962(a),
                                  Dominique de la     Breakwater          (b), (c) & (d)
                                  Bay                 Holdings LLC
                                  Lucinda Gray                            Unjust Enrichment
                                  Andrea              Gallant Capital
                                  Scarborough         LLC                 Civil Conspiracy
                                  Jerry Avent
                                  George Hengle2      Liont, LLC          Aiding and Abetting
                                  Keisha Hamm
                                  Faith Thomas

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  The bolded names and states in Galloway II highlight differences between it and Galloway I,
aside from the obvious difference of the defendants in the two cases.


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                                  Sharon Paavo           Bluetech
                                  Latanya Tarleton       Irrevocable
                                                         Trust3


       B. The Williams Litigation Is Much Further Developed than Galloway II

       The Williams case is procedurally advanced for class action litigation, particularly when

contrasted against Galloway II. In Williams, the parties have essentially completed discovery. The

parties have been deposed and responded to several rounds of written discovery. Experts have

been designated. Plaintiffs’ motion for class certification was filed in September 2018 (Williams,

ECF 189 and 190), and it is fully briefed except for a supplemental brief that Plaintiffs will file by

February 26, 2020. (Id., ECF 656.) Plaintiff’s motion for class certification is set for hearing on

March 6, 2020. (Id.)

       Galloway II, on the other hand, was filed almost two years after the Williams litigation and

is in its relative infancy. Preliminary dispositive motions in Galloway II are pending. (Galloway

II, ECF 65, 67, 91, 92, 93, 96, 97, 98, 101, 102, 103, 132, 133, and 134.) The parties are still

negotiating the intended scope of discovery, and Eventide has moved for a protective order staying

discovery. (Id., ECF 264, 281.) None of the 22 Plaintiffs in Galloway have been deposed.

Plaintiffs have yet to depose the Defendants. Experts have not been designated. Also, the

Galloway Plaintiffs have not yet moved for class certification.4 In short, the Williams case is




3
  In addition, due to Martorello and Eventide’s refusal to agree to their dismissal, the Settling
Defendants remain parties in Galloway II. And if Eventide succeeds in derailing the settlement,
Galloway II will continue to have these defendants.
4
  Martorello and the other defendants will lodge unique defenses to certification in Galloway. In
particular, Plaintiffs anticipate that Martorello will retain Ronald Mann, a law professor at
Columbia University, to provide an opinion on the impact of state law differences on class
certification. Mann provided a comparable opinion in the litigation against Martorello’s
competitor, Think Finance, and Martorello has already retained some of the “experts” previously
designated by Think Finance.
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procedurally far more advanced than Galloway II or even Galloway I. Also, in Galloway II,

Eventide has filed a suggestion of bankruptcy. (Id., ECF 307.)

       C. Defendants Have Already Opposed Consolidation Twice, and This Court
          Disposed of the Issue

       On March 22, 2019, Plaintiffs filed a motion seeking leave to amend their complaint in

Galloway I for a consolidated action against the Defendants. (Galloway I, ECF 185.) Defendants

opposed, claiming that an amendment of the claims was untimely. (Id., ECF 207.) In its Order

dated May 10, 2019, this Court held that consolidation of the litigation into one action would be

improper given their disparity in postures:

       [T]he addition of new parties and claims at this time to this already complex case
       will not be in the interest of justice insofar as the existing parties are concerned,
       will cause prejudice to the existing defendants, and will cause significant delay in
       the already delayed progress of this case.

(Id., ECF 228.)

       Then, in June 2019, Plaintiffs sought to combine the subject cases into a multi-district

litigation (“MDL”) action. (In re Big Picture Loans Litig., MDL No. 2906, ECF 1.) Defendants

once again opposed consolidation of the cases:

       In sum, consolidation would not promote the just or efficient conduct of this
       action, and whatever efficiency gains may be had by consolidation may be realized
       just as easily, if not more so, through informal means, such as those the parties are
       already using.

(Id., ECF 44 at 17 (emphasis added).) In their opposition, Defendants argued that consolidation

should be denied for the reasons noted in this Court’s May 10, 2019 Order:

       [T]his is not Plaintiffs’ first attempt to expand Judge Payne’s control over these
       matters. Just two months ago, Judge Payne denied a motion brought by Plaintiffs
       in Galloway II to consolidate their recently filed case with the more procedurally
       mature Galloway I. See Order, Galloway I, No. 3:18-cv-406 (E.D. Va. May 10,
       2019), ECF No. 228. The reasons for the denial are revealing. In his Order, Judge
       Payne found that combining the cases ‘would cause significant delay in the already
       delayed progress of this case,’ such that ‘the addition of new parties and claims at
       this time . . . will not be in the interests of justice” and would “cause prejudice” to
       the existing defendants and the proposed defendants alike. Id. Instead, Judge
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       Payne instructed that claims against the ‘new’ defendants in Galloway II should be
       adjudicated in a ‘separate case or cases,’ allowing the possibility that discovery in
       Galloway I could be used in Galloway II or other cases. Id. Judge Payne – no ally
       to Defendants – has determined that combining even Galloway I and II would cause
       delay and prejudice. This shows all the more how unhelpful and even counter-
       productive it would be to consolidate each of the cases….

(Id., ECF 44 at 19 (emphasis added).) Defendants further noted their agreement with this Court’s

prior findings “that the matters were too disparate, and the procedural progress too great, to

merit consolidation.” (Id., ECF 44 at 20 (emphasis added).) Plaintiffs ultimately withdrew their

petition for MDL and have since continued litigating the earlier cases as expected.

       The point is not that the Defendants should be forever bound by their inconsistent position

so much as it is that their new claim of burden and efficiency should not be believed. If

Defendants’ representation of their expected burden and difficulty at consolidation when the cases

were only yards apart was genuine, the Court has to expect that these burdens and challenges

would only be greater today.

       D. Defendants’ Request for Consolidation Is Just One of Its Many Efforts to
          Undermine This Court’s Presiding Over the Litigation

       Defendants have a history of seeking delay and other courts’ involvement as a means of

side-tracking this litigation. In addition to repeatedly opposing consolidated litigation into active

management by this Court, Defendants have also attempted to involve courts in other jurisdictions

to enjoin this Court from action. For example, in the Western District of Michigan, Defendant

Eventide sought a temporary restraining order to stay this Court’s disposition of the proposed

settlement in Galloway v. Williams, Case No. 3:19-cv-470 (E.D. Va.) (“Galloway III”). Eventide

Credit Acquisitions, LLC v. Big Picture Loans, LLC, Case No. 2:19-cv-00256-JTN-MV (W.D.

Mich. Dec. 17, 2019). When the district court in Michigan denied the request for a TRO (Order

dated Dec. 19, 2019, id., Dkt. 14), Eventide dismissed the lawsuit.



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        Most recently, Defendant Eventide filed a sham bankruptcy in the Northern District of

Texas as a tool to prevent this Court from continuing to preside over the litigation and to delay the

prosecution of the case. In re Eventide Credit Acquisitions, LLC, No. 20-40349-elm11 (N.D. Tex.

Bankr.). Eventide seeks protection in bankruptcy despite the fact that it claims assets that greatly

exceed its liabilities: assets in excess of $50 million and liabilities allegedly less than $10 million.

(Id., Dkt. 1 at 11-12.) To enjoin further litigation in this Court, Eventide has filed an adversary

proceeding in the bankruptcy court with an accompanying motion for preliminary injunction.

(Eventide Credit Acquisitions, LLC v. Big Picture Loans, LLC, Adv. Proc. 20-04008-elm (N.D.

Tex. Bankr. Jan. 29, 2020), Dkt. 1.) Eventide requests that the Northern District of Texas extend

the bankruptcy stay and suspend further litigation in Williams, Galloway I, Galloway II, and other

cases nationwide. (Id., Dkt. 1 at 25.) Additionally, Eventide has noted its intent to circumvent this

Court’s jurisdiction over the cases by filing “forthcoming motions to transfer venue” of the

Williams and Galloway cases to the bankruptcy court. (Id. at 4 n.1.) This motion to consolidate

is yet another effort to stymie the orderly, efficient progress of this action.

                             III.    ARGUMENT AND AUTHORITIES

        A. Considerations and Standard of Review for Consolidation

        Pursuant to Rule 42 of the Federal Rules of Civil Procedure, “[i]f actions before the court

involve a common question of law or fact, the court may: (1) join for hearing or trial any or all

matters at issue in the actions; (2) consolidate the actions; or (3) issue any other orders to avoid

unnecessary cost or delay.” FED. R. CIV. P. 42(a). Upon a showing that the cases involve “a

common question of law or fact,” the decision whether to consolidate them becomes an issue of

judicial discretion. Mears Group, Inc. v. Kiawah Island Utility, Inc., No. 2:17-cv-2418-DCN, 2019




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WL 5395963, at *2 (D. S.C. Oct. 22, 2019), quoting Pariseau v. Anodyne Healthcare Mgmt., Inc.,

2006 WL 325379, at *1 (W.D.N.C. Feb. 9, 2006).

       This Court has “broad discretion” under Rule 42(a) to deny consolidation of causes pending

in the same district. Mears Group, Inc., 2019 WL 5395963, at *2, quoting A/S J. Ludwig

Mowinckles Rederi v. Tidewater Constr. Corp., 559 F.2d 928, 933 (4th Cir. 1977); see also Good

v. Am. Water Works Co., No. 2:14–01374, 2014 WL 2481821, at *2 (S.D. W. Va. June 3, 2014)

(noting that the Fourth Circuit affords broad discretion to district courts on matters of consolidation

and “recognizing the superiority of the trial court in determining how best to structure similar

pieces of litigation”). The moving party bears the burden of showing consolidation is appropriate.

Rendon v. City of Fresno, No. 1:05-CV-00661 OWW DLB, 2006 WL 1582307 (E.D. Ca. June 2,

2006) (denying consolidation where a third case was still in its “formative stages” because it was

filed ten months after one case and seven months after the second).

       In determining whether consolidation is warranted, courts consider “whether the specific

risks of prejudice and possible confusion were overborne” by (1) “the risk of inconsistent

adjudications of common factual and legal issues”; (2) “the burden on parties, witnesses and

available judicial resources posed by multiple lawsuits”; (3) “the length of time required to

conclude multiple suits as against a single one”; and (4) “the relative expense to all concerned of

the single-trial, multiple-trial alternatives.” Arnold v. Eastern Airlines, Inc., 681 F.2d 186, 193 (4th

Cir. 1982). Stated differently, the determinative analysis is whether consolidation would avoid

unnecessary costs or delay without prejudicing the rights of the parties. Mills v. Beech Aircraft

Corp., 886 F.2d 758, 761 (5th Cir. 1989); see also Milliken & Co. v. Evans, No. 7:14-CV-778-

BHH, 2016 WL 470017, at *3 (D.S.C. Feb. 8, 2016) (“consolidation is appropriate when to do so

will foster clarity, efficiency and the avoidance of confusion and prejudice”) (citation and internal



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 quotations omitted).    In exercise of its broad discretion, the Court “should consider both equity

 and judicial economy.” Devlin v. Transp. Commc’n Int’l Union, 175 F.3d 121, 130 (2d Cir. 1999).

 Where, as here, one of the factors indicates that consolidation is improper, the Court may deny

 consolidation without getting to the other factors. Beauregard v. Sherb & Co., LLP, 1:07CV785,

 2012 WL 12546800, at *1 (M.D. N.C. March 29, 2012) (potential prejudice to plaintiffs dictated

 that consolidation should be denied; noting that “[c]onsideration of the remaining applicable

 factors does not require a different result”).

        B. Consolidation Would Prejudice the Williams Parties by Delay in the Timely
           Disposition of Class Certification and Trial

        Plaintiffs oppose consolidation at this late stage of the Williams matter because the

 requested consolidation is no more than an attempt to delay class certification and trial in Williams.

 The delay in concluding multiple suits compared to proceeding through class certification in

 Williams would cause undue prejudice to Plaintiffs. In other words, the difference in the procedural

 posture of these cases weighs strongly against consolidation. See e.g., Maron v. Virginia

 Polytechnic Inst. & State Univ., No. 7:08-CV-00579, 2011 WL 1002685, at *3 (W.D. Va. Mar.

 18, 2011) (“Because consolidation would unnecessarily prolong resolution of the [first] case, this

 factor weighs heavily against consolidation.”) (emphasis added); Int'l Speedway Corp. v. SunTrust

 Bank, No. 619CV1544ORL41LRH, 2019 WL 5391181, at *3 (M.D. Fla. Oct. 22, 2019) (denying

 consolidation where the first case was further advanced and less complex).

        “The court may decide that consolidation is inappropriate where two cases have markedly

 different procedural postures, with one rapidly nearing final judgment and the other just beginning,

 so consolidation would not serve judicial economy, but instead delay final resolution in the older

 case and create unneeded repetition and confusion.” Bucklew v. Bonham, No. 3:19-CV-435-N,

 2019 WL 2141792 *2 (N.D. Tex. May 16, 2019) (citations and internal quotations omitted); see

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 also Mears Group, Inc., 2019 WL 5395963 at *2 (denying consolidation where one case was

 procedurally advanced and the related case was only beginning discovery); Aerotel, Ltd. v. Verizon

 Commc’ns, Inc., 234 F.R.D. 64, 67 (S.D.N.Y. 2005) (holding that consolidation is improper when

 minimal discovery in one case would significantly delay a case where discovery is almost

 complete). Where “cases stand in significantly different stages of litigation,” there is a substantial

 potential for delay and a certainty of prejudice to the plaintiffs. Lowry Economic Redevelopment

 Auth. v. United States, 71 Fed. Cl. 549, 553 (2006). Although cases may share common factual

 and legal issues, consolidation is improper when “the potential judicial economies from

 consolidation would be outweighed by the risk of delay and prejudice.” Id., citing Lucent Tech.,

 Inc. v. United States, 69 Fed. Cl. 512, 515 (2006) (“the distinct procedural postures of [the cases]

 vitiate any judicial economy that might be gained by consolidation”).

         Here, like the cases cited above, “judicial economy would not be served through

 consolidation as these [three] actions are at different stages of litigation.” Ruane v. County of

 Suffolk, 923 F. Supp. 2d 454, 461 (E.D.N.Y. 2013).

        C. Denial of Consolidation Will Not Cause Inconsistent Rulings in this Court

        The separate development and trial of the Williams and Galloway cases pose little risk for

 inconsistent adjudication of the facts and legal principles. First, this Court presides over all of the

 cases at issue, so there is no potential for inconsistent rulings on class certification, discovery and

 evidentiary rulings, or dispositive issues. Second, Williams will serve as a bellwether case for the

 litigation of the claims against the defendants in the other actions.5 The Plaintiffs’ proof of their




 5
   “A bellwether trial is a test case that is typically used to facilitate settlement in similar cases by
 demonstrating the likely value of a claim or by aiding in predicting the outcome of tricky questions
 of causation or liability.” Briggs v. Merck Sharp & Dohme Corp., 796 F.3d 1038, 1051 (2015),
 citing Alexandra D. Lahav, Bellwether Trials, 76 Geo. Wash. L.Rev. 576, 577–78 (2008).
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 claims and favorable findings against Martorello in Williams would serve as a compelling indicator

 about the merits of their claims against the other Defendants. The opposite results would be

 equally instructive. Therefore, denial of consolidation provides the fastest track toward a resolution

 of this matter.

         D. Denial of Consolidation Will Not Increase the Burden on the Parties, Witnesses,
            and Judicial Resources

         Plaintiffs’ continued litigation of Williams and Galloway cases as separate suits will

 impose negligible additional burden on the parties and may actually conserve judicial resources.

 It would actually increase the financial burden on the Williams Plaintiffs for them to incur costs

 and delay pending the development of the Galloway II litigation. Also, as previously noted,

 Williams will serve as a bellwether case for the litigation of the claims in Galloway II. The

 Plaintiffs’ proof of their claims and favorable findings against Martorello in Williams would

 potentially conserve judicial resources by demonstrating the merits of Plaintiffs’ claims and the

 financial exposure of the Galloway II Defendants.

         E. Plaintiffs have never changed their position with respect to Williams

         Defendants rely on Plaintiffs’ former position in favor of consolidation to support their

 argument that consolidation must be warranted now. Plaintiffs, however, never attempted to

 consolidate Williams, which Plaintiffs always intended to serve as a bellwether. Additionally,

 while Plaintiffs sought to consolidate the Galloway I matter in March 2019, they were unsuccessful

 for the reasons explained in the Court’s Order dated May 10, 2019. See Dkt. 228. That finding

 applies with even more force today, especially when considering that the requested amendment in

 Galloway I would not have impacted the status of Williams, i.e., the longest pending and most

 advanced case, which was filed a year before Galloway I and 22 months before Galloway II.

 Compare Williams (filed on June 22, 2017); with Galloway I (filed on June 11, 2018); Galloway

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 II (filed on April 24, 2019). Because of the advanced posture of Williams—where expert deadlines

 have passed, class certification is fully briefed, and discovery has been largely completed—it

 should continue to proceed separately rather than consolidating it with Galloway I and Galloway

 II, where Rule 12 motions are still pending and discovery has not even commenced. See Galloway

 I at Dkt. No. 45 (Martorello’s motion to dismiss); Galloway II at Dkt. Nos. 65, 67, 91, 92, 93, 96,

 97, 98, 101, 102, 103, 105, 132, 133, 134 (motions to dismissed filed by Justin Martorello, Rebecca

 Martorello, Eventide, Liont, Kairos, Breakwater and Bluetech).

        In short, there is no cause to slow the disposition of Williams by consolidating it with the

 Galloway litigation. If the Court consolidates Williams, it will effectively restart a case that has

 been pending for two and a half years, which is ready for class certification and trial.

                                        IV.     CONCLUSION

        Based on the foregoing, Plaintiffs respectfully request that the Court deny Defendants’

 Motion for Consolidation of the Williams, Galloway I, and Galloway II cases.

                                               Respectfully submitted,
                                               PLAINTIFFS
                                               By:      /s/ Leonard A. Bennett


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                                               Counsel for Plaintiffs



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                                CERTIFICATE OF SERVICE


         I hereby certify that on the 17th day of February 2020, I will electronically file the
 foregoing with the Clerk of Court using the CM/ECF system which will send a notification of such
 filing (NEF) to all counsel of record.




                                             ______________/s/__________________
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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA
                              Richmond Division



LULA WILLIAMS, ^ al.,

      Plaintiffs,

V.                                          Civil Action No. 3:17cv461

BIG PICTURE LOANS, LLC,
et al.,

      Defendants.




RENEE GALLOWAY, ^ al.,

      Plaintiffs,

V.                                          Civil Action No. 18cv406

BIG PICTURE LOANS, LLC,
et al.,

      Defendants.




RENEE GALLOWAY, ^ al.,

      Plaintiffs,

V.                                          Civil Action No. 3:19cv314

JUSTIN MARTORELLO, ^ al.,

      Defendants.




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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA
                              Richmond Division



LULA WILLIAMS, ^ al.,

      Plaintiffs,

V,                                          Civil Action No. 3:17cv461

BIG PICTURE LOANS, LLC,
et al.,

      Defendants.




RENEE GALLOWAY, ^ al.,

      Plaintiffs,

V.                                          Civil Action No. 18cv406

BIG PICTURE LOANS, LLC,
et al.,


      Defendants.




RENEE GALLOWAY, ^ al.,

      Plaintiffs,

V.                                          Civil Action No. 3:19cv314

JUSTIN MARTORELLO, ^ al.,

      Defendants.




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                                                      Exhibit 1

                              In re Eventide Credit Acquisitions, LLC – Summary of Pending Actions

 Case                                        Defendants                                Comments
 Williams et al. v. Big Picture Loans, LLC   Non-Settling Defendant:                   Case commenced on 6/22/17.
 et al., No. 3:17-cv-461 (E.D. Va.)             Matt Martorello
 (“Williams I”)                                                                        Tribal Officer Defendants were
                                             Tribal Officer Defendants:                dismissed per Notice of Voluntary
                                                 James Williams, Jr.                  Dismissal at Docket No. 121.
                                                 Gertrude McGeshick
                                                 Susan McGeshick                      No amended complaint or dismissal of
                                                 Giiwegiizhigookway Martin            the Settling Defendants was filed as of
                                                                                       1/27/20.
                                             Settling Defendants:
                                                  Big Picture Loans, LLC
                                                  Ascension Technologies, LLC

 Galloway et al. v. Big Picture Loans, LLC   Non-Settling Defendant:                   Case commenced on 6/11/18.
 et al., No. 3:18-cv-406 (E.D. Va.)             Matt Martorello
 (“Galloway I Action”)                                                                 No amended complaint filed evidencing
                                             Settling Defendants:                      dismissal of Settling Defendants as of
                                                  Big Picture Loans, LLC              1/27/20.
                                                  Ascension Technologies, LLC

 Smith et al. v. Martorello and Eventide     Non-Settling Defendants:                  Cased commenced on 9/11/18.
 Credit Acquisitions, LLC, No. 3:18-cv-         Matt Martorello
 01651-AC (D. Oreg.) (“Smith Action”)           Eventide Credit Acquisitions, LLC     Settling Defendants dismissed via
                                                                                       Notice of Voluntary Dismissal filed on
                                             Settling Defendants:                      12/30/19 at Docket No. 96.
                                                  Big Picture Loans, LLC
                                                  Ascension Technologies, LLC         The Debtor was added as a defendant
                                                                                       via First Amended Complaint filed on
                                                                                       1/17/20 at Docket No. 100.


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 Case                                       Defendants                              Comments
 Duggan et al. v. Martorello and Eventide   Non-Settling Defendants:                Case commended on 10/31/18.
 Credit Acquisitions, LLC, No. 1:18-cv-        Matt Martorello
 12277-JGD (D. Mass.) (“Duggan                 Eventide Credit Acquisitions, LLC   The Debtor was first named a defendant
 Action”)                                                                           in the amended complaint filed on
                                            Settling Defendants:                    7/16/19 at Docket No. 72.
                                                 Brian McFadden*
                                                 Big Picture Loans, LLC            A notice of dismissal of the Settling
                                                 Ascension Technologies, LLC       Defendants was filed on 12/30/19 at
                                                 James Williams, Jr.               Docket No. 112.
                                                 Michelle Hazen
                                                                                    The second amended complaint was
                                                 Henry Smith, Andrea Russell
                                                                                    filed on 1/15/20 at Docket No. 118
                                                 Alice Brunk
                                                                                    naming only Matt and Eventide as
                                                 Tina Caron                        defendants.
                                                 Mitchell McGeshick
                                                 Jeffrey McGeshick
                                                 Roberta Ivey
                                                 June Saad

                                            *Settling Indemnified Defendant

 Williams et al. v. Microbilt et al., No.   Defendants:                             Commenced on 2/11/19.
 3:19-cv-85 (E.D. Va.) (“Williams               Matt Martorello
 Action”)                                       Microbilt Corporation (consumer    Unlike the other Pending Actions, this
                                                  reporting agency)                 one is based on an alleged violation of
                                                Philip Burgess (founder of         the FCRA.
                                                  Microbilt)
                                                Karrie Wichtman (General Counsel   No claims asserted in this action are
                                                  for LVD)                          released pursuant to the Settlement
                                                                                    Agreement. See Settlement Agreement
                                                                                    at § 12.3.



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 Case                                        Defendants                                 Comments
 Galloway et al. v. Martorello et al., No.   Non-Settling Defendants:                   Case commenced 4/24/19 because
 3:19-cv-00314-REP (E.D. Va.)                   Justin Martorello                      defendants could not be added to
 (“Galloway II Action”)                         Eventide Credit Acquisitions, LLC      Galloway I given how far it was
                                                Rebecca Martorello                     advanced per order at Docket No. 228
                                                Kairos Holdings, LLC                   entered in Galloway I.
                                                Breakwater Holdings, LLC
                                                Gallant Capital, LLC                   No amended complaint filed evidencing
                                                                                        dismissal of Settling Defendants as of
                                                Liont, LLC
                                                                                        1/27/20.
                                                Bluetech Irrevocable Trust
                                                Jeremy Davis (provided capital to
                                                   make the loans)

                                             Settling Defendants:
                                                  Brian McFadden*
                                                  James Dowd*
                                                  Simon Liang*
                                                  Brian Jedwab
                                                  Amlaur Resources
                                                  Columbia Pipe & Supply Co.
                                                  Timothy Arenberg
                                                  Terrance Arenberg
                                                  DTA Trinity Wealth Transfer Trust
                                                    DMA Trinity Wealth Transfer Trust

                                             *Settling Indemnified Defendants

 Galloway et al. v. Williams et al., No.     Original Settling Defendants:              Case commenced on 6/26/19 against
 3:19-cv-470 (E.D. Va.) (“Galloway III           James Williams, Jr. in individual     Original Settling Defendants.
 Action”)                                          and official capacities at LVD



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 Case                                Defendants                                    Comments
                                           Michelle Hazen in individual           The Settlement Agreement was filed at
                                            capacity                               Docket No. 18 as attachment to
                                           Henry Smith in official capacity at    Plaintiffs’ Motion for Preliminary
                                            LVD                                    Approval of Class Action Settlement.
                                           Alice Brunk in official capacity at
                                            LVD                                    First Amended Complaint filed at
                                           Andrea Russell in official capacity    Docket No. 23 on 12/3/19 adding
                                            at LVD                                 Additional Settling Defendants as well
                                           Tina Caron in official capacity at     as Plaintiffs across all Pending Actions
                                            LVD                                    and asserting claims under the laws of
                                           Mitchell McGeshick in official         additional states, all as contemplated by
                                            capacity at LVD                        the Settlement Agreement.
                                           Jeffrey McGeshick in official
                                                                                   The Debtor moved to intervene on
                                            capacity at LVD
                                                                                   12/18/19 at Docket No. 42.
                                           Roberta Ivey in official capacity at
                                            LVD
                                                                                   Preliminary Approval Order relating to
                                           June Saad in official capacity at
                                                                                   the Settlement Agreement was entered
                                            LVD                                    on 12/20/19 at Docket No. 65.
                                     Additional Settling Defendants:
                                        James Dowd*
                                        Simon Liang*
                                        Brian McFadden*
                                        Big Picture Loans, LLC
                                        Ascension Technologies, LLC
                                        Gertrude McGeshick in official
                                           capacity at LVD
                                        Susan McGeshick in official
                                           capacity at LVD




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 Case                                Defendants                                 Comments
                                           Giiwegiizhigookway Martin in her
                                            official capacity at LVD
                                           Columbia Pipe & Supply Co.
                                           Timothy Arenberg
                                           Terrance Arenberg
                                           DTA Trinity Wealth Transfer Trust
                                           Deborah M. Arenberg Living Trust
                                           Amlaur Resources, LLC
                                           Brian Jedwab

                                     *Settling Indemnified Defendants




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                                  OPERATING AGREEMENT
                                                OF
                             EVENTIDE CREDIT ACQUISITIONS, LLC
                                A Delaware Limited Liability Company

THIS OPERATING AGREEMENT (this “Agreement”) is made and entered into as of February 9, 2015,
by and among the Members whose signatures appear on Schedule A, as may be amended from time to time,
which shall be, and remain after subsequent amendment, part and parcel of this Agreement.

Whereas, this Agreement is intended to govern the relationships among the Company, its Manager and its
Members.

In consideration of the mutual covenants and agreements set forth herein, and for other good and valuable
consideration, the receipt and sufficiency of which are hereby acknowledged, the parties, intending to be
legally bound, agree as follows:

                                          SECTION I
                                  ORGANIZATION & FORMATION

A.      Formation. The Company has been organized as a Delaware limited liability company under and
pursuant to the Delaware Limited Liability Company Act (the “Act”) by the filing of Certificate of Formation
(the “Certificate”) with the State of Delaware Secretary of State, on February 9, 2015, as required by the Act.

B.       Name. The name of the Company shall be “Eventide Credit Acquisitions, LLC”. Upon proper notice
and filing with the State of Delaware Secretary of State, the Company may conduct its business under one or
more assumed names.

C.       Purpose. The purpose of the Company is to operate any lawful business permitted by the law of the
State of Delaware or any other State, Territory or Commonwealth in which it is registered to do business. The
Company shall have all the powers necessary or convenient to affect any purpose for which it is formed,
including all powers granted by the Act. The Company is authorized to apply for any and all tax exemptions
and other benefits for which it may be eligible, including without limitation, benefits provided by the
Department of Economic Development and Commerce of the Commonwealth of Puerto Rico.

D.       Duration. The Company shall continue in existence perpetually, beginning on the date of filing of the
Certificate, unless terminated by law or dissolved and terminated pursuant to this Agreement.

E.       No Partnership. The Members intend that the Company not be a partnership (including, without
limitation, a limited partnership) or joint venture, that no Member be a partner or joint venturer for any
purposes other than federal, state and territorial tax purposes, and this Agreement may not be construed to
suggest otherwise.

F.      Registered Office, Resident Agent and Place of Business. The registered office and principal place of
business of the Company shall be at 1407 Plantation Village, Dorado, Puerto Rico 00646 or such other
place or places as the Manager may hereafter determine. The Resident Agent of the Company for service of
process in Delaware shall be Incorporating Services, Ltd., 3500 South Dupont Highway, Dover, DE 19901.


                                     SECTION II
                        MEMBERS, MEMBERSHIP INTEREST & CLASSES

A.      Definitions.



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        (i) “Act” shall mean the Delaware Limited Liability Company Act, Title 6 of the Delaware Code, as in
effect in the State of Delaware and as amended from time to time. Reference to any section of the Act shall
be deemed to refer to a similar provision in any amendment to the Act. To the extent the Company
redomiciles, it may be required to amend and restate this Agreement in accordance with the laws of its new
domicile.

        (ii) "Additional Member" shall mean any Member admitted, to the Company after the date of
this Agreement as provided for in Section II E.

         (iii) “Capital Account" shall mean the account maintained for each Member described in Section
III of the Agreement.

        (iv) "Capital Contribution" shall mean, with respect to any Member, the total amount of
contributions by all the Members or any class of Members or any one Member, as the case may be (or the
predecessor holders of the interests of such Members), to the capital of the Company in cash, property, or
services for an interest in the Company, valued at fair market value without deduction of selling,
organization, or other expenses; and shall include all such contributions to the capital of the Company
whenever made.

         (v) “Class” or “Classes”: Membership Interests may include voting interest, economic interest and
equity interest, and may be divided into separate Classes in the sole discretion of the Manager, which
Classes and Membership Interests shall have such rights and preferences as the Manager shall
determine, including (without limitation) different fee, expense and allocation structures and different
voting privileges. The Manager shall cause separate and distinct records to be kept with respect to
Company Property associated with each Class. Certain classes of the Company shall entitle a Member to
participate only in the future profits, losses and/or appreciation of the Company Property allocated to a
particular Class of Membership Interest. The designation of Class and rights of any Member, shall be
designated by the Manager, and shall either be described herein in this Agreement, or made pursuant to
an ancillary agreement among the Company and the proposed Member. All Classes of Membership
Interest shall be shown on Schedule A, attached hereto and made a part hereof, as amended from time
to time.

       (vi) “Company Property” or “Property” each shall mean the real property and any other assets
or property (tangible or intangible, personalty or real, choate or inchoate, fixed or contingent) of the
Company, including all earnings and proceeds which may arise therefrom from time to time.

         (vii) “Economic Interest” shall mean a Member’s share of the Classes’ future net profits and
net losses specifically associated with a particular Class pursuant to this Agreement. Economic Interests
shall be non-voting interests. It is the intention of the parties hereto that all Economic Interests shall be
deemed to be “profits interests” of the Company in accordance with Rev. Proc. 93-27 and 2001-43 and
that the Economic Interest holders are only entitled to participate in the future net profits and or net
losses of the Company accruing after each Member’s date of execution of this Agreement and are not
entitled to participate in profits or losses related to the sale of assets or equity.

        (vii) “Equity Interest” shall mean a Member’s share of the value upon a sale or liquidation of
the Company, its subsidiaries, or the asset(s) specifically associated with a particular Class of Equity
Interest and set forth in section II C below.

        (viii) "Initial Capital Contribution" shall mean, with respect to any Member, the initial
contribution by such Member to the capital of the Company as set forth on Schedule A hereto.




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       (ix) "Internal Revenue Code" shall mean the Internal Revenue Code of 1986, as amended
from time to time, or any corresponding provision or provisions of succeeding laws. The term "Internal
Revenue Code" shall be abbreviated as "IRC" or "Code".

         (x) “Member” shall mean each of the persons or entities holding a Membership Interest in the
Company and each of the persons or entities who may hereafter become a Member holding a Membership
Interest. Members’ rights to participate in the management and affairs of the Company, to share in the
profits, gains or losses of the Company, to share in the value upon sale or liquidation of the asset(s)
associated with a particular Class of Membership Interest, or to vote at meetings of the Members shall be
determined pursuant to this Agreement, or to any ancillary agreements between the Member and the
Company executed contemporaneously with this Agreement, or to any resolutions of the Members executed
in connection with the issuance of a new class of interests.

          (xi) “Membership Interest” shall mean a Member’s voting interest, economic interest and/or equity
interest in a particular Class, including the right to vote associated with such Membership Interest, if any, and
such other rights and privileges that the Member may enjoy by being such a Member.

        (xii) “Voting Interest” shall mean with respect to each Class A Member, such Class A Member’s
right to vote on, consent to or otherwise participate in any decision or action of or by the Members
granted pursuant to this Operating Agreement or the Act. A.


B.       Members. The Members are set forth on Schedule A hereto, and shall include any other person
hereafter admitted to the Company as a Member as provided in this Agreement. The term “Members” shall
not include any person who has ceased to be a member of the Company.

C.    Classes. The following Classes have been designated by the Manager as of the Effective Date of this
Agreement:

          (i)     Class A Membership Interest. Class A Membership Interest shall be the membership
interest in the Company not otherwise designated to any other Class of Membership Interest.

                  (a) Class A Voting Interest: Class A Voting Interest shall be the only Class of Membership
entitled to vote on any and all matters presented to the Company for Member approval. Class A Voting
Interest shall not include an Economic Interest or an Equity Interest.

                  (b) Class A Economic Interest: Class A Economic Interest shall be a Class A Member’s
economic interest in the Company’s future net profits and net losses pursuant to this Operating Agreement
and the Act, as more particularly set forth in Schedule A to this Operating Agreement as the same may be
amended from time to time by the Class A Members holding Class A Voting Interest, but shall not include
any right to participate in the management or affairs of the Company, including the right to vote on, consent
to or otherwise participate in any decision of the Class A Members holding Class A Voting Interest, nor shall
it include an Equity Interest.

                  (c) Class A Equity Interest: Class A Equity Interest shall be entitled to the value of the
Company upon sale or liquidation, the gain or losses from the sale of some or all of the companies assets, and
the sharing in liabilities pursuant to this Operating Agreement and the Act, as more particularly set forth in
Schedule A to this Operating Agreement as the same may be amended from time to time by the Manager, but
shall not include any right to participate in the management or affairs of the Company, including the right to
vote on, consent to or otherwise participate in any decision of the Class A Members holding Class A Voting
Interest, nor shall it include an Economic Interest.




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D.       Representations and Warranties of the Members. As of the date on which any person becomes a
Member, such person severally (and not jointly) hereby represents and warrants, as to itself and no other
Member, to, and covenants with, the Company and each of the other Members that: (i) such person
understands that the offer and sale or other transfer of the Membership Interest to such person have not
been registered under the Securities Act or the securities laws of any state or territory, and further
understands that such Membership Interest has not been approved or disapproved by the Securities and
Exchange Commission or any other federal or state agency; (ii) such person understands that there are
substantial restrictions on the transfer of Membership Interests, including without limitation, that
Membership Interests may not be transferred except as permitted by this Section II; (iii) such person has
carefully reviewed and understands this Agreement in its entirety; (iv) the Manager has not made and hereby
makes no warranties or representations to such person other than those set forth in this Agreement.

E.       Membership Interests; Additional Membership Interests. Ownership of the Company shall be
divided into and represented by Membership Interests. The Class and types of Membership Interests of the
Members are set forth on Schedule A. The Manager is expressly authorized to provide for the issuance from
time to time of additional Membership Interests for such consideration, and with rights, privileges,
preferences, qualifications, limitations and restrictions as shall be stated and expressed in the resolution or
resolutions adopted by the Manager providing for the issuance of additional Membership Interests and as
may be permitted by the Act. The Manager shall reflect the issuance of any additional Membership Interest
and, if applicable, the admission of a new Member, pursuant to an amendment to Schedule A, which such
amendment shall not be required to be executed by any other Member.

F.       Transfer of Membership Interests. Subject to the limitations of transferability set forth herein in this
Agreement, Members may transfer any or all of their Membership Interest to any person or persons, at any
time and from time to time. Subject to the provisions of this Section, Members may assign their Membership
Interest in the Company in whole or in part. The assignment of a Membership Interest does not itself entitle
the assignee to participate in the management and affairs of the Company or to become a Member. Such
assignee is entitled only to receive the distributions of cash and other property and the allocations of income,
gains, losses, deductions, credits or similar items to which its assignor would have been entitled to, and such
assignee shall only become an assignee of a Membership Interest and not a substituted Member. An assignee
of Membership Interest shall be admitted as a substitute Member and shall be entitled to all the rights and
powers of the assignor only if the Manager consents in writing. If admitted, the substitute Member, has to the
extent assigned, all of the rights and powers, and is subject to all of the restrictions and liabilities of the
Members.

H.       Right of First Refusal. Before any Membership Interest (“Interest”) held by any Member is sold or
otherwise transferred (including, but not limited to transfer by gift, operation of law, or pursuant to Section II
H below) the Company shall have an uncontested and irrevocable right of first refusal to purchase the
Interest on the following terms and conditions:

         (i)      The selling Member shall deliver to the Company a written notice stating: (a) the Member’s
bona fide intention to sell or otherwise transfer such Interest; (b) the name of the proposed purchaser or
other transferee (“Proposed Transferee”); (c) the percent of Interest to be transferred to each Proposed
Transferee; (d) the bona fide cash price or other consideration to be exchanged for the Interest (“Offered
Price”); and (e) the terms and conditions of the proposed transfer.

         (ii)    At any time within forty-five (45) days after receipt of this notice, the Company may, by
written notice to the selling Member, elect to purchase all, or any part of the Interest at Fair Market Value (as
defined in Section J below) or at the Offered Price, whichever price is lower.

        (iii)    The right of first refusal shall not terminate upon any transfer of Interest.


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         (iv)    The right of first refusal shall be freely assignable by the Company at any time and in its sole
discretion.

         (v)     Any transfer done without adherence to this Section II F shall be void.

I.        Mandatory Repurchase. The Manager, in his sole and absolute discretion, may require a Member to
sell all or a portion of the Interest of such Member, on not less than fourteen (14) days’ notice (a “Mandatory
Repurchase”). Such Mandatory Repurchase shall become effective on the date (the “Repurchase Date”)
specified in such notice. A Member who is so required to sell its Interest pursuant to this Section shall
receive the Fair Market Value of the Interest, computed as of the date on which such Mandatory Repurchase
shall become effective (a Member whose Interest is repurchased pursuant to this Section is referred to herein
as a “Repurchased Member”).

J.       Payments in Connection with Mandatory Repurchase.

         (i)      Within 30 days after a Repurchase Date there shall be paid or distributed to a Repurchased
Member an amount in cash, or, in the discretion of the Manager, in securities selected by the Manager, or, in
the discretion of the Manager, partly in cash and partly in securities selected by the Manager, equal in value to
not less than 90% of the estimated Fair Market Value of the Interest being repurchased. Within 30 days after
the Manager has determined the Fair Market Value of the Interest being redeemed or repurchased as of such
date, the Company shall pay to the Repurchased Member in cash, or, in the discretion of the Manager, in
securities selected by the Manager, or, in the discretion of the Manager, partly in cash and partly in securities
selected by the Manager, the amount of the excess, if any, of the Fair Market Value of the redeemed or
repurchased Interest over the amount so paid.

               a.      “Fair Market Value” shall mean the value of the Interest, as applicable, as
determined by Manager using reasonable valuation criteria, all in the Manager’s sole discretion.

                b.        The Company’s assets will be valued from time to time in the discretion of the
Manager. In those cases where an exchange-based pricing mechanism is unavailable, the Manager or
Manager’s representative will develop an assessment of Fair Market Value, which will be reviewed and
approved by the Manager whose consent shall not be unreasonably withheld. In the absence of bad faith,
such determination, as approved by the Manager, shall be conclusive. Fair Market Value shall reflect any
declared but unpaid distributions with respect to the Interest.

        (ii)     If, in the discretion of the Manager, the assets of the Company are committed in such a
manner as not to reasonably permit immediate withdrawal of such assets, then, on the applicable Repurchase
Date (the "Repurchase Effective Date"), the Manager may adopt a deferred payment system in accordance
with the following:

               a.       The Manager will attempt to liquidate, as of the earliest date on or after the
Repurchase Effective Date upon which the Company is permitted to do so or on which market conditions
make same feasible, from the Company's investments, such portion thereof as is allocable to the Interest of
the Repurchased Member;

                  b.       Within 30 days following the Repurchase Effective Date, the Repurchased Member
will be entitled to receive an amount equal to the Repurchased Member's percentage of all cash and the fair
market value of all liquid securities held directly by the Company with respect to any applicable Interest;
provided, however, that any such amount shall be subject to the provisions of this Section;




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                  c.      The balance due to the Repurchased Member shall be paid from time to time,
within 30 days after the Company receives the proceeds from the liquidation of the previously illiquid portion
of the Company's investments, but only to the extent that such proceeds plus the Repurchased Member's
percentage of cash and the fair market value of liquid securities held by the Company with respect to any
applicable Membership exceed such Member's percentage of the Company's liabilities and any amount
retained pursuant to this Section with respect to any applicable Membership; provided, however, that in any
event, at least 80% of the amount due a Repurchased Member shall be paid within one year following the
Redemption Effective Date; and

                 d.      The Fair Market Value of the Interest attributable to a Repurchased Member shall
be subject to an adjustment equal to a credit or charge for the Repurchased Member's percentage of the
increase or decrease in the net asset value of the Company's investments with respect to any applicable
Interest from the Redemption Effective Date through the date on which final payment of such Repurchased
Member's percentage is made.

K.         Involuntary Transfers. In the event of an Involuntary Transfer of any Interest to any person, the
transferee (which term, as used herein, shall include any and all transferees and subsequent transferees of the
initial transferee) shall take and hold such Interest subject to this Agreement and to all the obligations and
restrictions upon the transferor, and shall observe and comply with this Agreement and with such obligations
and restrictions. As used in this Section II, the term “Involuntary Transfer” shall mean any transaction,
proceeding or action by or in which a Member or other person is involuntarily deprived or divested of any
right, title or interest in or to any Interest (including without limitation, a seizure under levy of attachment or
execution, transfer to a trustee in bankruptcy or receiver or other officer or agency pursuant to a statute
pertaining to escheat or abandoned property, a Member’s death or the appointment of a guardian with
respect to a Member).

L.      Admission of New Members. No person shall be admitted as a Member of the Company unless: (i)
the Manager shall have consented in writing to the admission of such person as a new Member; (ii) the
person has executed and delivered all documents reasonably deemed appropriate by the Manager to reflect
such person’s admission as a Member, and its agreement to be bound by this Agreement; and (iii) such
person has paid all expenses connected with its admission.


                                               SECTION III
                                            CAPITAL ACCOUNT

A.     Capital Account. A capital account (“Capital Account”) shall be maintained for the Members, and
any additional Members in accordance with the provisions of this Section and subject to any ancillary
agreements entered into between the Company and the Members.

        (i)      Increases in Capital Account. The Capital Account of the Members shall be increased by:

                  a. The fair market value of the Members’ initial capital contribution and any additional
capital contributions by the Members to the Company. If any property, other than cash, is contributed to or
distributed by the Company, the adjustments to Capital Accounts required by Treasury Regulation Section
1.704-1(b)(2)(iv)(d), (e), (f) and (g) and Section 1.704-1(b)(4)(i) shall be made.

                  b.      The Members’ share of the increase in the tax basis of Company property, if any,
arising out of the recapture of any tax credit.

                 c.       Allocations to the Members of profit.



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               d.     The Members’ share of Company income or gain (including income and gain
exempt from income taxation) as provided under this Agreement, or otherwise by Regulation Section 1.704-
1(b)(2)(iv).

                 e.      The Members’ share of the amount of Company liabilities that are assumed by the
Members.

        (ii)     Decreases in Capital Account. The Capital Account of the Members shall be decreased by:

              a.      The Members’ share of the amount of money distributed to the Members of the
Company pursuant to any provision of this Agreement.

                b.       The Members’ share of the fair market value of property distributed to the Members
by the Company (net liabilities secured by such distributed property that such Members are considered to
assume or take subject to Code Section 752).

                 c.      Allocations to the Members of losses.

                 d.       Allocations to the Members of deductions, expenses, Nonrecourse Deductions and
net losses allocated to it pursuant to this Agreement, and the Members’ share of Company expenditures
which are neither deductible nor properly chargeable to Capital Accounts under Code Section 705(a)(2)(B) or
are treated as such expenditures under Treasury Regulation Section 1.704-1(b)(2)(iv)(i). “Nonrecourse
Deductions” shall have the meaning set forth in Treasury Regulation Section 1.704-2.

               e.     The Members’ share of the amount of any liabilities of the Members that are
assumed by the Company.

                                        SECTION IV
                               ALLOCATIONS AND DISTRIBUTIONS

A.      Allocations.

         (i)      Allocations shall be made at such times as the Manager shall deem, in his sole discretion, to
the Members listed and described on Schedule A attached hereto in accordance with the terms and rights of
their interests. Except as may be expressly provided otherwise in this Section IV or agreed to among the
parties, and subject to the provisions of Sections 704(b) and 704(c) of the Code, the net income, net loss, or
gains of the Company for each year of the Company shall be allocated to the Members, in accordance with
the rights attributable to their respective Interests.

        (ii)     Net profits, net losses, or any other items allocable to any period shall be determined by the
Manager, in his discretion, using any permissible method under Code Section 706 and the related Treasury
Regulations and in accordance with the rights attributable to their respective Interests.

         (iii)    Acknowledgement. The Members are aware of the income and other tax consequences of
the allocations in or referred to by this Section IV and hereby agree to be bound by the provisions of this
Section IV in reporting the share of items of Company income, gain, loss, deduction and expense for tax
purposes.

        (iv)     Determination by Manager of Certain Matters. All matters not expressly provided for by the
terms of this Agreement concerning the manner in which capital accounts and allocations are computed shall
be determined in good faith by the Manager, in his reasonable discretion, whose determination shall be final
and conclusive as to all the Members. In the event the Manager determines that it is prudent to modify the


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manner in which capital accounts or any allocations under this Agreement are computed in order to comply
with Section 704(b) of the Code and Treasury Regulations thereunder, the Manager shall make such
modification. In the event that unanticipated events might otherwise cause this Agreement not to comply
with such law, the Manager, consistent with the prior sentence, shall make such modifications as he deems
reasonable.

B.       Allocations for Tax Purposes. Except as otherwise provided in and after giving effect to Section IV
A, as of the end of each fiscal year, items of Company income, gain, loss, deduction and expense, shall be
allocated among the Members pursuant to this Section IV B and as otherwise agreed to in writing by the
parties for federal income tax purposes. In accordance with Code Section 704(c) and the related Treasury
Regulations, income, gain, loss and deduction with respect to any property contributed to the capital of the
Company, solely for tax purposes, will be allocated among the Members so as to take account of any variation
between the adjusted basis to the Company of the property for federal income tax purposes and the initial
Book Value of the property. If the Book Value of any Company asset is adjusted under clause “b.” of the
definition of Book Value, subsequent allocations of income, gain, loss and deduction with respect to that
asset will take account of any variation between the adjusted basis of the asset for federal income tax
purposes and its Book Value in the same manner as under Code Section 704(c) and the related Treasury
Regulations. Any elections or other decisions relating to allocations under this Section IV B will be made in
any manner that the Manager determines reasonably reflects the purpose and intention of this Agreement.
The allocations in or referred to by this Section IV B are solely for federal, state, territorial and local income
tax purposes and shall not affect, or in any way be taken into account in computing, any Member’s capital
account or share of net profit or net loss or other items described in this Agreement.

C.        Acknowledgement. The Members are aware of the income and other tax consequences of the
allocations in or referred to by this Section IV and hereby agree to be bound by the provisions of this Section
IV in reporting their shares of items of Company income, gain, loss, deduction and expense for tax purposes.

D.       Certain Tax Related Definitions. For the purposes of this Agreement, unless the context otherwise
requires:

          (i)      “Adjusted Capital Account Deficit” means, with respect to any Member, the deficit balance,
if any, in such Member’s capital account as of the end of the relevant fiscal year or other period, after giving
effect to the following adjustments.

                 a.      Credit to such capital account any amounts which such Member is obligated to
restore or is deemed to be obligated to restore pursuant to the penultimate sentence of Treasury Regulations
Sections 1.704-2(g)(1) and 1.704-2(i)(5);

                  b.        Debit to such capital account the item described in Treasury Regulations Sections
1.704-1(b)(2)(ii)(d)(4), (5) and (6); and

               c.       Credit and debit to such capital account, in the sole and absolute discretion of the
Manager, any other items required or permitted under Section 704(b) of the Code and Treasury Regulations
thereunder.

        (ii)     “Book Value” means with respect to any asset, the asset’s adjusted basis for federal income
tax purposes, except as follows:

                  a.       the initial Book Value of any asset contributed by a Member to the Company shall
be the asset’s gross fair market value at the time of the contribution;




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                 b.        the Book Value of all Company assets shall be adjusted to equal their respective
gross fair market values, as determined by the Manager in his reasonable judgment:

                          1.       if any adjustment is necessary or appropriate to reflect the relative
economic interests of the Members in the Company as of (x) the acquisition of an additional interest in the
Company by any new or existing Member in exchange for more than a de minims capital contribution, or (y)
the distribution by the Company to a Member of more than a de minims amount of Company property as
consideration for an interest in the Company;

                         2.       As of the liquidation of the Company within the meaning of Treasury
Regulations Section 1.704-1(b)(2)(ii)(g); and

                          3.      Whenever else allowed under Treasury Regulations Section 1.704-
1(b)(2)(iv)(f) or Proposed Treasury Regulations Section 1.704-1(b)(2)(iv)(s).

                 c.       The Book Value of any Company asset distributed to any Member will be the gross
fair market value of the asset on the date of distribution; and

                  d.      The Book Value of Company assets will be increased or decreased to reflect any
adjustment to the adjusted basis of the assets under Code Section 734(b) or 743(b), but only to the extent that
the adjustment is taken into account in determining capital accounts under Treasury Regulations Section
1.704-1(b)(2)(iv)(m), provided that Book Values will not be adjusted hereunder to the extent that the Manager
determines that an adjustment under clause “b.” is necessary or appropriate in connection with a transaction
that would otherwise result in an adjustment under this clause “d.”

               e.      After the Book Value of any asset has been adjusted under this Section IV F(ii)
above, Book Value will be adjusted by the depreciation taken into account with respect to the asset for
purposes of computing net profit and net loss.

        (iii)    “Treasury Regulations” means the Income Tax Regulations promulgated under the Internal
Revenue Code, as such regulations may be amended from time to time (including corresponding provisions
of successor regulations).

E.      Distributions.

         (i)     The Manager, in his sole and absolute discretion, may at any time cause the Company to
distribute to Members in accordance with their respective Interest any cash available for distribution with
respect to each Interest. The Manager shall reserve the right to make distributions to certain Classes of
Interests and not to others, as well as certain Members and not to others.

        (ii)     The Manager, in his sole and absolute discretion, may use the capital accounts of any
Member and any class or type of Membership Interest for purposes that it deems appropriate, including
funding or investing in companies related or unrelated to the Company subsidiary associated with a particular
type of Membership Interest, and no interest or other benefits shall accrue to the Member whose capital
account is so used.

         (iii)    Distributions made pursuant to this Section IV E will be calculated separately for each
Interest and will be distributed to the Members participating in that Interest based on their respective
Interest, as applicable.

         (iv)  The Members agree to be bound by all the provisions of this Section IV in reporting their
share of Company income and loss for income tax purposes.


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F.      Distributions upon Liquidation of the Company.

          (i)      At the termination of the Company and after the Company has satisfied or provided for the
satisfaction of all the Company’s debts and other obligations, the Company’s assets will be distributed to the
Members and any dissociated members whose interests have not been previously redeemed first, in discharge
of their respective capital interests; and then, in proportion to the respective Membership Interest, as
applicable. Assets will be distributed only to Members holding Equity Interests in the Company, unless so
determined by the Manager in his sole and absolute discretion.

        (ii)    If the Company lacks sufficient assets to make the distributions described in the foregoing
paragraph, the Company will make distributions in proportion to the amount of the respective capital interest
of the Members and any dissociated members whose interests have not been previously redeemed, and all in
accordance with each Member’s respective Membership Interest.

                                        SECTION V
                                MANAGEMENT OF THE COMPANY

A.       The business and affairs of the Company shall be managed by or under the direction of the Manager,
who may exercise all powers of the Company and do all such lawful acts and things as are not by statute, the
Certificate, or by this Agreement directed or required to be exercised and done by the Members having a right
to vote (“Manager”). The Manager of the Company shall be: Liont, LLC.

B.      Without prejudice to such general powers, but subject to the same limitations, it is hereby expressly
declared that the Manager shall have the following powers:

         (i)      to conduct, manage and control the business and affairs of the Company and to make such
rules and regulations therefor not inconsistent with the law, the Certificate or this Agreement, as the Manager
shall deem to be in the best interest of the Company;

      (ii)     to appoint and remove at his pleasure the Officers (if any), agents and employees of the
Company, prescribe their duties and fix their compensation;

        (iii)    to appoint boards or committees in accordance with Section K of this Article.

        (iv)     to borrow money and incur indebtedness for the purposes of the Company, and to cause to
be executed and delivered therefor, in the Company’s name, promissory notes, bonds, debentures, deeds of
trust, mortgages, pledges, hypothecations, or other evidences of debt and securities therefor;

        (v)       to amend this Agreement, with the consent of the Members holding 51% of the Class A
Voting Interests;

        (vi)   to make all other arrangements and do all things which are necessary or convenient to the
conduct, promotion or attainment of business, purposes or activities of the Company.

C.       The Manager shall hold office until his successor is elected and qualified, or his earlier death,
dissolution, resignation or removal.

D.      A vacancy in the Manager shall be deemed to exist in case of the death, dissolution, resignation or
removal of a Manager, if the authorized number of Managers is increased, or if the Members fail, at any
meeting of Members at which any Manager or Managers are to be elected by those Members with Class A
Voting Interest, to elect the full authorized number of Managers to be voted for at such meeting. Unless the


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Members shall have elected a Manager to fill a vacancy, vacancies may be filed by (i) a majority of the
Managers then in office, whether or not less than a quorum, or by a sole remaining Manager, or (ii) failing the
election of a Manager pursuant to clause (i), by the Members with Class A Voting Interest.

E.       Any Manager may be removed, with or without cause, by the vote of Members holding not less than
a majority of Class A Voting Interests represented and voting at a duly held meeting at which a quorum is
present (which Members voting affirmatively also constitute at least a majority of the required quorum), or, in
lieu of a meeting, by way of written consent of Members holding fifty-one percent (51%) of the Class A
Voting Interests.

F.       No Manager shall receive any compensation for serving as a Manager, except that (i) a Manager shall
receive such compensation as is otherwise determined by the Members holding Class A Voting Interest, and
(ii) a Manager shall be reimbursed for reasonable and necessary expenses.

G.       Except as expressly set forth in this Agreement or required by law, no Manager shall be personally
liable for any debt, obligation or liability of the Company, whether arising in contract, tort or otherwise, solely
by reason of being a Manager of the Company.

H.      Compensation and Fees.

         (i)     No Member shall be paid any fee or other compensation whatsoever for services as a
Manager or otherwise, whether ordinary or extraordinary, foreseen or unforeseen, rendered to or for the
benefit of the Company, except as otherwise provided in this Section.

        (ii)     The Manager shall be paid such compensation for his services as shall be set forth by the
majority holders Class A Voting Interest.

I.       Certain Related Party Transactions Permitted. The Company may (i) employ or retain a Member or
a person directly or indirectly related to or affiliated with an Member to render or perform a service on behalf
of the Company, and/or (ii) contract to purchase property from a Member or a person directly or indirectly
related to or affiliated with a Member, provided that the charges made for services rendered and materials
furnished by such Member, person or persons must be reasonable and competitive with those charged by
others in the same line of business and not so related.

J.       No Resignation. Except pursuant to an authorized transfer of its entire Membership Interest in
accordance with this Agreement, no Member shall have the right to resign from the Company as a Member
prior to the dissolution and winding up of the Company without the prior written consent of the Manager.
Any Member which purports to resign from the Company in violation of the foregoing provision or which
has ceased for any reason to be a Member shall be liable to the Company and the other Members for any
damages sustained by reason of such resignation or cessation.

K.       Boards and Committees. The Manager may appoint individuals to serve on boards or committees to
assist the Manager in overseeing certain aspects of the Company’s operations, including but not limited to
appointing a board to oversee the Company’s legal and regulatory compliance. The manner of functioning of
said boards and committees will be as set forth by the Manager in a separate written resolution.

L.       Indemnity. Neither the Manager nor any of the Company’s officers, directors, partners, employees,
agents, affiliates, successors or assigns shall be liable to the Company or the Members for any loss or damage
incurred by reason of any act performed or omitted in connection with the activities of the Company or in
dealing with third parties on behalf of the Company, unless such act or omission was taken or omitted by
such Manager or such other persons as noted above, in bad faith, and such act or omission constitutes fraud,
gross negligence or willful breach of fiduciary duty.


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The Company, its receiver or its trustee, shall indemnify and save harmless the Manager and its officers,
directors, partners, employees, agents, Affiliates, successors and assigns, including any guarantors of
Company obligations (each of the foregoing being a “Covered Person”), from any claim, liability, loss,
judgment or damage incurred by them by reason of any act performed or omitted to be performed in
connection with the activities of the Company or in dealing with third parties on behalf of the Company,
including costs and attorneys’ fees (which attorneys’ fees may be paid as incurred) and any amounts expended
in the settlement of any claims of liability, loss or damage provided that the act or omission of the Covered
Person is not found by a final, non-appealable ruling of a court of competent jurisdiction to have resulted
from an act or omission of the Covered Person taken in bad faith and that constitutes fraud, gross negligence
or willful breach of fiduciary duty by the Covered Person. The Company shall advance all sums required to
indemnify and hold each Covered Person harmless as provided herein from the initiation of any claim against
such Covered Persons, subject to acknowledgment in writing by such Covered Person of the obligation to
reimburse the Company in the event that, following the entry of a final, non-appealable judgment, it is
determined that the Company was not obligated to indemnify such Person pursuant to this Agreement. All
judgments against the Company and a Covered Person, wherein the Covered Person is entitled to
indemnification, must first be satisfied from Company assets before the Covered Person shall be responsible
for such obligations. The Company shall not pay for any insurance covering liability of a Covered Person for
actions or omissions for which indemnification is not permitted hereunder; provided, that nothing contained
herein shall preclude the Company from purchasing and paying for such types of insurance, including
extended coverage liability and casualty and worker’s compensation, as would be customary for any person
owning comparable property and engaged in a similar business or from naming the Manager and any Covered
Person as additional insured parties thereunder. The provisions of this Section shall survive the termination
of the Company.


                                            SECTION VI
                                        MEETING OF MEMBERS

A.      Meetings and Voting. Notwithstanding anything to the contrary herein, only Members owning Class
A Voting Interests in the Company, which confer voting rights, shall be entitled to vote with regards to any
issue concerning the Company. Neither an assignee nor transferee may vote any Class A Voting Interest
unless such assignee or transferee is admitted as a Member with voting rights. Furthermore, Members who
only hold Economic Interests or Equity Interests in the Company shall not be entitled to vote on any issues
concerning the Company.

B.      Special Meetings. Special meetings of the Members may be called at any time by the Manager and
shall be called at the written request of the holders of a majority of the Class A Voting Interest then
outstanding and entitled to vote thereat. The meeting may be dispensed with if all Members who would have
been entitled to vote on such action if such meeting was held consent in writing to the action to be taken.

C.       Place of Meetings. All meetings of the Members shall be held in the Commonwealth of Puerto Rico
at the principal office of the Company, or at such other places as shall be designated in the notices or waivers
of notice of such meetings and may be held telephonically.

D.      Notice of Meetings.

         (i)     Except as otherwise provided by statute, written notice of each meeting of the Members,
stating the time when and the place where it is to be held, shall be served either personally, by mail, or by
email or other electronic communication,, not less than ten (10) or more than fifty (50) days before the
meeting, upon each Member of record entitled to vote at such meeting, or the Member’s designated agent,
and to any other member to whom the giving of notice may be required by law. Notice of a meeting shall


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also state the purpose or purposes for which the meeting is called, and shall indicate that it is being issued by,
or at the direction of, the person or persons calling the meeting. If mailed, such notice shall be directed to
each such Member entitled to vote at the Member’s address as it appears on the records of the Members of
the Company, unless he or she has previously notified the Manager of the Company in writing that notices
intended for the Member to be mailed to the Member’s agent and/or some other address, in which case, it
shall be mailed to the person and address designated in such request.

         (ii)    Notice of any meeting need not be given to any person who may become a Member of
record after the mailing of such notice and prior to the meeting, or to any Member who attends such meeting
in person or by proxy, or to any Member who, in person or by proxy, submits a signed waiver of notice either
before or after such meeting. Holders of non-voting Classes of Membership Interest shall only be permitted
to attend Member meetings if they receive advance written permission of the Manager, which permission the
Manager may withhold in his sole discretion.

         (iii)   Whenever the vote of the Members at a meeting thereof is required or permitted to be taken
in connection with any Company action, by any Section of this Agreement, the meeting and vote of the
Members may be dispensed with, if all other Members who would have been entitled to vote upon the action
if such meeting were held, shall consent in writing to such Company action being taken.

         (iv)    Whenever any notice is required to be given under the provisions of this Section, or under
the provisions of the Certificate, a waiver thereof in writing, signed by the person or persons entitled to said
notice, whether before or after the time stated in said notice, shall be deemed equivalent thereto.

E.       Quorum. Except as otherwise provided herein, or by the applicable provisions of the Delaware
Code, or in the Certificate, at all meetings of the Members of the Company, the presence at the
commencement of such meetings in person or by proxy of any number of Members holding of record a
majority of the total number of the Class A Voting Interests of the Company then issued and outstanding and
entitled to vote shall be necessary and sufficient to constitute a quorum for the transaction of any business.
The withdrawal of any Member holding Class A Voting Interests after the commencement of a meeting shall
have no effect on the existence of a quorum after a quorum has been established at such meeting.

F.      Voting.

        (i)      Except as otherwise provided by the Certificate, any Company action to be taken by vote of
the Members shall be authorized by a majority of votes cast at a meeting of Members at which a quorum is
present by the holders of Class A Voting Interest.

         (ii)    Each Member entitled to vote or to express consent or dissent without a meeting, may do so
by proxy; provided, however, that the instrument authorizing such proxy to act shall have been executed in
writing by the Member or the Member's attorney in fact thereunto duly authorized in writing. No proxy shall
be valid after expiration of eleven (11) months from the date of its execution, unless the person executing
same directs in said proxy that it shall continue in force for a longer period of time. Such instrument shall be
exhibited to the Manager at the meeting and shall be filed with the records of the Company.

         (iii)   Class A Voting Interest registered in the name of another entity, if entitled to be voted, may
be voted by the President (or the equivalent) of said entity or a proxy appointed by the President of such
other entity, unless some other person has been appointed to vote such shares pursuant to a by-law or a
resolution of the board of directors (or the equivalent) of such other entity, in which case such person may
vote such Class A Voting Interest. Any fiduciary may vote Class A Voting Interest registered in the name of
such entity as such fiduciary, either in person or by proxy.




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        (iv)    Any resolution in writing, signed by all the Class A Voting Interest, shall be and constitute
action by such members to the effect therein expressed, with the same force and effect as if the same had
been duly passed by fifty-one percent (51%) of the Class A Voting Interests at a duly called meeting of
members of such resolution.

                                      SECTION VII
                       EXCULPATION OF LIABILITY; INDEMNIFICATION

A.         Liability of Members to the Company and One Another. No Member shall be liable for the debts,
liabilities, contracts, or any other obligation of the Company, except to the extent expressly provided herein
or under Delaware law, or as expressly provided otherwise. No Member shall be liable for the debts or
liabilities of any other Member. With respect to the Company and its business and the enterprise established
by this Agreement, no Member shall be liable, responsible or accountable in damages or otherwise to the
Company or any other Member for any act performed by it (i) within the scope of the authority conferred on
it by this Agreement and in good faith; (ii) based on the good faith opinion of legal counsel or other
appropriate expert; or (iii) otherwise made in good faith.

B.       Indemnification.

         (i)      The Company, its receiver or its trustee, shall indemnify any Member, employee or agent of
the Company who was or is a party or is threatened to be made a party to a threatened, pending or completed
action, suit or proceeding, whether civil, criminal, administrative, or investigative, and whether formal or
informal, other than an action by or in the right of the Company, by reason of the fact that such person is or
was a Member, employee or agent of the Company, against expenses, including attorneys’ fees, judgments,
penalties, fines and amounts paid in settlement actually and reasonably incurred by such person in connection
with the action, suit or proceeding, if the person acted in good faith, with the care an ordinarily prudent
person in a like position would exercise under similar circumstances, and in a manner that such person
reasonably believed to be in the best interests of the Company and with respect to a criminal action or
proceeding, if such person had no reasonable cause to believe such person’s conduct was unlawful.

         (ii)     Any Member, employee or agent of the Company shall be indemnified against actual and
reasonable expenses, including attorneys’ fees, incurred by such person in connection with the action, suit or
proceeding and any action, suit or proceeding brought to enforce the mandatory indemnification provided
herein. The Company shall advance all sums required to indemnify and hold each Member, employee or
agent of the Company harmless as provided herein from the initiation of any claim against such persons,
subject to acknowledgment in writing by such persons of the obligation to reimburse the Company in the
event that, following the entry of a final, non-appealable judgment, it is determined that the Company was
not obligated to indemnify such persons pursuant to this Agreement.

                                         SECTION VIII
                                 DISSOLUTION AND LIQUIDATION

A.       Dissolution. The Company shall dissolve and its affairs shall be wound up on the first to occur of
the following:

         (i)     The written consent of the Members holding at least fifty-one percent of the Class A Voting
Interests;

         (ii)     The entry of a decree of judicial dissolution of the Company under Section 1801(4) of the
Act or a judicial determination under Section 1805(5) of the Act.

         (iii)   The sale of all or substantially all of the assets of the Company.


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The death, insanity, retirement, resignation, expulsion, bankruptcy, or dissolution of any Member, or the
occurrence of any other event that terminates the continued membership of a Member in the Company, shall
not cause a dissolution of the Company.

B.       Liquidation. On dissolution of the Company, the Manager shall act as liquidator. The liquidator
shall proceed diligently to wind up the affairs of the Company and make final distributions as provided herein
and in the Act. The costs of liquidation shall be borne as a Company expense. Until final distribution, the
liquidator shall continue to manage the Company with all of the power and authority of the Manager.

                             SECTION IX
 CONFIDENTIALITY; NON-DISCLOSURE; NON-SOLICITATION; AND NON-COMPETE

Each Member of the Company shall be required to execute, prior to the issuance of any Interest in the
Company, a separate confidentiality, non-disclosure, non-solicitation and non-compete agreement.

                                             SECTION X
                                         BOOKS AND RECORDS

A.      Access to Books and Records. To the fullest extent permissible under law, all non-voting Classes
hereby waive any rights they may have under the laws of the State of Delaware, or otherwise, to access the
books and records of the Company.

B.       No Access to Information. Notwithstanding any right of access to the books and records of the
Company that may be applicable, under no circumstances shall any books or records be deemed to include
any books and records concerning the information deemed to be covered by the agreements executed
pursuant to Section IX, and all non-voting Classes and Interests hereby irrevocably waive any access
whatsoever to any of said information. All non-voting Classes and Interests hereby covenant and agree that it
is unreasonable and otherwise improper under all circumstances to demand access to said information.

                                          SECTION XI
                                   MISCELLANEOUS PROVISIONS

A.       Section Headings. The Section headings and numbers contained in this Agreement have been
inserted only as a matter of convenience and for reference, and in no way shall be construed to define, limit
or describe the scope or intent of any provision of this Agreement.

B.      Severability. The invalidity or unenforceability of any particular provision of this Agreement shall
not affect the other provisions hereof, and this Agreement shall be construed in all respects as if such invalid
or unenforceable provisions were omitted.

C.       Amendment. This Agreement may be amended or revoked at any time, in writing, with the consent
of the Manager or a vote of the Members holding fifty-one percent (51%) of the outstanding Class A Voting
Interests. No change or modification to this Agreement shall be valid unless in writing and signed by the
Manager or the Members entitled to vote.

D.      Binding Effect. Subject to the provisions of this Agreement relating to transferability, this Agreement
will be binding upon and shall inure to the benefit of the parties, and their respective distributees, heirs,
successors and assigns.




                                                      15
                                                                            Debtor's Ex. 22, p. 015
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E.      Governing Law. Regardless of the place where this Agreement may be executed by the Member, the
rights and obligations of the Member, and any claims and disputes relating thereto, shall be subject to,
governed by, construed and enforced in accordance with the laws of the State of Delaware.

F.        Power of Attorney. Each Member hereby appoints the Manager to exercise the rights set forth in
this Section XI F, acting individually, as the true and lawful representative of such Member and attorney-in-
fact, in such Member’s name, place and stead, to:

        (i)     Complete or correct, on behalf of such Member, all documents to be executed by such
Member in connection with such Member’s subscription for an Interest, including, without limitation, filling
in or amending amounts, dates, and other pertinent information.

          (ii)      Make, execute, sign, acknowledge, swear to, and file: (i) any and all instruments, certificates,
and other documents which may be deemed necessary or desirable to effect the winding-up and termination
of the Company; (ii) any business certificate, fictitious name certificate, amendment thereto, or other
instrument, agreement, or document of any kind necessary or desirable to accomplish the business, purpose
and objectives of the Company, or required by any applicable federal, state, territorial, tribal or local law; (iii)
any counterpart of this Agreement to be entered into pursuant to this Agreement and any amendment to
which such Member is a signatory; (iv) any amendments to this Agreement; (v) all certificates and other
instruments conforming with this Agreement that are necessary or appropriate to qualify, continue and
terminate the Company as a foreign limited liability company in all such jurisdictions in which the Company
may conduct its business; (vi) any and all certificates, documents, and other instruments necessary or desirable
for purposes of applying to and complying with the Puerto Rico Department of Economic Development and
Commerce tax incentives program; (vii) all other filings with agencies of the federal government, of any state,
territorial, tribal or local government, or of any other jurisdictions, which the Manager considers necessary or
desirable to carry out the purposes of this Agreement and the business of the Company.

         (iii)    This power of attorney granted pursuant to this Section XI F is a special power of attorney
coupled with an interest and is irrevocable and shall survive the death, disability, or cessation of the existence
as a legal entity of a Member; and shall survive the delivery of an assignment by a Member of the whole or
any portion of its interest in the Company, except that, when the assignee thereof has been approved by the
Manger for admission to the Company as a Member, the power of attorney shall survive the delivery of such
assignment for the sole purpose of enabling the Manger to execute, acknowledge, and file any instrument
necessary to effect such substitution.

G.      Waiver of Certain Rights. All holders of non-voting Classes of Membership Interest irrevocably
waive any right they may have to maintain any action for dissolution of the Company or for partition of the
property of the Company.

H.      Arbitration.

         (i)      Any controversy or claim arising out of or relating to this Agreement, or the breach thereof,
shall be settled by arbitration administered by the American Arbitration Association in accordance with its
Commercial Arbitration Rules, and judgment on the award rendered by the arbitrator(s) may be entered in
any court having jurisdiction thereof. The prevailing party shall recover its costs and expenses of arbitration
and the collection of the award, including its reasonable attorney fees.

        (ii)    Solely upon agreement of the parties, the parties may dispense with administration by the
American Arbitration Association and agree to self-administer any dispute or, alternatively, agree to have the
dispute administered by any other agreed upon organization/tribunal and pursuant to any other agreed upon
rules.



                                                        16
                                                                               Debtor's Ex. 22, p. 016
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         (iii)    Any self-administered arbitration shall be conducted in English before an arbitrator chosen
by the parties and who shall reside in the Commonwealth of Puerto Rico. Any certified mediator in Puerto
Rico shall be deemed to have the minimum qualifications to arbitrate the dispute. The parties shall split the
arbitrator’s fees, including any required prepayment deposit. The arbitration shall be governed by the
Commercial Rules of the American Arbitration Association (“AAA”) including the Fast Track/Expedited
Procedures except as modified herein. Within 10 days of the written notice and a demand for arbitration, the
parties shall provide to each other the names of 3 persons residing in Puerto Rico, who would be acceptable
as arbitrators. If the parties agree on any person, that person shall be chosen as the arbitrator. If the agreed
upon person declines to act as the arbitrator for any reason, the parties shall have 5 days to submit alternate
names. If the parties are unable to agree on an arbitrator within 25 days of the written notice and demand for
arbitration, either party may proceed with AAA administered arbitration pursuant to clause (a) above. If an
arbitrator is agreed upon, the final arbitration hearing shall commence within 120 days of the arbitrator being
chosen. The arbitrator shall hold an initial hearing, which may be held telephonically, and shall enter a
scheduling order. The parties may, but are not required, to mediate the case prior to the final hearing. The
parties may modify these rules to the extent there is agreement by the parties to do so. The decision of the
arbitrator shall be final and binding. Judgment on the award rendered by the arbitrator may be entered in any
court having jurisdiction thereof.

I.    Entire Agreement. This Agreement, including Schedules, supersedes all previous Operating
Agreements entered into by the Company.


                            [SIGNATURES TO FOLLOW ON SCHEDULE A]




                                                      17
                                                                            Debtor's Ex. 22, p. 017
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                                                   Debtor's Ex. 22, p. 018
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     Neutral
As of: March 2, 2020 10:38 PM Z


                                       Williams v. Big Picture Loans, LLC
                                  United States Court of Appeals for the Fourth Circuit
                                      May 7, 2019, Argued; July 3, 2019, Decided
                                                      No. 18-1827


Reporter
929 F.3d 170 *; 2019 U.S. App. LEXIS 19957 **

                                                             Prior History: [**1] Appeal from the United
LULA WILLIAMS; GLORIA TURNAGE;                               States District Court for the Eastern District of
GEORGE HENGLE; DOWIN COFFY; FELIX                            Virginia, at Richmond. (3:17-cv-00461-REP—
GILLISON, JR., on behalf of themselves and all               RCY). Robert E. Payne, Senior District Judge.
individuals similarly situated, Plaintiffs —
Appellees, v. BIG PICTURE LOANS, LLC;
ASCENSION TECHNOLOGIES, LLC,                                 Williams v. Big Picture Loans, LLC, 329 F. Supp.
Defendants — Appellants, and DANIEL                          3d 248, 2018 U.S. Dist. LEXIS 127476 (E.D. Va.,
GRAVEL; JAMES WILLIAMS, JR.; GERTRUDE                        July 27, 2018)
MCGESHICK; SUSAN MCGESHICK;
GIIWEGIIZHIGOOKWAY MARTIN; MATT
MARTORELLO, Defendants.NATIONAL
CONGRESS OF AMERICAN INDIANS;                                Disposition: REVERSED        AND      REMANDED
NATIONAL INDIAN GAMING ASSOCIATION;                          WITH INSTRUCTIONS.
NATIONAL CENTER FOR AMERICAN
INDIAN ENTERPRISE DEVELOPMENT;
CONFERENCE OF TRIBAL LENDING
COMMISSIONERS; ONLINE LENDERS
ALLIANCE, Amici Supporting Appellant.                        Core Terms
DISTRICT OF COLUMBIA; STATE OF
CONNECTICUT; STATE OF HAWAII; STATE                          Tribe, Entities, tribal, district court, immunity,
OF ILLINOIS; STATE OF IOWA; STATE OF                         weighed, sovereign immunity, lending, arms,
MAINE; STATE OF MARYLAND; STATE OF                           economic development, stated purpose, factors,
MASSACHUSETTS; STATE OF MINNESOTA;                           burden of proof, employees, arm-of-the-tribe,
STATE OF NEW JERSEY; STATE OF NEW                            funds, tribal member, self-governance, non-tribal,
YORK; STATE OF NORTH CAROLINA; STATE                         general fund, documents, manage, loans,
OF PENNSYLVANIA; STATE OF VERMONT;                           reinvestment, day-to-day, consumers, formation,
STATE OF VIRGINIA; CENTER FOR                                purposes, parties, vendor
RESPONSIBLE LENDING, Amici Supporting
Appellee.

                                                             Case Summary


                                                                              Debtor's Ex. 23, p. 001
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Overview                                                Fed. R. Civ. P. 12(b)(1), the court of appeals
HOLDINGS: [1]-In Virginia residents' action             reviews the district court's factual findings with
against entities formed under tribal law, claiming      respect to jurisdiction for clear error and the legal
that payday loans they obtained through the entities    conclusion that flows therefrom de novo. A factual
carried unlawfully high interest rates, the entities    finding is clearly erroneous if the court is left with
were entitled to sovereign immunity as arms of the      the definite and firm conviction that a mistake has
Tribe because, inter alia, they were both organized     been committed.
through resolutions by the Tribe Council, the Tribe
stated a purpose for each entity that related to
broader goals of tribal self-governance separate            Governments > Native Americans > Tribal
from the entity's commercial activities, the Tribe's        Sovereign Immunity
general fund benefited significantly from the
revenue generated, the Tribe unequivocally stated       HN2[ ] Native Americans, Tribal Sovereign
its intention to share its immunity in the entities'    Immunity
formation documents, and a finding of no immunity
would weaken the Tribe's ability to govern itself,      Indian tribes are domestic dependent nations that
become self-sufficient, and develop economic            exercise inherent sovereign authority over their
opportunities for its members.                          members and territories. Tribal immunity may
                                                        remain intact when a tribe elects to engage in
                                                        commerce using tribally created entities, i.e., arms
                                                        of the tribe.


Outcome                                                     Evidence > Burdens of Proof > Allocation
Judgment reversed and remanded.
                                                            Governments > Native Americans > Tribal
                                                            Sovereign Immunity

                                                        HN3[ ] Burdens of Proof, Allocation
LexisNexis® Headnotes
                                                 Given the unique attributes of sovereign immunity,
                                                 the burden of proof falls to an entity seeking
                                                 immunity as an arm of the state, even though a
                                                 plaintiff generally bears the burden to prove subject
                                                 matter jurisdiction. The same burden allocation
   Civil Procedure > Appeals > Standards of      applies to an entity seeking immunity as an arm of
   Review > Clearly Erroneous Review             the tribe. Placing the burden of proof on the
                                                 defendant entity aligns with the reasoning that
   Civil Procedure > ... > Responses > Defenses,
                                                 sovereign immunity is akin to an affirmative
   Demurrers & Objections > Motions to Dismiss
                                                 defense and gives proper recognition to the
   Civil Procedure > Appeals > Standards of      similarities between state sovereign immunity and
   Review > De Novo Review                       tribal sovereign immunity. Moreover, such an
                                                 allocation recognizes that an entity that is formally
HN1[ ]      Standards of Review, Clearly distinct from the tribe should only be immune from
Erroneous Review                                 suit to the extent that it is an arm of the tribe.
                                                 Unlike the tribe itself, an entity should not be given
On appeal from a motion to dismiss pursuant to
                                                                           Debtor's Ex. 23, p. 002
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a presumption of immunity until it has                  HN5[ ] Native Americans, Tribal Sovereign
demonstrated that it is in fact an extension of the     Immunity
tribe. Once a defendant has done so, the burden to
prove that immunity has been abrogated or waived        In considering the method of creation of the
would then fall to the plaintiff. Finally, as a         economic entities, in an arm-of-the-tribe immunity
practical matter, it makes sense to place the burden    analysis, the court focuses on the law under which
on defendants as they will likely have the best         the entities were formed. Formation under tribal
access to the evidence needed to demonstrate            law weighs in favor of immunity.
immunity.

                                                            Governments > Native Americans > Tribal
   Governments > Native Americans > Tribal                  Sovereign Immunity
   Sovereign Immunity
                                                     HN6[ ] Native Americans, Tribal Sovereign
HN4[ ] Native Americans, Tribal Sovereign Immunity
Immunity
                                                     The second Breakthrough factor, in an arm-of-the-
In an arm-of-the-tribe immunity analysis, non- tribe immunity analysis, incorporates both the
exhaustive factors are: (1) the method of the stated purpose for which the entities were created
entities' creation; (2) their purpose; (3) their as well as evidence related to that purpose. The
structure, ownership, and management; (4) the stated purpose need not be purely governmental to
tribe's intent to share its sovereign immunity; (5) weigh in favor of immunity as long as it relates to
the financial relationship between the tribe and the broader goals of tribal self-governance.
entities; and (6) the policies underlying tribal
sovereign immunity and the entities' connection to
tribal economic development, and whether those           Governments > Native Americans > Tribal
policies are served by granting immunity to the          Sovereign Immunity
economic entities. Like the Ninth Circuit, the U.S.
Court of Appeals for the Fourth Circuit adopts the HN7[ ] Native Americans, Tribal Sovereign
first five Breakthrough factors to analyze arm-of- Immunity
the-tribe sovereign immunity and allow the purpose
                                                     The third Breakthrough factor, in an arm-of-the-
of tribal immunity to inform our entire analysis.
                                                     tribe immunity analysis, examines the structure,
The sixth Breakthrough factor, whether the
                                                     ownership, and management of the entities,
purposes underlying tribal sovereign immunity
                                                     including the amount of control the tribe has over
would be served by granting an entity immunity,
                                                     the entities. Relevant to this factor are the entities'
overlaps significantly with the first five
                                                     formal governance structure, the extent to which
Breakthrough factors. Thus, the extent to which a
                                                     the entities are owned by the tribe, and the day-to-
grant of arm-of-the-tribe immunity promotes the
                                                     day management of the entities.
purposes of tribal sovereign immunity is too
important to constitute a single factor and will
instead inform the entire analysis.
                                                         Governments > Native Americans > Tribal
                                                         Sovereign Immunity
   Governments > Native Americans > Tribal              HN8[ ] Native Americans, Tribal Sovereign
   Sovereign Immunity                                   Immunity

                                                                           Debtor's Ex. 23, p. 003
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The fourth Breakthrough factor, in an arm-of-the-           Governments > Native Americans > Tribal
tribe immunity analysis, assesses the tribe's intent        Sovereign Immunity
to extend its immunity to the entities. In some
cases, the tribal ordinances or articles of HN11[ ] Native Americans, Tribal Sovereign
incorporation creating the entities will state whether Immunity
the tribe intended the entities to share in the tribe's
                                                        An entity's entitlement to tribal immunity cannot
immunity.
                                                        and does not depend on a court's evaluation of the
                                                        respectability of the business in which a tribe has
                                                        chosen to engage.
    Governments > Native Americans > Tribal
    Sovereign Immunity

HN9[ ] Native Americans, Tribal Sovereign                      Constitutional Law > State Sovereign
Immunity                                                       Immunity > Abrogation of Immunity

The fifth Breakthrough factor, in an arm-of-the-               Governments > Native Americans > Tribal
tribe immunity analysis, considers the financial               Sovereign Immunity
relationship between the tribe and the entities. As
                                                           HN12[ ]       State  Sovereign         Immunity,
the district court recognized, whether a judgment
                                                           Abrogation of Immunity
against an entity would reach the tribe's assets is a
relevant consideration. However, direct tribal             It is Congress—not the courts—that has the power
liability for an entity's actions is neither a threshold   to abrogate tribal immunity.
requirement for immunity nor a predominant factor
in the overall analysis. Instead, courts consider the
extent to which a tribe depends on the entity for
revenue to fund its governmental functions, its
support of tribal members, and its search for other        Counsel: ARGUED: William H. Hurd,
economic development opportunities. If a judgment          TROUTMAN SANDERS, LLP, Richmond,
against the entity would significantly impact the          Virginia, for Appellants.
tribal treasury, this factor will weigh in favor of
immunity even if the tribe's liability for an entity's
                                                           Matthew W.H. Wessler, GUPTA WESSLER
actions is formally limited.
                                                           PLLC, Washington, D.C., for Appellees.


    Governments > Native Americans > TribalON BRIEF: David N. Anthony, Timothy J. St.
    Sovereign Immunity                     George, TROUTMAN SANDERS, LLP,
                                           Richmond, Virginia; Justin A. Gray, ROSETTE,
HN10[ ] Native Americans, Tribal Sovereign LLP, Mattawan, Michigan, for Appellants.
Immunity

Where a judgment against the entities could                Kristi C. Kelly, Andrew Guzzo, Casey S. Nash,
significantly impact the tribe's treasury, this factor     KELLY & CRANDALL, PLC, Fairfax, Virginia;
weighs in favor of immunity even though the tribe's        Alexandria Twinem, GUPTA WESSLER PLLC,
formal liability is limited.                               Washington, D.C., for Appellees.


                                                           Pilar M. Thomas, LEWIS ROCA ROTHGERBER

                                                                              Debtor's Ex. 23, p. 004
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CHRISTIE LLP, Tucson, Arizona; Derrick Beetso,        H. Stein, Attorney General, OFFICE OF THE
NATIONAL CONGRESS OF AMERICAN                         ATTORNEY GENERAL FOR THE STATE OF
INDIANS, Washington, D.C., for Amici National         NORTH CAROLINA, Raleigh, North
Congress of American Indians, National Indian         Carolina; [**3] Thomas J. Donovan, Jr., Attorney
Gaming Association, and National Center for           General, OFFICE OF THE ATTORNEY
American Indian Enterprise Development.               GENERAL FOR THE STATE OF VERMONT,
                                                      Montpelier, Vermont; Russell A. Suzuki, Attorney
                                                      General, OFFICE OF THE ATTORNEY
Sarah J. Auchterlonie, BROWNSTEIN HYATT
                                                      GENERAL FOR THE STATE OF HAWAII,
FARBER SCHRECK LLP, Denver, Colorado;
                                                      Honolulu, Hawaii; Tom Miller, Attorney General,
Brendan Johnson, Sioux Falls, South Dakota, Luke
                                                      OFFICE OF THE ATTORNEY GENERAL FOR
A. Hasskamp, ROBINS KAPLAN LLP,
                                                      THE STATE OF IOWA, Des Moines, Iowa; Brian
Minneapolis, Minnesota, for Amicus Conference of
                                                      E. Frosh, Attorney General, OFFICE OF THE
Tribal Lending Commissioners. [**2]
                                                      ATTORNEY GENERAL FOR THE STATE OF
                                                      MARYLAND, Baltimore, Maryland; Lori
Brian Foster, Michael Nonaka, Luis Urbina,            Swanson, Attorney General, OFFICE OF THE
COVINGTON & BURLING LLP, Washington,                  ATTORNEY GENERAL FOR THE STATE OF
D.C., for Amicus Online Lenders Alliance.             MINNESOTA, St. Paul, Minnesota; Barbara D.
                                                      Underwood, Attorney General, OFFICE OF THE
William Corbett, Diane M. Standaert, CENTER           ATTORNEY GENERAL FOR THE STATE OF
FOR RESPONSIBLE LENDING, Durham, North                NEW YORK, New York, New York; Josh Shapiro,
Carolina, for Amicus Center for Responsible           Attorney General, OFFICE OF THE ATTORNEY
Lending.                                              GENERAL FOR THE COMMONWEALTH OF
                                                      PENNSYLVANIA, Harrisburg, Pennsylvania;
                                                      Mark R. Herring, Attorney General, OFFICE OF
Karl A. Racine, Attorney General, Loren L.            THE ATTORNEY GENERAL FOR THE
AliKhan, Solicitor General, Caroline S. Van Zile,     COMMONWEALTH OF VIRGINIA, Richmond,
Deputy Solicitor General, Richard S. Love, Senior     Virginia, for Amici District of Columbia, State of
Assistant Solicitor General, OFFICE OF THE            Connecticut, State of Hawaii, State of Illinois, State
ATTORNEY GENERAL FOR THE DISTRICT                     of Iowa, State of Maine, State of Maryland,
OF COLUMBIA, Washington, D.C.; George                 Commonwealth of Massachusetts, State of
Jepsen, Attorney General, OFFICE OF THE               Minnesota, State of New Jersey, State of New
ATTORNEY GENERAL FOR THE STATE OF                     York, State of North Carolina, Commonwealth of
CONNECTICUT, Hartford, Connecticut; Lisa              Pennsylvania, [**4] State of Vermont, and
Madigan, Attorney General, OFFICE OF THE              Commonwealth of Virginia.
ATTORNEY GENERAL FOR THE STATE OF
ILLINOIS, Chicago, Illinois; Janet T. Mills,
Attorney General, OFFICE OF THE ATTORNEY
GENERAL FOR THE STATE OF MAINE,                       Judges: Before GREGORY, Chief Judge, AGEE,
Augusta, Maine; Maura Healey, Attorney General,       and DIAZ, Circuit Judges. Chief Judge Gregory
OFFICE OF THE ATTORNEY GENERAL FOR                    wrote the opinion, in which Judge Agee and Judge
THE COMMONWEALTH OF                                   Diaz joined.
MASSACHUSETTS, Boston, Massachusetts;
Gurbir S. Grewal, Attorney General, OFFICE OF
THE ATTORNEY GENERAL FOR THE STATE
OF NEW JERSEY, Trenton, New Jersey; Joshua            Opinion by: GREGORY

                                                                         Debtor's Ex. 23, p. 005
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                                                          provide vendor management services, compliance
                                                          management assistance, marketing material
                                                          development, and risk modeling and data analytics
Opinion                                                   development. Matt Martorello, a non-tribe member,
                                                          was its founder and chief executive officer.1

[*174] GREGORY, Chief Judge:                              Two years after the formation of Red Rock, in
                                                          February 2013, the New York Department of
The Lac Vieux Desert Band of the Lake Superior            Financial Services sent cease and desist letters to
Chippewa Indians ("the Tribe") formed two                 several lending entities, including Red Rock,
business entities under tribal law. This appeal arises    accusing them of "using the Internet to offer and
from a suit brought by five Virginia residents            originate illegal payday [**6] loans to New York
against those entities, Big Picture Loans, LLC and        consumers, in violation of New York's civil and
Ascension Technologies, LLC (collectively "the            criminal usury laws." Otoe-Missouria Tribe of
Entities"). In the underlying action, the Virginia        Indians v. N.Y. State Dep't of Fin. Servs., 974 F.
residents claimed that they obtained payday loans         Supp. 2d 353, 356 (S.D.N.Y. 2013). The Tribe and
on the internet from Big Picture and that those           entities sought a preliminary injunction based in
loans carried unlawfully high interest rates. The         part on a claim that New York's regulation would
Entities moved to dismiss the case for lack of            infringe on tribal sovereignty. The district court
subject matter jurisdiction on the basis that they are    denied the request, however, finding that the
entitled to sovereign immunity as arms of the Tribe.      entities had not shown a likelihood of success on
After concluding that the Entities bore the burden        the merits because their online lending to New
of proof in the arm-of-the-tribe analysis, the district   York customers constituted off-reservation activity
court found that the Entities failed to prove that        and could thus be properly regulated under New
they are entitled to tribal sovereign immunity.           York's anti-usury law. See id. at 360-61. The
                                                          Second Circuit affirmed this decision in October
The Entities now appeal that decision. Although the
                                                          2014. Otoe-Missouria Tribe of Indians v. N.Y. State
district court properly placed the burden of proof on
                                                          Dep't of Fin. Servs., 769 F.3d 105 (2d Cir. 2014).
the Entities claiming tribal [**5] sovereign
immunity, we hold that the district court erred in its    Around the same time, the Tribe formed three
determination that the Entities are not arms of the       entities central to this appeal. On August 26, 2014,
Tribe. We therefore reverse the district court's          months before the Second Circuit's decision in
decision and remand the case with instructions to         Otoe-Missouria, the Tribe organized Big Picture as
dismiss the complaint.                                    an independent tribal lending entity that would
I.                                                        ultimately consolidate the activities of its other
                                                          lending entities, including Red Rock. On [*175]
The Tribe entered the business of online lending in       February 5, 2015, the Tribe Council formed another
2011 when it organized Red Rock Lending as a              entity, Tribal Economic Development Holdings,
tribally owned LLC. Two members of the Tribe              LLC ("TED"), to operate the Tribe's current and
managed Red Rock, and the Tribe was its sole              future lending companies. Also on February 5,
member. Red Rock provided loans to consumers              2015, the Tribe formed Ascension as a subsidiary
from its offices on the Reservation and was subject       of TED for the purpose of engaging in
to the Tribe's Tribal Financial Services Regulatory       marketing, [**7]       technological, and vendor
Code, which is enforced by the Tribal Financial
Services Regulatory Authority. Red Rock
contracted with Bellicose, a non-tribal LLC, to           1 Bellicose assigned its interest in the contract to SourcePoint, a
                                                          Bellicose subsidiary, in 2012. J.A. 158.

                                                                               Debtor's Ex. 23, p. 006
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services to support the Tribe's lending entities. The Agreement sets forth the relationship between Big
Tribe was the sole member of TED, and TED Picture and Ascension, with Ascension handling
became Big Picture's and Ascension's sole member. certain day-to-day aspects of the loan operations for
                                                      Big Picture. Michelle Hazen and James Williams,
Also in early 2015, Martorello and the Tribe agreed both Tribe Council members, co-manage all three
on a basic framework for the sale of Bellicose: a companies. Hazen is also [**9] chief executive
seller-financed transaction with non-fixed payments officer of Big Picture, but Ascension's president is a
over a seven-year term, with any outstanding non-tribal member.
amount due to be forgiven at the end of that term.
Prior to that time, the Tribe and Martorello had In June 2017, Plaintiffs Lula Williams, Gloria
engaged in multiple conversations about the Turnage, George Hengle, Dowin Coffy, and Felix
potential sale of Martorello's consulting companies Gillison, Jr. brought a putative class action against
to the Tribe, which would allow the Tribe to engage Big Picture and Ascension, as well as individual
in online lending without relying on outside defendants who are not parties to this appeal.
vendors for support services. The seller-financier Plaintiffs sought declaratory and injunctive relief,
would be Eventide Credit Acquisitions, LLC, a alleging that Big Picture charges interest rates on its
company managed and majority-owned by multiple loans that are substantially-50 times—higher than
entities of which Martorello was the president. In would be allowed if Virginia law were applicable.
short, Eventide would provide a $300 million loan Before the district court, the Entities appeared
to TED, which TED would then use to purchase specially to claim that they are entitled to tribal
Bellicose.                                            sovereign immunity, submitting documentation in
                                                      support of their assertion that they are arms of the
After continuing negotiations, the parties reached a Tribe.
final agreement in September 2015, memorializing
the terms of the deal in a loan agreement and a Following jurisdictional discovery, the district court
promissory note. Under those terms, Big Picture rejected the Entities' invocation of arm-of-the-tribe
would first make a distribution to TED [**8] of its immunity. In reaching its decision, the district court
gross revenues. TED would then distribute 2% of determined that the driving force behind the
those revenues to the Tribe and reinvest an [*176] formation of Big Picture and Ascension
additional 2% of gross revenues in growing Big was "to shelter outsiders from the consequences of
Picture's loan portfolio. The parties agreed to their otherwise illegal actions." J.A. 222. The
increase the monthly distribution to the tribe from district court placed the burden of proof for the
2% to 3% in September 2016, and the agreement immunity issue on the Entities. The Entities timely
also provided that the percentage distribution would appealed. [**10]
increase to 6% when half the loan had been repaid. II.
In January 2016, the Tribe completed its purchase
of Bellicose and acquired all of Bellicose's data and HN1[ ] On appeal from a motion to dismiss
software. By September 2017, TED had distributed pursuant to Federal Rule of Civil Procedure
approximately $20 million in loan payments to 12(b)(1), we review "the district court's factual
Eventide and nearly $5 million to the Tribe.          findings with respect to jurisdiction for clear error
                                                      and the legal conclusion that flows therefrom de
TED now oversees both Big Picture and Ascension,
                                                      novo." In re KBR, Inc., Burn Pit Litig., 744 F.3d
and all three entities have their headquarters on the
                                                      326, 333 (4th Cir. 2014). A factual finding is
Reservation. Big Picture currently employs 15
                                                      clearly erroneous if we are "left with the definite
tribal members on the Reservation, and Ascension
                                                      and firm conviction that a mistake has been
employs 31 individuals, most of whom work
                                                      committed." United States v. Chandia, 675 F.3d
outside the Reservation. An Intratribal Servicing
                                                                           Debtor's Ex. 23, p. 007
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329, 337 (4th Cir. 2012).                                In determining the proper burden allocation in this
                                                         context, this Court's arm-of-the-state doctrine
HN2[ ] "Indian tribes are 'domestic dependent            guides our analysis. HN3[ ] Given the unique
nations' that exercise inherent sovereign authority      attributes of sovereign immunity, we have held that
over their members and territories." Okla. Tax           the burden of proof falls to an entity seeking
Comm'n v. Citizen Band Potawatomi Indian Tribe,          immunity as an arm of the state, even though a
498 U.S. 505, 509, 111 S. Ct. 905, 112 L. Ed. 2d         plaintiff generally bears the burden to prove subject
1112 (1991) (quoting Cherokee Nation v. Georgia,         matter jurisdiction. Hutto v. S.C. Retirement Sys.,
30 U.S. 1, 17, 8 L. Ed. 25 (1831)). The Supreme          773 F.3d 536, 543 (4th Cir. 2014). The same
Court has recognized that tribal immunity may            burden allocation applies to an entity seeking
remain intact when a tribe elects to engage in           immunity as an arm of the tribe. Placing the burden
commerce using tribally created entities, i.e., arms     of proof on the defendant entity aligns with our
of the tribe, but the Court has not articulated a        reasoning in Hutto that sovereign immunity is "akin
framework for determining whether a particular           to an affirmative [**12] defense" and gives proper
entity should be considered an arm of the tribe. See     recognition to the similarities between state
Inyo Cty. v. Paiute-Shoshone Indians of the Bishop       sovereign immunity and tribal sovereign immunity.
Cmty. of the Bishop Colony, 538 U.S. 701, 704, 705       Id. Moreover, such an allocation recognizes that an
n.1, 123 S. Ct. 1887, 155 L. Ed. 2d 933 (2003)           entity that is formally distinct from [*177] the
(holding that a tribe and its wholly-owned gaming        tribe should only be immune from suit to the extent
corporation, an arm of the tribe, were not "persons"     that it is an arm of the tribe. Unlike the tribe itself,
who could sue under 42 U.S.C. § 1983). This Court        an entity should not be given a presumption of
has recognized the existence of arm-of-the-tribe         immunity until it has demonstrated that it is in fact
immunity but has likewise never applied the              an extension of the tribe. Once a defendant has
doctrine to determine whether an entity qualifies as     done so, the burden to prove that immunity has
an arm of a tribe. See United States v. Bly, 510 F.3d    been abrogated or waived would then fall to the
453, 465 (4th Cir. 2007) (acknowledging the              plaintiff. Finally, as a practical matter, it makes
Supreme Court's ruling in Inyo County).                  sense to place the burden on defendants like
III.                                                     Ascension and Big Picture, as they will likely have
                                                         the best access to the evidence needed to
                                                         demonstrate immunity. For these reasons, the
A.
                                                         district court properly determined that Ascension
As an initial matter, the parties dispute the            and Big Picture must prove that they are entitled to
proper [**11] allocation of the burden of proof in       tribal immunity as arms of the Tribe by a
the arm-of-the-tribe analysis. The district court held   preponderance of the evidence.
that Big Picture and Ascension, as the parties           B.
claiming arm-of-the-tribe immunity, bore the
burden of proving their entitlement to immunity.         Turning to HN4[ ] the arm-of-the-tribe immunity
Big Picture and Ascension contend that this was in       analysis, the district court applied the factors set
error, arguing that the tribal documents establishing    forth in Breakthrough Management Group, Inc. v.
the Entities should create a presumption of              Chukchansi Gold Casino & Resort, 629 F.3d 1173
immunity to be rebutted by Plaintiffs. Plaintiffs        (10th Cir. 2010). Those non-exhaustive factors are:
argue, by contrast, that the district court properly     (1) the method of the entities' creation; (2) their
looked to arm-of-the-state doctrine in reaching its      purpose; (3) their structure, [**13] ownership, and
decision as to the burden of proof. We agree with        management; (4) the tribe's intent to share its
Plaintiffs on this point.                                sovereign immunity; (5) the financial relationship

                                                                            Debtor's Ex. 23, p. 008
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between the tribe and the entities; and (6) the           Constitution, and the Entities operated pursuant to
policies underlying tribal sovereign immunity and         the Tribe's Business Ordinance. It is therefore
the entities' "connection to tribal economic              undisputed that Big Picture and Ascension were
development, and whether those policies are served        "created under tribal law," which "weighs in favor
by granting immunity to the economic entities." Id.       of the conclusion that these entities are entitled to
at 1187. The Ninth Circuit has adopted the first five     tribal sovereign immunity." Breakthrough, 629
Breakthrough factors to analyze arm-of-the-tribe          F.3d at 1191. Accordingly, this factor weighs in
immunity and also considers the central purposes          favor of tribal sovereign immunity for both Entities.
underlying the doctrine of tribal sovereign               See Breakthrough, 629 [*178] F.3d at 1191-92
immunity. See White v. Univ. of Cal., 765 F.3d            (finding first factor weighed in favor of immunity
1010, 1026 (9th Cir. 2014). The parties did not and       where entities were created under tribal law).
do not dispute that these factors should guide our
analysis.
                                                          2. Purpose
Like the Ninth Circuit, we adopt the first five
Breakthrough factors to analyze arm-of-the-tribe          HN6[ ] The second Breakthrough [**15] factor
sovereign immunity and allow the purpose of tribal        incorporates both the stated purpose for which the
immunity to inform our entire analysis. The sixth         Entities were created as well as evidence related to
Breakthrough factor, whether the purposes                 that purpose. 629 F.3d at 1192-93. The stated
underlying tribal sovereign immunity would be             purpose need not be purely governmental to weigh
served by granting an entity immunity, overlaps           in favor of immunity as long as it relates to broader
significantly with the first five Breakthrough            goals of tribal self-governance. For example, in
factors. Thus, the extent to which a grant of arm-of-     Breakthrough, the Tenth Circuit found that this
the-tribe immunity promotes the purposes of tribal        factor weighed in favor of immunity where the
sovereign immunity is too important to constitute a       stated purpose of a casino was to financially benefit
single factor and [**14] will instead inform the          the tribe and enable it to engage in various
entire analysis.                                          governmental functions—even though the entities
                                                          themselves engaged in commercial activities. Id. at
Here, we find no clear error in the district court's      1192; see also Michigan v. Bay Mills Indian Cmty.,
factual findings. Reviewing the district court's legal    572 U.S. 782, 789, 134 S. Ct. 2024, 188 L. Ed. 2d
conclusions de novo, however, we hold that the            1071 (2014) (holding that tribal immunity extends
Entities are entitled to sovereign immunity as arms       to "suits arising from a tribe's commercial
of the Tribe and therefore reverse the district court's   activities, even when they take place off Indian
decision.                                                 lands").

                                                     Here, the district court accurately noted that the
1. Method of Creation                                Tribe has stated a purpose for each Entity that
                                                     relates to broader goals of tribal self-governance
HN5[ ] In considering the "method of creation of separate from the Entity's commercial activities,
the economic entities," we focus on the law under i.e., tribal economic development and self-
which the entities were formed. Breakthrough, 629 sufficiency. Big Picture's stated purpose, included
F.3d at 1191-92. Formation under tribal law weighs in its articles of organization, is to "engage in the
in favor of immunity. Id. at 1191; see also White, business of operating one or more Tribal lending
765 F.3d at 1025. Here, as the district court found, business(es)" as part of the Tribe's "strategic
Big Picture and Ascension were both organized economic development efforts" [**16] aimed at
through resolutions by the Tribe Council, "diversify[ing] the economy of the Tribe's
exercising powers delegated to it by the Tribe's

                                                                             Debtor's Ex. 23, p. 009
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Reservation in order to improve the Tribe's              that the [*179] lending operations could continue.
economic self-sufficiency." J.A. 365, 370.               As the district court found, the evidence "does not
Similarly, Ascension's stated purpose, also included     indicate that Martorello himself has received any
in its articles of organization, is to "engage in the    substantial economic benefit from Big Picture."
business of operating one or more Tribal marketing,      J.A. 212.
technology and vendor service business(es),"
thereby fulfilling the same tribal economic              While Martorello [**18] certainly stood to benefit
development efforts. J.A. 380, 387. Thus, the stated     from the creation of Big Picture and Ascension and
purpose of the Entities supports the conclusion that     the continuation of the Tribe's lending operation, so
this factor weighs in favor of immunity.                 too did the Tribe. Thus, the district court's
                                                         conclusion that the "real purpose" of Big Picture
In holding otherwise, the district court reasoned: (1)   and Ascension was simply to protect Martorello
the formation of the businesses was "for the real        does not hold up (and is in fact contradicted by
purpose of helping Martorello and Bellicose to           other findings in the district court's order). Unlike
avoid liability, rather than to help the Tribe start a   the tribe in People ex rel. Owen v. Miami Nation
business"; and (2) Big Picture and Ascension "do         Enters, a California Supreme Court case relied
not fulfill their stated purposes in practice." J.A.     upon heavily by the district court, the Tribe here
206-07. Neither rationale holds up.                      did not create Big Picture and Ascension solely, or
                                                         even primarily, to protect and enrich a non-tribe
The record indeed shows that the Tribe created Big       member. See 2 Cal. 5th 222, 211 Cal. Rptr. 3d 837,
Picture and Ascension following the Second               386 P.3d 357, 378 (Cal. 2016). Rather, the Tribe
Circuit's adverse ruling and the Consumer Financial      created Big Picture and Ascension so that its
Protection Bureau's enforcement action against           lending operations could continue, along with the
another online lender, Western Sky, that claimed         economic       benefits   associated     with    that
immunity based on its relationship with another          continuation. The fact that the Tribe created Big
tribe. See J.A. 1321-22 (Martorello [**17]               Picture and Ascension in part to reduce exposure to
emailing Tribal Council members and the Tribe's          liability does not necessarily invalidate or even
counsel regarding his concerns about the CFPB and        undercut the Tribe's stated purpose, i.e., tribal
New York enforcement actions); J.A. 1329 (emails         economic development. Indeed, in order to reach its
after the enforcement actions between Martorello         stated goal, the Tribe may have deemed it
and the head of the Tribal Council scheduling a          necessary to reduce its exposure to liability. The
time to discuss "a potential bigger deal for [the        district court therefore erred in finding this factor
Tribe] learning the Servicing business"). However,       weighed [**19] against tribal sovereign immunity
the evidence does not support the district court's       on this basis.
conclusion that the creation of the Entities was only
or primarily intended to benefit Martorello or that      The district court's reasoning as to the fulfillment of
the creation of Big Picture and Ascension was            the Entities' stated purposes was also in error. The
solely the product of Martorello's design and            district court determined that Big Picture and
urging. Indeed, the district court recognized that       Ascension do not fulfill their stated purposes,
both Martorello and the Tribe "looked for ways to        because: (1) the Tribe's explanation as to how
restructure Red Rock's lending operations to reduce      revenue from Big Picture is used is too vague, and
exposure to liability." J.A. 201. The email              the revenue received by the Tribe is a sliver of Big
communications among Martorello, the Tribe               Picture's total earnings; (2) Ascension does not
Council members, and the Tribe also indicate that        employ Tribe members; and (3) Ascension and Big
the Tribe and Martorello were both interested in         Picture's compensation structures indicate that the
avoiding a potential CFPB enforcement action so          Entities primarily benefit individuals and entities

                                                                            Debtor's Ex. 23, p. 010
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outside of the Tribe.                                        • subsidize tribal members' home purchases and
                                                             rentals;
As to the first conclusion, the district court found         • provide a bridge loan to complete the new
that the money generated by Big Picture constitutes          tribal health clinic that offers services to the
more than 10% of the Tribe's general fund and may            regional community;
contribute more than 30% of the fund within the              • fund new vehicles for the Tribe's Police
next few years. Despite this evidence that Big               Department;
Picture's revenue constituted a significant                  • fund an Ojibwe language program and other
percentage of the Tribe's general fund, the district         cultural programs;
court nevertheless deemed the information                    • provide foster care payments for eligible
provided by the Tribe as to the specific uses of             children, propane assistance, and assistance for
those funds to be too vague. Without pointing to             family care outside of the community; cover
any evidence casting doubt on Hazen's assertions,            burial and other funeral expenses for members'
the district court hypothesized that Big [**20]              families;
Picture's revenue might not actually fund the                • fund renovations and new office space for the
"governmental essential services" identified by              Tribe's Social Services Department; fund youth
Tribe Council member Hazen. J.A. 208.                        activities;
The district court's conclusion on this front was            • renovate a new space for the Tribe's Court
wrong for three reasons. First, one of the primary           and bring in telecom services for remote court
purposes underlying tribal immunity is the                   proceedings;
promotion of tribal self-governance, which                   • and fund tribal elder nutrition programs and
counsels against courts demanding exacting                   tribal elder home care and transport services.
information about the minutiae of a tribe's budget.          J.A. 179-80.
That these funds constitute a significant portion of    In deeming the Tribe's evidence "far too general,"
the Tribe's general fund in and of itself suggests      the district court appeared to require a breakdown
that Big Picture's revenue has contributed to the       of exactly what percentage of the Tribe's budget
Entities' stated purpose of tribal economic             went to each of these activities and exactly what
development.                                            percentage of the funding for these activities
Second, even applying the district court's exacting     constituted Big Picture revenue. Such a
standard, the record shows—and the district court       requirement is at odds with policy considerations of
recognized—the specific Tribal activities that Big      tribal self-governance [**22]       and economic
Picture's revenue has funded. Indeed, the district      development.
court explicitly recognized that Big Picture's funds
                                                   The district court also erred in determining that this
had been used, in whole or in part, to:            factor weighed against tribal sovereign immunity
    • meet requirements necessary to secure $14.1  on the basis that the Tribe did not receive enough of
    million in financing for the Tribe's new healtha benefit from Big Picture compared with Eventide.
    clinic;                                        The district court found that the promissory note
     [*180] • refinance casino debt;               between TED and Eventide limits the funds
    • fund college scholarships and pay for available to the Tribe to 5% of Big Picture's total
    educational costs for members such as student monthly earnings—a 3% monthly distribution and a
    housing, books, school supplies and equipment; 2% reinvestment amount. The district court also
                                                   found that Big Picture has given the Tribe a little
    • create home ownership [**21] opportunities under $5 million (about $3 million in distributions
    for members through tribally purchased homes; and $2 million for reinvestment) and that TED has

                                                                           Debtor's Ex. 23, p. 011
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made loan repayments to Eventide of                                    determination counsel against second-guessing a
approximately $20 million. On these facts, the                         financial decision of the Tribe where, as here, the
district court concluded that "the Tribe has only                      evidence indicates that the Tribe's general fund has
received about 20% of Big Picture's total revenue,                     in fact benefited significantly from the revenue
still a relatively small percentage." J.A. 210. The                    generated by an entity.
district court further recognized that Big Picture
will not owe Eventide anything after the note                          In addition to its concerns about revenue sharing,
terminates in seven years. Nevertheless, based on                      the district court found the Entities' employment
these facts, the district court concluded that the                     opportunities and compensation structures to be
"revenue distribution disparity" between Big                           problematic. While the district court recognized
Picture and Eventide was so great that it weighed                      that Big Picture's employees consist mainly of the
against a finding of immunity. We disagree. [**23]                     Tribe's members, it noted that Ascension does not
                                                                       employ any Tribe members, instead relying on
As an initial matter, the district court cited to no                   employees who previously worked at Bellicose.
authority suggesting that a tribe must receive a                       The district court reasoned that this "composition
certain percentage of revenue from a given entity                      may have been justified when Ascension was
for the entity to constitute an arm of the tribe.                      formed in 2015 because the company needed
Indeed, the evidence suggests that the Tribe would                     individuals with certain technical knowledge for the
not have been able to finance a loan operation on its                  required support services, and Bellicose's
own and thus entered a loan agreement with a non-                      employees were the perfect candidates." J.A. 211.
tribal entity in order to obtain revenue both now                      The district court found the current lack of tribal
and in the future. Indeed, when the loan was                           employees unacceptable, however, and faulted the
originally signed, the Tribe received a one-time                       Tribe for doing "little more than encourag[ing]
reinvestment of $1.3 million. J.A. 1346. Currently,                    tribal members [**25] to pursue educational
the Tribe receives 5% of Big Picture's gross                           opportunities that would allow them to work for
revenue distribution, and this percentage will                         Ascension and Big Picture in the future." J.A. 211.
increase to 8% upon [*181] payment of half the                         At the same time, the district court rejected
loan.2 Finally, after seven years, the remaining                       Plaintiffs' argument that the Tribe should have
balance will be forgiven, with all net revenue to the                  started training programs for tribal members to
Tribe. At that time, in only a few years, not only                     work at the company, because there was no
will all revenue belong to the Tribe, but it will own                  indication that the Tribe had the capacity or funds
outright all of the components of the commercial                       to do so. The district court nevertheless found that
lending enterprise.                                                    Ascension had failed to contribute to the Tribe's
                                                                       stated purposes for the Entities, because Ascension
Thus, the facts of this case are a far cry from the                    only supported Big Picture's "minimal revenue
circumstances in Miami Nation, where the evidence                      generation" and did not provide hiring
indicated that the tribe received barely any revenue,                  opportunities for tribal members. J.A. 211.
and the entities could not identify the percentage of
profits from the lending operations [**24] that                        While employment of tribe members may be an
flowed to the tribe or how those profits were used.                    indication that an entity is contributing to a tribe's
386 P.3d at 378. Even more importantly, policy                         self-governance or economic development, it is not
considerations of tribal self-governance and self-                     required for this factor to weigh in favor of
                                                                       immunity. As the district court noted, there is no
                                                                       evidence that the Tribe had the capacity to train its
2 This total includes a distribution of 6% of Big Picture's gross      members to take on skilled employment at
revenues to the Tribe plus 2% for reinvestment into Big Picture. See   Ascension, but the district court nonetheless faulted
J.A. 1607.

                                                                                        Debtor's Ex. 23, p. 012
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the Tribe for not doing more to increase tribal        structure, the extent to which the entities are owned
employment. More importantly, Ascension's              by the tribe, and the day-to-day management of the
support of Big Picture's lending operations, which     entities. Here, the district court found that this
the evidence indicates [**26] is important to Big      factor weighed against a finding of immunity for
Picture's operations, is directly related to           both Entities. We conclude, however, that this
achievement of the Tribe's stated purposes.            factor weighs in favor of immunity for Big Picture
                                                       and only slightly against a finding of immunity for
As to the compensation structures at Ascension and Ascension.
Big Picture, the district court found it problematic
that Tribe Council member Hazen has been paid Big Picture is an LLC managed by two Tribe
more than other tribal members at Big Picture and Council members, Hazen and Williams, who were
that Ascension's employees are paid more than Big appointed by majority vote of the Tribe Council
Picture's employees. The district court determined and must be removed in the same way. As co-
that these differences "lead to the conclusion that managers, Hazen and Williams are granted broad
Big Picture and Ascension primarily [*182] authority to bind Big Picture individually and
benefit individuals and entities outside the Tribe, or "to [**28] do and perform all actions as may be
only one tribal leader, both of which are necessary or appropriate to carry out the business of
inconsistent with the goal of economic Big Picture including but not limited to the power
development." J.A. 212. The Entities accurately to enter into contracts for services, to manage
point out that Hazen is chief executive officer of vendor relationships, and to manage personnel
Big Picture and that it should therefore not be issues and affairs of Big Picture." J.A. 458. Hazen
surprising that she is paid more than other Tribe and Williams are precluded only from selling Big
members at the company. The district court also Picture's assets or waiving its sovereign immunity.
found that Big Picture's employees require less J.A. 450-51. The district court found that the Tribe
technical training than Ascension employees, which has a substantial role in the operations of Big
may naturally lead to a pay differential. At any rate, Picture, "as the entity employs a number of tribal
the district court erroneously determined that these members"-including Hazen as its chief executive
pay differences necessitate a conclusion that the officer—and "conducts all of its operations on the
Entities primarily benefit individuals and entities Reservation." J.A. 214. On these facts, the district
outside the Tribe. [**27] Such a conclusion court correctly recognized that this "general
disregards the substantial revenue that the Tribe has structure is to assure that Big Picture is answerable
received (and will continue to receive) in the form to the Tribe at every level, which supports
of payouts and reinvestments.                          immunity." J.A. 215. Despite this conclusion, the
                                                       district court found that this factor ultimately
In sum, because Big Picture and Ascension serve weighed against immunity for Big Picture, because
the purposes of tribal economic development and its structure was outweighed by Ascension's
self-governance, this factor weighs in favor of substantial role in Big Picture's operations. We
immunity for both Entities.                            disagree.

                                                     The district court's determination rested on two
3. Control                                           underlying conclusions: "(1) that the Tribe's formal
                                                     oversight [**29] of Big Picture is meaningless
HN7[ ] The third Breakthrough factor examines given Ascension's dominant role in Big Picture's
the structure, ownership, and management of the lending operations; and (2) that, assuming
entities, "including the amount of control the Tribe Ascension has such a role, that entity is not
has over the entities." 629 F.3d at 1191. Relevant controlled by the Tribe." J.A. 216.
to this factor are the entities' formal governance

                                                                           Debtor's Ex. 23, p. 013
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As to the first conclusion, while Ascension does        Williams's testimony that he was not
manage many of the day-to-day activities                knowledgeable about certain Big Picture [**31]
associated with Big Picture's lending, an entity's      subsidiaries or customer service representatives
decision to outsource management in and of itself       demonstrated that the Tribe did not actually control
does not weigh against tribal immunity, as the          Big Picture. J.A. 218. Given the evidence of the
district court recognized. See Miami Nation,            Tribe's broad power, through Hazen and Williams,
 [*183] 386 P.3d at 373. The Intratribal Servicing      over Big Picture's important business decisions and
Agreement, which lays out the relationship between      management and evidence that Hazen and Williams
the two Entities, indicates that Big Picture remains    in fact exercised that power with frequency, the
in control of its essential functions. Indeed, the      district court erred in concluding that Big Picture
Intratribal Servicing Agreement expressly forbids       was not controlled by the Tribe simply because of
Ascension from engaging in origination activities,      Hazen and Williams's outsourcing of certain day-
executing loan documentation, or approving the          to-day management tasks and their lack of
issuance of loans to consumers. The Agreement           knowledge of some aspects of the lending
assigns Ascension the duties to give "pre-qualified     operation. Indeed, even assuming Hazen and
leads" to Big Picture and to provide the "necessary     Williams lack knowledge as to certain aspects of
credit-modeling data and risk assessment                the operation and did outsource aspects of day-to-
strategies" used by Big Picture to decide whether to    day management to a non-tribal entity, such an
issue a loan. J.A. 419. But the Agreement also          arrangement would not in itself weigh against
provides that the "criteria used to extend funds to     immunity, given the other evidence of Tribal
individual borrowers will remain within the sole        control. See Miami Nation, 386 P.3d at 373.
and absolute [**30] discretion" of Big Picture and
that Big Picture "shall execute all necessary loan      As to Ascension, we agree with the district court
documentation." J.A. 420. The district court            that the control question is closer. Like Big Picture,
discounted these facts and instead speculated that,     Ascension is owned by its sole member, TED, and
given Ascension's responsibility to identify            Hazen and Williams serve as managers of the
borrowers based on its credit-modeling system, "it      company with a Tribe Council vote required for
does not appear that Big Picture has much               their removal. J.A. 218. Unlike Big Picture,
discretion to exercise when it receives                 Ascension has a non-tribal president, [**32] Brian
recommendations or documents from Ascension."           McFadden, and it conducts most of its business
J.A. 216-17. But the Agreement itself provides that     outside the Reservation with non-tribe members.
Big Picture may always "within [its] sole and           J.A. 218. McFadden must obtain Hazen's or
absolute discretion" change the criteria used to        Williams's approval for "changes in operations,
extend funds when and if it deems such a change         personnel, or distributions," and the evidence
appropriate. J.A. 420. In other words, the fact that    demonstrates that Ascension employees have
Big Picture currently chooses to utilize Ascension's    submitted request and approval forms to Hazen and
criteria does not mean that it does not have the        Williams for certain business decisions. J.A. 219.
power to choose differently in the future.              However, Hazen and Williams have delegated to
                                                        McFadden the authority to approve Ascension's
The district court recognized that Hazen and            strategic direction, execute documents on the
Williams have been actively involved in discussing      company's behalf, open and manage Ascension's
items like Big Picture's operating budget and            [*184] bank accounts, and oversee all matters
employee handbook and have approved forms sent          necessary for the daily management of Ascension.
by employees concerning a variety of policies and       Additionally, the Loan Agreement prevents TED
procedures. J.A. 217. The district court also           and Ascension from modifying the Intratribal
discounted this evidence, however, finding that         Servicing Agreement or terminating or replacing

                                                                           Debtor's Ex. 23, p. 014
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any managers or officers of Ascension without          entity's actions "is neither a threshold requirement
Eventide's consent. Given Hazen and Williams's         for immunity nor a predominant factor in the
delegation of authority as to certain aspects of       overall analysis." Miami Nation, 386 P.3d at 373.
Ascension, this evidence, on balance, tends to         Instead, courts consider the extent to which a tribe
weigh slightly against a finding of immunity for       "depends . . . on the [entity] for revenue to fund its
Ascension.                                             governmental functions, its support of tribal
                                                       members, and its search for other economic
In sum, this factor weighs in favor of immunity for development opportunities." Breakthrough, 629
Big Picture and slightly against a finding of F.3d at 1195. If a judgment against the entity
immunity for Ascension.                                would significantly impact the tribal treasury, this
                                                       factor will weigh in favor of immunity even if the
                                                       tribe's liability for an entity's actions is formally
4. Tribal Intent
                                                       limited. Id.
HN8[ ] The fourth Breakthrough [**33] factor
                                                       Here, as the district court recognized, the Tribe
assesses the tribe's intent to extend its immunity to
                                                       would not be directly liable for a judgment against
the entities. In some cases, the tribal ordinances or
                                                       Big Picture or Ascension. This fact alone has little
articles of incorporation creating the entities will
                                                       significance in the analysis. Rather, the relevant
state whether the tribe intended the entities to share
                                                       inquiry evaluates the extent to which the Tribe
in the tribe's immunity. That was the case here. The
                                                       depends on these Entities for revenue to fund its
Tribe unequivocally stated its intention to share its
                                                       governmental       functions    and     other tribal
immunity in Big Picture and Ascension's formation
                                                       development. The district court found that this
documents. Before the district court, Plaintiffs
                                                       factor weighed against immunity, [**35] because
conceded that this factor weighed in favor of Big
                                                       the actual effect on the Tribe of a reduction in Big
Picture and Ascension but argued that the district
                                                       Picture's revenue "appears to be insubstantial" and
court should accord it the least weight out of all the
                                                       Big Picture's revenue "does not play as important a
factors. The district court rejected this argument but
                                                       role in the Tribe's general fund as in other cases
nevertheless concluded that this factor weighed
                                                       where this factor supported immunity." J.A. 225.
against a finding of immunity "because to do
otherwise is to ignore the driving force for the Neither the cases cited by the district court nor the
Tribe's intent to share its immunity." J.A. 222. This record support the [*185] proposition that the
conclusion was in error, because the district court Tribe does not significantly depend on Big Picture's
improperly conflated the purpose and intent factors. revenue. Given that 10% of the Tribe's general fund
This factor focuses solely on whether the Tribe comes from Big Picture, a judgment against Big
intended to provide its immunity to the Entities. As Picture or Ascension could in fact significantly
Plaintiffs conceded, it did. This factor thus weighs impact the tribal treasury, which is at the heart of
in favor of immunity for both Entities.                this analysis, even if it is unclear what the exact
                                                       repercussions of that impact might be on tribal
                                                       members and services.3 HN10[ ] Where, as here,
5. Financial Relationship
                                                       a judgment against the Entities could significantly
HN9[ ] The fifth Breakthrough factor considers impact the Tribe's treasury, this factor weighs in
the [**34] financial relationship between the tribe favor of immunity even though the Tribe's formal
and the entities. 629 F.3d at 1194. As the district
court recognized, whether a judgment against an
entity would reach the tribe's assets is a relevant 3 As the district court acknowledged, a judgment against Ascension
consideration. However, direct tribal liability for an could "drastically reduce Big Picture's revenue." J.A. 226. Thus, a
                                                              judgment against either Entity could impact the Tribe's treasury.

                                                                                    Debtor's Ex. 23, p. 015
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liability is limited. See Breakthrough, 629 F.3d at immunity.").
1195.
                                                     Because a proper weighing of the factors
C.                                                   demonstrates by a preponderance of the evidence
In summary, we find that all of the factors weigh in that the Entities are indeed arms of the Tribe, Big
favor of immunity for Big Picture and all but one of Picture and Ascension are entitled to tribal
the factors weigh in favor of immunity for sovereign immunity.
Ascension. Accordingly, both Entities are entitled IV.
to immunity as arms of the Tribe.
                                                      For the foregoing reasons, we reverse the district
We       reach     this   conclusion     with    due court's order and remand with instructions to grant
consideration [**36] of the underlying policies of the Entities' motion to dismiss for lack of subject
tribal sovereign immunity, which include tribal matter jurisdiction.
self-governance and tribal economic development
                                                      REVERSED          AND     REMANDED          WITH
as well as protection of "the tribe's monies" and the
                                                      INSTRUCTIONS
"promotion of commercial dealings between
Indians and non-Indians." Breakthrough, 629 F.3d
at 1187-88. The evidence here shows that the            End of Document
Entities have increased the Tribe's general fund,
expanded the Tribe's commercial dealings, and
subsidized a host of services for the Tribe's
members. Accordingly, the Entities have promoted
"the Tribe's self-determination through revenue
generation and the funding of diversified economic
development." Breakthrough, 629 F.3d at 1195. A
finding of no immunity in this case, even if
animated by the intent to protect the Tribe or
consumers, would weaken the Tribe's ability to
govern itself according to its own laws, become
self-sufficient, and develop economic opportunities
for its members.

Although Plaintiffs stress the injuries they allegedly
face as a result of the Entities' commercial
activities, HN11[ ] an entity's entitlement to tribal
immunity cannot and does not depend on a court's
evaluation of the respectability of the business in
which a tribe has chosen to engage. Accordingly,
the potential merit of the borrowers' claims against
Big Picture [**37] and Ascension—and the lack of
a remedy for those alleged wrongs—does not sway
the tribal immunity analysis. HN12[ ] It is
Congress—not the courts—that has the power to
abrogate tribal immunity. See Bay Mills, 572 U.S.
at 800 ("[I]t is fundamentally Congress's job, not
ours, to determine whether or how to limit tribal

                                                                            Debtor's Ex. 23, p. 016
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                              In the Matter Of:

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                             LULA WILLIAMS

                               October 04, 2018




                                                    Debtor's Ex. 24, p. 001
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 · · · · IN THE UNITED STATES DISTRICT COURT
 · · · · FOR THE EASTERN DISTRICT OF VIRGINIA
 · · · · · · · · ·Richmond Division

 _____________________________________________________

 LULA WILLIAMS, et al.,

 · · · · · Plaintiffs,

 · · · · · v.· · · · · ·Civil Case No. 3:17-cv-461 (REP)

 BIG PICTURE LOANS, LLC, et al.,

 · · · · · Defendants.
 _____________________________________________________



 · · · ·VIDEOTAPED DEPOSITION OF LULA WILLIAMS



 · · · · · · · · · October 4, 2018

 · · · · · · · · ·Richmond, Virginia




 · · · · · · · HALASZ REPORTING & VIDEO

 · · · · · ·1011 E. Main Street, Suite 100
 · · · · · · · · ·Richmond, VA 23219
 · · · · · · · · · ·(804) 708-0025

 · · · · · ·Reported by:· Heather R. Gunn




                                                             Debtor's Ex. 24, p. 002
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 · · · · · Videotaped deposition of LULA WILLIAMS, taken by

 and before Heather R. Gunn, Notary Public in and for the

 Commonwealth of Virginia at large, pursuant to the Federal

 Rules of Civil Procedure, and by Notice to take deposition,

 commencing at 10:00 a.m., October 4, 2018, at the offices of

 the Virginia Poverty Law Center, 919 East Main Street, Suite

 610, Richmond, Virginia 23219.



 Appearances:

 · · · · · KELLY & CRANDALL PLC
 · · · · · By:· CASEY NASH, ESQ.,
 · · · · · 3925 Chain Bridge Road, Suite 202
 · · · · · Fairfax, VA 22030
 · · · · · attorney, counsel for the Plaintiffs


 · · · · · ARMSTRONG TEASDALE LLP
 · · · · · By:· RICHARD SCHEFF, ESQ.,
 · · · · · By:· KATHARINE LADD, ESQ.,
 · · · · · 1500 Market Street, 12th Floor, East Tower
 · · · · · Philadelphia, PA 19102
 · · · · · attorneys, counsel for Matt Martorello




 Also present:

 · · · · · Marc Langelier, Videographer - Halasz Reporting


                                                             Debtor's Ex. 24, p. 003
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 · · · · · · · · · · ·I N D E X

 Deponent:· · · · · ·Examination:· · · · · Page:

 Ms. Williams




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 · · · · · · · · · E X H I B I T S
 Exhibit:· · · · · · Description:· · · · · Page:
 1· · · · · · · · · ·Complaint· · · · · · · ·6


 2· · · · · · · · · ·Responses· · · · · · · 21


 3· · · · · · · · · ·Agreement· · · · · · · 35


 4· · · · · · · · · ·Complaint· · · · · · · 72


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 9· · · · · · · · · ·E-mail· · · · · · · · ·80


 10· · · · · · · · · E-mail· · · · · · · · ·89
 11-32· · · · · · · ·E-mails· · · · · · · · 91




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 ·1· · · · THE VIDEOGRAPHER:· Today is October 4,
 ·2· ·2018.· We are going on the record at 10:03 a.m.
 ·3· ·This is the videotaped deposition of Lula
 ·4· ·Williams.· The cause is Lula Williams, et al.,
 ·5· ·plaintiffs v. Big Picture Loans, LLC, et al.,
 ·6· ·defendants, Civil Action No. 3:17-CV-461 (REP)
 ·7· ·in the U.S. District Court for the Eastern
 ·8· ·District of Virginia, Richmond Division.
 ·9· · · · This deposition is being held at the
 10· ·Virginia Poverty Law Center, 919 East Main
 11· ·Street, Richmond, Virginia 23219.· The court
 12· ·reporter is Heather Gunn.· The videographer is
 13· ·Marc Langelier both representing Halasz
 14· ·Reporting & Video in Richmond, Virginia.· Will
 15· ·counsel please identify themselves for the
 16· ·record.
 17· · · · MR. SCHEFF:· Richard L. Scheff.· I'm
 18· ·representing Matt Martorello.
 19· · · · MS. NASH:· And Casey Nash on behalf of the
 20· ·plaintiff.
 21· · · · THE VIDEOGRAPHER:· Please --
 22· · · · MS. LADD:· I'm Katy Ladd representing Matt
 23· ·Martorello.
 24· · · · THE VIDEOGRAPHER:· Please swear in the
 25· ·witness.


                                                             Debtor's Ex. 24, p. 006
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 ·1· · · · · · · · · · · LULA WILLIAMS
 ·2· · · · · · was sworn and deposed as follows:
 ·3· · · · · · · · · · · ·EXAMINATION
 ·4· ·BY MR. SCHEFF:
 ·5· · · · Q· · Ms. Williams, good morning.
 ·6· · · · A· · Good morning.
 ·7· · · · Q· · My name is Richard Scheff and I represent
 ·8· ·Matt Martorello.· And are you aware that you are
 ·9· ·here today to have your deposition taken?
 10· · · · A· · Yes.
 11· · · · Q· · Okay.· And I know that you've had your
 12· ·deposition taken before; isn't that right?
 13· · · · A· · Yes.
 14· · · · Q· · And that was about a month ago or so?
 15· · · · A· · Yeah.
 16· · · · Q· · Okay.· So this is going to be the same
 17· ·format.· I'm going to ask you questions, and please
 18· ·give me truthful answers because you've been placed
 19· ·under oath.· Do you understand that?
 20· · · · A· · Uh-huh.
 21· · · · Q· · Okay.· And when you respond to one of my
 22· ·questions, if you could respond verbally as opposed
 23· ·to saying uh-huh --
 24· · · · A· · Oh, okay.· Right.
 25· · · · Q· · -- because the court reporter is preparing


                                                             Debtor's Ex. 24, p. 007
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 ·1· ·a transcript --
 ·2· · · · A· · Okay.
 ·3· · · · Q· · And that's the official record of this
 ·4· ·proceeding.
 ·5· · · · A· · Okay.
 ·6· · · · Q· · Okay?
 ·7· · · · A· · You can't do uh-huh.
 ·8· · · · Q· · Well you can but when you do, I'll ask you
 ·9· ·to say something.· If at any time you don't
 10· ·understand a question that I ask, just tell me.
 11· · · · A· · Okay.
 12· · · · Q· · And I'll try and clarify it.
 13· · · · A· · Okay.
 14· · · · Q· · If you answer a question, I'm going to
 15· ·assume you understand it.
 16· · · · A· · Okay.
 17· · · · Q· · Okay?· And if you want to take a break,
 18· ·just let us know and you will be given an
 19· ·opportunity to take a break.
 20· · · · A· · Okay.
 21· · · · Q· · Okay.· Do you have any questions of me?
 22· · · · A· · No.
 23· · · · Q· · All right, good.· So who -- let me show
 24· ·you what we're going to mark as Exhibit 1.
 25· · · · (The Complaint was marked Exhibit No. 1.)


                                                             Debtor's Ex. 24, p. 008
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 ·1· ·BY MR. SCHEFF:
 ·2· · · · Q· · Ms. Williams, have you ever seen this
 ·3· ·document before?
 ·4· · · · A· · Yes.
 ·5· · · · Q· · And when's the first time you saw it?
 ·6· · · · A· · During my last case.
 ·7· · · · Q· · Your last case?
 ·8· · · · A· · Yes.
 ·9· · · · Q· · When you say your last case, do you mean
 10· ·when you were deposed about a month ago?
 11· · · · A· · Yes.
 12· · · · Q· · Okay.· So according to the information
 13· ·that I have, you were deposed on September 6, 2018,
 14· ·so about a month ago, and it was in connection with
 15· ·a matter relating to a company called Think Finance.
 16· ·Does that refresh your recollection?
 17· · · · A· · Yes.
 18· · · · Q· · Okay.· If you look in the caption of
 19· ·Exhibit 1 -- and when I say the caption, it's this
 20· ·section on page one at the top -- Think Finance's
 21· ·name does not appear there.· Okay.· Do you agree
 22· ·with that?
 23· · · · A· · Yes.
 24· · · · Q· · Okay.· So again, I want to ask you have
 25· ·you ever seen this document before?


                                                             Debtor's Ex. 24, p. 009
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 ·1· · · · A· · No.
 ·2· · · · Q· · Never seen this document before.· Okay.
 ·3· ·Do you see that your name is on the upper, left-hand
 ·4· ·corner as one of the plaintiffs?
 ·5· · · · A· · Yes.
 ·6· · · · Q· · Okay.· And this case was filed in June of
 ·7· ·2017, so about 15 months ago, 16 months ago?
 ·8· · · · A· · Yes.
 ·9· · · · Q· · All right.· Did you see the complaint --
 10· ·this is the complaint.· See it says class action
 11· ·complaint on the first page?
 12· · · · A· · Uh-huh.
 13· · · · Q· · Did you see this complaint before it was
 14· ·filed?
 15· · · · A· · No.
 16· · · · Q· · Okay.· Now if you look through the
 17· ·complaint and what I would like you to do is take a
 18· ·look at paragraph three.· So it starts on page two.
 19· ·So if you turn the page, you will see paragraph
 20· ·three around the middle of the page.
 21· · · · A· · Uh-huh.
 22· · · · Q· · And I just want you to read paragraph
 23· ·three to yourself.· Okay?
 24· · · · A· · (Peruses document.)
 25· · · · Q· · And just so we're clear, paragraph three


                                                             Debtor's Ex. 24, p. 010
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 ·1· ·is the one that your hand is over.· That's the one
 ·2· ·I'd like you to read but you can read anything you
 ·3· ·would like in this complaint of course, but the one
 ·4· ·I want to refer you to is paragraph three.
 ·5· · · · A· · Okay.
 ·6· · · · Q· · So do you have any personal knowledge
 ·7· ·which supports what is stated in paragraph three?
 ·8· · · · A· · Yes.
 ·9· · · · Q· · Okay.· What's that?
 10· · · · A· · No, I don't.
 11· · · · Q· · Okay.
 12· · · · A· · I don't have the knowledge of this.
 13· · · · Q· · That's fine.· Would you also please take a
 14· ·look at paragraph 14?· It's on page five.· And
 15· ·again, if you could read that to yourself.
 16· · · · A· · Did you say 13?
 17· · · · Q· · I'm sorry, paragraph 14.
 18· · · · A· · Fourteen.
 19· · · · Q· · Right there in the middle of the page.
 20· ·Just read that to yourself.
 21· · · · A· · (Peruses document.)· Okay.
 22· · · · Q· · And do you have any personal knowledge
 23· ·about any of the facts that are alleged in paragraph
 24· ·14?
 25· · · · A· · No.


                                                             Debtor's Ex. 24, p. 011
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 ·1· · · · Q· · Okay.· Now if you'd go please to page
 ·2· ·eight, paragraph 28.· Again, it's roughly in the
 ·3· ·middle of the page and if you could just read that
 ·4· ·to yourself.
 ·5· · · · A· · (Peruses document.)· Okay.
 ·6· · · · Q· · Do you have any personal knowledge --
 ·7· · · · A· · No.
 ·8· · · · Q· · -- of the facts that are alleged in
 ·9· ·paragraph 28?
 10· · · · A· · No, I don't.
 11· · · · Q· · Okay.· Have you ever heard of Scott
 12· ·Tucker?
 13· · · · A· · No.
 14· · · · Q· · No?· Do you know anything about
 15· ·Mr. Tucker's lending operation?
 16· · · · A· · No.
 17· · · · Q· · Okay.· Do you have any idea whether
 18· ·Mr. Tucker's lending operation is the same as Big
 19· ·Picture Loans?
 20· · · · A· · I have no idea.
 21· · · · Q· · Okay.· So as you're sitting here today, is
 22· ·this the first time you are seeing this complaint?
 23· · · · A· · Yes.
 24· · · · Q· · Okay.· Now, take a look, please, at
 25· ·paragraph 34.· It's on page nine sort of right in


                                                             Debtor's Ex. 24, p. 012
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 ·1· ·the middle of the page.· If you could, again, just
 ·2· ·read that to yourself.
 ·3· · · · A· · What?
 ·4· · · · Q· · Paragraph 34.
 ·5· · · · A· · Thirty-four.· (Peruses document.)· Okay.
 ·6· · · · Q· · You read that?
 ·7· · · · A· · Uh-huh.
 ·8· · · · Q· · Do you have any personal knowledge of the
 ·9· ·facts that are alleged in paragraph 34?
 10· · · · A· · No, I don't.
 11· · · · Q· · Before today, have you ever heard of Matt
 12· ·Martorello?
 13· · · · A· · No.
 14· · · · Q· · Okay.· And as far as you know, you've
 15· ·never met Mr. Martorello?
 16· · · · A· · No.
 17· · · · Q· · You've never spoken to him?
 18· · · · A· · No.
 19· · · · Q· · Okay.· Have you heard of a company called
 20· ·Bellicose Capital?
 21· · · · A· · Never heard it.
 22· · · · Q· · Never heard of it.· And what about
 23· ·SourcePoint VI, have you ever heard of that company?
 24· · · · A· · No.
 25· · · · Q· · Okay.· Have you ever heard of Big Picture


                                                             Debtor's Ex. 24, p. 013
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 ·1· ·Loans?
 ·2· · · · A· · Yes.
 ·3· · · · Q· · You've heard of Big Picture Loans?
 ·4· · · · A· · Uh-huh.
 ·5· · · · Q· · Okay.· Is that because you took some loans
 ·6· ·from Big Picture?
 ·7· · · · A· · Yes.
 ·8· · · · Q· · Okay.· And they were in 2016; is that
 ·9· ·correct?
 10· · · · A· · Yes.
 11· · · · Q· · All right.· Have you ever heard of
 12· ·Ascension Technologies?
 13· · · · A· · No, no.
 14· · · · Q· · All right.· Okay.· Who's representing you
 15· ·in this lawsuit?
 16· · · · A· · Kelly & Crandall.
 17· · · · Q· · Kelly & Crandall?
 18· · · · A· · Uh-huh.
 19· · · · Q· · And when did you retain Kelly & Crandall
 20· ·approximately?· I'm not looking for an exact date
 21· ·unless you have one.
 22· · · · A· · I think it was 2016.
 23· · · · Q· · 2016?
 24· · · · A· · Uh-huh.
 25· · · · Q· · Was it before or after you took out loans


                                                             Debtor's Ex. 24, p. 014
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 ·1· ·from Big Picture Loans?
 ·2· · · · A· · Before.
 ·3· · · · Q· · It was before.· So Kelly & Crandall
 ·4· ·represented you before the loans that you got from
 ·5· ·Big Picture?
 ·6· · · · A· · Yes.
 ·7· · · · Q· · Okay.· How did you -- how did Kelly &
 ·8· ·Crandall come to be your lawyer?
 ·9· · · · A· · I found them and gave them a call.
 10· · · · Q· · I'm sorry, you found them and gave them a
 11· ·call?
 12· · · · A· · Yeah.
 13· · · · Q· · Okay.· And you --
 14· · · · A· · For another case that I had.
 15· · · · Q· · For another case that you had?
 16· · · · A· · (Deponent nods head.)
 17· · · · Q· · And what case was that?
 18· · · · A· · It was Allied Cash Advance.
 19· · · · Q· · Cash Advance?
 20· · · · A· · Uh-huh.
 21· · · · Q· · And that is a -- is that another company?
 22· · · · A· · Allied.
 23· · · · Q· · I'm sorry, say it again.
 24· · · · A· · Allied Cash Advance.
 25· · · · Q· · Allied Cash Advance?


                                                             Debtor's Ex. 24, p. 015
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 ·1· · · · A· · (Deponent nods head.)
 ·2· · · · Q· · And that's another lawsuit that Kelly &
 ·3· ·Crandall brought on your behalf?
 ·4· · · · A· · Yes.
 ·5· · · · Q· · And did you take a loan from Allied Cash
 ·6· ·Advance?
 ·7· · · · A· · Yes, it was a revolving loan.
 ·8· · · · Q· · A revolver loan?
 ·9· · · · A· · Uh-huh.
 10· · · · Q· · Okay.· So like a revolving line of credit?
 11· · · · A· · Yeah.
 12· · · · Q· · And when did you take that loan?· Again,
 13· ·just ballpark the date if you can remember.
 14· · · · A· · I can't remember.
 15· · · · Q· · Okay.· And so at the point in time that
 16· ·you borrowed money from Big Picture Loans -- strike
 17· ·that.· Does Len Bennett represent you?
 18· · · · A· · I never heard of him.
 19· · · · Q· · Never heard of him, okay.· And -- okay.
 20· ·So, Ms. Williams, I want to sort of take a couple of
 21· ·steps back and talk about sort of the rules of the
 22· ·deposition, just want to make sure that we're all on
 23· ·the same page.
 24· · · · A· · Okay.
 25· · · · Q· · So I'm going to ask you questions and you,


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 ·1· ·as you've been providing to me, you're going to
 ·2· ·provide me truthful responses, right?
 ·3· · · · A· · Yes.
 ·4· · · · Q· · Okay.· Have you taken any medication in
 ·5· ·the last 24 or 48 hours which affects your memory?
 ·6· · · · A· · No.
 ·7· · · · Q· · Okay.· And are -- and again, I'm not
 ·8· ·looking for specifics on this but are you generally
 ·9· ·in good health?
 10· · · · A· · Yes.
 11· · · · Q· · Okay.· Where do you live?
 12· · · · A· · I live on Mechanicsville.
 13· · · · Q· · I'm sorry?
 14· · · · A· · On Mechanicsville.
 15· · · · Q· · Mechanicsville?
 16· · · · A· · Turnpike, uh-huh.
 17· · · · Q· · Okay.· And how long have you lived at that
 18· ·address?
 19· · · · A· · Thirteen years.
 20· · · · Q· · And do you own or rent?
 21· · · · A· · Rent.
 22· · · · Q· · And do you live there alone or with other
 23· ·people?
 24· · · · A· · Alone.
 25· · · · Q· · Okay.· And how long have you lived there


                                                             Debtor's Ex. 24, p. 017
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 ·1· ·alone?
 ·2· · · · A· · Since 2008.
 ·3· · · · Q· · 2008?· All right.· Now are you currently
 ·4· ·employed?
 ·5· · · · A· · No.
 ·6· · · · Q· · When was the last time you were employed
 ·7· ·outside the home?
 ·8· · · · A· · I think it was in 2000 -- 2002.
 ·9· · · · Q· · 2002?· And how were you employed at that
 10· ·time?
 11· · · · A· · I was at -- worked at hotel.
 12· · · · Q· · Worked at a hotel?
 13· · · · A· · Laundry.
 14· · · · Q· · I'm sorry, laundry you said?
 15· · · · A· · (Deponent nods head.)
 16· · · · Q· · Okay.· And for approximately how long had
 17· ·you worked at the hotel?
 18· · · · A· · Five years.
 19· · · · Q· · I'm sorry, say it again?
 20· · · · A· · Five.
 21· · · · Q· · Five years?· What was the name of the
 22· ·hotel?
 23· · · · A· · Wyndham.
 24· · · · Q· · And was that here in Richmond?
 25· · · · A· · Yes.


                                                             Debtor's Ex. 24, p. 018
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 ·1· · · · Q· · Okay, good.· All right.· Do you have an
 ·2· ·e-mail address?
 ·3· · · · A· · Yes.
 ·4· · · · Q· · And what is your e-mail address?
 ·5· · · · A· · Javion06@gmail.com.
 ·6· · · · Q· · Say it again, please?
 ·7· · · · A· · Javion06@gmail.com.
 ·8· · · · Q· · Javion?
 ·9· · · · A· · Uh-huh.
 10· · · · Q· · 06@gmail.com.
 11· · · · A· · At gmail, uh-huh.
 12· · · · Q· · Okay.
 13· · · · A· · That's 102906@gmail.com.
 14· · · · Q· · 102906 at --
 15· · · · A· · Uh-huh.
 16· · · · Q· · -- gmail.com.· How long have you had that
 17· ·gmail address?
 18· · · · A· · It's my grandson's.
 19· · · · Q· · Your grandson's.
 20· · · · A· · But I'm using it, yes.
 21· · · · Q· · And what is his name?
 22· · · · A· · Javion Wiggins.
 23· · · · Q· · J?
 24· · · · A· · J-a-v-i-o-n.
 25· · · · Q· · Oh, Javion, okay.· Javion Wiggins.


                                                             Debtor's Ex. 24, p. 019
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 ·1· · · · A· · Uh-huh.
 ·2· · · · Q· · W-i-g-g-i-n-s?
 ·3· · · · A· · Uh-huh.
 ·4· · · · Q· · How old is your grandson?
 ·5· · · · A· · He's twelve.
 ·6· · · · Q· · Okay.· How long have you been using his
 ·7· ·e-mail address?
 ·8· · · · A· · Well, it's my daughter that uses it.· It's
 ·9· ·been about two years.
 10· · · · Q· · And --
 11· · · · A· · Or three years.
 12· · · · Q· · I'm sorry, I didn't mean to interrupt you.
 13· ·What is your daughter's name?
 14· · · · A· · Miracle Williams.
 15· · · · Q· · Miracle Williams, okay.· So do you have
 16· ·access to that e-mail account or does your grandson
 17· ·or daughter give you information when something
 18· ·comes in for you on that e-mail account?
 19· · · · A· · My daughter does.
 20· · · · Q· · She gives it to you?
 21· · · · A· · Yeah.
 22· · · · Q· · Do you know you how to operate the
 23· ·computer yourself?
 24· · · · A· · No.
 25· · · · Q· · Okay.· And do you have a telephone that


                                                             Debtor's Ex. 24, p. 020
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 ·1· ·accesses the internet?
 ·2· · · · A· · I think so.· I think it does.
 ·3· · · · Q· · Okay.· And do you access the internet
 ·4· ·through your telephone?
 ·5· · · · A· · No.
 ·6· · · · Q· · You do not?
 ·7· · · · A· · No.
 ·8· · · · Q· · So -- and again, I just -- I'm not -- I
 ·9· ·don't want to put words in your mouth.· I just want
 10· ·to try and understand.· Would I understand it
 11· ·correctly that to the extent that you are accessing
 12· ·the internet, someone is doing it on your behalf --
 13· · · · A· · Yeah.
 14· · · · Q· · -- either your daughter on your grandson?
 15· · · · A· · Yes.
 16· · · · Q· · Okay.· Anyone else?
 17· · · · A· · No.
 18· · · · Q· · Other than the e-mail address that you've
 19· ·given us a few minutes ago, is there any other
 20· ·e-mail address that you've ever used?
 21· · · · A· · LulaWilliams102906@ -- 06@gmail.com.
 22· · · · Q· · At gmail.com?
 23· · · · A· · Uh-huh.
 24· · · · Q· · And when did you have that e-mail address
 25· ·if you can recall?


                                                             Debtor's Ex. 24, p. 021
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 ·1· · · · A· · About nine months, eight, nine months.
 ·2· · · · Q· · You had it for approximately eight or nine
 ·3· ·months?
 ·4· · · · A· · Uh-huh.
 ·5· · · · Q· · Do you still have it now?
 ·6· · · · A· · Yes.
 ·7· · · · Q· · Okay.· So you got it about eight or nine
 ·8· ·months ago?
 ·9· · · · A· · Uh-huh.
 10· · · · Q· · And who -- do you use that account
 11· ·yourself?
 12· · · · A· · Very, very rarely.
 13· · · · Q· · Okay.· Who uses it for you if anyone?
 14· · · · A· · My daughter, Miracle Williams.
 15· · · · Q· · Miracle, okay.· Thank you.· The loans that
 16· ·you obtained -- strike that.· How many loans, if you
 17· ·can recall, did you obtain from Big Picture Loans?
 18· · · · A· · I think it was two.
 19· · · · Q· · Two?· And we have some dates of it being
 20· ·in 2016; is that --
 21· · · · A· · That sounds good.
 22· · · · Q· · -- accurate?· Okay.
 23· · · · · · · · · Katy, can I have the interrogatory
 24· ·answers please?· Thank you.· Thank you.· Can we mark
 25· ·this as Exhibit 2, please.


                                                             Debtor's Ex. 24, p. 022
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 ·1· · · · (The Responses were marked Exhibit No. 2.)
 ·2· ·BY MR. SCHEFF:
 ·3· · · · Q· · Ms. Williams, the court reporter has
 ·4· ·placed in front of you a document that has been
 ·5· ·marked as Exhibit 2.· See it in the lower,
 ·6· ·right-hand corner it's marked as Exhibit 2?
 ·7· · · · A· · Yes.
 ·8· · · · Q· · Okay.· Could you turn to the -- strike
 ·9· ·that.· And if you look at the first page, for the
 10· ·caption in bold, it says plaintiff Lula Williams'
 11· ·responses to Matt Martorello's first set of
 12· ·interrogatories relating to class certification.· Do
 13· ·you see that?
 14· · · · A· · Yes.
 15· · · · Q· · Okay.· Could you turn to the very last
 16· ·page.· Just flip it over.· And -- no, no, you have
 17· ·it.· You have the correct page.· I'm sorry.· Let me
 18· ·put it in front of you to help you out.· This page
 19· ·right here --
 20· · · · A· · Oh, okay.
 21· · · · Q· · -- the very last page.· Okay.· And this is
 22· ·the last page of the document and it says
 23· ·verification.· Do you see that?
 24· · · · A· · Yes.
 25· · · · Q· · And then it says I declare under penalty


                                                             Debtor's Ex. 24, p. 023
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 ·1· ·of perjury that the foregoing information contained
 ·2· ·in plaintiff Lula Williams' objections and responses
 ·3· ·to Matt Martorello's first set of interrogatories
 ·4· ·relating to class certification is true and correct
 ·5· ·to the best of my knowledge, executed on August 29,
 ·6· ·2018 and then there is a signature.· Have I read
 ·7· ·that correctly?
 ·8· · · · A· · Yes.
 ·9· · · · Q· · Is that your signature?
 10· · · · A· · Yes.
 11· · · · Q· · Do you remember signing this verification?
 12· · · · A· · Yes.
 13· · · · Q· · And is it also your handwriting that
 14· ·filled in the date, the August 29 date?
 15· · · · A· · No.· I didn't fill that in.
 16· · · · Q· · You didn't fill that in.· Take a look at
 17· ·what has been marked as Exhibit 2 and I just want
 18· ·you to thumb through it, look at it as carefully as
 19· ·you want or -- or not and tell me if you can whether
 20· ·you've ever seen this document before.
 21· · · · A· · (Peruses document.)· No, I haven't.
 22· · · · Q· · You have not you said?
 23· · · · A· · (Deponent shakes head.)
 24· · · · Q· · Okay.· Well take a look and --
 25· · · · · · ·MS. NASH:· Make sure you read it


                                                             Debtor's Ex. 24, p. 024
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 ·1· · · · carefully.
 ·2· · · · · · ·MR. SCHEFF:· -- just make sure.· Yeah,
 ·3· · · · just make sure.
 ·4· · · · · · ·THE DEPONENT:· All the way through all the
 ·5· · · · pages?
 ·6· ·BY MR. SCHEFF:
 ·7· · · · Q· · Well take a -- take a look at as much of
 ·8· ·it as you feel you need to in order answer my
 ·9· ·question truthfully.
 10· · · · A· · I don't remember seeing this.
 11· · · · Q· · Okay.· If you would please, turn to
 12· ·page -- just give me a moment, please.· Okay.· Take
 13· ·a look at -- turn to page ten, please.· Okay.· You
 14· ·have page ten?
 15· · · · A· · Uh-huh.
 16· · · · Q· · And I'm going to direct you to
 17· ·interrogatory -- this one, No. 5.· I'm pointing to
 18· ·it.· Okay?
 19· · · · A· · Uh-huh.
 20· · · · Q· · Can you read the interrogatory, that is
 21· ·this part that I'm pointing to, this paragraph, just
 22· ·read it to yourself because I want you to understand
 23· ·what the question was that was posed.· Okay?
 24· · · · A· · (Peruses document.)· Okay.
 25· · · · Q· · Okay.· Now if you go down to the part that


                                                             Debtor's Ex. 24, p. 025
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 ·1· ·starts with response and you'll see that that's the
 ·2· ·bottom roughly five lines of page ten and then the
 ·3· ·top four lines of page eleven.· Could you read that
 ·4· ·to yourself, please?
 ·5· · · · A· · (Peruses document.)· Okay.
 ·6· · · · Q· · Is that an accurate response?
 ·7· · · · A· · Yes.
 ·8· · · · Q· · Okay, good.· So, Ms. Williams, what --
 ·9· ·what this says is that you took a loan on or about
 10· ·August 3, 2016, for $800, right?
 11· · · · A· · Yes.
 12· · · · Q· · And that you applied for another loan from
 13· ·Big Picture Loans for $800 on September 30, 2016.
 14· ·Did you do that?
 15· · · · A· · Yes.
 16· · · · Q· · Did you get that loan?
 17· · · · A· · Yes.
 18· · · · Q· · Okay.· And it also references a loan that
 19· ·was funded on November 2, 2016.· Do you see that?
 20· · · · A· · Yes.
 21· · · · Q· · And do you not recall applying for that
 22· ·loan?
 23· · · · A· · Yeah, I recall.
 24· · · · Q· · You do recall applying for that loan,
 25· ·okay.· Were each of these loans applied for online;


                                                             Debtor's Ex. 24, p. 026
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 ·1· ·that is, on the computer?
 ·2· · · · A· · Yes.
 ·3· · · · Q· · And did your daughter do that for you?
 ·4· · · · A· · Yes.
 ·5· · · · Q· · So when your daughter did that for you,
 ·6· ·what role did you play, if any, in applying for
 ·7· ·these three loans?
 ·8· · · · A· · All of them, all of them.
 ·9· · · · Q· · Okay.· What does that mean?· I'm --
 10· · · · A· · I was with her when she did it.· I gave
 11· ·her my information and she applied online for me.
 12· · · · Q· · Okay.· So I just want to get a visual in
 13· ·my head.· All right?
 14· · · · A· · Uh-huh.
 15· · · · Q· · So this is what I understand you saying
 16· ·but I want you to correct me if I'm wrong, just I
 17· ·want to make sure that I understand this.· I get
 18· ·this picture of your daughter sitting at the
 19· ·computer.
 20· · · · A· · Uh-huh.
 21· · · · Q· · And you either sitting next to her or
 22· ·standing next to her.
 23· · · · A· · Right.
 24· · · · Q· · And she's going through whatever is on the
 25· ·screen and she's asking you questions.


                                                             Debtor's Ex. 24, p. 027
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 ·1· · · · A· · Yeah, right.
 ·2· · · · Q· · And you're giving her answers.
 ·3· · · · A· · Yes.
 ·4· · · · Q· · Is that right?
 ·5· · · · A· · That's right.
 ·6· · · · Q· · Okay.· So for each loan, that was the
 ·7· ·process that you followed?
 ·8· · · · A· · Yes.
 ·9· · · · Q· · All right.· And your daughter would read
 10· ·something and you'd respond?
 11· · · · A· · Yes.
 12· · · · Q· · Did you read the loan applications as well
 13· ·that --
 14· · · · A· · Yes.
 15· · · · Q· · You did.
 16· · · · A· · Uh-huh.
 17· · · · Q· · Okay.· And who is it that found Big
 18· ·Picture Loans?· Was it you, your daughter, or
 19· ·somebody else?
 20· · · · A· · Me.
 21· · · · Q· · And how did you find Big Picture Loans?
 22· · · · A· · I don't remember.
 23· · · · Q· · You don't remember?
 24· · · · A· · No.
 25· · · · Q· · Okay.· Take a look back --


                                                             Debtor's Ex. 24, p. 028
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 ·1· · · · A· · I don't know whether it was a ad or what.
 ·2· · · · Q· · You don't know if it was an ad?
 ·3· · · · A· · Right.
 ·4· · · · Q· · Okay.· So let's go back and look at the
 ·5· ·response that you gave to Interrogatory No. 5 which
 ·6· ·you read to yourself a few minutes ago.· And so,
 ·7· ·again, on page ten, if you look at page ten at the
 ·8· ·bottom, it says response?
 ·9· · · · A· · Uh-huh.
 10· · · · Q· · What it says, the first sentence says the
 11· ·name of plaintiff's lender is Big Picture Loans,
 12· ·LLC.· Plaintiff, that's you, learned about Big
 13· ·Picture after seeing an internet advertisement; is
 14· ·that accurate?
 15· · · · A· · Yeah.
 16· · · · Q· · And since you're not the one who accesses
 17· ·the computer by yourself, who -- who was operating
 18· ·the computer when you saw the internet advertisement
 19· ·for Big Picture Loans?
 20· · · · A· · My daughter.
 21· · · · Q· · Your daughter.· And had you asked your
 22· ·daughter to find a lending company online and she
 23· ·came upon Big Picture Loans?· Is that how it
 24· ·happened?
 25· · · · A· · Yeah.


                                                             Debtor's Ex. 24, p. 029
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 ·1· · · · Q· · And when that occurred in early August of
 ·2· ·2016 for the first time, as is stated in your
 ·3· ·response to interrogatories, what was your need for
 ·4· ·the loan?· Why did you need the $800?
 ·5· · · · A· · I had a pending bill that I needed to pay.
 ·6· · · · Q· · What bill was that?
 ·7· · · · A· · I believe it was -- I think it was my car
 ·8· ·payment.
 ·9· · · · Q· · Your car payment?
 10· · · · A· · And something else I think it was.
 11· · · · Q· · Okay.· And I take it but, again, I want to
 12· ·make sure that I understand this and that your
 13· ·testimony is -- that it's your testimony and
 14· ·certainly not mine.
 15· · · · · · · · · I take it that the reason you applied
 16· ·for this loan for your car payment is because you
 17· ·didn't have other money that you could use to pay
 18· ·that car payment?
 19· · · · A· · Yeah, at that time.
 20· · · · Q· · You did not at that time?
 21· · · · A· · Right.
 22· · · · Q· · Okay.· What were with your sources of
 23· ·income in 2016?
 24· · · · A· · Disability.
 25· · · · Q· · Disability?


                                                             Debtor's Ex. 24, p. 030
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 ·1· · · · A· · Spousal support.
 ·2· · · · Q· · Okay.· So is that social security?
 ·3· · · · A· · Right.
 ·4· · · · Q· · Okay.· And back in 2016, if you recall,
 ·5· ·approximately how much money was that disability
 ·6· ·payment monthly?
 ·7· · · · A· · I think it was 1,500.
 ·8· · · · Q· · $1,500?
 ·9· · · · A· · Uh-huh.
 10· · · · Q· · And back in August of 2016, was that your
 11· ·sole source of income?
 12· · · · A· · Yes.
 13· · · · Q· · Okay.· Now, before your daughter found Big
 14· ·Picture Loans online, and you applied for this loan
 15· ·on or about August 3, 2016, had you gotten other
 16· ·loans online before?
 17· · · · A· · Before?· Yeah, I have.
 18· · · · Q· · And for approximately -- strike that.
 19· ·Approximately how many loans had you applied for and
 20· ·received online before you got the Big Picture loan
 21· ·on or about August 3, 2016?
 22· · · · A· · Two.
 23· · · · Q· · Two?
 24· · · · A· · (Deponent nods head.)
 25· · · · Q· · And who was the lender in that instance?


                                                             Debtor's Ex. 24, p. 031
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 ·1· ·Or in those instances, excuse me.
 ·2· · · · A· · I --
 ·3· · · · Q· · Was that the Allied Cash Advance loans?
 ·4· · · · A· · Yeah.
 ·5· · · · Q· · Okay.
 ·6· · · · A· · It was Allied Cash Advance.
 ·7· · · · Q· · And so it was the first online loans you
 ·8· ·got were Allied Cash Advance and the next online
 ·9· ·loans you got were from Big Picture Loans?
 10· · · · A· · Right.
 11· · · · Q· · Is that right?· Okay.· Have you ever --
 12· ·did you ever get a loan from a company called Red
 13· ·Rock?
 14· · · · A· · No.
 15· · · · Q· · No?· Did you ever get a loan from a
 16· ·company called Duck Creek?
 17· · · · A· · No.
 18· · · · Q· · Okay.· Back in 2016 when -- strike that.
 19· ·I assume -- did you pay all these loans back?
 20· · · · A· · Yes.
 21· · · · Q· · Okay.· And how did you make payment?
 22· · · · A· · Monthly, monthly payments.
 23· · · · Q· · And how was payment made?· I know you made
 24· ·them on a monthly basis, but did you send in a
 25· ·check, did you go some place and deliver cash?


                                                             Debtor's Ex. 24, p. 032
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 ·1· · · · A· · No.· It's use usually on my -- on my
 ·2· ·phone.
 ·3· · · · Q· · On your phone?
 ·4· · · · A· · Yeah.
 ·5· · · · Q· · So was that --
 ·6· · · · A· · Call them in --
 ·7· · · · · · ·THE COURT REPORTER:· I'm sorry?
 ·8· · · · A· · Call in to make payments.
 ·9· ·BY MR. SCHEFF:
 10· · · · Q· · You call in and make a payment.· So you do
 11· ·it online?
 12· · · · A· · Yeah, with my checking account.
 13· · · · Q· · So what you do online is you cause your
 14· ·checking account --
 15· · · · A· · Over the phone.
 16· · · · Q· · Or over the phone, okay, to -- you cause
 17· ·your checking account -- your -- the bank where you
 18· ·have your checking account to send a certain amount
 19· ·of money to Big Picture Loans?
 20· · · · A· · Right, right.
 21· · · · Q· · Okay.· What bank did you maintain an
 22· ·account on -- at in 2016?
 23· · · · A· · Virginia United Methodist Credit Union.
 24· · · · Q· · Okay.· And for how long approximately had
 25· ·you maintained a bank account there as of 2016?


                                                             Debtor's Ex. 24, p. 033
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 ·1· · · · A· · Thirteen, 13 years.
 ·2· · · · Q· · And do you still have that account today?
 ·3· · · · A· · Yes.
 ·4· · · · Q· · And do you know what the account number
 ·5· ·is?
 ·6· · · · A· · I know partially.
 ·7· · · · Q· · Which part do you know?
 ·8· · · · A· · 15657.
 ·9· · · · Q· · 15657?
 10· · · · A· · Uh-huh.
 11· · · · Q· · Are those the last digits of the account?
 12· · · · A· · (Deponent nods head.)
 13· · · · Q· · Okay.· That's how I know my bank account.
 14· ·Was -- was that the only bank account that you
 15· ·maintained in 2016?
 16· · · · A· · Yes.
 17· · · · · · ·MS. NASH:· Do we need -- can we take a
 18· · · · break for a second?
 19· · · · · · ·MR. SCHEFF:· Sure, of course.
 20· · · · · · ·THE VIDEOGRAPHER:· Going off the record at
 21· · · · 10:35 a.m.
 22· · · · · · · · · · · · ·(Break.)
 23· · · · · · ·THE VIDEOGRAPHER:· Going back on the
 24· · · · record at 10:42 a.m.
 25


                                                             Debtor's Ex. 24, p. 034
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 ·1· ·BY MR. SCHEFF:
 ·2· · · · Q· · Thank you.· Ms. Williams, I have one other
 ·3· ·question which I intended to ask you earlier:· Are
 ·4· ·you represented by a person named Beth Terrell?
 ·5· · · · A· · Beth -- never heard of her.
 ·6· · · · Q· · Okay, never heard of her.· Thank you.
 ·7· ·Let's -- we were -- excuse me.· Before we took the
 ·8· ·break, we were talking about your answer No. 5 in
 ·9· ·Exhibit 2, the document that's right in front of
 10· ·you, right?
 11· · · · A· · Uh-huh.
 12· · · · Q· · Do you recall that?· Okay.· So it was your
 13· ·daughter who physically sat at the computer and
 14· ·entered information; is that correct?
 15· · · · A· · Right.
 16· · · · Q· · For each loan, right?
 17· · · · A· · Uh-huh.
 18· · · · Q· · And you supplied her with that
 19· ·information?
 20· · · · A· · Right.· We did it over the phone.· I put
 21· ·in an application over the phone.· They took my
 22· ·information.
 23· · · · Q· · Right.
 24· · · · A· · My bank account number.· So whenever they
 25· ·needed to send me something back through the --


                                                             Debtor's Ex. 24, p. 035
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 ·1· ·through the e-mail or something like that, then she
 ·2· ·would address it for me.· We would do it together.
 ·3· · · · Q· · So -- so I'm trying to understand.· You
 ·4· ·had previously testified before the break --
 ·5· · · · A· · Uh-huh.
 ·6· · · · Q· · -- that each time you took out a loan from
 ·7· ·Big Picture Loans, and that there were three of
 ·8· ·them, that your daughter sat at the computer, that
 ·9· ·you stood or sat next to her --
 10· · · · A· · Uh-huh.
 11· · · · Q· · -- and that she would ask you questions
 12· ·and you'd give her the information --
 13· · · · A· · Uh-huh.
 14· · · · Q· · -- that she would then type into the
 15· ·computer?
 16· · · · A· · Whatever they asked --
 17· · · · Q· · Right.
 18· · · · A· · -- asked for, she would do it on there but
 19· ·I don't -- I'm the one that paid the loan.
 20· · · · Q· · No, no, I understand.· I'm not suggesting
 21· ·that your daughter paid the loan or that anyone else
 22· ·paid the loan.· I'm not suggesting that.
 23· · · · A· · Uh-huh.
 24· · · · Q· · You've testified that you paid the loans
 25· ·and that the money from those loans -- to pay those


                                                             Debtor's Ex. 24, p. 036
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 ·1· ·loans came out of your bank account, correct?
 ·2· · · · A· · Right.
 ·3· · · · Q· · Okay.· So I'm just talking about the
 ·4· ·process.· I just want to make sure I understand the
 ·5· ·process by which you obtained the loans --
 ·6· · · · A· · Uh-huh.
 ·7· · · · Q· · -- because you had testified that your
 ·8· ·daughter actually entered the information in and
 ·9· ·that you provided her that information and that she
 10· ·would ask you for information, you would give it to
 11· ·her and she would type it in, correct?
 12· · · · A· · Right.
 13· · · · Q· · Okay.· And each time that you got a loan
 14· ·from Big Picture Loans, did you read the loan
 15· ·agreement?
 16· · · · A· · Yes.
 17· · · · Q· · Okay.· Now -- okay.
 18· · · · · · · · · Can -- can we get the loan agreement?
 19· ·Ms. Williams -- and this is going to be Exhibit 3.
 20· · · · (The Agreement was marked Exhibit No. 3.)
 21· ·BY MR. SCHEFF:
 22· · · · Q· · Okay.· Now, Ms. Williams, you see in the
 23· ·lower, right-hand corner of the document under the
 24· ·exhibit number it says Williams and then there is a
 25· ·number 000071 through, if you go -- just flip over


                                                             Debtor's Ex. 24, p. 037
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 ·1· ·to the very last page, turn it over, it says
 ·2· ·Williams 000076.· Okay?· Do you see that?
 ·3· · · · A· · Uh-huh.
 ·4· · · · · · ·MS. NASH:· Just for the court reporter,
 ·5· · · · just remember to say yes or no, please.
 ·6· · · · · · ·THE DEPONENT:· Oh, I'm sorry.
 ·7· · · · · · ·MR. SCHEFF:· That's all right.
 ·8· · · · · · ·MS. NASH:· You're doing -- you're doing
 ·9· · · · good.· It's hard -- it's easy to forget.
 10· · · · · · ·MR. SCHEFF:· Everyone does it, so don't
 11· · · · worry about it.
 12· · · · · · ·THE DEPONENT:· Yes, I see it.
 13· ·BY MR. SCHEFF:
 14· · · · Q· · Okay.· So this is a document that was
 15· ·produced in this case by your lawyers to us.· Okay?
 16· · · · A· · Okay.
 17· · · · Q· · All right.· And if you turn -- if you look
 18· ·at the first page on the very first line, you see in
 19· ·bold Big Picture Loans, LLC.· Do you see that?
 20· · · · A· · Yes.
 21· · · · Q· · And if you would turn please to page two,
 22· ·it says at the top consumer installment loan
 23· ·agreement.· Have I read that correctly?· Right at
 24· ·the top here.
 25· · · · A· · Yes.· Yes, you did.


                                                             Debtor's Ex. 24, p. 038
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 ·1· · · · Q· · Okay.· And if you look at the box directly
 ·2· ·under neat that, it says application date August 3,
 ·3· ·2016.· Have I read that correctly?
 ·4· · · · A· · Yes.
 ·5· · · · Q· · And then underneath that, it says Big
 ·6· ·Picture Loans, LLC.· Do you see that?
 ·7· · · · A· · Uh-huh.
 ·8· · · · Q· · Yes?
 ·9· · · · A· · Yes.
 10· · · · Q· · Okay.· And then if you go over to the
 11· ·right, it says borrower name, Lula Williams.· That's
 12· ·you, correct?
 13· · · · A· · Yes.
 14· · · · Q· · And then it's got a borrower address.· Is
 15· ·that your address?
 16· · · · A· · Yes.
 17· · · · Q· · And then a telephone number.· Is that your
 18· ·phone number?
 19· · · · A· · Yes.
 20· · · · Q· · That's your mobile number?
 21· · · · A· · Yes.
 22· · · · Q· · And then there's an e-mail address and is
 23· ·that the e-mail address you told us about a little
 24· ·earlier today?
 25· · · · A· · Yes.


                                                             Debtor's Ex. 24, p. 039
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 ·1· · · · Q· · Okay.· So this appears to be the loan
 ·2· ·application, the loan agreement, for your first
 ·3· ·loan, the May 3, 2016 loan.· Would you agree with
 ·4· ·that?
 ·5· · · · A· · Yes.
 ·6· · · · Q· · All right.· Now, let's go back.· If you
 ·7· ·could take Exhibit 2 again -- and don't lose this
 ·8· ·one yet.· I just want to compare.· Again, if you
 ·9· ·could go to pages ten and eleven.· Okay.· Go to page
 10· ·ten first under that response again.· You see that
 11· ·in bold it says response?
 12· · · · A· · Uh-huh.
 13· · · · Q· · And you'll see reference on line three to
 14· ·a loan on August 3, 2016, right?
 15· · · · A· · Yes.
 16· · · · Q· · And that appears to be Exhibit 3.· That's
 17· ·the installment -- consumer installment agreement
 18· ·for May 3, 2016, right?
 19· · · · A· · (Deponent nods head.) Yes.
 20· · · · Q· · Where are the loan agreements for the loan
 21· ·you took on September 30, 2016, and November 2,
 22· ·2016?· Do you have those?
 23· · · · A· · No.
 24· · · · Q· · You do not have them.· So did you have
 25· ·them at one time and you just no longer have them?


                                                             Debtor's Ex. 24, p. 040
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 ·1· · · · A· · I don't recall having them.
 ·2· · · · Q· · You don't recall ever having them?
 ·3· · · · A· · Uh-uh.
 ·4· · · · Q· · Okay.· How did you know when you completed
 ·5· ·these interrogatory answers that you had taken loans
 ·6· ·on September 30, 2016 and November 2, 2016?
 ·7· · · · A· · Repeat that again.
 ·8· · · · Q· · Sure.· When these interrogatory answers
 ·9· ·were completed, this Exhibit 2 --
 10· · · · A· · Uh-huh.
 11· · · · Q· · -- that you verified as being truthful
 12· ·under penalties of perjury, how did you know that
 13· ·you had taken loans on September 30, 2016 and
 14· ·November 2, 2016?
 15· · · · A· · It was deposited into my bank account.
 16· · · · Q· · It was -- so did you check your bank
 17· ·account records and you saw the deposit?
 18· · · · A· · Yes.
 19· · · · Q· · Do you have your bank account records?
 20· · · · A· · No, I don't.
 21· · · · Q· · And did you have them when this
 22· ·complaint -- when you filed out these interrogatory
 23· ·answers?
 24· · · · A· · Yes.
 25· · · · Q· · You did.· So again, if you look at page --


                                                             Debtor's Ex. 24, p. 041
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 ·1· ·the last page of Exhibit 2, this is Exhibit 2, just
 ·2· ·go to the last page, these interrogatory answers
 ·3· ·were verified by you on August 29, 2018.· Did you
 ·4· ·have your bank records back on August 29, 2018?
 ·5· · · · A· · I don't remember.
 ·6· · · · Q· · You don't remember one way or the other?
 ·7· · · · A· · No.
 ·8· · · · Q· · Okay.· Do you -- can you get your bank
 ·9· ·records online?· Is that how you access your bank?
 10· · · · A· · If I needed to I could.
 11· · · · Q· · Do you also get a statement in the mail?
 12· · · · A· · Yes.
 13· · · · Q· · Do you keep those statements?
 14· · · · A· · No, I don't.
 15· · · · Q· · You throw them out?
 16· · · · A· · Yeah.
 17· · · · Q· · Okay.· But you can get them online?
 18· · · · A· · I imagine you can.· I'm not sure.
 19· · · · Q· · Have you ever checked?
 20· · · · A· · No.
 21· · · · Q· · You've never checked?
 22· · · · A· · Uh-uh.
 23· · · · Q· · So how did -- what bank statements did you
 24· ·check to verify that you had taken a loan on
 25· ·September 30, 2016 and November 2, 2016 if you don't


                                                             Debtor's Ex. 24, p. 042
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 ·1· ·keep the bank statements that are sent to you and
 ·2· ·you don't access your bank account online?
 ·3· · · · A· · I access my bank account by phone.
 ·4· · · · Q· · You access it by phone?
 ·5· · · · A· · Yes.
 ·6· · · · Q· · Okay.· And that's how you determined when
 ·7· ·those deposits were?
 ·8· · · · A· · Yes.
 ·9· · · · Q· · Okay, great.· So have you ever asked your
 10· ·daughter to access your bank account --
 11· · · · A· · No.
 12· · · · Q· · -- on the computer?
 13· · · · A· · No.
 14· · · · Q· · Okay.· All right.· Thank you.· Let's go
 15· ·back to Exhibit 3, please.· And, I'm sorry, one more
 16· ·question about your bank account.· I assume since
 17· ·all of the payments for all these loans came out of
 18· ·your bank account that if we had your bank account
 19· ·records, we could show the date of each payment,
 20· ·right, we would be able to see it coming out of your
 21· ·bank account, correct?
 22· · · · A· · Most likely, yeah.
 23· · · · Q· · Most likely.· Now you said that when you
 24· ·took the first loan on August 3, 2016 for $800, you
 25· ·needed it to pay bills and you think your car


                                                             Debtor's Ex. 24, p. 043
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 ·1· ·payment was a bill that you needed to pay?
 ·2· · · · A· · Included, yeah.
 ·3· · · · Q· · And that you didn't have any other money
 ·4· ·to pay your car payment at the time.
 ·5· · · · A· · Uh-huh.
 ·6· · · · Q· · Is that right?
 ·7· · · · A· · Yes.
 ·8· · · · Q· · What would have happened if you didn't get
 ·9· ·this loan?· How would you have paid your car
 10· ·payment?
 11· · · · A· · Probably from another finance company,
 12· ·loan company.
 13· · · · Q· · You would have taken another loan?
 14· · · · A· · Yeah.
 15· · · · Q· · Because you need your car, right?
 16· · · · A· · Right, exactly.
 17· · · · Q· · And it's important for you to have access
 18· ·to your automobile; is that right?
 19· · · · A· · Very important, yes.
 20· · · · Q· · Why is it very important?
 21· · · · A· · That's my only means of getting around.
 22· · · · Q· · Okay.· And if you didn't have your car,
 23· ·you wouldn't be able to --
 24· · · · A· · No.
 25· · · · Q· · -- get around and, like, go to the doctor;


                                                             Debtor's Ex. 24, p. 044
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 ·1· ·is that right?
 ·2· · · · A· · Right.
 ·3· · · · Q· · Or go shopping?
 ·4· · · · A· · Right.
 ·5· · · · Q· · Or do any of the errands; is that correct?
 ·6· · · · A· · Right.
 ·7· · · · Q· · Okay.· So it's important for you to have
 ·8· ·your car.
 ·9· · · · A· · Exactly.
 10· · · · Q· · Okay.· When you took the second loan from
 11· ·Big Picture Loans on or about September 30, 2016,
 12· ·why did you need that money?
 13· · · · A· · Well, any time that I'm in a bind or
 14· ·something, I'll take out a loan.· I just don't take
 15· ·it out to -- just to have money, access to money.
 16· ·Whatsoever reason if I can't handle what I need to
 17· ·handle, then I would take a loan.· But just to take
 18· ·a loan to have money or help somebody, take a loan
 19· ·out for someone else, I don't do that so I have
 20· ·to -- it has to be something that I needed to do at
 21· ·that particular time.
 22· · · · Q· · So let me see if I understand what you've
 23· ·just said.· I think I do but I just want to make
 24· ·sure that I do.
 25· · · · A· · Uh-huh.


                                                             Debtor's Ex. 24, p. 045
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 ·1· · · · Q· · So when you took these loans from Big
 ·2· ·Picture Loans, all three of them --
 ·3· · · · A· · Uh-huh.
 ·4· · · · Q· · -- you needed that money to pay bills?
 ·5· · · · A· · Whatever.· I need it for something in
 ·6· ·reference to bills.
 ·7· · · · Q· · And the reason that you took the loans is
 ·8· ·because you didn't have enough money in order to pay
 ·9· ·whatever you needed to pay?
 10· · · · A· · Exactly.
 11· · · · Q· · And you need to pay your bills, like, your
 12· ·rent, correct?
 13· · · · A· · Right.
 14· · · · Q· · And your utility bills?
 15· · · · A· · Right.
 16· · · · Q· · The electric?
 17· · · · A· · Right.
 18· · · · Q· · And you need to have food?
 19· · · · A· · True.
 20· · · · Q· · And is it the case that the roughly $1,500
 21· ·a month that you receive in social security
 22· ·disability payments sometimes is not enough to pay
 23· ·all your bills?
 24· · · · A· · Sometimes it's not.
 25· · · · Q· · Okay.· And that's why you take these


                                                             Debtor's Ex. 24, p. 046
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 ·1· ·loans?
 ·2· · · · A· · Right.
 ·3· · · · Q· · And if you didn't take these loans, then
 ·4· ·you wouldn't be able to pay your bills?
 ·5· · · · A· · At that particular time, yes.
 ·6· · · · Q· · Right, okay.· Now back in 2016 and
 ·7· ·specifically at the time you took these loans, did
 ·8· ·you also -- did you have credit cards?
 ·9· · · · A· · No.
 10· · · · Q· · Okay.· Do you have credit cards today?
 11· · · · A· · No.
 12· · · · Q· · Okay.· So you didn't have credit cards.
 13· ·And so is it the case that the only money that you
 14· ·had back in 2016 was money that you either got from
 15· ·your disability payments?
 16· · · · A· · Uh-huh.
 17· · · · Q· · Yes?
 18· · · · A· · Yes.
 19· · · · Q· · Or when you needed additional money, you
 20· ·would --
 21· · · · A· · Yes.
 22· · · · Q· · -- take a loan?
 23· · · · A· · Yes.
 24· · · · Q· · Okay.· And would it be fair to say -- and,
 25· ·again, I -- it's if you agree with this, fine, if


                                                             Debtor's Ex. 24, p. 047
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 ·1· ·you don't, just tell me.· Okay?
 ·2· · · · A· · Okay.
 ·3· · · · Q· · That you would take these loans when you
 ·4· ·had sort of an emergency situation?
 ·5· · · · A· · Yes.
 ·6· · · · Q· · Okay.· All right.· So let's take a look at
 ·7· ·this loan agreement, Exhibit 3.· Okay?
 ·8· · · · A· · Okay.
 ·9· · · · Q· · Now this is the document that I'm
 10· ·understanding was on the computer screen that your
 11· ·daughter would go through with you and you would
 12· ·read this?
 13· · · · A· · Uh-huh.
 14· · · · Q· · Yes?
 15· · · · A· · Yeah, I'm sorry.
 16· · · · Q· · That's okay.· That's fine.· Don't worry
 17· ·about it.· Take a look at -- what did I do with
 18· ·this.· Actually, this one -- take a look at -- we
 19· ·were looking at the box remember?
 20· · · · A· · Yes.
 21· · · · Q· · Okay.· Go to the -- right underneath the
 22· ·box, it says important notice.· Do you see that?
 23· · · · A· · Yes.
 24· · · · Q· · And those lines are all in bold print --
 25· · · · A· · Yes.


                                                             Debtor's Ex. 24, p. 048
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 ·1· · · · Q· · -- right?
 ·2· · · · A· · Yes.
 ·3· · · · Q· · And do you see that it says this loan
 ·4· ·agreement is governed by the laws of the Lac Vieux
 ·5· ·Desert Band of Lake Superior Chippewa Indians?· Do
 ·6· ·you see that?
 ·7· · · · A· · Yes.
 ·8· · · · Q· · And you had an understanding when you took
 ·9· ·each of these loans that the lending that you were
 10· ·borrowing money from some entity, that that's -- and
 11· ·that the agreement was governed by the laws of this
 12· ·Indian tribe; isn't that correct?
 13· · · · A· · No, I didn't know that.
 14· · · · Q· · You didn't know that?· But you read this
 15· ·document, correct?
 16· · · · A· · Yeah.
 17· · · · Q· · So how is it if you read the document that
 18· ·you didn't know that?
 19· · · · A· · Well I didn't understand it because I
 20· ·don't know anything about the Indian tribes or
 21· ·anything.· I thought it was all from Big Picture.
 22· · · · Q· · Right.· And it says -- and do you see that
 23· ·it says that the loan is governed by the tribal law?
 24· ·Do you see that?
 25· · · · A· · Yes.


                                                             Debtor's Ex. 24, p. 049
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 ·1· · · · Q· · And you read that at the time, correct?
 ·2· · · · A· · I'm sure I did.
 ·3· · · · Q· · Okay.· Let's go to the next page.· Okay.
 ·4· ·You can put that one aside for now, that other one
 ·5· ·just for now.· We're going to come back to that in a
 ·6· ·minute.· You see in the middle of the page it says
 ·7· ·right to rescind slash cancel?
 ·8· · · · A· · Yeah, I see it.
 ·9· · · · Q· · Okay.· Did you understand that you had a
 10· ·right to rescind the loan and cancel it shortly
 11· ·after you got it?
 12· · · · A· · I wasn't aware of that.
 13· · · · Q· · Well did you reed the loan agreement?· You
 14· ·testified --
 15· · · · A· · Yes.
 16· · · · Q· · -- that you did.
 17· · · · A· · Yes, I did.
 18· · · · Q· · And you testified that you read it each
 19· ·time you got a loan, right?
 20· · · · A· · A loan, yeah, uh-huh.
 21· · · · Q· · So if that's the case, how did you not
 22· ·know that you had a right to rescind or cancel?
 23· · · · A· · I knew I had to -- could cancel it.· I --
 24· ·when I needed it, you know, if I needed to cancel, I
 25· ·knew to call and cancel it but at that particular


                                                             Debtor's Ex. 24, p. 050
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 ·1· ·time, I wouldn't cancel because I needed it.
 ·2· · · · Q· · No, no, I understand.· I understand you
 ·3· ·needed the money and that's why you didn't cancel
 ·4· ·it --
 ·5· · · · A· · Yeah, uh-huh.
 ·6· · · · Q· · -- but did you understand at the time when
 ·7· ·you read the loan agreement --
 ·8· · · · A· · That I could have done that, yes.
 ·9· · · · Q· · Yeah, that you could have.· Okay, great.
 10· ·Thank you.· Why don't you turn to the next page,
 11· ·please.· I know, they stick together.· And I'm
 12· ·looking at the bottom of the page.· You see it says
 13· ·governing law and forum selection?
 14· · · · A· · Yes, I see it.
 15· · · · Q· · Okay.· And again it says this agreement
 16· ·will be governed by the laws of the Lac Vieux Desert
 17· ·Band of Lake Superior Chippewa Indians, paren,
 18· ·tribal law, including but not limited to the code as
 19· ·well as applicable federal law.· Do you see that?
 20· · · · A· · Yes.
 21· · · · Q· · And you read that at the time you took
 22· ·these three loans, right?
 23· · · · A· · Yes.
 24· · · · Q· · And if you go to the next sentence, it
 25· ·says all disputes shall be solely and exclusively


                                                             Debtor's Ex. 24, p. 051
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 ·1· ·resolved pursuant to the tribal dispute resolution
 ·2· ·procedure set forth in section nine of the code and
 ·3· ·summarized below for your convenience.· Do you see
 ·4· ·that?
 ·5· · · · A· · Yes.
 ·6· · · · Q· · Have you ever used the tribal resolution
 ·7· ·dispute procedure?
 ·8· · · · A· · No.
 ·9· · · · Q· · Instead, you filed this lawsuit, correct?
 10· · · · A· · Yes.
 11· · · · Q· · Okay.· But you read the loan application
 12· ·at the time that you took these loans, right?
 13· · · · A· · Yes.
 14· · · · Q· · Okay.· Let's turn to the next page,
 15· ·please.· And you see towards the top of the page
 16· ·there is a big paragraph that says tribal dispute
 17· ·resolution procedure.· Do you see that?· Let me
 18· ·point it -- I'm talking about this.
 19· · · · A· · Okay.
 20· · · · Q· · All right?· That's where I'm referring.
 21· · · · A· · Okay.
 22· · · · Q· · So that's the tribal dispute resolution
 23· ·procedure that was just referred to in that language
 24· ·that we just read together.· Do you see that?
 25· · · · A· · Yes.


                                                             Debtor's Ex. 24, p. 052
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 ·1· · · · Q· · Okay.· And you read this at the time that
 ·2· ·you took these loans, correct?
 ·3· · · · A· · I don't it re- -- I don't remember
 ·4· ·reading.
 ·5· · · · Q· · You don't remember reading what, this
 ·6· ·paragraph?
 ·7· · · · A· · Right.
 ·8· · · · Q· · Okay.· But you read everything else except
 ·9· ·this paragraph?
 10· · · · A· · Yes.
 11· · · · Q· · Okay.· Go a little bit further down.· You
 12· ·see it says waiver of jury trial?
 13· · · · A· · Yes, I see that.
 14· · · · Q· · And do you understand that to mean that if
 15· ·you dispute anything concerning the loan you got
 16· ·from Big Picture, that that dispute will not be
 17· ·heard by a jury?· Do you understand that?
 18· · · · A· · No, I didn't understand it.
 19· · · · Q· · Did you read it then?
 20· · · · A· · I read it.
 21· · · · Q· · Okay.· And if you go a little bit further
 22· ·down, you see in the middle of the page it says
 23· ·paragraph two and it says you acknowledge and agree
 24· ·that by agreeing to this waiver of jury trial
 25· ·provision, and then there is A, B, and C under it.


                                                             Debtor's Ex. 24, p. 053
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 ·1· ·Do you see it that?
 ·2· · · · A· · Yeah, I see it.
 ·3· · · · Q· · Okay.· Take a look at C.· It says you are
 ·4· ·giving up your right to serve as a representative,
 ·5· ·paren, as a private attorney general, paren, or in
 ·6· ·any other representative capacity and/or to
 ·7· ·participate as a member of class of claimants in any
 ·8· ·lawsuit filed against us and/or related third
 ·9· ·parties.· Have I read that correctly?
 10· · · · A· · Yeah, I see that.
 11· · · · Q· · And you understood that at the time,
 12· ·correct?
 13· · · · A· · No, I didn't.
 14· · · · Q· · You didn't, but you read that?
 15· · · · A· · Yes.
 16· · · · Q· · And is it true that in this lawsuit that
 17· ·you have filed, which is -- we've marked as Exhibit
 18· ·1, the complaint, you're trying to serve as a
 19· ·representative of a class, right?
 20· · · · A· · Yes.
 21· · · · Q· · But you agreed not to do that, right?
 22· · · · A· · I don't recall.
 23· · · · Q· · You don't recall?
 24· · · · A· · No.
 25· · · · Q· · But you read this agreement --


                                                             Debtor's Ex. 24, p. 054
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 ·1· · · · A· · Yeah, I read it but I didn't understand.
 ·2· · · · Q· · You didn't understand.· What didn't you
 ·3· ·understand about that?
 ·4· · · · A· · That I couldn't -- couldn't take -- get a
 ·5· ·jury or trial regardless of whatever the situation
 ·6· ·might be because in this loan, I didn't know that.
 ·7· · · · Q· · Okay.· And what about the sentence where
 ·8· ·it says 2A, you are giving up your right to have a
 ·9· ·trial by jury to resolve any dispute alleged against
 10· ·us or related third parties.· What about that didn't
 11· ·you understand?
 12· · · · A· · Let me cut through you.· All this
 13· ·information right here, all this, I have not gotten
 14· ·a letter with all this stuff on it and with me
 15· ·answering over the phone, even with signing the
 16· ·contract, I didn't see all this, this stuff right
 17· ·here.
 18· · · · Q· · I thought you've testified several times
 19· ·today that you read the loan agreement --
 20· · · · A· · I read the loan agreement but it's so much
 21· ·in here that I don't recall reading.
 22· · · · Q· · But I thought you said -- you've testified
 23· ·now several times today that you did read it three
 24· ·times?
 25· · · · A· · Yeah.· I mean, you know -- I don't think


                                                             Debtor's Ex. 24, p. 055
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 ·1· ·you understand what I'm trying to say.· Do you
 ·2· ·under --
 ·3· · · · Q· · You don't think I understand what you're
 ·4· ·trying to say?
 ·5· · · · A· · Right.
 ·6· · · · Q· · Okay.· So what are you trying to say?
 ·7· ·Take -- take whatever time you need.
 ·8· · · · A· · You know, like I said, this -- all this
 ·9· ·information right here.
 10· · · · Q· · Uh-huh.
 11· · · · A· · I -- some of it I've seen, some of it I
 12· ·haven't.· With all this -- I don't have -- I don't
 13· ·have this.
 14· · · · Q· · Well this is a document that your lawyers
 15· ·produced --
 16· · · · A· · Right.
 17· · · · Q· · -- that says it came from you?
 18· · · · A· · Yeah.
 19· · · · Q· · Okay.· So you had this document and you've
 20· ·testified today that you read it?
 21· · · · A· · But I'm confused now -- I did read it.
 22· · · · Q· · Okay.· Why don't you turn to the last
 23· ·page, please.· Do you see where it says important
 24· ·acknowledgments?
 25· · · · A· · The last page?


                                                             Debtor's Ex. 24, p. 056
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 ·1· · · · Q· · Last page, yes.· Thank you.· I think
 ·2· ·it's -- here, let me get it for you.· Okay.· This is
 ·3· ·the page that I'm referring to, the very last page.
 ·4· ·I'm sorry, that's the first page.· Turn it over.
 ·5· ·I'm sorry.· Okay.· That's the last page of the
 ·6· ·document.
 ·7· · · · A· · All right.
 ·8· · · · Q· · I just want to make sure we're on the same
 ·9· ·page so to speak.· The lower, right-hand corner of
 10· ·this page, if you look at the lower, right-hand
 11· ·corner --
 12· · · · A· · Uh-huh.
 13· · · · Q· · -- it says Williams 000076.· Is that the
 14· ·page you're looking at?
 15· · · · A· · Yes.
 16· · · · Q· · Okay, good.· So do you see -- you see at
 17· ·the very bottom it says borrower name, Lula
 18· ·Williams?
 19· · · · A· · Yes.
 20· · · · Q· · And there's a date, August 3, 2016 and a
 21· ·time, correct?
 22· · · · A· · Yes.
 23· · · · Q· · And then at the bottom it says --
 24· · · · A· · That I agree.
 25· · · · Q· · -- signed, colon, I agree, right?


                                                             Debtor's Ex. 24, p. 057
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 ·1· · · · A· · Yes.
 ·2· · · · Q· · Okay.· Now, a little bit above that it
 ·3· ·says important acknowledgments.· Do you see that?
 ·4· · · · A· · Yes.
 ·5· · · · Q· · And that's in bold, right, it's in bold
 ·6· ·print?
 ·7· · · · A· · Uh-huh.
 ·8· · · · Q· · Okay.· Uh-huh meaning yes?
 ·9· · · · A· · I'm sorry, yes.
 10· · · · Q· · That's okay.· That's all right.· And it
 11· ·says -- the first acknowledgment is you acknowledge
 12· ·and agree that this agreement is subject solely and
 13· ·exclusively to the tribal law and jurisdiction of
 14· ·the Lac Vieux Desert Band of Lake Superior Chippewa
 15· ·Indians.· Have I read that correctly?
 16· · · · A· · Yes.
 17· · · · Q· · And the second acknowledgment that was on
 18· ·this loan agreement that you agreed to, it says you
 19· ·agree -- you acknowledge and agree that the tribal
 20· ·dispute resolution procedure is the sole and
 21· ·exclusive forum for resolving disputes and/or claims
 22· ·arising from or relating to this agreement.· Have I
 23· ·read that correctly?
 24· · · · A· · Yes.
 25· · · · Q· · And under that one, it says you


                                                             Debtor's Ex. 24, p. 058
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 ·1· ·acknowledge and agree to the waiver of jury trial
 ·2· ·provision.· Have I read that correctly?
 ·3· · · · A· · You read it correct.
 ·4· · · · Q· · Okay.· And I'm not going to bother with
 ·5· ·the last acknowledgment, but you see there's another
 ·6· ·acknowledgment underneath that, right?
 ·7· · · · A· · Yes.
 ·8· · · · Q· · Concerning your bank account or your loan
 ·9· ·repayments, right?
 10· · · · A· · Yes.
 11· · · · Q· · Okay.· Okay.· Thank you.· Let's go back
 12· ·for a minute if we could, please, to Exhibit 2 which
 13· ·is that document right there, right.· This is the
 14· ·document that you verified under penalties of
 15· ·perjury, correct?· Is that right?
 16· · · · A· · Yes.
 17· · · · Q· · Okay.· Take a look at page three, the very
 18· ·bottom.· See No. 2 at the bottom?
 19· · · · A· · Yes.
 20· · · · Q· · It says set forth with particularity all
 21· ·facts upon which you base your allegation in
 22· ·complaint that defendant Martorello was the
 23· ·proximate cause of any harm suffered by you and why
 24· ·such proximate harm is uniform or common as to each
 25· ·member of the proposed class.· Have I read that


                                                             Debtor's Ex. 24, p. 059
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 ·1· ·correctly?
 ·2· · · · A· · Yes.
 ·3· · · · Q· · Okay.· Take a look at the response which
 ·4· ·starts on page four and goes all the way to page
 ·5· ·seven.· Take a look at that, please, and read it to
 ·6· ·yourself.
 ·7· · · · A· · (Peruses document.)· Okay.
 ·8· · · · Q· · Have you read it?
 ·9· · · · A· · Yeah.
 10· · · · Q· · And what personal knowledge do you have of
 11· ·any of the facts that are stated in the response to
 12· ·Interrogatory No. 2?
 13· · · · · · ·MS. NASH:· Counsel, I'm going to object.
 14· · · · The response clearly indicates that plaintiff's
 15· · · · counsel provided this response.
 16· · · · · · ·MR. SCHEFF:· Well I'm asking her what
 17· · · · personal knowledge she has about the facts
 18· · · · stated in response to Interrogatory No. 2.
 19· · · · It's a perfectly proper question.
 20· · · · · · ·MS. NASH:· And that's fine.· I'm noting my
 21· · · · objection for the record.
 22· · · · · · ·MR. SCHEFF:· It's noted.
 23· ·BY MR. SCHEFF:
 24· · · · Q· · Ms. Williams?
 25· · · · A· · I don't understand.


                                                             Debtor's Ex. 24, p. 060
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 ·1· · · · Q· · You don't understand what?· You mean you
 ·2· ·don't understand what you've read?
 ·3· · · · A· · No, I don't.
 ·4· · · · Q· · Okay.
 ·5· · · · A· · Red Rock --
 ·6· · · · Q· · This information doesn't come from you,
 ·7· ·correct?
 ·8· · · · A· · Right.
 ·9· · · · Q· · All right.· This is --
 10· · · · A· · I don't --
 11· · · · Q· · -- the first you're reading this, right?
 12· · · · A· · Yeah --
 13· · · · · · ·MS. NASH:· Objection, misstates her prior
 14· · · · testimony.
 15· · · · · · ·MR. SCHEFF:· It does not misstate her
 16· · · · prior testimony.
 17· · · · · · ·MS. NASH:· It absolutely misstates her
 18· · · · prior testimony.
 19· · · · · · ·MR. SCHEFF:· Well the record will speak
 20· · · · for itself and you should --
 21· · · · · · ·MS. NASH:· And I'm allowed to note my
 22· · · · objection.
 23· · · · · · ·MR. SCHEFF:· Well you didn't note your
 24· · · · objection.· You just spoke.· So note your
 25· · · · objection first and then the basis for it.


                                                             Debtor's Ex. 24, p. 061
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 ·1· · · · · · ·MS. NASH:· I did.· I said objection, it
 ·2· · · · misstates her prior testimony.
 ·3· · · · · · ·MR. SCHEFF:· And the record will speak for
 ·4· · · · itself.
 ·5· ·BY MR. SCHEFF:
 ·6· · · · Q· · So these facts don't come from you,
 ·7· ·correct, you don't know anything about this?
 ·8· · · · A· · Some of them I do, some of them I don't.
 ·9· · · · Q· · Which ones do you know about?· Tell me
 10· ·what you know about --
 11· · · · · · ·MS. NASH:· I'm restating my prior
 12· · · · objection that this was provided by counsel.
 13· · · · It says so clearly in the document.
 14· ·BY MR. SCHEFF:
 15· · · · Q· · State which facts you know personally,
 16· ·Ms. Williams.
 17· · · · A· · I don't understand the tribes because I --
 18· ·I didn't know of tribes that were based on the
 19· ·lending of the money.· I thought that it was just
 20· ·Big Picture.
 21· · · · Q· · Okay.
 22· · · · A· · So now I got all these other people here,
 23· ·all these other lenders and I don't -- I just don't
 24· ·understand it.
 25· · · · Q· · You never heard of those other places,


                                                             Debtor's Ex. 24, p. 062
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 ·1· ·right?
 ·2· · · · A· · No.
 ·3· · · · Q· · And you don't know what's stated --
 ·4· ·whether what's stated in response to this question
 ·5· ·is true or not true, do you?· You don't know one way
 ·6· ·or the other.
 ·7· · · · A· · Such as Red Rock, all those people, I
 ·8· ·don't -- I don't under -- I don't understand it.
 ·9· · · · Q· · Right.· So my question to you,
 10· ·Ms. Williams, is these facts that are stated in
 11· ·response to Interrogatory No. 2, you don't know
 12· ·personally whether they are true or not true,
 13· ·correct?
 14· · · · A· · Right.
 15· · · · · · ·MS. NASH:· Objection, calls for a legal
 16· · · · conclusion.
 17· · · · · · ·MR. SCHEFF:· It does not call for a legal
 18· · · · conclusion but you can answer the question.
 19· · · · A· · I don't know.
 20· ·BY MR. SCHEFF:
 21· · · · Q· · You don't know?
 22· · · · A· · No.
 23· · · · Q· · You don't know whether they're true or not
 24· ·true --
 25· · · · A· · No.


                                                             Debtor's Ex. 24, p. 063
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 ·1· · · · Q· · -- correct?· Okay.· Let's look at No. 4
 ·2· ·which is on page seven, begins on page seven.· No. 4
 ·3· ·reads set forth with particularity how each member
 ·4· ·of a punitive class has Article III standing.
 ·5· ·Include in your response how such standing can be
 ·6· ·proven in accordance with the requirements of
 ·7· ·Federal Rule of Civil Procedure 23.· Have I read
 ·8· ·that correctly?
 ·9· · · · A· · No. 4?
 10· · · · Q· · Yes.
 11· · · · A· · Yes.
 12· · · · Q· · Okay.· Turn please to the next page where
 13· ·it says response, and that response is on page eight
 14· ·and page nine.· And if you read that to yourself and
 15· ·tell me whether you have any personal knowledge of
 16· ·what is stated in -- on pages eight and nine.
 17· · · · · · ·MS. NASH:· I'm going to restate my
 18· · · · objection.· It --
 19· · · · · · ·MR. SCHEFF:· Okay.
 20· · · · · · ·MS. NASH:· It clearly indicates that her
 21· · · · counsel provided this response.
 22· · · · · · ·MR. SCHEFF:· Doesn't mean I can't answer
 23· · · · the question -- ask her the question.
 24· · · · A· · (Peruses document.)· I don't understand
 25· ·it.


                                                             Debtor's Ex. 24, p. 064
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 ·1· ·BY MR. SCHEFF:
 ·2· · · · Q· · You don't understand what's written?
 ·3· · · · A· · No.
 ·4· · · · Q· · Okay.· And so that doesn't come from you
 ·5· ·and you've never heard of that before, correct?
 ·6· · · · A· · No.
 ·7· · · · Q· · Okay.· Turn to page eleven, No. 7.· It
 ·8· ·says identify all the facts and documents
 ·9· ·supporting, tending to support, refuting or tending
 10· ·to refute the class action allegation -- the class
 11· ·allegations within your complaint.· Have I read that
 12· ·correctly?
 13· · · · A· · Yes.
 14· · · · Q· · Okay.· See under response starting on page
 15· ·eleven.· Read that to yourself.· It goes on for
 16· ·several pages.· And, again, the question is do you
 17· ·have any personal knowledge of the facts stated in
 18· ·response to Interrogatory No. 7?
 19· · · · · · ·MS. NASH:· Same objection.· I'm just going
 20· · · · to note that the response indicates it was
 21· · · · provided by counsel.
 22· ·BY MR. SCHEFF:
 23· · · · Q· · You can answer the question, Ms. Williams.
 24· · · · A· · (Peruses document.)· No.
 25· · · · Q· · You don't know -- you don't have any


                                                             Debtor's Ex. 24, p. 065
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 ·1· ·personal knowledge of the facts stated in response
 ·2· ·to No. 7, correct?
 ·3· · · · A· · Yeah, I respond to No. 7.
 ·4· · · · Q· · I'm sorry, say that again?
 ·5· · · · A· · I identified the documents supporting,
 ·6· ·tending to support.
 ·7· · · · Q· · Right.· What I -- what I want you to do is
 ·8· ·see where it says response under there?
 ·9· · · · A· · Right here?
 10· · · · Q· · Yeah, and it -- and start reading there
 11· ·and it goes on for several pages.· That's the
 12· ·response you provided to No. 7 and I'd like to
 13· ·understand what personal knowledge you have of any
 14· ·of those facts.
 15· · · · · · ·MS. NASH:· I'm going to object.· Your
 16· · · · question was worded such that you stated that
 17· · · · she provided this response and as we've stated,
 18· · · · counsel provided this response.
 19· ·BY MR. SCHEFF:
 20· · · · Q· · My question is -- if that's the case, I'll
 21· ·rephrase the question.· Again, Ms. Williams, reading
 22· ·the response to No. 7, what personal knowledge do
 23· ·you have of any of the facts stated in response to
 24· ·Interrogatory No. 7?
 25· · · · A· · I can't respond to it.


                                                             Debtor's Ex. 24, p. 066
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 ·1· · · · Q· · You can't respond to it?· You don't know
 ·2· ·these facts, correct?
 ·3· · · · A· · No.
 ·4· · · · Q· · You don't have any personal knowledge of
 ·5· ·what's stated in response to Interrogatory No. 7,
 ·6· ·correct?
 ·7· · · · A· · No.
 ·8· · · · Q· · Okay.· Do you know who Brian McFadden is?
 ·9· · · · A· · No.
 10· · · · Q· · Do you know who Justin Martorello is?
 11· · · · A· · No.
 12· · · · Q· · Do you know who Simon Liang is, L-i-a-n-g?
 13· · · · A· · (Deponent shakes head.)
 14· · · · Q· · No?
 15· · · · A· · No.
 16· · · · Q· · Okay.· Do you know who Gloria Turnage is?
 17· · · · A· · No.
 18· · · · Q· · Have you ever met her?
 19· · · · A· · Gloria Turnage?· No.
 20· · · · Q· · Have you ever spoken to her as far as you
 21· ·know?
 22· · · · A· · No.
 23· · · · Q· · Do you know an individual named George
 24· ·Hengle?
 25· · · · A· · No.


                                                             Debtor's Ex. 24, p. 067
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 ·1· · · · Q· · Have you ever spoken to him as far as you
 ·2· ·know?
 ·3· · · · A· · No.
 ·4· · · · Q· · Do you know an individual named Dowin,
 ·5· ·D-o-w-i-n, Coffy?
 ·6· · · · A· · No.
 ·7· · · · Q· · Have you ever spoken to him as far as you
 ·8· ·know?
 ·9· · · · A· · No.
 10· · · · Q· · Did you know an individual named Felix
 11· ·Gillison, Jr.?
 12· · · · A· · No.
 13· · · · Q· · And as far as you know, have you ever --
 14· ·did you ever speak with an individual named Felix
 15· ·Gillison, Jr.?
 16· · · · A· · No.
 17· · · · Q· · What decisions have you made about the
 18· ·strategy of the lawsuit that you filed which is
 19· ·marked as Exhibit 1?
 20· · · · A· · I think I was overcharged for the loan
 21· ·that I got.
 22· · · · Q· · Okay.· My question was you filed this
 23· ·complaint --
 24· · · · A· · Uh-huh.
 25· · · · Q· · -- Exhibit 1.· What decisions and what


                                                             Debtor's Ex. 24, p. 068
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 ·1· ·input have you had --
 ·2· · · · A· · I don't think I was treated fairly.
 ·3· · · · Q· · I understand.· Listen to my question.
 ·4· ·That's not thee question I'm asking you.· My
 ·5· ·question is with respect to the lawsuit that you
 ·6· ·filed which is marked as Exhibit 1, what input have
 ·7· ·you had into the strategy about how this case is
 ·8· ·being brought?· Ms. Williams, you haven't made any
 ·9· ·decisions with respect to the strategy used in this
 10· ·case, correct?
 11· · · · A· · Yes, I have.
 12· · · · Q· · Okay.· What -- what strategy decisions
 13· ·have you made?
 14· · · · A· · On behalf of myself and others like myself
 15· ·is that we are being overcharged for the amount of
 16· ·money that we received and I don't think I'm being
 17· ·treated fair.
 18· · · · Q· · Okay.
 19· · · · A· · I don't think so.
 20· · · · Q· · What role have you played in the decisions
 21· ·as to how this lawsuit is being handled by your
 22· ·lawyers?
 23· · · · A· · Well asking that the lawsuit will bring --
 24· ·in order to give me my money back, my --
 25· · · · Q· · Which money do you want back?


                                                             Debtor's Ex. 24, p. 069
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 ·1· · · · A· · The -- the amount that I'm being overpaid,
 ·2· ·all -- well, in other words, all of it.
 ·3· · · · Q· · All of it.· So the interest that you paid?
 ·4· · · · A· · Right.
 ·5· · · · Q· · Okay.· Would you agree that if you
 ·6· ·borrowed $800 that you should pay back the $800?
 ·7· · · · A· · Just 800.
 ·8· · · · Q· · And no interest on top of that?
 ·9· · · · A· · Not as much interest.
 10· · · · Q· · But you agree that you should pay some
 11· ·interest?
 12· · · · A· · Some, yes.
 13· · · · Q· · Okay.· What role have you played in the
 14· ·decisions about how this lawsuit is being handled?
 15· · · · A· · I object.
 16· · · · Q· · I'm sorry?
 17· · · · A· · I object to that question.
 18· · · · Q· · You object to the question?
 19· · · · A· · Uh-huh.
 20· · · · Q· · Okay.· Well I understand that but have
 21· ·you -- it's the case, is it not, Ms. Williams, that
 22· ·you haven't provided any input to your lawyers as to
 23· ·how this case ought to be handled?
 24· · · · · · ·MS. NASH:· Objection, misstates prior
 25· · · · testimony.


                                                             Debtor's Ex. 24, p. 070
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 ·1· ·BY MR. SCHEFF:
 ·2· · · · Q· · Is that right?
 ·3· · · · A· · No, that's not right.
 ·4· · · · Q· · It's not right.· So what input have you
 ·5· ·provided to your lawyers?
 ·6· · · · A· · My lawyer will answer that.
 ·7· · · · Q· · Your lawyer will answer that.· Well your
 ·8· ·lawyer is not being deposed, Ms. Williams, so I'm
 ·9· ·asking you what decisions have you made in
 10· ·connection with this lawsuit?
 11· · · · A· · Decision that I made with this lawsuit is
 12· ·for it to go forward and being able to be -- obtain
 13· ·some of my money if not all of it back because I'm
 14· ·being overcharged for the loan amount that I got.
 15· · · · Q· · So the only decision that you made was to
 16· ·have your lawyers file the lawsuit?
 17· · · · A· · Yes.
 18· · · · · · ·MS. NASH:· Objection, misstates prior
 19· · · · testimony.
 20· ·BY MR. SCHEFF:
 21· · · · Q· · Now, did you contact your lawyers and ask
 22· ·them to file the lawsuit --
 23· · · · A· · Yes, I did.
 24· · · · Q· · -- or did they contact you and ask you to
 25· ·be a plaintiff?


                                                             Debtor's Ex. 24, p. 071
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 ·1· · · · A· · No, I contact them and asked them.
 ·2· · · · Q· · And how did you do that?
 ·3· · · · A· · By phone.
 ·4· · · · Q· · By phone.· Who did you call?· Don't tell
 ·5· ·me what you said, just tell me who you called.
 ·6· · · · A· · Kelly & Crandall.
 ·7· · · · Q· · Any particular individual at Kelly &
 ·8· ·Crandall?
 ·9· · · · A· · No.
 10· · · · Q· · You just called Kelly & Crandall?
 11· · · · A· · Yeah, to speak to an attorney.
 12· · · · Q· · Okay.· Have you ever met anyone from Kelly
 13· ·& Crandall other than Ms. Nash who is sitting with
 14· ·you here today?
 15· · · · A· · Yes.
 16· · · · Q· · And who have you met?
 17· · · · A· · I don't recall the name.
 18· · · · Q· · You don't recall the name.· How many times
 19· ·have you met lawyers from Kelly & Crandall?
 20· · · · A· · Once.
 21· · · · Q· · Once?
 22· · · · A· · Uh-huh.
 23· · · · Q· · Okay.
 24· · · · A· · Twice.
 25· · · · Q· · Twice?


                                                             Debtor's Ex. 24, p. 072
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 ·1· · · · A· · Two times, yes.
 ·2· · · · Q· · Okay.· And one time was -- well what were
 ·3· ·those two times, excuse me?
 ·4· · · · A· · Explaining my situation to them and seeing
 ·5· ·what advice I could get as far as getting help --
 ·6· · · · Q· · Okay.
 ·7· · · · A· · -- with the loan.
 ·8· · · · Q· · With this loan?
 ·9· · · · A· · Yes.
 10· · · · Q· · And you've asked them to file other
 11· ·lawsuits on your behalf too; is that right?
 12· · · · · · ·MS. NASH:· And I'm just going to caution
 13· · · · you.· I know that he's not intending to ask for
 14· · · · attorney-client privileged information, but you
 15· · · · are not to divulge the contents of any of our
 16· · · · conversations.
 17· · · · A· · No.
 18· ·BY MR. SCHEFF:
 19· · · · Q· · And that's correct, Ms. Williams.· I am
 20· ·not looking to find out what your lawyers have told
 21· ·you or private conversations that you've had with
 22· ·your lawyers.· Okay?
 23· · · · A· · Right.
 24· · · · Q· · So if you start to tell me that, I'm going
 25· ·to interrupt you and stop you, okay?· Fair?


                                                             Debtor's Ex. 24, p. 073
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 ·1· · · · A· · Yeah.
 ·2· · · · Q· · Okay.· Now, you are the plaintiff in other
 ·3· ·lawsuits where Kelly & Crandall is representing you;
 ·4· ·isn't that right?
 ·5· · · · A· · Yes.
 ·6· · · · Q· · And how many other lawsuits are you a
 ·7· ·plaintiff in represented by --
 ·8· · · · A· · One.
 ·9· · · · Q· · -- Kelly & Crandall?· One?
 10· · · · A· · Uh-huh.
 11· · · · Q· · Are you sure about that?
 12· · · · A· · Yes.
 13· · · · Q· · Okay.
 14· · · · · · · · · Can I have the Rees lawsuit, please?
 15· ·And why don't we just bring them all out actually.
 16· · · · · · ·MS. LADD:· You want them all?
 17· · · · · · ·MR. SCHEFF:· Yeah.· Okay.· So this is
 18· · · · going to be four.
 19· · · · (The Complaint was marked Exhibit No. 4.)
 20· · · · · · ·MR. SCHEFF:· This one's going to be five.
 21· · · · (The Complaint was marked Exhibit No. 5.)
 22· · · · · · ·MR. SCHEFF:· This one's going to be six.
 23· · · · (The Complaint was marked Exhibit No. 6.)
 24· · · · · · ·MR. SCHEFF:· And this one's going to be
 25· · · · seven.


                                                             Debtor's Ex. 24, p. 074
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 ·1· · · · (The Complaint was marked Exhibit No. 7.)
 ·2· ·BY MR. SCHEFF:
 ·3· · · · Q· · So, Ms. Williams, the court reporter has
 ·4· ·just marked four documents, four complaints, Exhibit
 ·5· ·4, 5, 6, and 7.· Do you have those in front of you?
 ·6· · · · A· · Yes.
 ·7· · · · Q· · And let's take a look at No. 4, okay?· Do
 ·8· ·you see that your name is among the plaintiffs on
 ·9· ·the first page?
 10· · · · A· · Yes.
 11· · · · Q· · Okay.· So this is a lawsuit -- strike
 12· ·that.· Look at the very last page.· I'm sorry, yeah,
 13· ·if you could just open that up, please.· All the way
 14· ·to the back if you would, please.· You can see that
 15· ·you're represented by Kelly & Crandall in this case
 16· ·as well, correct?
 17· · · · A· · Yes.
 18· · · · Q· · Okay.· And -- all right.· Look at No. 5,
 19· ·please.· And you're a plaintiff in No. 5 as well
 20· ·against Plain Green and Great Plains Lending?
 21· · · · A· · Yes.
 22· · · · Q· · And if you look at the last page, you're
 23· ·represented by Kelly & Crandall in this one as well?
 24· · · · A· · Right.
 25· · · · Q· · Right?· Look at No. 6, please.· You're a


                                                             Debtor's Ex. 24, p. 075
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 ·1· ·plaintiff in this case as well, right?
 ·2· · · · A· · Six.
 ·3· · · · Q· · Just look at the first page of six for
 ·4· ·now, please, just to see that your name is there.
 ·5· ·See it?
 ·6· · · · A· · Yeah.
 ·7· · · · Q· · So you're a plaintiff in No. 6 as well?
 ·8· · · · A· · Uh-huh.
 ·9· · · · Q· · And at the end, you're represented by
 10· ·Kelly & Crandall again, correct?
 11· · · · A· · Uh-huh.
 12· · · · Q· · Uh-huh meaning yes?
 13· · · · A· · I'm sorry, yes.
 14· · · · Q· · That's quite all right.· And No. 7, see
 15· ·that you're a plaintiff in this one as well and,
 16· ·again, you're represented by Kelly & Crandall in the
 17· ·back?
 18· · · · A· · What is this?
 19· · · · Q· · See that?· Do you see your name on that
 20· ·one?
 21· · · · A· · Yeah, I do.
 22· · · · Q· · Okay.
 23· · · · A· · Who is this?
 24· · · · Q· · Well we'll get to that in a minute.· And
 25· ·you see that Kelly & Crandall is representing you in


                                                             Debtor's Ex. 24, p. 076
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 ·1· ·that one as well?
 ·2· · · · A· · Yes.
 ·3· · · · Q· · Yes?
 ·4· · · · A· · Yes.
 ·5· · · · Q· · Okay.· So let's look at four, five, and
 ·6· ·six together.· Did you take loans from Great Plains
 ·7· ·Lending?· Did you borrow money from Great Plains
 ·8· ·Lending?
 ·9· · · · A· · Yes.
 10· · · · Q· · How many loans did you borrow from Great
 11· ·Plains?
 12· · · · A· · One.
 13· · · · Q· · One?· And when did you borrow that money?
 14· · · · A· · I don't remember.
 15· · · · Q· · You don't remember?
 16· · · · A· · May I ask a question?
 17· · · · Q· · Well, that's not really what happens in
 18· ·depositions but, you know, if you have a question
 19· ·for me, you can certainly state whatever you'd like
 20· ·on the record and -- but the deposition is not for
 21· ·me to provide answers.· It's for you to provide
 22· ·answers.· Okay?
 23· · · · · · ·MS. NASH:· Do you need to take a break?
 24· · · · · · ·THE DEPONENT:· Yeah.
 25· · · · · · ·MR. SCHEFF:· Okay.· Why don't you take a


                                                             Debtor's Ex. 24, p. 077
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 ·1· · · · break.
 ·2· · · · · · ·THE VIDEOGRAPHER:· Going off the record at
 ·3· · · · 11:30 a.m.
 ·4· · · · · · · · · · · · ·(Break.)
 ·5· · · · · · ·THE VIDEOGRAPHER:· Going back on the
 ·6· · · · record at 11:36 a.m.
 ·7· ·BY MR. SCHEFF:
 ·8· · · · Q· · Ms. Williams, I think right before we took
 ·9· ·a break you said you had taken one loan from Plain
 10· ·Green.· Did I remember your testimony correctly?
 11· · · · A· · Yes.
 12· · · · Q· · And did you take a loan from Great Plains
 13· ·as well?
 14· · · · A· · Yes.
 15· · · · Q· · Okay.· When did you take -- I'm sorry, did
 16· ·you want to say something?
 17· · · · A· · Yeah.· They all in one, right?
 18· · · · Q· · I'm sorry?
 19· · · · A· · They all -- Plain Green and Great Plain
 20· ·are the same, right?
 21· · · · Q· · Is that your understanding?
 22· · · · A· · Uh-huh.
 23· · · · Q· · Yes?
 24· · · · A· · Yes.
 25· · · · Q· · Okay.· But you have one loan from Plain


                                                             Debtor's Ex. 24, p. 078
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 ·1· ·Green and one loan from Great Plains; is that right?
 ·2· · · · A· · Uh-huh.
 ·3· · · · Q· · Uh-huh meaning yes?
 ·4· · · · A· · Yes.
 ·5· · · · Q· · That's okay.· I understand.
 ·6· · · · A· · Yes.
 ·7· · · · Q· · Did you take those loans before or after
 ·8· ·you took the loans from Big Picture?
 ·9· · · · A· · I don't remember.· I think it was after.
 10· · · · Q· · You think it was after, okay.· Okay.· So I
 11· ·want to ask you about Exhibit 7.· That's the
 12· ·complaint against Mr. Curry and American Web Loans
 13· ·and others.· Do you have that?
 14· · · · A· · Yes.
 15· · · · Q· · Okay.· Did you take a loan from American
 16· ·Web Loan?
 17· · · · A· · Yes.
 18· · · · Q· · You did.· And how many loans did you take
 19· ·from American Web Loan?
 20· · · · A· · One.
 21· · · · Q· · And when did you take that loan?
 22· · · · A· · I don't remember.
 23· · · · Q· · You don't remember?
 24· · · · A· · No.
 25· · · · Q· · Was it before or after the loans you took


                                                             Debtor's Ex. 24, p. 079
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 ·1· ·from Big Picture?
 ·2· · · · A· · I think after.
 ·3· · · · Q· · Afterwards.· Did you take the loan from
 ·4· ·Great Plains so you could be a plaintiff and sue
 ·5· ·them?
 ·6· · · · A· · No.
 ·7· · · · Q· · You took the loan because you needed the
 ·8· ·money, right?
 ·9· · · · A· · Exactly.
 10· · · · Q· · And you needed it to pay your bills,
 11· ·right?
 12· · · · A· · Yes.
 13· · · · Q· · And you had no other way to pay your bills
 14· ·other than to take the loan, right?
 15· · · · A· · Right.
 16· · · · Q· · And is that the same with Plain Green?
 17· · · · A· · Yes.
 18· · · · Q· · Is that the same with American Web Loans?
 19· · · · A· · Yes.
 20· · · · Q· · Have you taken any loans, online loans, in
 21· ·the past three months?
 22· · · · A· · No.
 23· · · · Q· · In the past six months?
 24· · · · A· · No.· These are all I have right here.
 25· · · · Q· · This is it, okay.


                                                             Debtor's Ex. 24, p. 080
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 ·1· · · · · · · · · All right.· Let's mark this as
 ·2· ·Exhibit 8.
 ·3· · · · (The Responses was marked Exhibit No. 8.)
 ·4· ·BY MR. SCHEFF:
 ·5· · · · Q· · You okay?
 ·6· · · · A· · Yes.
 ·7· · · · Q· · All right, good.· Okay.· We're not going
 ·8· ·to use those documents anymore, Ms. Williams.· All
 ·9· ·right?
 10· · · · A· · Okay.· Put all these away?
 11· · · · Q· · Yeah, yeah, if you'd like.· That's fine.
 12· ·You can put them over on the side.· Okay.· So let's
 13· ·look at what we've marked as Exhibit 8.· Do you have
 14· ·that?
 15· · · · A· · Uh-huh.
 16· · · · Q· · Uh-huh meaning yes?
 17· · · · A· · Yes.
 18· · · · Q· · Okay.· You see at the top it says
 19· ·plaintiff Lula Williams' responses to defendant Matt
 20· ·Martorello's first set requests for admission
 21· ·relating to class certification.· Have I read that
 22· ·correctly?
 23· · · · A· · Yes.
 24· · · · Q· · Now, this document does not have a
 25· ·verification that's attached to it at the end.· Take


                                                             Debtor's Ex. 24, p. 081
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 ·1· ·a -- take a look, please, and just tell me whether
 ·2· ·you've ever seen this document before.· And look
 ·3· ·as -- look at as much as you need to in order to
 ·4· ·make that determination.
 ·5· · · · A· · (Peruses document.)· Okay.
 ·6· · · · Q· · Have you ever seen this document before?
 ·7· · · · A· · Yes.
 ·8· · · · Q· · You have.· When did you first see it?
 ·9· · · · A· · You know, this is the first time I'm
 10· ·receiving this.
 11· · · · Q· · This is the first time you're receiving
 12· ·it?
 13· · · · A· · Uh-huh.
 14· · · · Q· · Okay.· So is now the first time you're
 15· ·ever seeing it?
 16· · · · A· · Yes.
 17· · · · Q· · Okay.· Okay.· Ms. Williams, let me mark
 18· ·what is going to be Exhibit 9.
 19· · · · · (The E-mail was marked Exhibit No. 9.)
 20· ·BY MR. SCHEFF:
 21· · · · Q· · And I'm going to try and be efficient in
 22· ·my questioning here so we're not taking more time
 23· ·than we have to.· Okay.· Ms. Williams, what has been
 24· ·placed before you is Exhibit 9.· Have you ever seen
 25· ·this document before?


                                                             Debtor's Ex. 24, p. 082
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 ·1· · · · A· · No.
 ·2· · · · Q· · Never have, okay.· So let's just identify
 ·3· ·a couple things here.· I'm going to direct you to
 ·4· ·certain things just to try and put this in context.
 ·5· ·Okay?· I'm on page one, all right, and I'm looking
 ·6· ·at the top and it says from Miracle Williams and
 ·7· ·then it says j-a-v-i-o-n 06@gmail.com.· I've read
 ·8· ·that correctly?
 ·9· · · · A· · Yes.
 10· · · · Q· · And Miracle Williams is your daughter.
 11· ·You testified to that earlier, right?
 12· · · · A· · Yes.
 13· · · · Q· · And the e-mail address that I just read is
 14· ·her e-mail address, right?
 15· · · · A· · Javion, yes.
 16· · · · Q· · And that's the e-mail address that
 17· ·sometimes she uses on your behalf, right?
 18· · · · A· · Yes.
 19· · · · Q· · Okay.· And you see the date, it says
 20· ·Thursday, August 23, 2018?
 21· · · · A· · Yes.
 22· · · · Q· · 3:11, okay.· Now look directly underneath
 23· ·that.· You see it says forwarded message?· Do you
 24· ·see that?· I'm looking right here.
 25· · · · A· · Uh-huh, I see it.


                                                             Debtor's Ex. 24, p. 083
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 ·1· · · · Q· · Yes?
 ·2· · · · A· · Yes.
 ·3· · · · Q· · And then it says from
 ·4· ·support@bigpictureloans.com.· Do you see that?
 ·5· · · · A· · Yes.
 ·6· · · · Q· · And then there's a date of June of 2016,
 ·7· ·correct?
 ·8· · · · A· · Yes.
 ·9· · · · Q· · And then it says subject, information
 10· ·regarding your account with Big Picture Loans.com.
 11· ·Did I read that correctly?
 12· · · · A· · Yes.
 13· · · · Q· · And then it says to, and then we see your
 14· ·daughter's e-mail address again, correct?
 15· · · · A· · Yes.
 16· · · · Q· · And below that is a communication.· It's
 17· ·an e-mail from the customer support people at Big
 18· ·Picture Loans to you; isn't that right?
 19· · · · A· · Yes.
 20· · · · Q· · Okay.· Now -- do you want to say
 21· ·something?
 22· · · · A· · No.
 23· · · · Q· · Okay.· We received from your lawyer -- if
 24· ·you look at the bottom, right-hand corner again, you
 25· ·see it says Williams 000099?


                                                             Debtor's Ex. 24, p. 084
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 ·1· · · · A· · Yeah.
 ·2· · · · Q· · And the last document in this exhibit is
 ·3· ·Williams 000100.· Do you see that?· Let me show you
 ·4· ·where I'm looking to make sure that -- right here, I
 ·5· ·was looking at this number here.
 ·6· · · · A· · Yeah, I'm looking at that.
 ·7· · · · Q· · And the second number that I gave you --
 ·8· · · · A· · This one.
 ·9· · · · Q· · -- was from there.· Okay?· Just want to
 10· ·make sure that you and I are --
 11· · · · A· · Okay.
 12· · · · Q· · -- you know, we're in agreement about what
 13· ·you're looking at.
 14· · · · A· · Okay.
 15· · · · Q· · Okay?· Is this an e-mail that your
 16· ·daughter received on your behalf from Big Picture
 17· ·back in June of 2016?
 18· · · · A· · I don't remember.
 19· · · · Q· · You don't remember?
 20· · · · A· · June 2016.
 21· · · · Q· · Yeah, that's what it says.
 22· · · · A· · I'm sure.
 23· · · · Q· · You're not sure?
 24· · · · A· · No.
 25· · · · Q· · It's not.· This is not an e-mail from Big


                                                             Debtor's Ex. 24, p. 085
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 ·1· ·Picture to you from June of 2016?
 ·2· · · · A· · Yes, it is.
 ·3· · · · Q· · It is.· So --
 ·4· · · · A· · Yeah, I remember.
 ·5· · · · Q· · -- let me ask you a question.· I'm just --
 ·6· ·we received a number of these documents, e-mails
 ·7· ·that appear to be from Big Picture to you but have
 ·8· ·your daughter's e-mail address at the top that are
 ·9· ·dated in 2018 but the e-mails from Big Picture are
 10· ·much earlier.· Okay?
 11· · · · · · · · · Did your daughter go through her
 12· ·computer and print the e-mails that came to you at
 13· ·her e-mail address from Big Picture Loans and
 14· ·provide them for purposes of this lawsuit?
 15· · · · A· · No.
 16· · · · Q· · She did not.· Did you do that?
 17· · · · A· · Yes.
 18· · · · Q· · Okay.· So you went through and printed off
 19· ·the e-mails --
 20· · · · A· · Well my daughter did that.
 21· · · · Q· · Your daughter did that, okay.
 22· · · · A· · Yeah, uh-huh, because I don't understand
 23· ·how to do it.
 24· · · · Q· · Right.· So she's the one who operates the
 25· ·computer.· You don't do that, right?


                                                             Debtor's Ex. 24, p. 086
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 ·1· · · · A· · Right.
 ·2· · · · Q· · So do you know whether your daughter got
 ·3· ·every single e-mail that she had on her computer
 ·4· ·from Big Picture Loans to you and printed them off
 ·5· ·for this lawsuit?
 ·6· · · · A· · I don't know.
 ·7· · · · Q· · You don't know one way or the other?
 ·8· · · · A· · Uh-uh.
 ·9· · · · Q· · So we'd have to talk to your daughter; is
 10· ·that right?
 11· · · · A· · Do you?· I don't know.
 12· · · · Q· · Well your daughter is the one that did the
 13· ·printing, correct?
 14· · · · A· · Yeah, right, uh-huh, but I don't know if
 15· ·she's gotten everything off.
 16· · · · Q· · You don't know one way or the other?
 17· · · · A· · Right.
 18· · · · Q· · So that's why we would have to find out
 19· ·from your daughter --
 20· · · · A· · But I believe she did.
 21· · · · Q· · Okay.
 22· · · · A· · I believe she did.
 23· · · · Q· · That's fine.· So let's look at this
 24· ·particular one which is Exhibit 9.· And what Exhibit
 25· ·9 says, it says dear Lula Williams, your application


                                                             Debtor's Ex. 24, p. 087
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 ·1· ·is in, thanks.
 ·2· · · · A· · Uh-huh, right.
 ·3· · · · Q· · We received your application for $400 and
 ·4· ·are currently reviewing it.· Have I read that
 ·5· ·correctly?
 ·6· · · · A· · Yes.
 ·7· · · · Q· · Okay.· Did you get a loan from Big Picture
 ·8· ·for $400 before you took the 800-dollar loan on
 ·9· ·August 3, 2016 which is listed in the responses to
 10· ·your interrogatories?
 11· · · · A· · Yes.
 12· · · · Q· · You did?
 13· · · · A· · Uh-huh.
 14· · · · Q· · So the responses to your interrogatories,
 15· ·and that's No. 2, let's see if we can just get two
 16· ·out for a moment.· Okay.· And again, look at page
 17· ·ten, Interrogatory No. 5.
 18· · · · A· · This is so confusing to me.
 19· · · · Q· · Well that's why I want to try and clear it
 20· ·up, see if we can clear it up.
 21· · · · A· · Okay.
 22· · · · Q· · All right.· So you see that in -- you see
 23· ·Interrogatory No. 5 --
 24· · · · A· · Uh-huh.
 25· · · · Q· · -- right up here?


                                                             Debtor's Ex. 24, p. 088
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 ·1· · · · A· · Right.
 ·2· · · · Q· · And if we go back to the response, we've
 ·3· ·looked at this a couple times, it talks about a loan
 ·4· ·that you received for $800 on August 3, 2016,
 ·5· ·correct?· The bottom of the page.
 ·6· · · · A· · Yeah, uh-huh.
 ·7· · · · Q· · And if you turn over to page eleven, it
 ·8· ·talks about another loan for $800 that you got on
 ·9· ·September 30, 2016, right?· Do you see that right at
 10· ·the top of the page?
 11· · · · A· · Yeah, I'm --
 12· · · · Q· · Do you see that?
 13· · · · A· · Uh-huh.
 14· · · · · · ·MS. NASH:· Take your time to read it if
 15· · · · you need to.
 16· ·BY MR. SCHEFF:
 17· · · · Q· · Yeah.· Take as much time as you need.· And
 18· ·then --
 19· · · · A· · Yeah, I see it.
 20· · · · Q· · Okay, good.· And then a little under that
 21· ·it talks about another loan on November 2, 2016.· Do
 22· ·you see that?· Over here.· See it says it over here?
 23· · · · A· · Right here.
 24· · · · Q· · Right.· So what's not listed in your
 25· ·responses to No. 5 are this 400-dollar loan which


                                                             Debtor's Ex. 24, p. 089
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 ·1· ·you just testified to which appears to be referenced
 ·2· ·in Exhibit 9 which is right here.· Do you see that?
 ·3· · · · A· · Yeah.
 ·4· · · · Q· · So did you get another loan for $400 from
 ·5· ·Big Picture as well as the loans listed in response
 ·6· ·to Interrogatory No. 5?
 ·7· · · · A· · I believe so.
 ·8· · · · Q· · Okay.· Did you get -- I'm sorry, did you
 ·9· ·want to say something?· I didn't mean to interrupt
 10· ·you.
 11· · · · A· · You can -- you can go ahead.
 12· · · · Q· · I'm sorry?
 13· · · · A· · You can continue.
 14· · · · Q· · Okay.· So did you receive another
 15· ·400-dollar loan from Big Picture Loans in late June
 16· ·of 2016 in addition to the loans that you've listed
 17· ·in response to Interrogatory No. 5?
 18· · · · A· · This loan is supposed to be for August
 19· ·right here?
 20· · · · Q· · This one -- see it's dated in June,
 21· ·June 29, 2016?
 22· · · · A· · Oh, okay.
 23· · · · Q· · And that's why was asking you whether that
 24· ·was an additional loan that you got --
 25· · · · A· · Yes.


                                                             Debtor's Ex. 24, p. 090
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 ·1· · · · Q· · -- in addition to the ones that are listed
 ·2· ·in response to Interrogatory No. 5.· Is it?
 ·3· · · · A· · Yes.
 ·4· · · · Q· · Okay.· Other than the three loans that
 ·5· ·you've listed in response to Interrogatory No. 5 and
 ·6· ·the 400-dollar loan which we see that's referenced
 ·7· ·in Exhibit 9, are there any other loans that you got
 ·8· ·from Big Picture?
 ·9· · · · A· · No.
 10· · · · Q· · Okay.· Take a look at Exhibit 10 or what
 11· ·will be marked as Exhibit 10.
 12· · · · ·(The E-mail was marked Exhibit No. 10.)
 13· ·BY MR. SCHEFF:
 14· · · · Q· · Do you have Exhibit 10?
 15· · · · A· · Yes.
 16· · · · Q· · So you see what your daughter has done
 17· ·there is she's printed off an e-mail from Big
 18· ·Picture to you from July 13, 2016.· Do you see that?
 19· · · · A· · Yes, I see it right here.
 20· · · · Q· · Right here, July 16, right.· And that
 21· ·references an application for $400 that they were
 22· ·currently reviewing.· Do you see that?
 23· · · · A· · Yes.
 24· · · · Q· · Is that a different loan for $400 than the
 25· ·one that's referenced in Exhibit 9?


                                                             Debtor's Ex. 24, p. 091
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 ·1· · · · A· · I think these two are the same.
 ·2· · · · Q· · You think they're the same.
 ·3· · · · A· · Uh-huh, they're the same.
 ·4· · · · Q· · Okay.· So let me ask you a question and as
 ·5· ·I said --
 ·6· · · · A· · But I don't understand.
 ·7· · · · Q· · You don't remember having a second
 ·8· ·400-dollar loan, is that what you're saying?
 ·9· · · · A· · For June and July?
 10· · · · Q· · Yes.· Exhibit 9, the e-mail is June 29,
 11· ·2016, correct?
 12· · · · A· · Right.
 13· · · · Q· · And then Exhibit 10 is July 13, 2016.· Do
 14· ·you see that?
 15· · · · A· · I don't remember June and July.
 16· · · · Q· · You don't remember those.· Okay, that's
 17· ·fine.· So, Ms. Williams, these documents that are
 18· ·marked as Exhibit 9 and 10, as I said, you produced
 19· ·in this case several other documents that appear to
 20· ·be e-mails from Big Picture Loans.
 21· · · · · · · · · Why don't we just mark those.· We can
 22· ·just mark them all.
 23· · · · · · ·MS. LADD:· Okay.
 24· · · · · · ·MR. SCHEFF:· Okay.· So just mark them
 25· · · · sequentially starting with eleven.


                                                             Debtor's Ex. 24, p. 092
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 ·1· · · · · · ·THE COURT REPORTER:· I'm going to need to
 ·2· · · · get some more stickers.
 ·3· · · · · · ·MR. SCHEFF:· Yeah, that's fine.
 ·4· · · · · · ·THE DEPONENT:· These two loans are the
 ·5· · · · same.
 ·6· ·BY MR. SCHEFF:
 ·7· · · · Q· · You think those are the same?
 ·8· · · · A· · Uh-huh, but different -- different dates.
 ·9· · · · Q· · Okay.· That's fine.· So, Ms. Williams, see
 10· ·this stack of folders?· Each one of these folders
 11· ·has a separate -- appears to be a separate e-mail
 12· ·from Big Picture Loans to you that your daughter
 13· ·printed off and provided to us as part of this
 14· ·litigation.· Okay?
 15· · · · A· · Uh-huh.
 16· · · · Q· · Yes?
 17· · · · A· · Yes.
 18· · · · Q· · I'm going to have these marked, okay, and
 19· ·we're going to start marking them as Exhibit 11.
 20· ·And I'm not going to go through each one, but I just
 21· ·want the mark them for the record.· Okay.· And --
 22· ·and then I'm going to ask you one question or
 23· ·hopefully one question.
 24· · · (The E-mails were marked Exhibit Nos. 11-32.)
 25· · · · · · ·MS. NASH:· And take your time and look


                                                             Debtor's Ex. 24, p. 093
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 ·1· · · · through them as you -- as you get them.· Take
 ·2· · · · your time and look through them as you get
 ·3· · · · them.
 ·4· · · · · · ·THE DEPONENT:· I am confused.
 ·5· · · · · · ·MR. SCHEFF:· I don't want you to be
 ·6· · · · confused.· I'm just going to mark these as
 ·7· · · · exhibits and I'm going to try and ask you one
 ·8· · · · question.· I'm sorry.
 ·9· · · · (Discussion between reporter and counsel.)
 10· · · · · · ·THE DEPONENT:· Eleven and twelve are the
 11· · · · same.· Is that --
 12· · · · · · ·MR. SCHEFF:· Hold on.· There is no
 13· · · · question yet.
 14· · · · · · ·THE DEPONENT:· Okay.
 15· · · · · · ·MR. SCHEFF:· I just want to make sure that
 16· · · · we do this in as orderly a way as we possibly
 17· · · · can.
 18· ·BY MR. SCHEFF:
 19· · · · Q· · So Ms. Williams.
 20· · · · A· · Yes.
 21· · · · Q· · The court reporter has just placed in
 22· ·front of you exhibits that begin at No. 11 and the
 23· ·last one is I think No. 31 -- 32, okay.· Thirty-two.
 24· · · · A· · Yeah.
 25· · · · Q· · And all of these documents, I'm going to


                                                             Debtor's Ex. 24, p. 094
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 ·1· ·characterize them and as Ms. Nash said, you take as
 ·2· ·much time as you need with these documents, okay,
 ·3· ·but they all appear to be e-mails that you received
 ·4· ·or were sent to you by Big Picture Loans in either
 ·5· ·2016 or '17 to your daughter's e-mail address which
 ·6· ·she then printed for part of this litigation.· Okay?
 ·7· · · · A· · Uh-huh.
 ·8· · · · Q· · Can you just determine whether that
 ·9· ·statement is correct?· Again, I'm not asking about
 10· ·the substance of the communication.· I just want to
 11· ·find out whether I've accurately stated that these
 12· ·documents that we've marked as eleven to 32 appear
 13· ·to be e-mails to your daughter's e-mail account from
 14· ·Big Picture in 2016 and '17 that your daughter has
 15· ·printed out and provided to your lawyers so they
 16· ·could give them to us.
 17· · · · A· · (Peruses documents.)· Yes.
 18· · · · Q· · Yes, okay.· So here's the question that I
 19· ·really want to get to:· Over the years, when Big
 20· ·Picture would send an e-mail to you but to your
 21· ·daughter's address, e-mail address, would your
 22· ·daughter show you the e-mail?
 23· · · · A· · Yes.
 24· · · · Q· · She would.· Each time she'd show it to you
 25· ·so you knew what was -- what the communication was?


                                                             Debtor's Ex. 24, p. 095
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 ·1· · · · A· · Yes.
 ·2· · · · Q· · Okay.· And when your daughter did that,
 ·3· ·would you read the e-mails that she showed you?
 ·4· · · · A· · Yes, sometimes I would read them.
 ·5· · · · Q· · So not all the times but sometime you
 ·6· ·would?
 ·7· · · · A· · Yes.
 ·8· · · · Q· · Okay.
 ·9· · · · A· · Because she explained and tell me, you
 10· ·know, and I can, you know, pretty much depend on
 11· ·her.
 12· · · · Q· · So she would tell you what it was about?
 13· · · · A· · Uh-huh.
 14· · · · Q· · And sometimes you would read it yourself?
 15· · · · A· · Uh-huh.
 16· · · · Q· · And that's how you understood about what
 17· ·Big Picture was telling you; is that right?
 18· · · · A· · Yes.
 19· · · · · · ·MR. SCHEFF:· Okay.· Let's take a short
 20· · · · break.· Okay?
 21· · · · · · ·MS. NASH:· Okay.
 22· · · · · · ·THE VIDEOGRAPHER:· Going off the record at
 23· · · · 12:02 p.m.
 24· · · · · · · · · · · · ·(Break.)
 25· · · · · · ·THE VIDEOGRAPHER:· Going back on the


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 ·1· · · · record at 12:04 p.m.
 ·2· ·BY MR. SCHEFF:
 ·3· · · · Q· · Just a couple more questions and I think
 ·4· ·we're done.· Okay.· So, Ms. Williams, I'm just going
 ·5· ·to ask you about three documents, okay?· And once I
 ·6· ·do that, I think I'm done.· All right?· And I'm
 ·7· ·going to ask you the same questions about each one
 ·8· ·of these.· I'm sorry, four documents, I apologize.
 ·9· · · · · · · · · Exhibit 21, so why don't you pull out
 10· ·Exhibit 21, Exhibit 25, and we'll just put that off
 11· ·to the side there, okay, Exhibit 28, yep, that's 28,
 12· ·and Exhibit 31.· Okay?· Let me just -- I'm going to
 13· ·put these in front of you because I'm just going to
 14· ·ask you the same question about all of them.· Okay?
 15· ·So -- okay.· So we've got -- I just want to make
 16· ·sure.· We don't need this one.· We've got Exhibit
 17· ·21, Exhibit 25.
 18· · · · A· · Uh-huh.
 19· · · · Q· · Uh-huh meaning yes?
 20· · · · A· · Yes.
 21· · · · Q· · Exhibit 28?
 22· · · · A· · Yes.
 23· · · · Q· · And Exhibit 31.· All right?
 24· · · · A· · Yes.
 25· · · · Q· · These four exhibits.


                                                             Debtor's Ex. 24, p. 097
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 ·1· · · · A· · Okay.
 ·2· · · · Q· · So look at these exhibits.· Each one of
 ·3· ·them starts the same way and that's why I wanted to
 ·4· ·ask you about it.· Okay.· They all say dear Lula
 ·5· ·Williams and then they start thank you for your
 ·6· ·communication.· See that here, thank you for your --
 ·7· · · · A· · Uh-huh.
 ·8· · · · Q· · And --
 ·9· · · · A· · Oh, yes.
 10· · · · Q· · Right?
 11· · · · A· · Yes.
 12· · · · Q· · This in regards to your recent collections
 13· ·inquiry, thank you for your recent communication,
 14· ·thank you for your recent communication and then
 15· ·again on 31 thank you for your recent communication.
 16· ·Do you see that?
 17· · · · A· · Yes.
 18· · · · Q· · Okay.· So what that suggests to me is that
 19· ·you communicated with Big Picture Loans and that
 20· ·Exhibits 21, 25, 28, and 31 is a response to your
 21· ·communication.· Would you agree with me?
 22· · · · A· · Yes.
 23· · · · Q· · Do you have the communications that you
 24· ·sent to Big Picture Loans?
 25· · · · A· · No.


                                                             Debtor's Ex. 24, p. 098
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 ·1· · Q· · You do not have those?
 ·2· · A· · No.
 ·3· · · · ·MR. SCHEFF:· Okay.· I don't know how
 ·4· · Ms. Miracle Williams maintains her computer,
 ·5· · but we'll send you a request to see if those
 ·6· · e-mails are in her sent items as opposed to her
 ·7· · inbox and we'll also ask for her to check her
 ·8· · deleted e-mails as well just in case there's
 ·9· · anything in there.· Okay?
 10· · · · ·Ms. Williams, I don't have any further
 11· · questions.· Thank you very much.
 12· · · · ·THE DEPONENT:· Okay.· Thank you.
 13· · · · ·MS. NASH:· And I do not have any
 14· · questions.
 15· · · · ·THE VIDEOGRAPHER:· There being no further
 16· · questions, the deposition is concluded at
 17· · 12:08 p.m.
 18
 19
 20· ·(The deposition was concluded at 12:08 p.m.)
 21· · · And further, this deponent saith not.
 22
 23
 24
 25


                                                             Debtor's Ex. 24, p. 099
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 ·1· · · · · CHANGES REQUESTED TO THE DEPOSITION OF
 · · · · ·LULA WILLIAMS, TAKEN 10/4/18 BY HEATHER GUNN
 ·2

 ·3· ·Page/Line:· · · · · Change to/from:· · ·Reason:

 ·4

 ·5

 ·6

 ·7

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 17

 18
 · · ·_____________________
 19· ·Lula Williams

 20
 · · ·Commonwealth of Virginia, to wit:
 21· · · · · · ·Subscribed to before me

 22· ·this ____ day of ____________, 2018.

 23· ·____________________________________
 · · · · · · · ·Notary Public
 24

 25· ·My commission expires:· · /                    /


                                                             Debtor's Ex. 24, p. 100
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 ·1· ·COMMONWEALTH OF VIRGINIA AT LARGE, to wit:

 ·2· · · · · · ·I, Heather R. Gunn, Notary Public in and for the

 ·3· ·Commonwealth of Virginia at Large, and whose commission

 ·4· ·expires October 31, 2022, do certify that the aforementioned

 ·5· ·appeared before me, was sworn by me, and was thereupon

 ·6· ·examined by counsel; and that the foregoing is a true,

 ·7· ·correct and full transcript of the testimony adduced.

 ·8· · · · · · ·I further certify that I am neither related to nor

 ·9· ·associated with any counsel or party to this proceeding, nor

 10· ·otherwise interested in the event thereof.

 11· · · · · · ·Given under my hand and notarial seal at

 12· ·Mechanicsville, Virginia, this 9th day of October, 2018.

 13

 14

 15

 16· · · · · · · · · ·_____________________________________
 · · · · · · · · · · Heather R. Gunn - Notary Public #320684
 17· · · · · · · · · · · · · ·Commonwealth of Virginia

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                                                             Debtor's Ex. 24, p. 101
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                              In the Matter Of:

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                           GLORIA TURNAGE

                               October 04, 2018




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 · · · · IN THE UNITED STATES DISTRICT COURT
 · · · · FOR THE EASTERN DISTRICT OF VIRGINIA
 · · · · · · · · ·Richmond Division

 _____________________________________________________

 LULA WILLIAMS, et al.,

 · · · · · Plaintiffs,

 · · · · · v.· · · · · ·Civil Case No. 3:17-cv-461 (REP)

 BIG PICTURE LOANS, LLC, et al.,

 · · · · · Defendants.
 _____________________________________________________



 · · · VIDEOTAPED DEPOSITION OF GLORIA TURNAGE



 · · · · · · · · · October 4, 2018

 · · · · · · · · ·Richmond, Virginia




 · · · · · · · HALASZ REPORTING & VIDEO

 · · · · · ·1011 E. Main Street, Suite 100
 · · · · · · · · ·Richmond, VA 23219
 · · · · · · · · · ·(804) 708-0025

 · · · · · ·Reported by:· Heather R. Gunn




                                                             Debtor's Ex. 25, p. 002
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 · · · · · Videotaped deposition of GLORIA TURNAGE, taken by

 and before Heather R. Gunn, Notary Public in and for the

 Commonwealth of Virginia at large, pursuant to the Federal

 Rules of Civil Procedure, and by Notice to take deposition,

 commencing at 2:13 p.m., October 4, 2018, at the offices of

 the Virginia Poverty Law Center, 919 East Main Street, Suite

 610, Richmond, Virginia 23219.



 Appearances:

 · · · · · KELLY & CRANDALL PLC
 · · · · · By:· CASEY NASH, ESQ.,
 · · · · · 3925 Chain Bridge Road, Suite 202
 · · · · · Fairfax, VA 22030
 · · · · · attorney, counsel for the Plaintiffs


 · · · · · ARMSTRONG TEASDALE LLP
 · · · · · By:· RICHARD SCHEFF, ESQ.,
 · · · · · By:· KATHARINE LADD, ESQ.,
 · · · · · 1500 Market Street, 12th Floor, East Tower
 · · · · · Philadelphia, PA 19102
 · · · · · attorneys, counsel for Matt Martorello




 Also present:

 · · · · · Marc Langelier, Videographer - Halasz Reporting




                                                             Debtor's Ex. 25, p. 003
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 · · · · · · · · · · ·I N D E X

 Deponent:· · · · · ·Examination by:· · · ·Page:

 Ms. Turnage

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 ·1· · · · THE VIDEOGRAPHER:· Today is October 4,
 ·2· ·2018.· We are going on the record at 2:13 p.m.
 ·3· ·This is the videotaped deposition of Gloria
 ·4· ·Turnage.· The cause is Lula Williams, et al.,
 ·5· ·plaintiffs v. Big Picture Loans, LLC, et al.,
 ·6· ·defendants, Civil Action No. 3:17-CV-461 (REP)
 ·7· ·in the U.S. District Court of the Eastern
 ·8· ·District of Virginia, Richmond Division.
 ·9· · · · This deposition is being held at the
 10· ·Virginia Poverty Law Center, 919 East Main
 11· ·Street, Richmond, Virginia 23219.· The court
 12· ·reporter is Heather Gunn, videographer is Marc
 13· ·Langelier both representing Halasz Reporting
 14· ·and Video in Richmond, Virginia.· Will counsel
 15· ·please identify themselves for the record.
 16· · · · MR. SCHEFF:· Richard L. Scheff for Matt
 17· ·Martorello.
 18· · · · MS. LADD:· Katy Ladd for Matt Martorello.
 19· · · · MS. NASH:· And Casey Nash for Ms. Turnage.
 20· · · · THE VIDEOGRAPHER:· Please swear in the
 21· ·witness.
 22· · · · · · · · ·GLORIA TURNAGE
 23· · · ·was sworn and deposed as follows:
 24
 25


                                                             Debtor's Ex. 25, p. 005
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 ·1· · · · · · · · · · · ·EXAMINATION
 ·2· ·BY MR. SCHEFF:
 ·3· · · · Q· · Ms. Turnage, as I introduced myself to you
 ·4· ·before the deposition started, my name is Richard
 ·5· ·Scheff.· I represent Matt Martorello and I'm going
 ·6· ·to be asking you some questions this afternoon.
 ·7· ·Okay?
 ·8· · · · A· · Okay.
 ·9· · · · Q· · Have you ever had your deposition taken
 10· ·before?
 11· · · · A· · No.
 12· · · · Q· · Okay.· So let me explain to you what a
 13· ·deposition is and if you have any questions along
 14· ·the line, I'll try and explain it.· Okay?· So the
 15· ·format of the deposition is I'm going to ask you
 16· ·questions and, because you've been placed under
 17· ·oath, the requirement that you're under is to answer
 18· ·my questions truthfully.
 19· · · · · · · · · If you don't know the answer to a
 20· ·question, that's fine, just say you don't know.· If
 21· ·you don't remember something and it's a truthful
 22· ·answer, that's fine as well.· Okay?
 23· · · · A· · Okay.
 24· · · · Q· · If at any point in time -- and when you
 25· ·answer questions, you need to respond with a word so


                                                             Debtor's Ex. 25, p. 006
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 ·1· ·the court reporter can take it down as opposed to
 ·2· ·saying uh-huh or something like that.· Okay?
 ·3· · · · A· · Okay.
 ·4· · · · Q· · If you don't understand a question that I
 ·5· ·ask, just tell me you don't understand it and what
 ·6· ·you don't understand about it and I'll try and
 ·7· ·clarify or change the question to make it
 ·8· ·understandable for you.· Okay?
 ·9· · · · A· · Okay.
 10· · · · Q· · If you answer a question without telling
 11· ·me that you didn't understand it, I'm going to
 12· ·assume that you did.· Okay?
 13· · · · A· · Right.
 14· · · · Q· · Have you taken any medication today which
 15· ·affects your ability to remember or to sit for this
 16· ·deposition?
 17· · · · A· · No.
 18· · · · Q· · Okay.· Do you -- and I don't -- I'm not
 19· ·looking for what it is if the answer to this
 20· ·question is yes, but do you suffer from any health
 21· ·problems which make it difficult for you to sit for
 22· ·a deposition or that affect your memory?
 23· · · · A· · No.
 24· · · · Q· · Okay, great.· Okay, great.· So let me ask
 25· ·you some questions and we'll get this done as I


                                                             Debtor's Ex. 25, p. 007
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 ·1· ·efficiently as possible.· Any time you want to take
 ·2· ·a break, just tell us and you can take a break.· And
 ·3· ·it's not an endurance test but, you know, I don't
 ·4· ·expect this deposition to be very lengthy but if you
 ·5· ·need to take a break just tell us.· Okay?
 ·6· · · · A· · Okay.· Can I have some water?
 ·7· · · · Q· · Yeah.· Let's go off the record and see if
 ·8· ·we can find you some water.
 ·9· · · · A· · I'm sorry.· I should have said it before
 10· ·you got started.
 11· · · · Q· · That's okay.
 12· · · · · · ·MS. NASH:· That's okay.
 13· · · · · · ·MR. SCHEFF:· It's not a problem.· We'll
 14· · · · see if we can find you some water.
 15· · · · · · ·THE VIDEOGRAPHER:· Going off the record at
 16· · · · 2:16 p.m.
 17· · · · · · · · · · · · ·(Break.)
 18· · · · · · ·THE VIDEOGRAPHER:· Going back on the
 19· · · · record at 2:18 p.m.
 20· ·BY MR. SCHEFF:
 21· · · · Q· · Ms. Turnage, do you know anyone named Matt
 22· ·Martorello?
 23· · · · A· · No, I didn't know of anyone of Matt
 24· ·Martorello.
 25· · · · Q· · Okay.· Have you ever met anyone who's


                                                             Debtor's Ex. 25, p. 008
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 ·1· ·identified themselves as Matt Martorello?
 ·2· · · · A· · No.
 ·3· · · · Q· · Have you ever spoken to anyone, either in
 ·4· ·person or on the telephone, who's identified
 ·5· ·themselves at being Matt Martorello?
 ·6· · · · A· · No.
 ·7· · · · Q· · Have you ever heard of company called
 ·8· ·SourcePoint VI?
 ·9· · · · A· · No.
 10· · · · Q· · Have you ever heard of a company called
 11· ·Bellicose?
 12· · · · A· · No.
 13· · · · Q· · Okay.· Excuse me.· And as far as you know,
 14· ·have you -- have you ever communicated with anyone
 15· ·who has held themselves out as being employed by
 16· ·SourcePoint VI?
 17· · · · A· · No.
 18· · · · Q· · What about Bellicose?
 19· · · · A· · No.
 20· · · · Q· · Excuse me, sorry.· Now my throat's going.
 21· · · · · · · · · Ms. Turnage, where do you live?
 22· · · · A· · I live at eastern Henrico County, 739
 23· ·North Laburnum Avenue, Apartment 1, Henrico,
 24· ·Virginia 23223.
 25· · · · Q· · How long have you lived there?


                                                             Debtor's Ex. 25, p. 009
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 ·1· · · · A· · I've lived in my residence maybe over 20
 ·2· ·years.
 ·3· · · · Q· · And is it a house or apartment?
 ·4· · · · A· · Apartment.
 ·5· · · · Q· · And so you rent as opposed to own that
 ·6· ·apartment?
 ·7· · · · A· · I rent.
 ·8· · · · Q· · Okay.· And are you currently employed?
 ·9· · · · A· · I'm retired.
 10· · · · Q· · And what did you retire from?
 11· · · · A· · I retired from the City of Richmond Police
 12· ·Department as a civilian employee.
 13· · · · Q· · Great.· How long did you work for the
 14· ·police department here in Richmond?
 15· · · · A· · Thirty years.
 16· · · · Q· · What were your duties and
 17· ·responsibilities?
 18· · · · A· · It was the front desk receptionist.· It
 19· ·was at the police academy.
 20· · · · Q· · And when did you retire approximately?
 21· · · · A· · March 2008.
 22· · · · Q· · So you've been retired now for ten years?
 23· · · · A· · Yes.
 24· · · · Q· · Okay, great.· Do you receive a pension?
 25· · · · A· · I receive a pension, yes.


                                                             Debtor's Ex. 25, p. 010
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 ·1· · · · Q· · Is -- is that your -- do you have other
 ·2· ·sources of income other than your pension?
 ·3· · · · A· · Well now this June and July, I just
 ·4· ·started early social security retirement.
 ·5· · · · Q· · Okay.· So according to the information
 ·6· ·that I have about this case, you took two loans from
 ·7· ·Big Picture Loans in 2017; is that correct?
 ·8· · · · A· · Yes.
 ·9· · · · Q· · All right.· So in 2017, was your only
 10· ·source of income your pension?
 11· · · · A· · Yes, with the City of Richmond, uh-huh.
 12· · · · Q· · And if you can recall and, again, I don't
 13· ·need an exact number but approximately -- and I
 14· ·assume you got a pension check on a monthly basis?
 15· · · · A· · Yes.
 16· · · · Q· · Approximately how much was your pension
 17· ·payment on a monthly basis in two seven -- 2017?
 18· · · · A· · Well, my net pension is maybe 1,280
 19· ·something.
 20· · · · Q· · Okay.· And in 2017, when you took these
 21· ·loans from Big Picture Loans, did you maintain any
 22· ·bank accounts?
 23· · · · A· · Yes.· I have the Credit Union of Richmond.
 24· · · · Q· · Is that what it's called, the Credit Union
 25· ·of Richmond?


                                                             Debtor's Ex. 25, p. 011
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 ·1· · · · A· · Yeah, that's what they call it.· They were
 ·2· ·Richmond Postal Credit Union.· They changed to
 ·3· ·Credit Union of Richmond.· It's a savings account.
 ·4· · · · Q· · Okay.· And for approximately how long have
 ·5· ·you maintained a bank account at that financial
 ·6· ·institution?
 ·7· · · · A· · Well, it's been awhile.· Over ten years.
 ·8· · · · Q· · Do you remember the account number?
 ·9· · · · A· · No, I don't have my account number
 10· ·memorized off my head.
 11· · · · Q· · Okay.· All right.· I'm -- I didn't think
 12· ·you would but I thought I would ask anyway.· Okay.
 13· ·Why did you take loans from Big Picture Loans?· Why
 14· ·did you borrow money from Big Picture?
 15· · · · A· · Because I needed money to pay my apartment
 16· ·rent.
 17· · · · Q· · And you borrowed twice; is that right?
 18· · · · A· · Yes.
 19· · · · Q· · Close in time to each other?
 20· · · · A· · Yes.
 21· · · · Q· · And for -- the first one was approximately
 22· ·$225?
 23· · · · A· · Yes.
 24· · · · Q· · Do you remember what the second one was?
 25· · · · A· · The second one was $300.


                                                             Debtor's Ex. 25, p. 012
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 ·1· · · · Q· · How much was your rent in 2017?
 ·2· · · · A· · It was close to like 700 and some dollars.
 ·3· · · · Q· · So did you -- in 2017, did you have credit
 ·4· ·cards?
 ·5· · · · A· · Well 2017, yes, I think I had some credit
 ·6· ·cards.
 ·7· · · · Q· · Okay.· And did you -- was there available
 ·8· ·credit on your credit cards --
 ·9· · · · A· · No.
 10· · · · Q· · -- in 2017 when you borrowed money from
 11· ·Big Picture Loans?
 12· · · · A· · No.
 13· · · · Q· · That's another thing is because the court
 14· ·reporter is taking down everything that I say and
 15· ·everything that you say, if you could, wait until I
 16· ·finish asking the question and so otherwise we're
 17· ·going to talk over each other and it will be hard
 18· ·for the court reporter.· Okay?
 19· · · · A· · I'm sorry.
 20· · · · Q· · It's all right.· I'm going to do the same
 21· ·thing to you too so, you know, it's just the way
 22· ·people communicate but because it's being taken
 23· ·down, if, you know, we could try and not talk over
 24· ·each other, it will be better.
 25· · · · · · · · · Okay.· So you had some credit cards


                                                             Debtor's Ex. 25, p. 013
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 ·1· ·in 2017 that were at their limit?
 ·2· · · · A· · Yes.
 ·3· · · · Q· · And how many credit cards was that if you
 ·4· ·know?
 ·5· · · · A· · I'm not sure.· Maybe like about -- I could
 ·6· ·have had maybe like five maybe or six.
 ·7· · · · Q· · Okay.· And each were at their limit?
 ·8· · · · A· · Yes.
 ·9· · · · Q· · And so as a result, you couldn't use your
 10· ·credit cards to get some cash to pay for your rent?
 11· · · · A· · Right, no.
 12· · · · Q· · Was there any other available credit to
 13· ·you as far as you know other than the Big Picture
 14· ·Loans loans?
 15· · · · A· · No other available credit.
 16· · · · Q· · Okay.· So what would have happened if you
 17· ·hadn't taken the loans from Big Picture Loans?
 18· · · · A· · I wouldn't have been able to pay my
 19· ·apartment rent.
 20· · · · Q· · And you would have at least been at risk
 21· ·of being evicted from your apartment?
 22· · · · A· · Yes.
 23· · · · Q· · Okay.· And in 2017 when that occurred,
 24· ·when you borrowed this money from Big Picture Loans,
 25· ·if you had been evicted from your apartment or had


                                                             Debtor's Ex. 25, p. 014
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 ·1· ·to leave your apartment, was there another place
 ·2· ·where you could have stayed?
 ·3· · · · A· · I guess I would have stayed with family
 ·4· ·members.
 ·5· · · · Q· · And your preference was not to do that?
 ·6· · · · A· · Right.
 ·7· · · · Q· · Okay.
 ·8· · · · A· · I would say yes.
 ·9· · · · Q· · Sorry?
 10· · · · A· · I'm supposed to say yes.
 11· · · · Q· · You're supposed to say yes?
 12· · · · A· · Okay.
 13· · · · Q· · What do you mean?
 14· · · · A· · Okay.· So my preference was not to stay
 15· ·with family members, I'm supposed to say yes, not
 16· ·stay with family members.
 17· · · · Q· · Okay.· All right.
 18· · · · A· · Okay.
 19· · · · Q· · I just wanted to make sure your answer was
 20· ·clear and we understood what you were saying.· And
 21· ·any time you need to supplement or clarify an
 22· ·answer, just do exactly what you just did.· Okay?
 23· · · · A· · Okay.
 24· · · · Q· · Okay.· So you had a bank account, your
 25· ·credit cards were at their limits, and you needed


                                                             Debtor's Ex. 25, p. 015
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 ·1· ·the money to pay your rent.· How did you find Big
 ·2· ·Picture Loans?
 ·3· · · · A· · I received correspondence in the mail
 ·4· ·about Big Picture Loans.
 ·5· · · · Q· · And what did it say?· What do you remember
 ·6· ·it saying?
 ·7· · · · A· · It was offering me loans that I could
 ·8· ·receive from them.
 ·9· · · · Q· · Okay.· And once you -- when you got
 10· ·that -- did you receive whatever it is you got in
 11· ·the mail right when you needed to borrow the money
 12· ·or had you received it and it was just sort of
 13· ·sitting around your house?
 14· · · · A· · I received it before I had to borrow the
 15· ·money.
 16· · · · Q· · Okay.· Was it a letter, was it a postcard,
 17· ·or something else?
 18· · · · A· · It was a letter in the mail.
 19· · · · Q· · Okay.· And it said that you had been
 20· ·preapproved for a loan?
 21· · · · A· · Yes.
 22· · · · Q· · So when you then needed the money for your
 23· ·rent sometime after you received the letter, you
 24· ·contacted Big Picture Loans?
 25· · · · A· · Right.


                                                             Debtor's Ex. 25, p. 016
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 ·1· · · · Q· · How did you contact Big Picture?
 ·2· · · · A· · I went online and applied for the
 ·3· ·application.
 ·4· · · · Q· · And do you -- you have -- you have a
 ·5· ·computer at home?
 ·6· · · · A· · In the public library.
 ·7· · · · Q· · Okay.· So you went to the public library
 ·8· ·to use the computer and applied online?
 ·9· · · · A· · Yes.
 10· · · · Q· · And the second time that you needed to get
 11· ·a loan, did you do the same thing?
 12· · · · A· · Yes.
 13· · · · Q· · Did you give Big Picture Loans an e-mail
 14· ·address where they could contact you?
 15· · · · A· · Yes, they have an e-mail address to
 16· ·contact me.
 17· · · · Q· · And what is that e-mail address?
 18· · · · A· · Gturnage, t-u-r-n-a-g-e, 804@aol.com.
 19· · · · Q· · And how do you access your AOL e-mail?
 20· ·You don't have a computer at home?
 21· · · · A· · I visit next door at the public library.
 22· ·That's how I access my e-mail.
 23· · · · Q· · Okay.· So if somebody -- if I was to try
 24· ·and get in contact with you and you had given me
 25· ·that e-mail address, how would you know that I had


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 ·1· ·sent you an e-mail?· Would you have to go over to
 ·2· ·the public library and check?
 ·3· · · · A· · Yes.
 ·4· · · · Q· · Okay.· And do you do that on a periodic
 ·5· ·basis?
 ·6· · · · A· · Yes.
 ·7· · · · Q· · How often did you do that in 2017?
 ·8· · · · A· · I go to the library at least two to three
 ·9· ·times a week.
 10· · · · Q· · Do you do it -- do you go to the library
 11· ·for the exclusive purpose of seeing whether you've
 12· ·received any e-mails?
 13· · · · A· · Yes.
 14· · · · Q· · Okay.· And for how long approximately have
 15· ·you been doing that?
 16· · · · A· · Well I have been visiting the library for
 17· ·awhile, until I can put the internet back on my home
 18· ·computer.
 19· · · · Q· · So you have a home computer?
 20· · · · A· · Yeah, but I don't have internet.
 21· · · · Q· · And is that because of the cost, the
 22· ·monthly cost?
 23· · · · A· · Right.
 24· · · · Q· · So you've had to cut that out because you
 25· ·don't have the financial wherewithal to pay for the


                                                             Debtor's Ex. 25, p. 018
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 ·1· ·internet monthly charge?
 ·2· · · · A· · Right, yes.
 ·3· · · · Q· · Okay.· So you use the public library
 ·4· ·instead and -- is that right?
 ·5· · · · A· · Yes.
 ·6· · · · Q· · And for approximately how long has that
 ·7· ·been the case?
 ·8· · · · A· · Well it's probably a couple of months now.
 ·9· · · · Q· · Back in 2017 when you applied for the
 10· ·loans at Big Picture Loans online, did you have
 11· ·internet service at home or did you have to go to
 12· ·the library?
 13· · · · A· · I had to go to the library.
 14· · · · Q· · Okay.· So -- and I -- this is an instance
 15· ·where I'm not sure that we were communicating so let
 16· ·me tell you what I heard and then you tell me
 17· ·whether it's accurate.· Okay?
 18· · · · · · · · · I thought I heard you say -- I asked
 19· ·you how long that you hadn't had internet service at
 20· ·home and that you had to go to the library and you
 21· ·said it was several months which is why I asked you
 22· ·the follow-up question about whether or not you had
 23· ·internet service at home in early 2017 when you
 24· ·applied for these loans.· So has it been a much
 25· ·longer period of time that you haven't had internet


                                                             Debtor's Ex. 25, p. 019
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 ·1· ·service at home?
 ·2· · · · A· · Yes.
 ·3· · · · Q· · Okay.· Can you estimate, even if it's
 ·4· ·ballpark, approximately how long you haven't had
 ·5· ·internet service at home?
 ·6· · · · A· · Well it may be over six months.· The
 ·7· ·reason being, I owe a bill to Comcast.· That's why I
 ·8· ·don't have the internet service.
 ·9· · · · Q· · I'm sorry, you overbill?
 10· · · · A· · I owe a bill to Comcast.
 11· · · · Q· · Oh, you owe.· I understand.
 12· · · · A· · That's why I don't have the internet
 13· ·service.
 14· · · · Q· · I understand.· So you were unable to pay
 15· ·the bill to Comcast and so Comcast cut off the
 16· ·internet service?
 17· · · · A· · Yes.
 18· · · · Q· · How much money do you owe Comcast?
 19· · · · A· · Well now I guess it may be over $100.
 20· · · · Q· · And you're unable to pay that $100?
 21· · · · A· · Not yet.
 22· · · · Q· · Okay.· Are there other services at your
 23· ·apartment that have been cut off or stopped over the
 24· ·years because you've been unable to pay the bill?
 25· · · · A· · No other services.


                                                             Debtor's Ex. 25, p. 020
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 ·1· · · · Q· · Just internet?
 ·2· · · · A· · Right.
 ·3· · · · Q· · Okay.· Other than the online loans that
 ·4· ·you took from Big Picture Loans, have you ever in
 ·5· ·the last five years borrowed money from any other
 ·6· ·company online?
 ·7· · · · A· · No.
 ·8· · · · Q· · And it sounds like that the reason you
 ·9· ·went to Big Picture Loans, in addition to you having
 10· ·to pay your rent, was because just by chance you had
 11· ·gotten something in the mail that said that you had
 12· ·been preapproved for a loan?
 13· · · · A· · Yes.
 14· · · · Q· · Is that right?
 15· · · · A· · Uh-huh.
 16· · · · Q· · Did you ever talk to anybody from Big
 17· ·Picture Loans?
 18· · · · A· · Yes, I've talked to people on the phone
 19· ·after they told me I was approved for my loan.
 20· · · · Q· · And what did you talk to them about?
 21· · · · A· · Well they told me that I was approved for
 22· ·the amount to receive and they told me the date I
 23· ·would receive the money.
 24· · · · Q· · Okay.· So you received a telephone call to
 25· ·that effect?


                                                             Debtor's Ex. 25, p. 021
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 ·1· · · · A· · Yes.
 ·2· · · · Q· · Do you -- do you have a mobile phone?
 ·3· · · · A· · I had a house phone and cell phone.
 ·4· · · · Q· · Okay.· Do you still have the cell phone?
 ·5· · · · A· · Yes, I have both the house and the cell
 ·6· ·phone.
 ·7· · · · Q· · Does your cell phone allow you to access
 ·8· ·the internet?
 ·9· · · · A· · No.
 10· · · · Q· · Okay.
 11· · · · A· · I have the old flip phone.
 12· · · · Q· · Well it might surprise you or not surprise
 13· ·you that up until four months ago, I did too.
 14· · · · A· · Okay.
 15· · · · Q· · Okay.· When -- you're represented here
 16· ·today by Ms. Nash; is that correct?
 17· · · · A· · Yes.
 18· · · · Q· · When did you meet Ms. Nash for the first
 19· ·time?
 20· · · · A· · I met Ms. Nash for -- for -- the first
 21· ·time I talked to her was yesterday.
 22· · · · Q· · Okay.· And I'm not -- I don't want to know
 23· ·what you talked about.· Okay?· I'm not entitled to
 24· ·know what you talked about, so don't tell me what
 25· ·you talked about.· And if you start to, I'm going to


                                                             Debtor's Ex. 25, p. 022
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 ·1· ·cut you off and tell you not to do that.· Okay?
 ·2· · · · · · · · · So the first time you spoke to
 ·3· ·Ms. Nash was yesterday.· And have you met other
 ·4· ·people from Ms. Nash's office?
 ·5· · · · A· · Yes.
 ·6· · · · Q· · And who have you met?
 ·7· · · · A· · It was Kristi Kelly.· She's handled cases
 ·8· ·before.
 ·9· · · · Q· · Okay.· And how did you meet Kristi Kelly?
 10· · · · A· · I met Kristi Kelly through the Virginia
 11· ·Poverty Law Center, Jay Speer.
 12· · · · Q· · Okay.· So this office where we're sitting
 13· ·today is the Virginia Poverty Law Center, right?
 14· · · · A· · Yes.
 15· · · · Q· · And what caused you to come here and speak
 16· ·to Mr. Speer?· And again, I'm not asking for what
 17· ·you spoke to Mr. Speer about, but what caused you to
 18· ·come to this place?
 19· · · · A· · It was past cases that was handled for me.
 20· ·That's why I was here.
 21· · · · Q· · They had handled cases for you here at the
 22· ·Virginia Poverty Law Center?
 23· · · · A· · Yes.
 24· · · · Q· · And they put you in touch with Ms. Kelly?
 25· · · · A· · Yes.


                                                             Debtor's Ex. 25, p. 023
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 ·1· · · · Q· · When was that approximately, what year?
 ·2· · · · A· · Well I guess -- I'm not sure.· It may be a
 ·3· ·couple, two or three years ago now.
 ·4· · · · Q· · And so other than this lawsuit that we're
 ·5· ·talking about today, has Ms. Kelly represented you
 ·6· ·on other matters?
 ·7· · · · A· · Yes.
 ·8· · · · Q· · How many other matters?
 ·9· · · · A· · About three.
 10· · · · Q· · And what are -- do you remember who you --
 11· ·were you the plaintiff in each one of those cases?
 12· · · · A· · Yes.
 13· · · · Q· · And do you remember who you sued?
 14· · · · A· · I think my attorney would have that
 15· ·information.
 16· · · · Q· · Okay.· Do you remember what those lawsuits
 17· ·were about or what your claim was?
 18· · · · A· · I'm still not supposed to say what they
 19· ·are.· That's privileged information, attorney-client
 20· ·privilege.
 21· · · · Q· · All right.· I'm not -- I'm not trying to
 22· ·understand what communications you've had with
 23· ·Ms. Kelly or anyone from the office.· All I'm trying
 24· ·to understand is whether you know what your other
 25· ·claims were that Ms. Kelly represented you on.


                                                             Debtor's Ex. 25, p. 024
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 ·1· · · · A· · Yes, it was about paying and this one was
 ·2· ·about -- Clarity case was one.· One was with the
 ·3· ·Cannon Law firm called Fairfax (as spoken) Dinkum
 ·4· ·and the final one was ChexSystems.
 ·5· · · · · · ·THE COURT REPORTER:· I'm sorry, what
 ·6· · · · ChexSystems?
 ·7· · · · · · ·THE DEPONENT:· ChexSystems.
 ·8· ·BY MR. SCHEFF:
 ·9· · · · Q· · And so what was the lawsuit against
 10· ·Clarity about, do you know?
 11· · · · A· · I can't quite remember.· I know it was
 12· ·credit reporting on a person's credit report.
 13· · · · Q· · And was that case resolved?· Was it
 14· ·settled?
 15· · · · A· · Yes.
 16· · · · Q· · Okay.· And so you got some money out of
 17· ·that case?
 18· · · · A· · It was resolved.
 19· · · · Q· · Did you get some money out of that case?
 20· · · · · · ·MS. NASH:· I'm going to advise you to the
 21· · · · extent that that was a confidential settlement,
 22· · · · you should not disclose the terms of that
 23· · · · settlement.
 24· · · · · · ·MR. SCHEFF:· Well we have a protective
 25· · · · order in this case and so we can declare that


                                                             Debtor's Ex. 25, p. 025
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 ·1· · · · aspect or any aspect of this transcript
 ·2· · · · confidential if that is of concern to you.· So
 ·3· · · · I guess my question is -- I'm going to ask the
 ·4· · · · question again.· If you're going to direct the
 ·5· · · · witness not to answer, at least we'll have a
 ·6· · · · record of it and we'll deal with it or not.
 ·7· · · · Okay?
 ·8· · · · · · ·MS. NASH:· Okay.
 ·9· ·BY MR. SCHEFF:
 10· · · · Q· · All right.· So, Ms. Turnage, it sounds
 11· ·like -- sorry.· It sounds like the case against
 12· ·Clarity was settled, correct?
 13· · · · A· · Uh-huh.
 14· · · · Q· · Is that right?
 15· · · · A· · Yes.
 16· · · · Q· · Okay.· And did -- as part of that
 17· ·settlement, did Clarity pay you any money?
 18· · · · A· · Yes, but I'm not at liberty to discuss the
 19· ·amount, yes.
 20· · · · Q· · Okay.· So they did pay you some money.· We
 21· ·can protect the confidentiality of that number,
 22· ·whatever that settlement amount is, through the
 23· ·agreement that we have in this case, so I'm going to
 24· ·ask the question again:· Can you tell me how much
 25· ·money you settled the Clarity case for?


                                                             Debtor's Ex. 25, p. 026
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 ·1· · · · MS. NASH:· I'm going to instruct my
 ·2· ·clients not to divulge the terms of any
 ·3· ·confidential settlements that she entered into.
 ·4· · · · MR. SCHEFF:· Okay.· Will you produce the
 ·5· ·settlement agreement redacted with the number
 ·6· ·so I can see what those confidentiality
 ·7· ·provisions are?· I mean, you can redact the
 ·8· ·number, you know, and we can fight about the
 ·9· ·number, but I'd like to at least understand
 10· ·what the confidentiality provisions are.
 11· · · · MS. NASH:· I'll look at your requests and
 12· ·see if you've requested it.
 13· · · · MR. SCHEFF:· Okay.· Thank you.· Well I can
 14· ·make another request.
 15· · · · MS. NASH:· Well when you do that, I'll
 16· ·respond to it in turn.
 17· · · · MR. SCHEFF:· Well I'm making the request
 18· ·now.· That's what I'm doing.
 19· · · · MS. NASH:· Well you have to serve a
 20· ·written document request.
 21· · · · MR. SCHEFF:· Well I actually don't have
 22· ·to.· I will follow up, but will you produce a
 23· ·copy of that agreement because I'm asking for
 24· ·it now.· I'm not asking you to produce it this
 25· ·second obviously, but I'm asking for


                                                             Debtor's Ex. 25, p. 027
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 ·1· · · · Ms. Turnage's settlement agreements between
 ·2· · · · herself and Clarity.
 ·3· · · · · · ·MS. NASH:· And I have given you my answer
 ·4· · · · which is I will review your document request --
 ·5· · · · · · ·MR. SCHEFF:· Okay.
 ·6· · · · · · ·MS. NASH:· -- and see if you have
 ·7· · · · requested it.
 ·8· · · · · · ·MR. SCHEFF:· Well that's what it's going
 ·9· · · · to say.· So if it says that, would you agree
 10· · · · that I've requested it?
 11· · · · · · ·MS. NASH:· I will respond to your document
 12· · · · request.
 13· · · · · · ·MR. SCHEFF:· Okay.
 14· ·BY MR. SCHEFF:
 15· · · · Q· · All right.· Ms. Turnage, the other cases
 16· ·that you had where Ms. Kelly represented you, the
 17· ·one against -- did you say ChexSystems?
 18· · · · A· · Yes.
 19· · · · Q· · What was that about?
 20· · · · A· · It was about that they had sent my credit
 21· ·information to online lenders like American Web
 22· ·Loans.
 23· · · · Q· · How do you know that?
 24· · · · A· · I found out when I was trying to open up a
 25· ·bank account for my church and that's when I got


                                                             Debtor's Ex. 25, p. 028
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 ·1· ·the -- received the report.
 ·2· · · · Q· · That showed what?
 ·3· · · · A· · That showed that ChexSystems had sent my
 ·4· ·credit file information to American Web Loans.
 ·5· · · · Q· · Had you ever heard of American Web Loans
 ·6· ·before?
 ·7· · · · A· · No, I hadn't heard of them before.
 ·8· · · · Q· · Did you ever borrow money from American
 ·9· ·Web Loans?
 10· · · · A· · No.
 11· · · · Q· · Okay.· And what is American Web Loans?
 12· · · · A· · It's an online lender.
 13· · · · Q· · Okay.· And you don't have any relationship
 14· ·at all with American Web Loans?
 15· · · · A· · No.
 16· · · · Q· · Was the case with ChexSystems settled?
 17· · · · A· · Yes.
 18· · · · Q· · Did you get money when that case settled
 19· ·as well?
 20· · · · A· · Yes.
 21· · · · Q· · How much money did you get?
 22· · · · · · ·MS. NASH:· Again, I'm going to advise you
 23· · · · if it was a confidential settlement not to
 24· · · · disclose the terms of that agreement.
 25


                                                             Debtor's Ex. 25, p. 029
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 ·1· ·BY MR. SCHEFF:
 ·2· · · · Q· · Was it a confidential settlement as far as
 ·3· ·you understand?
 ·4· · · · A· · Yes.
 ·5· · · · · · ·MR. SCHEFF:· Okay.· I'll make the same
 ·6· · · · request.
 ·7· ·BY MR. SCHEFF:
 ·8· · · · Q· · And the last lawsuit that you talked
 ·9· ·about, the third one, was -- what was that one?· Who
 10· ·was the defendant in that?
 11· · · · A· · Well before that ChexSystems was Fair
 12· ·Dinkum Cannon Law firm.
 13· · · · Q· · It was a law firm?
 14· · · · A· · Yeah.
 15· · · · Q· · Okay.· And so was that a separate lawsuit
 16· ·from the ChexSystems lawsuit?
 17· · · · A· · Yes, uh-huh.
 18· · · · Q· · And was that case settled?
 19· · · · A· · Yes.
 20· · · · Q· · Did you get money when that case settled?
 21· · · · A· · Yes.
 22· · · · Q· · And how much money did you get?
 23· · · · · · ·MS. NASH:· Same instruction if it's a
 24· · · · confidential settlement not --
 25· · · · · · ·MR. SCHEFF:· Okay.· We'll make the


                                                             Debtor's Ex. 25, p. 030
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 ·1· · · · request.
 ·2· ·BY MR. SCHEFF:
 ·3· · · · Q· · So when you got these settlement amounts
 ·4· ·from these three defendants as you've testified, did
 ·5· ·you deposit them in your bank account?
 ·6· · · · A· · Yes.
 ·7· · · · Q· · Okay.· Did you have to pay attorney's fees
 ·8· ·to Ms. Kelly's law firm?
 ·9· · · · A· · Yes.
 10· · · · Q· · And how much attorney's fees did you pay?
 11· · · · A· · Okay.· I don't quite remember what all the
 12· ·attorney's fees was, but I know they gave them 2.5
 13· ·percent of it but I don't remember.
 14· · · · Q· · They were 2.5 percent?
 15· · · · A· · I guess.· I don't remember exactly how
 16· ·much the fees were.
 17· · · · Q· · Okay.· Do you -- do you have an engagement
 18· ·letter with Ms. Kelly's law firm?
 19· · · · A· · An engagement letter.· I'm sorry, I don't
 20· ·understand the question.
 21· · · · Q· · Okay.· I'll try and -- I'll try and ask it
 22· ·differently.· Okay?· Do you have a letter that comes
 23· ·from Ms. Kelly's law firm to you which says that
 24· ·they are representing you and that you've agreed to
 25· ·hire them as your lawyer?


                                                             Debtor's Ex. 25, p. 031
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 ·1· · · · A· · Oh, yes, I have that.
 ·2· · · · Q· · Okay.· And how many different engagement
 ·3· ·letters do you have with Ms. Kelly's law firm?
 ·4· · · · A· · As the three cases as you know about, they
 ·5· ·have them.· There's three of them.
 ·6· · · · Q· · So there's three engagement letters?
 ·7· · · · A· · Right.
 ·8· · · · Q· · Is there an engagement letter for the case
 ·9· ·that we're sitting here today for the deposition?
 10· · · · A· · Yes.
 11· · · · Q· · Okay.· And do you have copies of all those
 12· ·engagement letters at your home?
 13· · · · A· · Yes, I would have them.
 14· · · · Q· · Okay.· Do you have your bank records at
 15· ·home as well?
 16· · · · A· · Yeah, they're at home.
 17· · · · Q· · So -- and I just want to understand
 18· ·because people do things differently.· Do you
 19· ·receive on a monthly basis a bank statement?
 20· · · · A· · Yes.
 21· · · · Q· · Do you save those bank statements?
 22· · · · A· · Yes.
 23· · · · Q· · For approximately how long have you been
 24· ·saving your bank statements?
 25· · · · A· · I guess you're required to save them like


                                                             Debtor's Ex. 25, p. 032
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 ·1· ·no more than five years.
 ·2· · · · Q· · So do you have them that go back roughly
 ·3· ·five years?
 ·4· · · · A· · Yeah.
 ·5· · · · Q· · Okay.· Okay.· And you're pretty sure you
 ·6· ·have the engagement letters at home as well?
 ·7· · · · A· · Yes.
 ·8· · · · Q· · Okay, good.· All right.
 ·9· · · · · · · · · Let's mark as Exhibit 1.
 10· · · · (The Complaint was marked Exhibit No. 1.
 11· ·BY MR. SCHEFF:
 12· · · · Q· · Ms. Turnage, take a look at the document
 13· ·that's been marked Exhibit 1.· Do you see your name
 14· ·in the caption as a plaintiff?
 15· · · · A· · Yes.
 16· · · · Q· · Have you ever seen this document before?
 17· · · · A· · Yes.
 18· · · · Q· · When did you -- when did you see it for
 19· ·the first time?
 20· · · · A· · I've seen it when my attorneys filed the
 21· ·case.
 22· · · · Q· · Did you see it before it was filed or
 23· ·after it was filed?
 24· · · · A· · I seen it before it was filed.
 25· · · · Q· · And did you make any corrections or


                                                             Debtor's Ex. 25, p. 033
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 ·1· ·changes to what was stated in the complaint that you
 ·2· ·saw?
 ·3· · · · A· · No, I didn't.
 ·4· · · · Q· · Did you read it?
 ·5· · · · A· · Yes.
 ·6· · · · Q· · And did you think it was accurate?
 ·7· · · · A· · Yes.
 ·8· · · · Q· · What was the basis for your believing that
 ·9· ·it was accurate?
 10· · · · A· · The basis that I believe that it was
 11· ·accurate because -- because the company was Big
 12· ·Picture Loans, that they were in violation of the
 13· ·State of Virginia's laws, usury laws, charging the
 14· ·interest rate of 12 percent.· And so that is the
 15· ·reason for filing the lawsuit because they had an
 16· ·unlawful, illegal loan.
 17· · · · Q· · No, I understand that's the basis that is
 18· ·alleged in the lawsuit.
 19· · · · A· · Yes.
 20· · · · Q· · What I want to understand is there are
 21· ·facts stated in this lawsuit --
 22· · · · A· · Right.
 23· · · · Q· · -- that are alleged as being the factual
 24· ·basis for the lawsuit and I want to understand what
 25· ·your personal knowledge of the facts are.


                                                             Debtor's Ex. 25, p. 034
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 ·1· · · · A· · I just stated my personal fact of the
 ·2· ·knowledge are that when I took these loans out and
 ·3· ·then it was discovered with my attorneys was helping
 ·4· ·me with this case that says the laws was illegal,
 ·5· ·that the money that was loaned to me and all, that
 ·6· ·the people didn't have license to practice lending
 ·7· ·money to me in Virginia and they were illegal and in
 ·8· ·violation of the usury laws which is 12 percent.
 ·9· · · · Q· · Take a look at paragraph three on page
 10· ·two.· Okay?
 11· · · · A· · Paragraph three on page two, okay.
 12· · · · Q· · Do you have that?
 13· · · · A· · Uh-huh.
 14· · · · Q· · I'm going to read a sentence to you and my
 15· ·question is going to be what personal knowledge do
 16· ·you have which forms the basis for this fact in the
 17· ·complaint.· Okay?
 18· · · · A· · Okay.
 19· · · · Q· · It says, No. 3, to facilitate blatant
 20· ·violations of state usury laws, defendant Matt
 21· ·Martorello approached the Lac Vieux Desert Band of
 22· ·Lake Superior Chippewa Indians for the purpose of
 23· ·establishing a rent-a-tribe scheme.· Have I read
 24· ·that correctly?
 25· · · · A· · Yes.


                                                             Debtor's Ex. 25, p. 035
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 ·1· · · · Q· · What's your personal knowledge that
 ·2· ·Mr. Martorello approached this Indian tribe for the
 ·3· ·purpose of establishing a rent-a-tribe scheme?
 ·4· · · · A· · I have no personal knowledge.
 ·5· · · · Q· · Okay.· And because when I asked you
 ·6· ·earlier today whether you'd ever met or -- do you
 ·7· ·know anything about Matt Martorello?
 ·8· · · · A· · No, I do not.
 ·9· · · · Q· · Okay.· And you don't know anything about
 10· ·how he operated whatever companies he may have had
 11· ·an interest in; is that right?
 12· · · · A· · No, I don't have no knowledge of it.
 13· · · · Q· · Okay.· So you don't have -- strike that.
 14· ·So I want to go further down in No. 3.
 15· · · · A· · Okay.
 16· · · · Q· · I'm going to ask you the same question.
 17· ·Okay?
 18· · · · A· · Uh-huh.
 19· · · · Q· · So it says here, and I'm skipping a
 20· ·sentence but it says here in reality, Martorello's
 21· ·company, Bellicose Capital, LLC, funded the loans,
 22· ·controlled the underwriting, and handled the
 23· ·day-to-day operations of the business.· Have I read
 24· ·that correctly?
 25· · · · A· · Yes, sir.


                                                             Debtor's Ex. 25, p. 036
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 ·1· · · · Q· · Do you have any personal knowledge that is
 ·2· ·the basis of that sentence?
 ·3· · · · A· · I have no personal knowledge.
 ·4· · · · Q· · Okay.· And I want to go on and read the
 ·5· ·third sentence -- the last sentence.· It's the
 ·6· ·fourth sentence actually.
 ·7· · · · A· · Okay.
 ·8· · · · Q· · In return for the use of its name, the
 ·9· ·tribe received 2 percent of the revenue but
 10· ·otherwise, the tribe had no control over the income
 11· ·or expenses of Big Picture Loans.· Do you have any
 12· ·personal knowledge which forms the basis of that
 13· ·statement?
 14· · · · A· · No, I do not.
 15· · · · Q· · Okay.· Take a look, please, at paragraph
 16· ·14 on page five.
 17· · · · A· · Paragraph 14, page five.· Page five,
 18· ·paragraph 14.· Okay.
 19· · · · Q· · Got it?· Okay.
 20· · · · A· · All right.
 21· · · · Q· · So I'm going to read that and I'm going to
 22· ·ask you the same question.· Okay?
 23· · · · A· · Uh-huh.
 24· · · · Q· · Defendant Martorello is a natural person
 25· ·and resident of Puerto Rico.· Martorello was the


                                                             Debtor's Ex. 25, p. 037
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 ·1· ·founder and chief executive officer of Bellicose
 ·2· ·Capital which Martorello created to make and collect
 ·3· ·the usurious loans described herein.· As explained
 ·4· ·below, Martorello was the architect of the
 ·5· ·rent-a-tribe lending scheme and had direct, personal
 ·6· ·involvement in the creation and day-to-day
 ·7· ·operations of the illegal enterprise.· Have I read
 ·8· ·that correctly?
 ·9· · · · A· · Yes, sir.
 10· · · · Q· · Do you have any personal knowledge for
 11· ·that statement?
 12· · · · A· · No, I do not.
 13· · · · Q· · Okay.· Thank you.· Have you ever heard of
 14· ·Ascension Technologies?
 15· · · · A· · No, I haven't heard of them.
 16· · · · Q· · Okay.· So you've stated in your testimony
 17· ·a few minutes ago that the reason you brought this
 18· ·lawsuit, or was one of the persons who brought this
 19· ·lawsuit, was because you believed that the loans
 20· ·that were made were illegal.
 21· · · · A· · Yes.
 22· · · · Q· · What do you want in return for bringing
 23· ·this lawsuit?
 24· · · · A· · I want in return my monies refunded back
 25· ·to me that I paid in the loans because it's a


                                                             Debtor's Ex. 25, p. 038
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 ·1· ·violation of Virginia State law that charges usury
 ·2· ·laws for 12 percent, and I also want in return not
 ·3· ·to -- not for them to come back later to collect any
 ·4· ·other outstanding debt.
 ·5· · · · Q· · Well do you have any outstanding debt to
 ·6· ·Big Picture Loans right now?
 ·7· · · · A· · Yes.· It's supposed to have been the
 ·8· ·second one, the $300.
 ·9· · · · Q· · You haven't paid that one back?
 10· · · · A· · No, it wasn't paid back.
 11· · · · Q· · Okay.· But you did pay back the first one?
 12· · · · A· · Yes.
 13· · · · Q· · Okay.· So you borrowed $225?
 14· · · · A· · Uh-huh.
 15· · · · Q· · And you paid back more than $225, correct?
 16· · · · A· · Yes.
 17· · · · Q· · All right.· If you win this lawsuit, do
 18· ·you want the interest that you've paid back?· Do you
 19· ·want the $225 that you borrowed paid back to you as
 20· ·well?· What amount of money do you want paid back to
 21· ·you?
 22· · · · A· · I want the money paid back what I borrowed
 23· ·and plus the interest paid back.
 24· · · · Q· · So -- so you want -- you borrowed $225 and
 25· ·you paid that back.· You want the $225 back?


                                                             Debtor's Ex. 25, p. 039
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 ·1· · · · A· · It was $319.80 cents total interest.
 ·2· · · · Q· · $319 of interest?
 ·3· · · · A· · Yes, $319.80 total.· That was the total by
 ·4· ·law.· The interest rate was of 6.25 or 28 percent.
 ·5· · · · Q· · Here's my question.· Maybe I -- maybe I
 ·6· ·don't understand.· You borrowed $225 and you paid
 ·7· ·the loan back, correct?
 ·8· · · · A· · Yes.
 ·9· · · · Q· · When you paid the loan back, were the
 10· ·total payments for that loan $319.80 or were the
 11· ·total payments for that loan $225 plus $319.80?
 12· · · · A· · The total payments for the loan was
 13· ·$319.80.
 14· · · · Q· · And that includes the $225 that you
 15· ·borrowed?
 16· · · · A· · Yes.
 17· · · · Q· · Okay.
 18· · · · A· · Plus the interest.
 19· · · · Q· · Plus the interest.· So the interest part
 20· ·of that is the difference between $319.80 and $225,
 21· ·correct?
 22· · · · A· · Yes.
 23· · · · Q· · All right.· So we can agree, I think, that
 24· ·you paid interest totaling $94.80 cents on the
 25· ·225-dollar loan?


                                                             Debtor's Ex. 25, p. 040
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 ·1· · · · A· · Right.
 ·2· · · · Q· · Okay.· So if you win this lawsuit, you
 ·3· ·want that $94.80 cents back, right?
 ·4· · · · A· · Right.
 ·5· · · · Q· · And you want the $225 back that you
 ·6· ·borrowed from Big Picture Loans?
 ·7· · · · A· · Yes.
 ·8· · · · Q· · Okay.· So you want it all back?
 ·9· · · · A· · Yes.
 10· · · · Q· · Okay.· Even the money that you borrowed?
 11· · · · A· · Yes, so I -- so I wouldn't have to pay
 12· ·that back, you know, the outstanding debt that would
 13· ·be forgiven and not to pay that back because the
 14· ·laws was illegal.
 15· · · · Q· · Right.· So I'm understanding -- I'm
 16· ·talking about the first loan.
 17· · · · A· · Yes.
 18· · · · Q· · And then we can talk about the second
 19· ·loan.· Okay?
 20· · · · A· · Uh-huh.
 21· · · · Q· · All right.· So with respect to the first
 22· ·loan, you borrowed $225?
 23· · · · A· · Right.
 24· · · · Q· · And to pay that loan in full, you paid
 25· ·$319.80?


                                                             Debtor's Ex. 25, p. 041
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 ·1· · · · A· · Yes.
 ·2· · · · Q· · Is that right?
 ·3· · · · A· · Yes.
 ·4· · · · Q· · Okay.· So what you want back at least --
 ·5· ·and tell me whether this is right or wrong:· What
 ·6· ·you want back is all of that money, the $319.80
 ·7· ·which includes the interest that you paid plus the
 ·8· ·principal amount that you borrowed; is that right?
 ·9· · · · A· · Yes.
 10· · · · Q· · Okay.· And you would agree that the $225
 11· ·that you borrowed and used to pay your rent was lent
 12· ·to you.· It wasn't your money to begin with, right?
 13· · · · A· · Right.
 14· · · · Q· · Okay.· So you want that money back anyway?
 15· · · · A· · Yes.
 16· · · · Q· · Okay.· And with respect to the second
 17· ·loan, the second loan was $300?
 18· · · · A· · Yes.
 19· · · · Q· · And have you made any payments on the
 20· ·300-dollar loan?
 21· · · · A· · No payments was made.
 22· · · · Q· · Okay.· Why didn't you make any payments on
 23· ·the second loan?
 24· · · · A· · Well the date was they was supposed to get
 25· ·it on April the 18th and they didn't, and advice


                                                             Debtor's Ex. 25, p. 042
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 ·1· ·from my attorney, my attorney said --
 ·2· · · · · · ·MS. NASH:· Don't -- don't --
 ·3· · · · · · ·MR. SCHEFF:· Don't -- we don't want to
 ·4· · · · know what the advice of your attorney was.
 ·5· · · · · · ·MS. NASH:· Don't disclose any advice of
 ·6· · · · your attorneys.
 ·7· ·BY MR. SCHEFF:
 ·8· · · · Q· · Yes, don't disclose advice of your
 ·9· ·attorney, please.· Okay?· And I understand it's easy
 10· ·to do that and this is sort of like a conversation
 11· ·and I appreciate that, but I'm -- I'm not really
 12· ·entitled to know what your communications were.
 13· · · · A· · I was instructed to not to pay it.
 14· · · · Q· · Okay.· All right.· Okay.· Okay, let's --
 15· · · · · · · · · Can we have the loan agreements?
 16· ·Great, thank you.· Thanks.· Okay.· That's going to
 17· ·be two.
 18· · · · (The Agreement was marked Exhibit No. 2.)
 19· · · · · · ·MR. SCHEFF:· And this will be three.
 20· · · · (The Agreement was marked Exhibit No. 3.)
 21· ·BY MR. SCHEFF:
 22· · · · Q· · By the way --
 23· · · · A· · Yes.
 24· · · · Q· · -- the money that you borrowed, both the
 25· ·225 and the 300, you did use that pay your rent,


                                                             Debtor's Ex. 25, p. 043
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 ·1· ·right?
 ·2· · · · A· · Yes, sir.
 ·3· · · · Q· · Okay.· Take a look at Exhibit 2, the
 ·4· ·document that's been marked Exhibit 2.· See it at
 ·5· ·the bottom?
 ·6· · · · A· · Yes.
 ·7· · · · Q· · And, again, take -- take a look as much as
 ·8· ·you need to look at, okay, and tell me whether
 ·9· ·you've ever seen this document before.
 10· · · · A· · (Peruses document.)· Okay, yeah, I might
 11· ·have seen it or glanced at it, you know, when I
 12· ·received it on the internet, the loan.· Yeah, I may
 13· ·have seen it, yes, uh-huh.
 14· · · · Q· · Okay.· So you're not sure whether you read
 15· ·this?
 16· · · · A· · Well I had it so I signed it quickly so I
 17· ·could receive the money.
 18· · · · Q· · Okay.· So my question is did you read it?
 19· · · · A· · Not entirely.· I just glanced through it.
 20· ·I didn't entirely -- I didn't entirely finish
 21· ·reading it.
 22· · · · Q· · Why didn't you read it?
 23· · · · A· · Because I was anxious with trying to get
 24· ·the loan that I needed.
 25· · · · Q· · When you went online to borrow the


                                                             Debtor's Ex. 25, p. 044
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 ·1· ·money --
 ·2· · · · A· · Yes.
 ·3· · · · Q· · -- were you already late with your rent
 ·4· ·payment?
 ·5· · · · A· · No, I wasn't.· I was trying to prevent
 ·6· ·from being late.
 ·7· · · · Q· · Okay.· So when was your rent payment due
 ·8· ·in relation to when you borrowed the first -- when
 ·9· ·you made the first loan?
 10· · · · A· · The rent was due on the first and after
 11· ·the fifth day, they file a late fee.
 12· · · · Q· · Okay.
 13· · · · A· · And it's been on record that they be
 14· ·filing court to evict you if you don't get it paid.
 15· · · · Q· · Okay.· So would it be accurate for me to
 16· ·understand that you wanted to make sure that your
 17· ·rent was paid before the fifth of the month?
 18· · · · A· · Yes, sir.
 19· · · · Q· · Okay.· So let's look at Exhibit 2 because
 20· ·I'm trying to understand why it is you were in such
 21· ·a rush to get the loan which caused you not to read
 22· ·Exhibit 2 fully.· Was your landlord standing there
 23· ·waiting for the money?
 24· · · · A· · No, the landlord doesn't stand and wait
 25· ·for the money over you.· They don't come to


                                                             Debtor's Ex. 25, p. 045
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 ·1· ·everybody's apartment and stand over and wait for
 ·2· ·the money.
 ·3· · · · Q· · Right.· That's why I was trying to figure
 ·4· ·out why the rush to get the -- you know, to read
 ·5· ·this document would take 15 minutes maybe; is that
 ·6· ·right?
 ·7· · · · A· · Okay.
 ·8· · · · Q· · I mean, would you agree with that?
 ·9· · · · A· · Okay.
 10· · · · Q· · You would agree with that?
 11· · · · A· · Yes, okay.
 12· · · · Q· · Okay.· And if we look at page one, page
 13· ·one at the bottom here where I'm pointing, I just
 14· ·want to make sure we are on the same page so to
 15· ·speak, you see it says borrower, Gloria Turnage?
 16· · · · A· · Yes.
 17· · · · Q· · Date, March 2, 2017 and there is a time,
 18· ·4:19 in the afternoon?
 19· · · · A· · Uh-huh.
 20· · · · Q· · And at the -- uh-huh meaning yes?
 21· · · · A· · Yes.
 22· · · · Q· · And at the bottom it says signed, I agree.
 23· ·Have I gone through that accurately?
 24· · · · A· · Yes.
 25· · · · Q· · Okay.· So this was three days before you


                                                             Debtor's Ex. 25, p. 046
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 ·1· ·were going to get the late fee, correct?
 ·2· · · · A· · Yes.
 ·3· · · · Q· · All right.· Now, does the library close at
 ·4· ·5:00?
 ·5· · · · A· · They close at 6:00 on some particular
 ·6· ·days, I think it's Friday and Saturday, but other
 ·7· ·days it's open until nine.
 ·8· · · · Q· · Oh, okay.
 ·9· · · · A· · Right.
 10· · · · Q· · So it's not like you were in a rush to get
 11· ·out of the library because they were closing,
 12· ·correct?
 13· · · · A· · Right.· Yes, I'm sorry.
 14· · · · Q· · That's okay.· That's all right.· Everybody
 15· ·does it.· Did you print a copy of this at the time
 16· ·that you did your loan?
 17· · · · A· · Yes, I printed a copy.
 18· · · · Q· · Okay.· So I'm just trying to visualize
 19· ·this.· You'd gotten this card or a letter in the
 20· ·mail which talked about Big Picture Loans.
 21· · · · A· · Yes.
 22· · · · Q· · You needed to pay your rent, right?
 23· · · · A· · Yes.
 24· · · · Q· · You wanted to get that money before it was
 25· ·due on the fifth of the month to avoid the late fee,


                                                             Debtor's Ex. 25, p. 047
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 ·1· ·correct?
 ·2· · · · A· · Yes.
 ·3· · · · Q· · And you went to the library, you logged
 ·4· ·on, you found the BPL, the Big Picture loan website,
 ·5· ·correct?
 ·6· · · · A· · Yes.
 ·7· · · · Q· · And you found and you answered all the
 ·8· ·questions?
 ·9· · · · A· · Yes.
 10· · · · Q· · And you sort of went down, correct, and
 11· ·you read it as you went or you didn't read it as you
 12· ·go?
 13· · · · A· · I went down and read some of it but some
 14· ·of it I didn't.· I printed it out and I was going to
 15· ·read it later.
 16· · · · Q· · And you then did, right?
 17· · · · A· · Yes.
 18· · · · Q· · Okay.· And you read it shortly after you
 19· ·had printed it out, right, same day?
 20· · · · A· · Well, I didn't shortly after the same day
 21· ·but later on, I read it.· Some of it I did and some
 22· ·of it I didn't.· I just glanced through the
 23· ·document.
 24· · · · Q· · How long after you printed the document
 25· ·did you actually sit down and read it?


                                                             Debtor's Ex. 25, p. 048
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 ·1· · · · A· · It's maybe one or two days later I might
 ·2· ·have actually sit down and readed some of it.
 ·3· · · · Q· · Okay.· And at the point in time when you
 ·4· ·borrowed this money and then you read the loan
 ·5· ·agreement a day or two later, were you at that point
 ·6· ·represented by Kelly & Crandall?
 ·7· · · · A· · No.
 ·8· · · · Q· · So you didn't hire them before you
 ·9· ·borrowed the money?
 10· · · · A· · No.
 11· · · · Q· · They didn't represent you in any other
 12· ·lawsuits before you borrowed the money?
 13· · · · A· · There was past lawsuits as has already
 14· ·been stated, yes, they got those past ones.
 15· · · · Q· · So they had been your lawyers?
 16· · · · A· · Yes.
 17· · · · Q· · Okay.· So -- but they weren't representing
 18· ·you at the time that you borrowed this money?
 19· · · · A· · No.
 20· · · · Q· · When did you get back in touch with Kelly
 21· ·& Crandall after you had borrowed the money?· I just
 22· ·want to know the time, you know, approximate date,
 23· ·not the obviously what you talked about.
 24· · · · A· · Kelly & Crandall was involved with this
 25· ·lawsuit with Big Picture Loans because it was


                                                             Debtor's Ex. 25, p. 049
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 ·1· ·discovered on another case that you don't know
 ·2· ·about, ChexSystems, that they had pulled my credit
 ·3· ·report from TransUnion, so that's how the lawsuit
 ·4· ·was filed against Big Picture Loans.
 ·5· · · · Q· · Okay.· So let me see if I understand
 ·6· ·this --
 ·7· · · · · · ·MS. NASH:· And I'm just going to remind
 ·8· · · · you again, don't disclose the terms of any of
 ·9· · · · our conversations with you.
 10· · · · · · ·THE DEPONENT:· Right.
 11· · · · · · ·MS. NASH:· He's not asking for that so
 12· · · · don't --
 13· ·BY MR. SCHEFF:
 14· · · · Q· · I'm not asking for what anyone from Kelly
 15· ·& Crandall may have said to you.· Okay?
 16· · · · A· · Yes, I understand.
 17· · · · Q· · Okay.· I just want make sure because it's
 18· ·easy to not think about that and start to talk about
 19· ·what you might have talked about with your lawyers
 20· ·and I don't want to know that.
 21· · · · A· · No, I'm not disclosing that.
 22· · · · Q· · Good.· Well I don't -- I don't -- nobody
 23· ·wants you to disclose that, so we're all on the same
 24· ·page.· Okay?
 25· · · · A· · Okay.


                                                             Debtor's Ex. 25, p. 050
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 ·1· · · · Q· · Okay.· So Kelly & Crandall represented you
 ·2· ·in the ChexSystems lawsuit --
 ·3· · · · A· · Yes.
 ·4· · · · Q· · -- that you've talked about in the past
 ·5· ·that you settled, correct?
 ·6· · · · A· · Yes.
 ·7· · · · Q· · And there was something that came out in
 ·8· ·that lawsuit which showed that Big Picture Loans had
 ·9· ·been provided information about you?
 10· · · · A· · Yes.
 11· · · · Q· · Okay.· And you learned that through the
 12· ·lawsuit with ChexSystems?
 13· · · · A· · I learned it from my credit report was
 14· ·pulled, TransUnion, that they pulled my credit
 15· ·report.
 16· · · · Q· · Okay.· So -- and again, I'm not looking
 17· ·for what was said.· Okay?
 18· · · · A· · Uh-huh.
 19· · · · Q· · But after you took the first loan -- well,
 20· ·strike that.· Before -- strike that.· After you took
 21· ·the first loan on or about March 2 of 2017, did you
 22· ·pick up the phone and call Kelly & Crandall?
 23· · · · A· · No.
 24· · · · Q· · Did they call you?
 25· · · · A· · No.


                                                             Debtor's Ex. 25, p. 051
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 ·1· · · · Q· · Okay.· Did you contact Kelly & Crandall to
 ·2· ·ask them to bring a lawsuit on your behalf against
 ·3· ·Big Picture Loans?
 ·4· · · · A· · No, I didn't.
 ·5· · · · Q· · So how did it come about that you were a
 ·6· ·plaintiff in this lawsuit?
 ·7· · · · A· · It came about from the other case and all
 ·8· ·when I had to send them a copy of my TransUnion
 ·9· ·report, and that's when I discovered Big Picture was
 10· ·there and that's when I had to explain to my
 11· ·attorney why the inquiry was made.
 12· · · · Q· · Did you make the decision that you wanted
 13· ·to sue Big Picture Loans?
 14· · · · A· · I didn't say to make a decision to sue Big
 15· ·Picture Loans.
 16· · · · Q· · You did not?
 17· · · · A· · I said -- no, I didn't make the decision
 18· ·about suing Big Picture Loans but, you know, I was
 19· ·told then that, you know, something should be done.
 20· · · · Q· · Okay.· And again, nobody wants to know
 21· ·what the discussions may have been with lawyers.
 22· ·Okay?
 23· · · · A· · Right.
 24· · · · Q· · Was there any -- if you remember and I
 25· ·don't know whether your remember either, this credit


                                                             Debtor's Ex. 25, p. 052
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 ·1· ·report that you just referred to I think where Big
 ·2· ·Picture Loans was somehow on the credit report, was
 ·3· ·Mr. Martorello's name on that credit report?
 ·4· · · · A· · No.
 ·5· · · · Q· · Okay.· Was Bellicose on the name of that
 ·6· ·report?
 ·7· · · · A· · No.
 ·8· · · · Q· · Was SourcePoint on the name of that
 ·9· ·report?
 10· · · · A· · No.
 11· · · · Q· · Just Big Picture Loans?
 12· · · · A· · Yes.
 13· · · · Q· · Okay.· Was Red Rock Financial or Red Rock
 14· ·on the credit report?
 15· · · · A· · No.
 16· · · · Q· · Was Duck Creek?
 17· · · · A· · No.
 18· · · · Q· · Okay.· So it was just Big Picture Loans?
 19· · · · A· · Yes.
 20· · · · Q· · Okay.· So we've marked Exhibit 2 and we --
 21· ·we've now determined through your testimony sort of
 22· ·what you did to get the loan and that you read this
 23· ·loan agreement within a day or two of printing it
 24· ·out at the library; is that correct?
 25· · · · A· · Yes.


                                                             Debtor's Ex. 25, p. 053
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 ·1· · · · Q· · Okay.· So let's take a look and -- take a
 ·2· ·look at -- where was I at here.· This is the first
 ·3· ·page.
 ·4· · · · A· · Yes.
 ·5· · · · Q· · So let's turn the page and let's look at
 ·6· ·the second page.· Okay?
 ·7· · · · A· · Okay.· All right.
 ·8· · · · Q· · At the very bottom in bold, it says
 ·9· ·important acknowledgments.· Do you see that?· I'm
 10· ·right here.· I'm sorry.
 11· · · · A· · Okay.
 12· · · · Q· · So you see the important acknowledgments?
 13· · · · A· · Yes, uh-huh.
 14· · · · Q· · You acknowledge and agree that this
 15· ·agreement is subject solely and exclusively to the
 16· ·tribal law as well as applicable federal law and the
 17· ·exclusive jurisdiction of the Lac Vieux Desert Band
 18· ·of Lake Superior of Chippewa Indians.· Have I read
 19· ·that correctly?
 20· · · · A· · Yes.
 21· · · · Q· · Do you remember reading that?
 22· · · · A· · Yes.
 23· · · · Q· · And let's go to the next one underneath
 24· ·that.· You acknowledge and agree that the tribal
 25· ·dispute resolution procedure in the -- is the sole


                                                             Debtor's Ex. 25, p. 054
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 ·1· ·and exclusive method for resolving disputes and/or
 ·2· ·claims arising from or relating to this agreement.
 ·3· ·Did you remember reading that?
 ·4· · · · A· · Yes.
 ·5· · · · Q· · Okay.· Let's go to the next page.· And I'm
 ·6· ·about two-thirds, three quarters of the way down.
 ·7· ·Do you see where it says tribal dispute resolution
 ·8· ·procedure?
 ·9· · · · A· · Okay.
 10· · · · Q· · Have you ever gone through the tribal
 11· ·dispute resolution procedure that's stated in the
 12· ·agreement that you signed?
 13· · · · A· · No.
 14· · · · Q· · Okay.· Why not?
 15· · · · A· · Because it didn't go through that far.· It
 16· ·didn't have to ever get that far.
 17· · · · Q· · What do you mean it never got that far?
 18· ·You filed this lawsuit instead of going to the
 19· ·tribal dispute resolution procedure?
 20· · · · A· · Well I didn't have to.
 21· · · · Q· · You didn't have to?
 22· · · · A· · Right.
 23· · · · Q· · Okay.· And why didn't you have to as far
 24· ·as you're concerned?
 25· · · · A· · I didn't have to because of advice from


                                                             Debtor's Ex. 25, p. 055
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 ·1· ·my -- I mean of my attorney.
 ·2· · · · Q· · Okay.· I don't want to know what your
 ·3· ·attorney said.
 ·4· · · · A· · Yeah, I know you don't have to know what
 ·5· ·he said.
 ·6· · · · Q· · No, no, no, I don't want to know what your
 ·7· ·lawyer said.· It's okay.· There is -- and I'm going
 ·8· ·to look for it here because I think these
 ·9· ·actually -- these pages are out of order but I may
 10· ·be wrong about that because maybe they're not.
 11· · · · · · ·MS. LADD:· They are, they're backwards.
 12· · · · · · ·MR. SCHEFF:· They're backwards?· Okay.
 13· · · · That's not good.· Then we'll find it
 14· · · · eventually.· Okay.· Here we go.
 15· · · · · · ·THE DEPONENT:· Which page is that?
 16· ·BY MR. SCHEFF:
 17· · · · Q· · I'm going to -- look in the lower,
 18· ·right-hand corner.· You see it says 49?
 19· · · · A· · I have trouble with my eyes because I had
 20· ·eye surgery and I have trouble trying to see.
 21· · · · Q· · Okay.· Well take your time and we'll make
 22· ·sure that we have the same page so you see what I'm
 23· ·asking you.· Okay?
 24· · · · A· · Page 49?
 25· · · · Q· · Yes, ma'am.· I think it's 49.


                                                             Debtor's Ex. 25, p. 056
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 ·1· · · · · · ·MS. NASH:· I don't think -- 49 --
 ·2· ·BY MR. SCHEFF:
 ·3· · · · Q· · I'm sorry, four slash nine.· I apologize.
 ·4· ·Says something about my eyes, huh?
 ·5· · · · A· · You want this page right here?
 ·6· · · · Q· · Let me --
 ·7· · · · A· · Or this page right here you --
 ·8· · · · Q· · Let me find it for you.· If you hand me
 ·9· ·the exhibit, let me find it for you and --
 10· · · · A· · Okay.
 11· · · · Q· · To make sure that you follow what I'm
 12· ·asking you.· Okay?
 13· · · · A· · Okay.
 14· · · · Q· · Yeah, here we go.· Okay.· So if you see
 15· ·this lower, right-hand corner, it says four slash
 16· ·nine.
 17· · · · A· · Yeah, okay.
 18· · · · Q· · And that's one I've got, four slash nine.
 19· · · · A· · Okay.
 20· · · · Q· · Okay?· I just want to make sure.· So you
 21· ·see about a quarter of the way down this provision
 22· ·that says right to rescind or cancel?
 23· · · · A· · Yes.
 24· · · · Q· · And it's all in capital letters, right?
 25· · · · A· · Yes, uh-huh.


                                                             Debtor's Ex. 25, p. 057
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 ·1· · · · Q· · So what this says is that you can cancel
 ·2· ·or rescind the agreement that you signed within a
 ·3· ·certain period of time without any charges.· Do you
 ·4· ·see that?
 ·5· · · · A· · Okay, yes.
 ·6· · · · Q· · Why didn't you cancel or rescind this
 ·7· ·loan?
 ·8· · · · A· · I didn't cancel or rescind the loan
 ·9· ·because, again, I needed to pay my apartment rent.
 10· ·That's why it wasn't canceled.
 11· · · · Q· · But when you enter into agreements -- and
 12· ·I assume -- when you enter into agreements, you're
 13· ·only going to sign an agreement if you intend to
 14· ·honor the agreement, right?
 15· · · · A· · Yes.
 16· · · · Q· · That's the type of person you are?
 17· · · · A· · Yes.
 18· · · · Q· · You're not a person who just signs
 19· ·agreements and says I don't really care what the
 20· ·provisions are, I'm not going to follow them anyway,
 21· ·right?
 22· · · · A· · Right, yes.
 23· · · · Q· · Okay.· Let's go to this page.· It's two
 24· ·slash nine.· It's the next one.· Okay?
 25· · · · A· · Two slash nine?


                                                             Debtor's Ex. 25, p. 058
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 ·1· · · · Q· · Right, two slash nine.· I'm sorry, yeah,
 ·2· ·it's the one after this.· This one.· That's right.
 ·3· ·No, it's not, geez.· The one before that, I'm sorry.
 ·4· · · · A· · The one before?
 ·5· · · · Q· · Yes, ma'am, it's this one.
 ·6· · · · A· · That right there.· Okay.
 ·7· · · · Q· · Okay.· Two slash nine, do you have it?
 ·8· · · · A· · Right, okay.
 ·9· · · · Q· · And you see your name as the borrower name
 10· ·in the box?
 11· · · · A· · Yes.
 12· · · · Q· · And is that your address?
 13· · · · A· · Yes.
 14· · · · Q· · Is that your telephone number?
 15· · · · A· · Yes.
 16· · · · Q· · Is that your mobile number?
 17· · · · A· · Yes.
 18· · · · Q· · Is that your e-mail address?
 19· · · · A· · Yes.
 20· · · · Q· · And they have that because you gave it to
 21· ·them, right?
 22· · · · A· · Yes.
 23· · · · Q· · Okay.· And here's Big Picture Loans and
 24· ·here's the date, March 2, 2017, the date that you
 25· ·borrowed this money, right?


                                                             Debtor's Ex. 25, p. 059
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 ·1· · · · A· · Yes.
 ·2· · · · Q· · In bold under that box where your name is,
 ·3· ·it says important notice in all capital letters in
 ·4· ·bold, right?
 ·5· · · · A· · Right.
 ·6· · · · Q· · This loan agreement, hereinafter the
 ·7· ·agreement, is governed by the laws of the Lac Vieux
 ·8· ·Desert Band of Lake Superior Chippewa Indians.
 ·9· · · · A· · Yes.
 10· · · · Q· · Do you see that?
 11· · · · A· · Yes.
 12· · · · Q· · So when you signed this agreement, you
 13· ·knew that it was governed by tribal law, right?
 14· · · · A· · Yes.
 15· · · · Q· · Okay.· And -- okay.· Take a look at the
 16· ·page that is eight slash nine.
 17· · · · A· · Eight slash nine.
 18· · · · Q· · Yeah, so it's going to be earlier in the
 19· ·document because I think it's backwards.
 20· · · · A· · This page right here, eight slash --
 21· · · · Q· · Let me just see that we're on the same
 22· ·page here.· No, that's five slash nine.· So it's
 23· ·eight slash nine.· You're heading in the wrong
 24· ·direction I think.· Here, if you give me the
 25· ·document again, I'll get you the right page.· Okay?


                                                             Debtor's Ex. 25, p. 060
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 ·1· · · · A· · Okay.
 ·2· · · · Q· · At least I'll try to.· Okay.· Eight slash
 ·3· ·nine.· Okay.· See that?
 ·4· · · · A· · Okay.
 ·5· · · · Q· · So what I'm -- I want to refer you to, see
 ·6· ·the provision two?
 ·7· · · · A· · Okay.
 ·8· · · · Q· · You acknowledge and agree that by agreeing
 ·9· ·to this waiver of jury trial provision, A, you are
 10· ·giving up your right to have a trial by jury to
 11· ·resolve any dispute alleged against us or related
 12· ·third parties.· You read that when you signed the
 13· ·agreement too, right?
 14· · · · A· · Yes, uh-huh.
 15· · · · Q· · And, B, you consent to the jurisdiction of
 16· ·the tribe and have read and agree to be bound solely
 17· ·by the tribal dispute resolution procedure found in
 18· ·the code.· I've read that correctly, right?
 19· · · · A· · Yes, uh-huh.
 20· · · · Q· · And you agreed to that as well?
 21· · · · A· · Yes.
 22· · · · Q· · And it says, C, you are giving up your
 23· ·right to serve as a representative, as a private
 24· ·attorney general, or in any other representative
 25· ·capacity and/or to participate as a member of a


                                                             Debtor's Ex. 25, p. 061
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 ·1· ·class of claimants in any lawsuit filed against us
 ·2· ·and/or related third parties.· And you read that at
 ·3· ·the time and agreed to it, correct?
 ·4· · · · A· · Yes.
 ·5· · · · Q· · And in this lawsuit that we marked as
 ·6· ·Exhibit 1, you're trying to be a class
 ·7· ·representative, right?
 ·8· · · · A· · Yes.
 ·9· · · · Q· · Even though you agreed not to be, right?
 10· · · · A· · Yes.
 11· · · · Q· · Okay.· And we marked Exhibit 3 as well
 12· ·which is the loan agreement for the second loan that
 13· ·you took, the $300 that hasn't been paid back,
 14· ·right?
 15· · · · A· · Yes.
 16· · · · Q· · Okay.· And again -- and I'm trying to save
 17· ·time and be efficient.· In connection with the
 18· ·second loan, the 300-dollar loan, did you follow the
 19· ·same procedure?· That is, you went to the library,
 20· ·you scrolled through it, you sort of scanned it, and
 21· ·then printed it, took it home, and read it?
 22· · · · A· · Yes.
 23· · · · Q· · Okay.· And when you read the second loan
 24· ·agreement, you knew that it was essentially the same
 25· ·as the first loan agreement, right?


                                                             Debtor's Ex. 25, p. 062
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 ·1· · · · A· · Yes, uh-huh.
 ·2· · · · Q· · Okay.· And so when you signed the second
 ·3· ·loan agreement, you did so with the understanding of
 ·4· ·all the provisions that we went through in the first
 ·5· ·loan agreement?
 ·6· · · · A· · Yes.
 ·7· · · · Q· · Okay.· Okay.
 ·8· · · · · · · · · Could I have the interrogatories,
 ·9· ·please?· Thank you.· Let's mark this document as
 10· ·Exhibit 4.
 11· · · ·(The Certificate was marked Exhibit No. 4.)
 12· ·BY MR. SCHEFF:
 13· · · · Q· · Okay.· Court reporter's just handed you
 14· ·Exhibit 4.· Do you recognize this document?
 15· · · · A· · Yes.
 16· · · · Q· · What document is that?
 17· · · · A· · The document is a advertisement I received
 18· ·in the mail offering me that I am preapproved for a
 19· ·loan up to $400.
 20· · · · Q· · So is this the first -- is this the letter
 21· ·you referred to in your testimony earlier today?
 22· · · · A· · Yes.
 23· · · · Q· · Okay.· So this is what -- and you saved
 24· ·that, right?· Is that right?
 25· · · · A· · Yes.


                                                             Debtor's Ex. 25, p. 063
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 ·1· · · · Q· · And it's dated February 27, 2017, correct?
 ·2· · · · A· · Yes.
 ·3· · · · Q· · And the first loan is March 2, 2017?
 ·4· · · · A· · Yes.
 ·5· · · · Q· · All right.· So it's very close in time to
 ·6· ·the first loan that you took.· So you got this and
 ·7· ·you went to get a loan right away, right?
 ·8· · · · A· · Yes.
 ·9· · · · Q· · And when you read this -- when you got
 10· ·this, you read it, right?
 11· · · · A· · Yes.
 12· · · · Q· · And were you sort of happy that you'd
 13· ·gotten this offer to have -- to get a loan for up to
 14· ·$400?
 15· · · · A· · Yes.
 16· · · · Q· · Because you needed the money?
 17· · · · A· · Yes.
 18· · · · Q· · And you didn't have any other place to get
 19· ·the money?
 20· · · · A· · Yes.
 21· · · · Q· · And you didn't want to get evicted from
 22· ·your apartment?
 23· · · · A· · Yes.
 24· · · · Q· · And you were afraid of that because you
 25· ·said that your landlord does that after the fifth


                                                             Debtor's Ex. 25, p. 064
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 ·1· ·day?
 ·2· · · · A· · Yes.
 ·3· · · · Q· · Okay.· So when you got Exhibit 4 in the
 ·4· ·mail, you read it, right?
 ·5· · · · A· · Yes, I read it.
 ·6· · · · Q· · Okay.· And you see in the middle it said
 ·7· ·this is not a payday loan and it's underlined.· Do
 ·8· ·you see that?
 ·9· · · · A· · Yes.
 10· · · · Q· · Okay.· Do you know what a payday loan is?
 11· · · · A· · Yes.· A payday loan is like the same as
 12· ·you have online lenders.· It's a temporary line of
 13· ·credit.
 14· · · · Q· · Okay.· So let's take a look at the flip
 15· ·side of this.· You read the flip side too, right?
 16· · · · A· · Right, yes, uh-huh.
 17· · · · Q· · And do you see under the box it says Big
 18· ·Picture Loans, LLC, doing business as
 19· ·BigPictureLoans.com is a duly licensed financial
 20· ·services licensee of the Lac Vieux Desert Tribal
 21· ·Financial Service Regulatory Authority and an
 22· ·independent regulatory body of the Lac Vieux Desert
 23· ·Band of Lake Superior Chippewa Indians.· Have I read
 24· ·that correctly?
 25· · · · A· · Yes.


                                                             Debtor's Ex. 25, p. 065
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 ·1· · · · Q· · And you read that as well, right?
 ·2· · · · A· · Yes.
 ·3· · · · Q· · And if you go to the paragraph below, it
 ·4· ·says all loan requests are approved or denied on
 ·5· ·tribal land at Big Picture Loans located at N5384
 ·6· ·U.S. Highway 45, Suite 400, Watersmeet, Michigan
 ·7· ·49969 and are subject to final determination by Big
 ·8· ·Picture Loans, a tribal enterprise wholly owned and
 ·9· ·operated by the Lac Vieux Desert Band of Lake
 10· ·Superior Chippewa Indians, a federally recognized
 11· ·American tribe and sovereign government.· Have I
 12· ·read that correctly?
 13· · · · A· · Yes.
 14· · · · Q· · And do you remember reading that when you
 15· ·got this letter?
 16· · · · A· · Yes.
 17· · · · Q· · Okay.· By the way, one question I didn't
 18· ·ask you:· Have you ever heard of the co -- a company
 19· ·or an entity called Even Tied (ph)?
 20· · · · A· · No.
 21· · · · Q· · Okay.· In March of 2017, March 2 of
 22· ·2017 -- strike that.· On February 27, 2017, do you
 23· ·know what relationship, if any, Mr. Martorello had
 24· ·with Big Picture Loans?
 25· · · · A· · No.


                                                             Debtor's Ex. 25, p. 066
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 ·1· · · · Q· · Okay.· On March 2, 2017, when you borrowed
 ·2· ·the $225, do you have any knowledge of what
 ·3· ·Mr. Martorello's relationship was, if any, with Big
 ·4· ·Picture Loans?
 ·5· · · · A· · No.
 ·6· · · · Q· · What about with the tribe?
 ·7· · · · A· · No.
 ·8· · · · Q· · What about with -- do you know whether --
 ·9· ·strike that.· When you borrowed the $300 on or about
 10· ·April 6, 2017, did you know what relationship, if
 11· ·any, Mr. Martorello had with Big Picture Loans?
 12· · · · A· · No.
 13· · · · Q· · Okay.
 14· · · · · · · · · Katy, let's -- let's mark these.
 15· · · · · · ·MS. LADD:· Okay.
 16· · · · · · ·MR. SCHEFF:· Thank you.· Okay.· Let's mark
 17· · · · this one as five.
 18· · · · · (The E-mail was marked Exhibit No. 5.)
 19· · · · · · ·MR. SCHEFF:· This one as six.
 20· · · · · (The E-mail was marked Exhibit No. 6.)
 21· · · · · · ·MR. SCHEFF:· This one as seven.
 22· · · · · (The E-mail was marked Exhibit No. 7.)
 23· · · · · · ·MR. SCHEFF:· This one as eight.
 24· · · · · (The E-mail was marked Exhibit No. 8.)
 25


                                                             Debtor's Ex. 25, p. 067
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 ·1· ·BY MR. SCHEFF:
 ·2· · · · Q· · All right.· So let's just have these in
 ·3· ·front of us and, Ms. Turnage, if you'll permit me,
 ·4· ·can I go underneath these documents just for a
 ·5· ·second?· Thank you very much.· I want to -- and let
 ·6· ·me just go under there one more time if I could,
 ·7· ·please.· Great, because I want to -- I want to keep
 ·8· ·two and three here.
 ·9· · · · A· · Okay.
 10· · · · Q· · And then talk about five, six, seven, and
 11· ·eight.· Okay?
 12· · · · A· · Okay.· All right.
 13· · · · Q· · All right.· So -- and Exhibit 2 which is
 14· ·the first loan, the 225-dollar loan?
 15· · · · A· · Yes.
 16· · · · Q· · You would agree with me that that's
 17· ·March 2, 2017, correct?
 18· · · · A· · Yes.
 19· · · · Q· · All right.· So let's take a look at
 20· ·Exhibit 5 and you'll see Exhibit 5 is an e-mail to
 21· ·you from support.· And it says, dear Gloria Turnage,
 22· ·your loan application for $225 has been approved and
 23· ·your funds are on the way, right?
 24· · · · A· · Yes.
 25· · · · Q· · So after you signed Exhibit 2, that loan


                                                             Debtor's Ex. 25, p. 068
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 ·1· ·agreement, you received the same day, minutes later,
 ·2· ·this approval, correct?
 ·3· · · · A· · Yes, right.
 ·4· · · · Q· · Because this occurred at four -- what is
 ·5· ·it, I can't even read that -- 4:19 p.m. and this is
 ·6· ·at 4:30?
 ·7· · · · A· · Yes.
 ·8· · · · Q· · Okay.· So that's minutes later you get
 ·9· ·Exhibit 5.· Okay?
 10· · · · A· · Yes.
 11· · · · Q· · And let's take a look at Exhibit 6.
 12· · · · A· · Okay.
 13· · · · Q· · Exhibit -- yeah, let's just put this one
 14· ·over here.· Yeah, we'll put that one over there.
 15· · · · A· · Okay.
 16· · · · Q· · Take a look at Exhibit 6 and, again, this
 17· ·is an e-mail to you from Big Picture loan support.
 18· ·It's dated March 21, 2017, right?
 19· · · · A· · Uh-huh, yes.
 20· · · · Q· · And this too relates to this Exhibit 2,
 21· ·this 225-dollar loan, correct?
 22· · · · A· · Yes.
 23· · · · Q· · And we know that because the next loan was
 24· ·April 6 and so it couldn't have existed, it didn't
 25· ·exist at the time Exhibit 6 was generated, right?


                                                             Debtor's Ex. 25, p. 069
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 ·1· ·Correct?
 ·2· · · · A· · Repeat that back.
 ·3· · · · Q· · Yeah, I'm sorry.· That was a little bit
 ·4· ·confusing.· I apologize.· We know that Exhibit 6 --
 ·5· · · · A· · Uh-huh.
 ·6· · · · Q· · -- which is an e-mail dated March 21,
 ·7· ·2017 --
 ·8· · · · A· · Yes.
 ·9· · · · Q· · -- from Big Picture to you has to relate
 10· ·to the loan that's referenced in Exhibit 2 because
 11· ·it predates the loan in Exhibit 3, right?
 12· · · · A· · Right, uh-huh.
 13· · · · Q· · So it can't relate to the second loan.· It
 14· ·has to relate to the first loan?
 15· · · · A· · The first loan, yes.
 16· · · · Q· · Okay.· So that's Exhibit 6.· And if we
 17· ·look at Exhibit 7.
 18· · · · A· · Exhibit 7.
 19· · · · Q· · Yeah, that's another e-mail.
 20· · · · A· · Put this over here?
 21· · · · Q· · Yeah, that's fine.· That's fine, great.
 22· ·Exhibit 7, again, that's from support to you,
 23· ·April 6, 2017 at 4:45 p.m.· And it says your loan
 24· ·application for $300 has been approved and your
 25· ·funds are on the way.· And that relates to the loan


                                                             Debtor's Ex. 25, p. 070
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 ·1· ·for Exhibit 3.
 ·2· · · · A· · Exhibit 3.
 ·3· · · · Q· · Because that's the same day and it's an
 ·4· ·hour and 15 minutes after you submitted the loan --
 ·5· · · · A· · Yes.
 ·6· · · · Q· · -- application.· So we know that this
 ·7· ·relates to the second loan, right?
 ·8· · · · A· · This should be over here, right?
 ·9· · · · Q· · Why don't you leave that one here for a
 10· ·minute.
 11· · · · A· · Okay.· I didn't --
 12· · · · Q· · That's all right.· There's a method to my
 13· ·madness and then I'll --
 14· · · · A· · Okay.
 15· · · · Q· · Maybe it's not very clear.
 16· · · · A· · Okay.
 17· · · · Q· · Now let's look at Exhibit 8.· Okay?
 18· · · · A· · Exhibit 8.
 19· · · · Q· · Exhibit 8 --
 20· · · · A· · Put this over here?
 21· · · · Q· · Yeah, that's fine.· Exhibit 8 is date --
 22· ·is from you to Big Picture Loans dated April 20,
 23· ·2017 at 7:46 p.m.
 24· · · · A· · Uh-huh.
 25· · · · Q· · And you say why did -- why you did not


                                                             Debtor's Ex. 25, p. 071
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 ·1· ·deduct from my savings account, Richmond Postal
 ·2· ·Credit Union, on Tuesday, April 18, $334 and --
 ·3· ·$334.47 repayment of the loan, $300 the second time.
 ·4· ·I called on April 19 -- on April 19, 2017, was
 ·5· ·advised it was going to be deducted.· As of April --
 ·6· ·as of Thursday, April 20, 2017, the loan amount has
 ·7· ·not been deducted from my account.· This request was
 ·8· ·made on Friday, April 14 at 6:05 p.m.· Please deduct
 ·9· ·the money from my account and don't wait until
 10· ·Friday, April 28, the original date of request, not
 11· ·to keep building up interest.· I need the loan to be
 12· ·paid as soon as possible.· I have checked my account
 13· ·and the money has not been deducted.· Have I read
 14· ·that correctly?
 15· · · · A· · Yes, sir.
 16· · · · Q· · Why did you send this e-mail?
 17· · · · A· · I sent the e-mail because I was able to
 18· ·get the money sooner to pay the loan off not to add
 19· ·interest and I was requesting that they deduct it
 20· ·sooner on April the 14th and they didn't deduct the
 21· ·$334.47.
 22· · · · Q· · When in relation to this e-mail, Exhibit
 23· ·8, did you speak with lawyers from Kelly & Crandall
 24· ·about suing Big Picture Loans?
 25· · · · A· · I didn't speak with lawyers from Kelly &


                                                             Debtor's Ex. 25, p. 072
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 ·1· ·Crandall.
 ·2· · · · Q· · You didn't.· I thought you said you had?
 ·3· ·I want to know whether -- if you remember, whether
 ·4· ·your conversation, whatever that conversation may
 ·5· ·have been, about Big Picture Loans and suing Big
 ·6· ·Picture Loans was before this e-mail was sent,
 ·7· ·Exhibit 8, or after if you remember?
 ·8· · · · A· · It was after.
 ·9· · · · Q· · It was after.· So your spoke to the
 10· ·lawyers first and then you sent this e-mail?
 11· · · · A· · No, I didn't spoke to the lawyers first.
 12· · · · Q· · Okay.
 13· · · · A· · I spoke to them first.
 14· · · · Q· · Spoke to Big Picture first?
 15· · · · A· · I had spoke to Big Picture Loans first
 16· ·before the lawsuit was filed because I had the money
 17· ·and asked them to collect it and they didn't collect
 18· ·it, so the e-mail was sent to the attorney's office
 19· ·to state as to, you know, what was done after the
 20· ·lawsuit had to be filed.· It was afterwards.
 21· · · · Q· · Okay.· I'm just trying to understand
 22· ·timing.· Okay?
 23· · · · A· · Yes.
 24· · · · Q· · I don't want to know about the
 25· ·communications.· All right?· We know that the


                                                             Debtor's Ex. 25, p. 073
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 ·1· ·lawsuit which is Exhibit 1 --
 ·2· · · · A· · Right.
 ·3· · · · Q· · -- was filed on or about June 22, 2017.
 ·4· ·Okay?
 ·5· · · · A· · Yes.
 ·6· · · · Q· · So about two months after Exhibit 8.
 ·7· ·Okay?
 ·8· · · · A· · (Deponent nods head.)
 ·9· · · · Q· · All right.· What I want to know is this --
 10· ·if you remember.· If you remember, great.· If you
 11· ·don't remember, you don't remember.· All right?
 12· ·What I'd like to know is -- you clearly spoke to
 13· ·Kelly & Crandall before the lawsuit was filed.· You
 14· ·said that, right?
 15· · · · A· · Yes.
 16· · · · Q· · Okay.· So what I want to know is as of the
 17· ·time of April 20, 2017, as of that date when you
 18· ·sent this e-mail, had you spoken with lawyers from
 19· ·Kelly & Crandall about filing this lawsuit?
 20· · · · A· · No.
 21· · · · Q· · Okay.· So it would have been sometime
 22· ·between April 20 and the date the lawsuit was filed?
 23· · · · A· · Yes.
 24· · · · Q· · Okay, great.· Thank you very much.                       I
 25· ·appreciate that.


                                                             Debtor's Ex. 25, p. 074
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 ·1· · · · · · ·MR. SCHEFF:· Would you mark this as
 ·2· · · · Exhibit 9, please.
 ·3· · · ·(The Responses were marked Exhibit No. 9.)
 ·4· · · · · · ·THE DEPONENT:· I can put all these over
 ·5· · · · here?
 ·6· · · · · · ·MR. SCHEFF:· Yes, ma'am, you can.· This is
 ·7· · · · nine, right?
 ·8· · · · · · ·THE COURT REPORTER:· Uh-huh.
 ·9· ·BY MR. SCHEFF:
 10· · · · Q· · Okay.· Now, Ms. Turnage, you see this
 11· ·document is titled plaintiff Gloria Turnage's
 12· ·responses to Matt Martorello's first set of
 13· ·interrogatories relating to class certification.
 14· ·Have I read that correctly?
 15· · · · A· · Yes.
 16· · · · Q· · And if you go to the last page, just flip
 17· ·it over, there is a verification which says I
 18· ·declare under penalty of perjury that the foregoing
 19· ·information contained in plaintiff Gloria Turnage's
 20· ·objections and responses to Matt Martorello's first
 21· ·set of interrogatories relating to class
 22· ·certification is true and correct to the best of my
 23· ·knowledge.
 24· · · · A· · Yes.
 25· · · · Q· · Executed on 8/31/2018, and then there is a


                                                             Debtor's Ex. 25, p. 075
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 ·1· ·signature.· Have I read this correctly?
 ·2· · · · A· · Yes.
 ·3· · · · Q· · Is this your signature?
 ·4· · · · A· · Yes.
 ·5· · · · Q· · Did you sign it on or about August 31,
 ·6· ·2018?
 ·7· · · · A· · Yes.
 ·8· · · · Q· · Okay.· Let's take a look at -- okay.· Take
 ·9· ·a look at page ten.
 10· · · · A· · Page ten.
 11· · · · Q· · Page ten and eleven.· Okay.· What I'm
 12· ·focusing on is No. 5.· See that?· And there's a
 13· ·question and then there's an answer.
 14· · · · A· · Yes.
 15· · · · Q· · Okay.· What I'd like you to do is read the
 16· ·question to yourself, read the response, and then
 17· ·I'm going to ask you question.· Okay?
 18· · · · A· · Okay.
 19· · · · Q· · Thank you.
 20· · · · A· · Read the question?
 21· · · · Q· · Just read it to yourself, correct.· You
 22· ·don't need to read it out loud, just to yourself.
 23· · · · A· · (Peruses document.)· Okay.· Would you want
 24· ·me to continue to read the next one?
 25· · · · Q· · No, no, no, just -- I just wanted you to


                                                             Debtor's Ex. 25, p. 076
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 ·1· ·read the question and the answer.· Okay?
 ·2· · · · A· · Yes, I've read that.
 ·3· · · · Q· · And this answer is all information that
 ·4· ·you supplied; is that correct?
 ·5· · · · A· · Yes.
 ·6· · · · Q· · Okay.· Take a look at the rest of the
 ·7· ·document and tell me whether the answers to the
 ·8· ·other questions are information that you supplied
 ·9· ·and that you have personal knowledge of.· Okay?
 10· · · · · · ·MS. NASH:· I'm going to object to the --
 11· · · · there's a -- it clearly states in some portions
 12· · · · of this that counsel provided certain answers.
 13· · · · · · ·MR. SCHEFF:· Well the question is
 14· · · · whether -- that may be.· The question is
 15· · · · whether Ms. Turnage has personal knowledge of
 16· · · · any of the other facts other than as she's just
 17· · · · testified in response to question five that are
 18· · · · in the interrogatories that she has sworn to.
 19· · · · Okay.
 20· · · · · · ·MS. NASH:· That's fine and I'm just noting
 21· · · · my objection.
 22· ·BY MR. SCHEFF:
 23· · · · Q· · Okay.· Do you understand my question,
 24· ·Ms. Turnage?
 25· · · · A· · Yes, I understand.


                                                             Debtor's Ex. 25, p. 077
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 ·1· · · · Q· · Okay.· So take a look at, for example,
 ·2· ·page three.
 ·3· · · · A· · Page three.
 ·4· · · · Q· · At the very bottom.· You see No. 2?
 ·5· · · · A· · Uh-huh.
 ·6· · · · Q· · Read that to yourself.· It goes onto page
 ·7· ·three.· And now read the response that's on pages
 ·8· ·four, five, and six and actually spills onto seven.
 ·9· · · · A· · Do I need to read page five too?
 10· · · · Q· · Yeah.· What I want you to do is read as
 11· ·much of that response as you need to to be able to
 12· ·tell me whether or not you have personal knowledge
 13· ·of any of the facts that are stated in that answer.
 14· ·Okay?
 15· · · · A· · (Peruses document.)· Okay.· I have to say
 16· ·no, I have no personal knowledge of the facts of all
 17· ·of this until today, until now.
 18· · · · Q· · Okay.· That's fine.
 19· · · · A· · Okay.
 20· · · · Q· · Take a look at page eleven.
 21· · · · A· · Okay.
 22· · · · Q· · Number seven in the middle of the page
 23· ·there.
 24· · · · A· · Number seven, okay.
 25· · · · Q· · Yeah.· It says identify all facts and


                                                             Debtor's Ex. 25, p. 078
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 ·1· ·documents supporting, tending to support, refuting,
 ·2· ·or tending to refute the class allegations within
 ·3· ·your complaint.· And then you can see the response
 ·4· ·starts a little bit lower.· Do you have that?
 ·5· · · · A· · Yeah.
 ·6· · · · Q· · And it goes on for at least four or five
 ·7· ·pages, the response does.· The response goes all the
 ·8· ·way up to page 19.· What I would like you to do is
 ·9· ·read as much of that as you need to and, again, tell
 10· ·me whether you have any personal knowledge of the
 11· ·facts that are stated in this answer.· Okay?
 12· · · · A· · Okay.· (Peruses document.)· So as all of
 13· ·this is facts concerning the Big Picture and Matt
 14· ·Martorello, I had no personal knowledge of this.
 15· · · · Q· · Okay.· That's all I want -- that's all I
 16· ·want to know.
 17· · · · A· · Okay.
 18· · · · Q· · I want to know -- or let me ask you a
 19· ·couple of other questions.· Do you -- have you ever
 20· ·met Lula Williams?
 21· · · · A· · No.
 22· · · · Q· · Have you ever spoken to her?
 23· · · · A· · No.
 24· · · · Q· · Do you know who she is?
 25· · · · A· · No.


                                                             Debtor's Ex. 25, p. 079
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 ·1· · · · Q· · Have you ever met George Hengle?
 ·2· · · · A· · No.
 ·3· · · · Q· · Do you know who he is?
 ·4· · · · A· · No.
 ·5· · · · Q· · Have you ever spoken with him as far as
 ·6· ·you know?
 ·7· · · · A· · No.
 ·8· · · · Q· · Do you know Dowin Coffy?
 ·9· · · · A· · No.
 10· · · · Q· · As far as you know, have you ever met or
 11· ·spoken with Mr. Coffy?
 12· · · · A· · No.
 13· · · · Q· · Did you know an individual named Felix
 14· ·Gillison, Jr.?
 15· · · · A· · No.
 16· · · · Q· · And as far as you know, had you ever
 17· ·spoken to or met Mr. Gillison?
 18· · · · A· · No.
 19· · · · Q· · Do you know Brian McFadden?
 20· · · · A· · No.
 21· · · · Q· · Do you know Justin Martorello?
 22· · · · A· · No.
 23· · · · Q· · Do you know Simon Liang, L-i-a-n-g?
 24· · · · A· · No.
 25· · · · Q· · Okay.· Ms. Turnage, have you ever filed a


                                                             Debtor's Ex. 25, p. 080
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 ·1· ·petition -- strike that.· Have you ever filed for
 ·2· ·bankruptcy?
 ·3· · · · A· · Yes.
 ·4· · · · Q· · And how many times?
 ·5· · · · A· · It's one time.
 ·6· · · · Q· · One time.· And that was about 15 years
 ·7· ·ago; is that right?
 ·8· · · · A· · Yes.
 ·9· · · · Q· · Maybe a little longer?
 10· · · · A· · Yes.
 11· · · · Q· · Okay.· That bankruptcy filing that was
 12· ·done, was that -- was that just you or were you
 13· ·married at the time?
 14· · · · A· · I never was married.
 15· · · · Q· · You were never married, okay.· Who is
 16· ·Willard Turnage?
 17· · · · A· · That's my cousin.
 18· · · · Q· · Your cousin, okay.· Did you ever file a
 19· ·bankruptcy petition with your cousin?
 20· · · · A· · No.
 21· · · · Q· · No?· Okay.· Let's take a look at --
 22· · · · · · · · · Can you mark that?· Or we'll mark
 23· ·that.
 24· · · · A· · May I explain?· His wife Gloria Turnage
 25· ·has the same name as mine, so that's why you


                                                             Debtor's Ex. 25, p. 081
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 ·1· ·probably pulled it.
 ·2· · · · Q· · Nevermind.· We don't need to mark it.
 ·3· ·Thank you very much for that explanation.                      I
 ·4· ·appreciate it.
 ·5· · · · A· · Okay.
 ·6· · · · Q· · Two Gloria Turnages.
 ·7· · · · A· · Uh-huh.
 ·8· · · · Q· · So you filed for bankruptcy one time?
 ·9· · · · A· · Yes.
 10· · · · Q· · About 15 or 18 years ago?
 11· · · · A· · Yes.
 12· · · · Q· · Okay.· And so that bankruptcy filing had
 13· ·nothing to do with the loans you took from Big
 14· ·Picture, correct?
 15· · · · A· · No.
 16· · · · · · ·MR. SCHEFF:· All right.· Let me take a
 17· · · · break.· I may be done.· Okay.· I just want to
 18· · · · talk with my colleague here.
 19· · · · · · ·THE DEPONENT:· Okay.
 20· · · · · · ·MR. SCHEFF:· All right.
 21· · · · · · ·THE VIDEOGRAPHER:· Going off the record at
 22· · · · 3:42 p.m.
 23· · · · · · · · · · · · ·(Break.)
 24· · · · · · ·THE VIDEOGRAPHER:· Going back on the
 25· · · · record at 3:51 p.m.


                                                             Debtor's Ex. 25, p. 082
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 ·1· · · · · · ·MR. SCHEFF:· Ms. Turnage, I have no
 ·2· · · · further questions.· Thank you very much for
 ·3· · · · your cooperation and for coming in here a
 ·4· · · · little bit earlier.· We really appreciate that.
 ·5· · · · · · ·THE DEPONENT:· Okay.
 ·6· · · · · · · · · · · ·EXAMINATION
 ·7· ·BY MS. NASH:
 ·8· · · · Q· · I have just a few questions.
 ·9· · · · A· · Yes.
 10· · · · Q· · I believe that you stated earlier that you
 11· ·reviewed the complaint before it was filed; is that
 12· ·correct?
 13· · · · A· · Yes.
 14· · · · Q· · And to the best of your knowledge, the
 15· ·information contained in the complaint is correct?
 16· · · · A· · Yes.
 17· · · · Q· · And you authorized the filing of the
 18· ·complaint?
 19· · · · A· · Yes.
 20· · · · Q· · And you wanted to participate in the
 21· ·lawsuit?
 22· · · · A· · Yes.
 23· · · · · · ·MS. NASH:· Okay.· That's all I have.
 24
 25


                                                             Debtor's Ex. 25, p. 083
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 ·1· · · · · · · · · · · ·EXAMINATION
 ·2· ·BY MR. SCHEFF:
 ·3· · · · Q· · Let me have a little follow up.
 ·4· ·Ms. Turnage, when I was asking you questions, I
 ·5· ·showed you -- take a look at paragraph one --
 ·6· ·para -- Exhibit 1.
 ·7· · · · A· · Exhibit 1.
 ·8· · · · Q· · I showed you paragraph three on page two.
 ·9· · · · A· · Paragraph three on page --
 10· · · · Q· · Page two.· This is the wrong document.
 11· ·Let me get you the right document.· This one.
 12· · · · A· · Oh, this one.
 13· · · · Q· · Yeah.
 14· · · · A· · Okay.· Paragraph three on page two.
 15· · · · Q· · Yep.· Right here.· And you said you had no
 16· ·personal knowledge of any of the facts stated in
 17· ·paragraph three, correct?
 18· · · · A· · That's what I had said.
 19· · · · Q· · Right.· So that hasn't changed since you
 20· ·answered my question an hour or so ago, right?· You
 21· ·don't have any personal knowledge --
 22· · · · A· · That hasn't changed.
 23· · · · Q· · Right.· So you have no way of knowing
 24· ·whether this is true or not true, what's in
 25· ·paragraph three, correct?


                                                             Debtor's Ex. 25, p. 084
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 ·1· · · · A· · Well I know it's true now.
 ·2· · · · Q· · Well you didn't know when you authorized
 ·3· ·this complaint that it was true, right?· You didn't
 ·4· ·know one way or the other?
 ·5· · · · A· · No, I didn't until the complaint was done.
 ·6· · · · Q· · Right.· Well you haven't seen any evidence
 ·7· ·which establishes the truth of this, have you?
 ·8· · · · A· · I've seen it now.
 ·9· · · · Q· · What have you seen?
 10· · · · A· · I've seen from this file that's I've read
 11· ·and all the -- what these -- what Big Picture Loans
 12· ·was involved in and who was behind the debt, you
 13· ·know, that it was a illegal scheme that they have
 14· ·with giving these loans to Virginia residents that I
 15· ·have knowledge of.· I didn't have any knowledge
 16· ·ahead of time but now I do have knowledge of.
 17· · · · Q· · Let's take a look at paragraph three
 18· ·again.
 19· · · · A· · Yes.
 20· · · · Q· · See it says defendant Matt Martorello
 21· ·approached the Lac Vieux Desert Band of Lake
 22· ·Superior Chippewa Indians, the tribe, for the
 23· ·purpose of establishing a rent-a-tribe scheme.· How
 24· ·do you know that to be true?
 25· · · · A· · I know from advice from my attorney.


                                                             Debtor's Ex. 25, p. 085
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 ·1· · · · Q· · From your -- what your lawyer told you.
 ·2· ·You never talked to Mr. Martorello about that, did
 ·3· ·you?
 ·4· · · · A· · No.
 ·5· · · · Q· · Right.· You don't know who approached who,
 ·6· ·do you?
 ·7· · · · A· · No.
 ·8· · · · Q· · You don't know what the purpose of any
 ·9· ·business relationship was between Mr. Martorello and
 10· ·the tribe assuming there was any at all, do you?
 11· · · · A· · No.
 12· · · · Q· · Okay.· Thank you.· Let's take a look at
 13· ·paragraph 14.
 14· · · · A· · Paragraph 14.· On which page?
 15· · · · Q· · I'm sorry, page five.
 16· · · · A· · Page five.· Paragraph 14, okay.
 17· · · · Q· · Right.· And we went over this when we
 18· ·started your deposition as well and you said you had
 19· ·no personal knowledge of what was stated in
 20· ·paragraph 14 either, did you?
 21· · · · A· · Right.
 22· · · · Q· · Okay.· And that hadn't changed today.· You
 23· ·don't have any personal knowledge of this, do you?
 24· · · · A· · That hasn't changed.
 25· · · · · · ·MR. SCHEFF:· Okay.· Thank you.· I have no


                                                             Debtor's Ex. 25, p. 086
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 ·1· · further questions.
 ·2· · · · ·THE DEPONENT:· Okay.
 ·3· · · · ·MS. NASH:· Yep, we're off the record.
 ·4· · · · ·THE VIDEOGRAPHER:· Going off the record at
 ·5· · 3:55 p.m.
 ·6
 ·7· ·(The deposition was concluded at 3:55 p.m.)
 ·8· · · And further, this deponent saith not.
 ·9
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                                                             Debtor's Ex. 25, p. 087
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 ·1· · · · · CHANGES REQUESTED TO THE DEPOSITION OF
 · · · · GLORIA TURNAGE, TAKEN 10/4/18 BY HEATHER GUNN
 ·2

 ·3· ·Page/Line:· · · · · Change to/from:· · ·Reason:

 ·4

 ·5

 ·6

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 18
 · · ·_____________________
 19· ·Gloria Turnage

 20
 · · ·Commonwealth of Virginia, to wit:
 21· · · · · · ·Subscribed to before me

 22· ·this ____ day of ____________, 2018.

 23· ·____________________________________
 · · · · · · · ·Notary Public
 24

 25· ·My commission expires:· · /                    /


                                                             Debtor's Ex. 25, p. 088
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 ·1· ·COMMONWEALTH OF VIRGINIA AT LARGE, to wit:

 ·2· · · · · · ·I, Heather R. Gunn, Notary Public in and for the

 ·3· ·Commonwealth of Virginia at Large, and whose commission

 ·4· ·expires October 31, 2022, do certify that the aforementioned

 ·5· ·appeared before me, was sworn by me, and was thereupon

 ·6· ·examined by counsel; and that the foregoing is a true,

 ·7· ·correct and full transcript of the testimony adduced.

 ·8· · · · · · ·I further certify that I am neither related to nor

 ·9· ·associated with any counsel or party to this proceeding, nor

 10· ·otherwise interested in the event thereof.

 11· · · · · · ·Given under my hand and notarial seal at

 12· ·Mechanicsville, Virginia, this 10th day of October, 2018.

 13

 14

 15

 16· · · · · · · · · ·_____________________________________
 · · · · · · · · · · Heather R. Gunn - Notary Public #320684
 17· · · · · · · · · · · · · ·Commonwealth of Virginia

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                                                             Debtor's Ex. 25, p. 089
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LOEB & LOEB LLP                               FORSHEY & PROSTOK, LLP
Bernard R. Given II                           Jeff P. Prostok
State Bar No. 07990180                        State Bar No. 16352500
10100 Santa Monica Blvd., Suite 2200          Lynda Lankford
Los Angeles, CA 90067-4120                    State Bar No. 11935020
Tel: 310-282-2000                             777 Main Street, Suite 1290
Fax: 310-282-2200                             Fort Worth, TX 76012
Email: bgiven@loeb.com                        Tel: 817-877-8855
                                              Fax: 817-877-4151
Counsel to the Debtor                         Email: jprostok@forsheyprostok.com
and Debtor-in-Possession                      Email: llankford@forsheyprostok.com

                                              Counsel to the Debtor
                                              and Debtor-in-Possession

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

______________________________________
In re:                                 § Chapter 11
                                       §
EVENTIDE CREDIT ACQUISITIONS, LLC, § Case No. 20-40349-elm11
                                       §
               Debtor.                 §
______________________________________ §


                       NOTICE OF DEPOSITION OF LULA WILLIAMS

TO:      LULA WILLIAMS
         c/o Neligan LLP
         325 N. St. Paul Street, Suite 3600
         Dallas, Texas 75201




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                                                                  Debtor's Ex. 26, p. 001
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         PLEASE TAKE NOTICE that Eventide Credit Acquisitions, LLC (“Debtor”) will take

your oral deposition on May 26, 2020, beginning at 10:00 a.m. (Central). The deposition will

take place at Neligan, LLP, 325 N. St. Paul Street, Suite 3600 Dallas, Texas 75201; Telephone

Phone: 214.840.5300.

         Pursuant to Rules 7030 and 7069 of the Federal Rules of Bankruptcy Procedure, you are

further advised that this deposition will take place before a duly qualified shorthand court

reporter, and may be recorded by stenographic method and through such means as to provide the

instant visual display of the testimony (e.g., LiveNote).     You are further advised that this

deposition will be recorded on videotape, in addition to the usual stenographic recording.

DATED: May 15, 2020                                  Respectfully submitted,

                                                     /s/ Jeff P. Prostok
                                                     Jeff P. Prostok
                                                     State Bar No. 16352500
                                                     Lynda Lankford
                                                     State Bar No. 11935020
                                                     FORSHEY & PROSTOK LLP
                                                     777 Main St., Suite 1290
                                                     Fort Worth, TX 76102
                                                     Telephone: (817) 877-8855
                                                     Facsimile: (817) 877-4151
                                                     Email: jprostok@forsheyprostok.com
                                                     Email: llankford@forsheyprostok.com

                                                     and

                                                     LOEB & LOEB LLP
                                                     Bernard R. Given II
                                                     State Bar No. 07990180
                                                     10100 Santa Monica Blvd., Suite 2200
                                                     Los Angeles, CA 90067-4120
                                                     Tel: 310-282-2000
                                                     Fax: 310-282-2200
                                                     Email: bgiven@loeb.com

                                                     COUNSEL FOR THE DEBTOR AND
                                                     DEBTOR-IN-POSSESSION

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                             CERTIFICATE OF SERVICE

         I hereby certify that on May 15, 2020, the NOTICE OF DEPOSITION OF
LULA WILLIAMS was served on the following counsel of record for Lula Williams via

email and U.S. Mail.


         Patrick J. Neligan Jr., Partner
         NELIGAN LLP
         325 N. St. Paul Street, Suite 3600
         Dallas, Texas 75201
         Tel: 214.840.5300
         Tel: 214.840.5333
         Cell: 214.632.4321
         Fax: 214.840.5301
         Email: Patrick Neligan: pneligan@neliganlaw.com




Dated: May 15, 2020


                                              /s/ Bernard R. Given, II
                                              Bernard R. Given, II




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LOEB & LOEB LLP                               FORSHEY & PROSTOK, LLP
Bernard R. Given II                           Jeff P. Prostok
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10100 Santa Monica Blvd., Suite 2200          Lynda Lankford
Los Angeles, CA 90067-4120                    State Bar No. 11935020
Tel: 310-282-2000                             777 Main Street, Suite 1290
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                                              Fax: 817-877-4151
Counsel to the Debtor                         Email: jprostok@forsheyprostok.com
and Debtor-in-Possession                      Email: llankford@forsheyprostok.com

                                              Counsel to the Debtor
                                              and Debtor-in-Possession

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

______________________________________
In re:                                 § Chapter 11
                                       §
EVENTIDE CREDIT ACQUISITIONS, LLC, § Case No. 20-40349-elm11
                                       §
               Debtor.                 §
______________________________________ §


                      NOTICE OF DEPOSITION OF GLORIA TURNAGE

TO:      GLORIA TURNAGE
         c/o Neligan LLP
         325 N. St. Paul Street, Suite 3600
         Dallas, Texas 75201




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                                                                  Debtor's Ex. 27, p. 001
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         PLEASE TAKE NOTICE that Eventide Credit Acquisitions, LLC (“Debtor”) will take

your oral deposition on May 26, 2020, beginning at 2:00 p.m. (Central). The deposition will take

place at Neligan, LLP, 325 N. St. Paul Street, Suite 3600 Dallas, Texas 75201; Telephone Phone:

214.840.5300.

         Pursuant to Rules 7030 and 7069 of the Federal Rules of Bankruptcy Procedure, you are

further advised that this deposition will take place before a duly qualified shorthand court

reporter, and may be recorded by stenographic method and through such means as to provide the

instant visual display of the testimony (e.g., LiveNote).     You are further advised that this

deposition will be recorded on videotape, in addition to the usual stenographic recording.

DATED: May 15, 2020                                  Respectfully submitted,

                                                     /s/ Jeff P. Prostok
                                                     Jeff P. Prostok
                                                     State Bar No. 16352500
                                                     Lynda Lankford
                                                     State Bar No. 11935020
                                                     FORSHEY & PROSTOK LLP
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                                                     Facsimile: (817) 877-4151
                                                     Email: jprostok@forsheyprostok.com
                                                     Email: llankford@forsheyprostok.com

                                                     and

                                                     LOEB & LOEB LLP
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                                                     Tel: 310-282-2000
                                                     Fax: 310-282-2200
                                                     Email: bgiven@loeb.com

                                                     COUNSEL FOR THE DEBTOR AND
                                                     DEBTOR-IN-POSSESSION

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                             CERTIFICATE OF SERVICE

         I hereby certify that on May 15, 2020, the NOTICE OF DEPOSITION OF
GLORIA TURNAGE was served on the following counsel of record for Gloria Turnage
via email and U.S. Mail.



         Patrick J. Neligan Jr., Partner
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                                              /s/ Bernard R. Given, II
                                              Bernard R. Given, II




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                                                   Schedule of Note Payments and Distributions
                                           2016                    2017                     2018                    2019                 Total

Note Payments                     $13,671,281.46           $9,793,322.01           $19,167,575.95           $4,871,698.71            $47,503,878.13

         Breakwater                 7,897,000.00   59.6%    5,341,476.28   65.0%     9,148,600.00   60.2%     449,283.00     56.2%    22,836,359.28   61.0%

         McFadden                    265,000.00    2.0%      179,244.17    2.2%       285,000.00    1.9%       31,200.00      3.9%      760,444.17    2.0%

         Liang                       198,750.00    1.5%      134,433.13    1.6%       213,750.00    1.4%       23,400.00      2.9%      570,333.13    1.5%

         Justin Martorello          1,311,750.00   9.9%      147,743.11    1.8%      1,410,750.00   9.3%      154,440.00     19.3%     3,024,683.11   8.1%

         Dowd                        198,750.00    1.5%      134,433.13    1.6%       213,750.00    1.4%       23,400.00      2.9%      570,333.13    1.5%

         Gallant Capital            3,378,750.00   25.5%    2,285,363.18   27.8%     3,914,250.00   25.8%     117,300.00     14.7%     9,695,663.18   25.9%

Total Distributions               $13,250,000.00           $8,222,693.00           $15,186,100.00            $799,023.00             $37,457,816.00

Note minus Distributions            $421,281.46            $1,570,629.01            $3,981,475.95           $4,072,675.71            $10,046,062.13




                                                                                                                    Debtor's Ex. 28, p. 001
